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                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO



THE GOVERNMENT OF THE LAO                         Case No.: 1:20-cv-195
PEOPLE’S DEMOCRATIC REPUBLIC,
                                                  COMPLAINT TO ENFORCE FOREIGN
       Plaintiff,                                 ARBITRATION AWARDS
V.

JOHN K. BALDWIN; BRIDGE CAPITAL,
LLC,

       Defendants.



       Plaintiff The Government of the Lao People’s Democratic Republic (“Plaintiff,” “Lao

PDR,” or “Government”), by and through its counsel of record Givens Pursley LLP, and for the

causes of action against Defendants, pleads, alleges, and complains as follows:

                                      INTRODUCTION

       1.      Lao PDR files this Complaint for enforcement of two foreign arbitration awards

and entry of judgment pursuant to the Convention on the Recognition and Enforcement of




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Foreign Arbitral Awards, 21 U.S.T. 2517, 330 U.N.T.S. 38 (June 5, 1958) (the “New York

Convention”), Chapter 2 of the Federal Arbitration Act (the “FAA”) (9 U.S.C. Sec. 201, et seq.),

and Idaho law.

       2.        The first foreign award was arbitrated pursuant to Articles 9 and 13 of the

Agreement on Encouragement and Reciprocal Protection of Investments between the Lao

People’s Democratic Republic and the Kingdom of the Netherlands, a true and correct copy of

which is attached as Exhibit A.

       3.        The second foreign award was arbitrated pursuant to pursuant to Article 8(3) of

the Agreement Concerning the Encouragement and Reciprocal Protection of Investments

between the Government of the People’s Republic of China and the Government of the Lao

People’s Democratic Republic, a true and correct copy of which is attached as Exhibit B.

       4.        The Plaintiff seeks judgment against the Defendants John K. Baldwin

(“Baldwin”) and Bridge Capital, LLC (“Bridge”) as the alter egos of Lao Holdings N.V.

(“LHNV”) and Sanum Investments Ltd., (“Sanum”), the arbitral award debtors.

                                            PARTIES

       5.        The Plaintiff Lao PDR is a foreign state within the meaning of the Foreign

Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1330, 1332, 1391(f), 1441(d), 1602-1611.

       6.        The defendant Baldwin is a native and resident of Idaho and has, for several

decades, operated a “distressed lending” business in the Pacific Northwest, generally under the

umbrella of Bridge.

       7.        The defendant Bridge is a Nevada limited liability company. Its current business

address is Micro Beach Road, Saipan, The Commonwealth of the Northern Mariana Islands.




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       8.      Non-party Sanum is an arbitral award debtor in a Permanent Court of Arbitration

(“PCA”) arbitration, PCA Case No. 2013-13. Sanum was incorporated in Macau SAR in 2005.

Baldwin established Sanum to use as a corporate vehicle for his gaming investments in Asia.

Sanum's registered office is in a law office in Macau SAR, but it has no employees there. Sanum

has no assets in the United States.

       9.      Non-party LHNV is an arbitral award debtor in an International Centre for

Settlement of Investment Disputes (“ICSID”) arbitration, ICISD Case No. ARB(AF)/12/6.

LHNV is a corporation formed under the laws of Aruba, the Netherlands Antilles. Its office is in

Aruba. Baldwin directed an officer of Bridge, in 2011/2012, to form LHNV in Aruba for the sole

purpose of using the Netherlands Bi-Lateral Investment Treaty with the Lao PDR to make an

investment treaty claim for alleged damage to a Sanum investment in the Thanaleng slot club in

the Lao PDR. Baldwin then inserted LHNV into the chain of ownership between himself and

Sanum, so that LHNV owns 100% of Sanum. LHNV has no assets anywhere in the world.

       10.     Defendants Baldwin and Bridge are alter egos of arbitral award debtors LHNV

and Sanum.

                                 JURISDICTION AND VENUE

                                      Subject Matter Jurisdiction

       11.     This Court has subject matter jurisdiction over this proceeding pursuant to

9 U.S.C. §§ 203 and 207. See Glencore Grain Rotterdam B.V. v Shivnath Rai Harnarain Co.,

284 F.3d 1114 (9th Cir. 2002).

       12.     This Court further has subject matter jurisdiction over this proceeding pursuant to

28 U.S.C. § 1332, as the suit is between a foreign state and citizens of the United States, and the

amount in controversy is in excess of $75,000.00.




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                                      Personal Jurisdiction

         13.   Baldwin and Bridge are subject to quasi in rem jurisdiction in this Court because

they each own real and/or personal property in Idaho. See, Glencore Grain Rotterdam B.V.,

supra.

         14.   Baldwin’s real property in Idaho includes, inter alia, real estate residences at 7355

E. Cumberland Ct., Hayden, Idaho, 83835, and at 7021 E. Syringa Rd., Hayden, Idaho 83835.

Baldwin also owns a bank account at the First Interstate Bank in Idaho, including account

number xxxxxx3769.

         15.   Bridge also owns bank accounts at the First Interstate Bank in Idaho, including

account number xxxxxx7611.

         16.   Under the New York Convention, as codified in 9 U.S.C. Secs. 203 and 207, it is

proper to proceed to enforce these foreign arbitral awards in a Complaint against only the alter

ego defendants. CBF Industria De Gusa S/A v. AMCI Holdings, Inc., 850 F.3d 58 (2d Cir. 2017).

                                               Venue

         17.   Venue is proper in the District of Idaho. 28 U.S.C. § 1391. Baldwin is a resident

of Idaho. Bridge is also a resident of Idaho by virtue of being subject to the Court’s personal

jurisdiction. Further, the Defendants’ property described above is located in this state.

                                         ALLEGATIONS

                           Baldwin’s Investments in Laotian Gaming

         18.   For many years, Baldwin has controlled many companies engaged in the business

of gambling.

         19.   In 2007, Baldwin learned of an opportunity to invest in new gaming projects in

the Lao PDR. Baldwin used Sanum to hold his interests in the Lao PDR gaming businesses. He




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funded the investments through loans from Bridge to Sanum. Using Bridge funds, Baldwin

developed a casino, the Savan Vegas Casino at Savannakhet, Laos and slot clubs. Baldwin

agreed with a local Laos partner, the ST Group, to invest in gaming businesses in Laos and he

also obtained a contractual interest in a slot club controlled by ST Group at Thanaleng, Laos.

       20.     Between 2007 and 2016, Baldwin's two major interests in Laos were the Savan

Vegas casino and the Thanaleng slot club. The Lao PDR owned 20% of the Savan Vegas casino

but had no interest in the Thanaleng slot club.

       21.     In 2012, the Lao PDR initiated an audit by Ernst & Young of the books and

records of the Savan Vegas casino.

       22.     That same year, Baldwin had a dispute with his local partner, the ST Group,

which had initiated a court case concerning Sanum's contractual rights to Thanaleng.

                                 BIT Claims Against Lao PDR

       23.     Fearing the audit would expose bookkeeping irregularities at the Casino and

having lost the ST Group court case, on August 14, 2012, Baldwin filed two Bi-Lateral

Investment Treaty (“BIT”) claims against Lao PDR.

       24.     The treaty between the People's Republic of China and Laos, which Sanum could

invoke as a Macau SAR corporation, provided investors a narrow range of rights, limited to

expropriation. Intending to use newer international law claims, including “unfair and inequitable

treatment,” and “denial of justice,” Baldwin, using a well-established treaty-shopping plan, used

LHNV to take advantage of the more favorable Netherlands/Lao PDR Bi-Lateral Investment

Treaty in its arbitration over the Thanaleng slot club against Lao PDR. As noted supra, Baldwin

had inserted LHNV into the corporate ownership chain between himself and Sanum for this

purpose.




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       25.    On August 14, 2012, pursuant to Articles 9 and 13 of the Agreement on

Encouragement and Reciprocal Protection of Investments between the Lao People’s Democratic

Republic and the Kingdom of the Netherlands (“Lao-Dutch BIT”), (“the LHNV Proceeding”),

Baldwin initiated Lao Holdings N.V. v. The Lao People’s Democratic Republic, ICISD Case

No. ARB(AF)/12/6, an arbitration under the ICSID Additional Facility Rules.

       26.    The arbitral tribunal invested to hear the LHNV claims included Professor

Bernard Hanotiau, Professor Brigitte Stern, and the President of the Tribunal, the Honorable Ian

Binnie. Professors Hanotiau and Stern are two of the most prominent ICSID arbitrators in the

world, sitting on a combined total of more than 85 investment tribunals. President Binnie was a

Justice on the Supreme Court of Canada from 1998 through 2011.

       27.    Also, on August 14, 2012, pursuant to Article 8(3) of the Agreement Concerning

the Encouragement and Reciprocal Protection of Investments between the Government of the

People’s Republic of China and the Government of the Lao People’s Democratic Republic

(“China-Lao BIT”), Baldwin initiated Sanum Investments Limited v. The Lao People’s

Democratic Republic, PCA Case No. 2013-13, an ad hoc arbitration according to UNCITRAL

(“United Nations Commission on International Trade Law”) Rules against the Government (“the

Sanum Proceeding”).

       28.    The arbitral tribunal invested to hear the Sanum claims included Professor

Bernard Hanotiau, Professor Brigitte Stern, and the President of the Tribunal, Mr. Andres Rigo

Sureda. President Rigo Sureda is the former Acting Vice President and General Counsel of the

World Bank, of which ICSID is affiliated.

       29.    In both arbitrations, LHNV and Sanum brought claims against Lao PDR for

alleged violations of their international responsibilities to protect foreign investors under the




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relevant treaties. The collective total of the claims asserted against Lao PDR amounted to

$1,000,000,000.00 (One Billion Dollars).

          30.   In the two treaty arbitrations which LHNV and Sanum filed in August 2012, each

claimant made various claims against Lao PDR, including alleged expropriations of several

gaming licenses and unfair and inequitable treatment involving certain investments.

          31.   In the LHNV case, LHNV claimed inter alia that Lao PDR provided unfair and

inequitable treatment to LHNV, as owner of Sanum, in Sanum’s court case against ST Group.

          32.   In the Sanum case, Sanum claimed inter alia that Lao PDR had expropriated three

gaming licenses, at the towns of Paksong, Paksan, and Thakhet.

          33.   The BIT Tribunals were tasked with several preliminary issues relating to

jurisdiction and requests for preliminary relief. There was comprehensive discovery conducted

by American counsel. The merits hearings were scheduled for June 2014 in Singapore.

          34.   A few days before those hearings, Baldwin, facing an onslaught of proof of his

criminal behavior, conducted negotiations with the Lao PDR and agreed that LHNV and Sanum

would enter into a Deed of Settlement (“Deed”).

          35.   In the Deed, Baldwin agreed to dismiss all LHNV and Sanum claims and to sell

the Savan Vegas casino within ten months and exit Laos. The Lao PDR did not pay any

compensation in exchange for the dismissal of the arbitrations by the Deed.

          36.   Baldwin, however, within two weeks, reneged on the Deed and refused to comply

with its terms, including the term to sell the Savan Vegas casino within ten months. If he failed

to sell the casino within ten months, Baldwin had agreed in the Deed to allow the Lao PDR to

take possession and to sell the casino, distributing the sale proceeds according to the ownership

shares.




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       37.     Baldwin had also agreed in the Deed to allow a government monitor to review all

transactions during the ten-month sale period. Importantly, Baldwin agreed to pay tax on gross

gaming revenue in an amount to be set by an independent committee.

       38.     However, within two weeks of signing the Deed, Baldwin refused to allow the

government monitor on the casino premises, refused to participate in creating the tax committee,

and refused to attempt to sell the casino.

       39.     Even though the Deed stated that during the ten-month sale period, from July 1,

2014 through April 15, 2015, Savan Vegas would pay tax to the Lao PDR, Baldwin directed his

CFO not to pay any tax to the Government.

       SIAC Arbitration to Compel Performance of BIT Arbitration Settlement Deed

       40.     The Lao PDR was forced in August 2014 to initiate a commercial arbitration

under an arbitration clause in the Deed to compel performance of the Deed.

       41.     That arbitration was conducted under the auspices of the Singapore International

Arbitration Centre (“SIAC”). That SIAC Tribunal president was the Honorable Rosemary

Barkett, formerly a judge on the United States Court of Appeals for the Eleventh Circuit.

       42.     Under the guidance of the SIAC Tribunal, on the tenth month after the Deed’s

execution, April 15, 2015, the Lao PDR took control of the casino and sold it by auction sixteen

months later, on August 31, 2016.

       43.     The SIAC’s final award was issued on June 27, 2017. That tribunal held the Lao

PDR had fully performed its duties under the Deed. It also stated, “it is undisputed that Sanum

failed to have Savan Vegas pay any taxes to Laos….” In addition, that Tribunal found that the

Government auction sale process had produced the maximum sale price for the casino. The sales

proceeds were then distributed according to the terms of the Deed.




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       44.        The amounts the SIAC Tribunal awarded to the Lao PDR were paid from an

escrow account which had been established under the Tribunal’s review and was funded from the

sale price of the casino.

       45.        In August 2019, that award was confirmed as a Judgment by the High Court of

Singapore and is not an issue in this proceeding.

                  Reinstatement of Original BIT Proceedings and Final Awards

       46.        The original BIT Tribunals, however, in December 2017, allowed LHNV and

Sanum to reinstate their 2012 original treaty arbitration claims by finding the Deed had been

breached by, inter alia, the type of tax the Lao PDR had adopted for the sale of the casino—the

Deed called for a “flat tax”—the Lao PDR’s expert set the tax at 28%.

       47.        The BIT Tribunals said that 28% was an “ad valorem tax,” not a “flat tax,” and

thus a breach of the Deed.

       48.        The original August 2012 claims in both cases were then set for a hearing in

September 2018. Both tribunals sat together, but the cases were not consolidated.

       49.        The arbitral proceedings were complex and extensive. The parties engaged in

extensive discovery, and the arbitrators heard arguments on procedural issues and issued several

interim orders.

       50.        The BIT Tribunals conducted a final merits hearing in Singapore in September

2018. At the hearing, the parties relied upon hundreds of documentary exhibits, each submitted

opening and closing arguments, and each presented witnesses who testified and were cross-

examined.

       51.        After those hearings in September 2018, the tribunals closed the record and both

tribunals issued their Final Awards on August 6, 2019.




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       52.     The Final Award in Lao Holdings N.V. v. The Lao People’s Democratic Republic,

ICISD Case No. ARB(AF)/12/6 was entered and became final on August 6, 2019, when it was

issued to the parties by the Secretariat of ICSID, a true and correct copy of which is attached as

Exhibit C.

       53.     The Final Award in Sanum Investments Limited v. The Lao People’s Democratic

Republic, PCA Case No. 2013-13 was entered and became final on August 6, 2019, when it was

issued to the parties by the Secretariat of the PCA, a true and correct copy of which is attached as

Exhibit D.

       54.     The Lao PDR had defended the BIT claims, inter alia, on the grounds that

Baldwin had engaged in corrupt and criminal behavior in the Lao PDR. By agreeing to the Deed

in June 2014, Baldwin avoided having to meet those defenses in a merits hearing. In the renewed

hearing on the merits, however, in September 2018, the issues of Baldwin’s criminal conduct

were made central parts of the Lao PDR’s defense.

       55.     In their Final Awards, the BIT Tribunals agreed that Baldwin had committed

serious crimes in Laos. Both tribunals held that the Lao PDR’s evidence proved it was “more

likely than not” that in July 2012, Baldwin had paid “consultants” circa $500,000, which was

used to bribe Lao PDR officials, inter alia, to stop the Ernst & Young audit of the Savan Vegas

casino and to interfere in the Thanaleng ST Group court proceeding.

       56.     In addition, both tribunals found as fact that Baldwin had paid a material witness,

Madam Sengkeo, 1 $575,000 to prevent her from testifying in the cases. The tribunals found this

payment was an “obstruction of justice.”



1
 Madam Sengkeo is a Laotian national who worked with Baldwin on several projects starting in
2007. Baldwin called her a friend and a “lobbyist,” whom he retained to “lobby” Lao PDR
officials. In 2014, Madam Sengkeo was identified as a material witness in the arbitration cases.


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        57.     The BIT Tribunals held that these facts meant Baldwin acted in bad faith in his

dealings with the Lao PDR and was not entitled to treaty protection under public international

law.

        58.     The BIT Tribunals then dealt with the merits of each claim LHNV and Sanum had

raised in their two August 2012 notice of arbitrations, i.e., the alleged expropriation of gaming

licenses at Paksong, Paksan, and Thaket, and the alleged lack of “fair and equitable treatment” in

the Thanaleng court case with ST Group.

        59.     The BIT Tribunals dismissed each claim because LHNV and Sanum had failed to

meet the burden of proof that there had been an expropriation or a denial of justice or unfair and

inequitable treatment.

        60.     Finally, the BIT Tribunals awarded the Lao PDR its fees, expenses, and costs of

the arbitrations.

        61.     The total sum awarded to Lao PDR in the two arbitrations is $3,727,358.98. As

noted above, the LHNV Tribunal awarded the Lao PDR $1,949,106.67 and the Sanum Tribunal

awarded the Lao PDR $1,778,252.21 (collectively, “Final Awards”).

        62.     LHNV and Sanum have not made any payment to the Lao PDR under the Final

Awards, despite the requirements set forth in the rules that each party undertake to carry out the

awards without delay.

        63.     Instead, in further evidence of their bad faith, on November 6, 2019, LHNV and

Sanum have filed an action in the High Court of Singapore to “set aside” the two awards.



Her role is described in the Final Awards. In particular, the tribunals found that Baldwin paid a
bribe of $575,000 to Madam Sengkeo to prevent her from testifying for the Government in the
arbitration hearings, which the BIT Tribunals held was an “obstruction of justice.” ICSID
Award, para. 157; PCA Award, 156.



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        64.     The Arbitral Seat for both arbitrations was the Republic of Singapore. The Final

Awards are thus “foreign” awards, under 9 U.S.C. §207.

                                 Alter Ego Liability of Defendants

A.      There is a Unity of Interest and Ownership Between Baldwin and His Companies.

        65.     Baldwin completely dominates and controls Bridge, LHNV, and Sanum.

        66.     The BIT Tribunals each found as fact that Baldwin was the “directing mind” of

LHNV and Sanum: “Mr. Baldwin is the directing mind of both Claimant companies. His conduct

throughout was to advance their corporate interests. His bad faith conduct is their conduct.”

        67.     The BIT Tribunals’ finding that Baldwin is the “directing mind” of LHNV and

Sanum was based upon a close evaluation of Baldwin’s conduct and testimony.

        68.     Baldwin submitted eight witness statements to the BIT Tribunals in which

Baldwin made clear he alone made all decisions relating to the “corporate” investments in Laos.

        69.     In these statements, Baldwin never once attributed any decision he made during

his eight years of operations in Laos to a Bridge or an LHNV or a Sanum corporate board of

directors, or to any other officer or director.

        70.     Rather, Baldwin made clear to the arbitral tribunals that “I,” Baldwin, made every

decision.

        71.     In his third witness statement, he described how on his first visit to Laos in 2007,

he met the officials of the ST Group and signed the “Master Agreement” governing his

investments in Laos within a five-day visit—thus committing Bridge and Sanum to invest over

$50 million in Laos without any consideration by any corporate body.

        72.     In all eight witness statements, Baldwin does not once refer to the participation of

his partner, Mr. Scott, in any decisions affecting these Laos investments.




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          73.   Baldwin’s witness statements make clear he alone made all business decisions for

Bridge, LHNV, and Sanum.

B.        Bridge is the Hub of Baldwin’s Wheel.

          74.   Bridge is the center of Baldwin’s wheel. Baldwin forms dozens and dozens of

corporations, and Bridge owns many of them, but often Bridge does not exert control by share

ownership.

          75.   Such is the case here. Baldwin kept ownership of the LHNV and Sanum shares in

his and his partner’s name but the money is controlled by Baldwin’s tentacles in Bridge.

          76.   When Baldwin signed the Laos ‘”Master Agreement”’ in 2007 to invest in Laos,

he used Sanum as the signatory on the Laos contracts; but the funds all came through loans from

Bridge.

          77.   In addition to the Sanum loan that Bridge controlled, Baldwin created another

source of funds for Bridge to take out of Laos—a Bridge Management Contract to manage

Sanum, for which Bridge received additional fees, but Bridge had no management personnel

supervising the management of the casino in Laos.

          78.   Baldwin also had used Bridge to create LHNV solely to use as a vehicle to sue the

Government under a different Bi-Lateral Investment Treaty than the one Sanum could use.

          79.   Baldwin’s decision to create LHNV in 2011 and to use it to initiate the LHNV

arbitration in August 2012 illustrates his total control over Bridge and LHNV.

          80.   In late 2011, when it became apparent to Baldwin that he might have disputes

with the Government, Baldwin instructed Richard Pipes, Bridge Vice President and General

Counsel, to form LHNV in Aruba. Pipes had recognized that investment treaty tribunals have




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routinely allowed foreign investors to create new companies to change their nationality to take

advantage of treaties with broader relief.

       81.     When Pipes made the recommendation to form LHNV, Baldwin alone instructed

him to proceed.

       82.     Pipes began contact with counsel in Aruba in 2011. In all correspondence with

Aruba counsel, Pipes identified himself as Bridge’s “Vice President and Chief Legal Officer,”

used his Bridge email account, and sent all the required funds to Aruba from a Bridge bank

account located in Idaho at the Idaho Independent Bank. In sum, at Baldwin’s direction, Bridge’s

Pipes created LHNV and then inserted that new company into the corporate chain as the 100%

owner of Sanum.

       83.     Likewise, Baldwin does not make reference to any action or decision by the

Bridge, LHNV, or Sanum Board of Directors.

       84.     Seven months after creating LHNV, for the sole purpose of suing the

Government, Baldwin initiated the BIT Claims in August 2012—calling himself the “authorized

representative” of LHNV. Baldwin alone approved LHNV's filing these cases against the

Government.

       85.     In September 2012, Baldwin directed Crawford, the Savan Vegas CFO, to pay all

money Savan Vegas owed to Sanum directly to Bridge accounts in Idaho. Baldwin wrote to

Crawford: “Please send $220,000 to Bridge today. We’ve assigned the Sanum note to Bridge so

you can pay Bridge direct.”

       86.     Therefore, from September 12, 2012 through April 15, 2015, all Savan Vegas

loan payments were made to Bridge, skipping Sanum.




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       87.     This sum exceeded $40 million. Baldwin issued his instruction one month after he

initiated these two arbitrations, proceedings in which awards of attorney’s fees are routine.

       88.     Baldwin's assignment of the Sanum loan to Bridge had the effect of removing

assets from Sanum that should have been available in an Idaho bank account to satisfy these

costs awards. It is thus clear that Baldwin’s motivation in skipping Savan Vegas payments to

Sanum was to remove an asset from the Government’s direct reach to satisfy these current costs

awards.

       89.     Further, from July 2014 through April 2015, while Baldwin wrongfully

maintained exclusive control of the Savan Vegas casino, when pursuant to the July 2014 Deed he

was required to pay tax to the Government, Baldwin refused to do so. During that ten month

period, instead of paying tax to the sovereign Government, Baldwin directed Crawford to send

$430,000 each month to a Bridge account in Idaho. Baldwin told the BIT Tribunals that he was

“escrowing” a tax payment.

       90.     But when the Government took control of the casino on April 15, 2015, Baldwin

and Bridge did not pay the $4,300,000 in escrowed funds to the Government as back taxes—

Bridge kept the money in its Idaho bank account. Now it is time to pierce the Bridge veil and

have Bridge pay the Government its costs awards.

       91.     In addition, when LHNV and Sanum were asked by the tribunals to submit their

arbitration fees and expenses at the end of the proceedings, in March 2019, LHNV and Sanum

submitted requests for more than $20 million—none of which had come from their own business

accounts. As the parties had discussed before the arbitrators in the October 2016 hearing noted

above, all of the fees, which over the years from 2012 through 2018 had been paid to LHNV’s




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and Sanum's counsel, were authorized and funded by Baldwin and Bridge. Baldwin used

Bridge’s funds to sue the Government.

       92.      In another benefit to Bridge, the Savan Vegas CFO Crawford testified he wired

Savan Vegas funds due to Sanum directly to a third-party company in Hawaii which Baldwin

owned, Bridge Aina. Crawford testified Baldwin directed him to transfer the funds directly to

Bridge Aina “so the cash would just cut across the companies to make the wiring instructions

easier.”

       93.      Both BIT Tribunals found as fact that Baldwin acted in bad faith in his reign of

corruption in Laos that, and using Bridge as the fulcrum of his Laos investment, harmed the

Government in the material ways described above.

C.     LHNV and Sanum are Managed by Bridge Officers from Bridge Offices in
       Saipan.

       94.      In evaluating whether there is alter ego liability, courts also consider the practical

issue of the whether the companies use the same offices and personnel.

       95.      LHNV2 has no employees. Baldwin did not even bother to become a director or

officer of LHNV—he filed the treaty arbitrations after declaring himself LHNV’s “authorized

representative.”

       96.      Sanum is a Macau SAR company, and keeps a Macau SAR address, but it has no

employees in Macau. To the extent Sanum has employees, they are Bridge employees, and their

office is Bridge's office in Saipan. Bridge's CFO, Crawford, is also Sanum's CFO. Crawford

testified: “The work I do for Sanum is done out of the Bridge Capital office [in Saipan]; there are

no Sanum employees in Macau.”

2
  LHNV was set up by a company in Aruba that creates such vehicles for use in investment
arbitrations, and for Dutch tax reasons, that company appoints its members as the LHNV
directors. These “directors” take no actions for the business of the corporation.



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D.     Baldwin Used “Loan Payments” from the Savan Casino for Personal Use and Use
       by Related People and Entities.

       97.     In 2009-2012, Baldwin routinely directed the CFOs of the Savan Vegas and

Casino Co. to send millions of dollars to entities unrelated to Sanum or the Sanum loan.

       98.     After the BIT Tribunals allowed the Government to take control of the casino on

April 15, 2015, as noted above, the Lao PDR retained the services of BDO Global (“BDO”) to

conduct an audit of the Savan Vegas casino.

       99.     The BDO audit reports established that the “Sanum Loan” was itself a fraud on

Savan Vegas and Casino Co., the company owned 20% by the Government and 20% by ST

Group. Baldwin had loaded the Credit Facility Agreements (“CFAs”) with high interest rates and

“late fees.” The loan was a demand loan and yet each time Baldwin made a demand for payment,

his CFO would add a late fee.

       100.    First, BDO determined that Baldwin had sent, at a maximum, $44 million to

Sanum for use in building the Savan Vegas casino complex.

       101.    Second, BDO determined that Baldwin had caused Savan Vegas to transfer

$85.29 million as payments to Sanum and Bridge on the “Sanum Loan” without applying any

amount to the principal of the loan. To be clear—when the Government took control of the

Savan Vegas and Casino Co. on April 15, 2015, Baldwin’s books and records showed that Savan

Vegas continued to owe $89 million on the loan.

       102.    BDO found that Baldwin was personally involved in these transfers and that they

did not comply with the terms of the CFAs.

       103.    BDO found that Baldwin directed the Savan Vegas CFO to send hundreds of

thousands of dollars of the casino’s money, and thus 20% the Lao PDR’s money, directly to:

himself, ($8,044,099); Jim Baldwin, John Baldwin’s brother ($13,286,508); Creative



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Entertainment, a new online gaming business Baldwin started ($2,529,000); Ha Tien Casino, a

new casino Baldwin developed in Cambodia ($2,127,916); and other Baldwin-related parties

($5,164,172).

       104.     All of these payments BDO identified were a fraud on the company and the

minority shareholders, the Lao PDR, and ST Group.

E.     Baldwin Engaged in Criminal Behavior.

       105.     In July 2012, Baldwin was concerned that the audit of the Savan Vegas casino

undertaken by Lao PDR would lead to adverse audit findings and allow the Lao PDR to

intervene and sanction the casino operation. At the same time, Baldwin was concerned that a

court case in Vientiane with his local partner, ST Group, would result in the loss of his role with

the Thanaleng slot club.

       106.     Baldwin resorted to bribes to stop the audit and the court case.

       107.     On July 5, 2012, Baldwin sent an email to CFO Crawford informing him that he

needed $500,000 in cash to be sent from the casino to Vientiane in the next week. Crawford

asked why and Baldwin told him the funds would be used to pay a “lobbyist.” Crawford could

only gather $197,000 in U.S. dollars and he wired that sum to the account of Mr. Annousith,

Madam Sengkeo’s son-in-law3.

       108.     Stymied but not defeated, Baldwin contacted the manager of a bank he owns in

Phnom Penh, Cambodia, the Angkor Capital Bank, and demanded the manager withdraw


3
  Mr. Annousith was identified as Madam Sengkeo’s son-in-law. Baldwin later testified he was
a “lobbyist” in Vientiane who was free to spend the $193,000 Crawford wired to his account in
any manner he wished. Baldwin was unable to further describe Madam Sengkeo’s son-in-law or
his activities. The BIT Tribunals accepted that these funds were used to bribe government
officials: “…the Tribunal concludes that it is more likely than not that a bribe was paid to an
unidentified Government official or officials in an unsuccessful effort to advance [LHNV’s]
agenda at the Thanaleng slot club.” ICSID Award, para 148; PCA Award 147.



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$300,000 in cash and have his personal assistant fly the cash across the border that day to

Vientiane. The manager did so and the next day, Baldwin’s personal assistant deposited the full

$300,000 into the bank account of Madam Sengkeo.

         109.      The same day, a government official instructed Ernst & Young to terminate the

audit.

         110.      The BIT Tribunals found as a fact that Baldwin’s “lobbyist” paid the money to a

government official to intervene in Baldwin’s disputes. Baldwin admitted there was no contract

with the lobbyist, and no record of what he had done with $193,000. Baldwin said: “We paid

him a fee . . . it was his money and he could do with it as he wishes.”

         111.      The Final Awards also concluded that Baldwin directed the payment of “US

$575,000 for the obstruction of the due process of this arbitration by paying Madame Sengkeo

not to testify.”

         112.      Baldwin’s manifest disregard for the rule of law is evident on the facts of this

issue as well. As noted in the ICSID and PCA Final Awards, “Madam Sengkeo [held a] central

role in dealings between the [LHNV/Sanum] and the Government over many years.” Thus the

course of dealing between Baldwin and Madam Sengkeo taints all of Baldwin’s investments in

Laos, and her testimony would have “shed crucial light on the legality or illegality of many of

the disbursements at issue.”

         113.      Baldwin’s scheme to silence Madam Sengkeo arose after May 7, 2014, when the

Lao PDR proffered Madame Sengkeo a letter offering immunity for her cooperation in

developing “information and documents related to offering of bribery to government officials.”

         114.      On May 14, 2014, Baldwin’s counsel applied to the ICSID Tribunal “to allow

Mr. Baldwin to make a ‘personal loan’ to Madam Sengkeo of US $575,000.” As the tribunal




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noted, “[g]iven the importance and sensitivity of Madam Sengkeo’s evidence potentially to be

given at the merits hearing, the Tribunal declined to give its permission for a US $575,000 loan

to her from Mr. Baldwin.”

        115.    Thereafter, Madam Sengkeo rejected the offer of immunity and refused to provide

evidence to the Lao PDR, thus depriving the BIT Tribunals of vital evidence.

        116.    Despite the ICSID Tribunal’s explicit decision not to allow the payment, the

tribunals found that Mr. Baldwin arranged for Madam Sengkeo to be paid the US $575,000. The

tribunals concluded that “Mr. Baldwin clearly intended to sidestep the Tribunal’s denial of

permission by arranging for the US $575,000 loan from a third party.”

        117.    On the balance of evidence, both BIT Tribunals held that “Mr. Baldwin and

Madam Sengkeo were involved in channeling funds illicitly to Lao Government officials, and

further that she was paid to secure her loyalty and to avoid her testifying on behalf of the

Government, thereby obstructing justice.”

        118.    The BIT Tribunals have held the Defendants’ deliberate decision to deceive the

Government, to defraud the tribunals, and pay off critical witnesses in order to defraud the

tribunals or impede the Government’s defense is an unconscionable and egregious breach of

their obligation to arbitrate in good faith.

        119.    Baldwin’s criminal conduct in Laos, confirmed in the BIT Tribunals’ findings of

fact, directly harmed the Government in several ways: (i) the Government was a 20%

shareholder in the Savan Vegas casino—by sending $193,000 of the casino’s funds to Madam

Sengkeo through her son-in-law’s bank account, Baldwin used $38,000 of the Government’s

share of casino revenues to pay criminal bribes to stop the Government’s audit of the casino

books and records; (ii) the tribunals found that the audit would have revealed significant




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financial irregularities, which harmed the Government as a shareholder—having the audit

terminated by bribery prevented the Government from taking corrective action, including

recovery of its funds; and (iii) the criminal activity increased the very fees the Government seeks

to collect under the awards by increasing counsel’s work in unraveling the criminal schemes with

evidence.

       120.    Baldwin alone directed the CFO to use corporate funds to pay these criminal

bribes. There was no notice to or action by the Board of Directors of Savan Vegas or Sanum or

Bridge to approve these actions. Bridge/Sanum CFO Crawford testified: “When John Baldwin

instructs me to make a payment, I make a payment.”

       121.    These criminal acts are compelling proof that Baldwin views the corporations and

their funds as his personal tools and his personal funds which he can use for whatever reason,

including committing criminal acts. He has no regard for the corporate form or corporate

purposes.

       122.    Importantly, Baldwin diverted corporate assets for personal use to avoid criminal

exposure. The $575,000 payment Baldwin made to Madam Sengkeo, a material witness in Laos,

was to protect himself by preventing the witness from testifying in the arbitration that Baldwin

had paid bribes to Laos government officials, thus preventing her from providing proof he had

violated the U.S. Foreign Corrupt Practices Act.

       123.    There is an additional bribe Baldwin paid in Cambodia to obtain a gaming license

that reflects upon his modus operandi that “corporate funds” are his personal funds.

       124.    In August 2012, just a month after paying bribes in Laos as described by the BIT

Tribunals, Baldwin instructed his employees in Cambodia to pay a bribe of $120,000 to General

Sen, a Cambodian official. Baldwin had incorporated a bank in Phnom Penh, the Angkor Capital




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Bank. On August 27, 2012, Baldwin directed the bank’s managing director to withdraw $40,000

in cash to pay to General Sen at a meeting scheduled for that afternoon. In authorizing his

employees to use the bank’s funds to pay a bribe to a Cambodian official to secure a gaming

license, Baldwin told them: “You can use my money, you can make a Bridge payment from the

bank, or just advance an amount and hold it in suspense until I get there and decide what to do.”

          125.   Again, this is another proof that to Baldwin, corporate form means nothing—it is

all his money to do as he pleases. Corporate records are an afterthought.

F.        There is Additional Evidence of Fraud in Corporate Operations.

          126.   Sanum received funds in 2008/2009 from Baldwin through Bridge to build the

Savan Vegas casino in Savanakhet, Laos. The financial result was a “Sanum Loan,” which the

casino company, Savan Vegas and Casino Company Ltd., owed to Sanum, which in turn owed to

Bridge.

          127.   The funds were advanced largely during construction in 2008, and the Savan

Vegas casino opened for business in mid-2009.         Baldwin then belatedly created two loan

agreements between Sanum and Savan Vegas, the CFAs.

          128.   From 2009 through September 2012, the Savan Vegas CFO paid all cash from

casino operations above expenses to Sanum at Baldwin’s sole direction, and then routed the

funds to Bridge.

          129.   The “Sanum Loan” itself was a fraud on the Savan Vegas and Casino Co. and its

shareholders—the Government owned 20% of the Savan Vegas company and the local partner,

ST Group owned 20% (through 2012). From the inception of the casino’s business in 2009

through the transfer of control under the Deed in April 2015, Baldwin controlled the flow of

Savan Vegas funds to repay the loan so that neither minority shareholder ever received any




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payments from the casino. Baldwin, however, made continual withdrawals under the loan that

amounted to $85 million.

       130.    The process of the withdrawals has been well documented by discovery and

testimony in the arbitration cases. From 2012 through 2015, Clay Crawford was the CFO of

Savan Vegas. He then became CFO of Bridge and Sanum. He has testified in the arbitrations that

he transferred cash from the casino operations solely in response to Baldwin’s instructions,

usually made in telephone calls: "'The majority of loan payments would be initiated by Baldwin;

I would check the cash and then make the payment.”

       131.    The Sanum Loan agreements, the CFAs, required Sanum to document each

request for payment from Savan Vegas. Before Crawford became CFO, in 2012 Baldwin hired a

new Bridge CFO, David Jensen. Jensen noted the appropriate documentation under the CFAs to

authorize loan repayments from Savan Vegas to Sanum was missing for two years. His

“solution” was to create false documents, backdate them and have a former general manager sign

them, even though at the time of signature, he was no longer general manager.

       132.    Jensen's fraudulent process was then executed by the Savan Vegas CFO,

Crawford, who admitted the scheme in his testimony.

       133.    The Government then retained BDO, international auditors based in Hong Kong

to testify in the arbitrations. BDO confirmed that Sanum caused Savan Vegas to back-date the

loan documentation and to have it signed by an employee no longer responsible for that activity.

       134.    In another example of outright fraud which also cost the Government 20% of

$2.42 million, Baldwin directed Crawford to pay Debevoise & Plimpton’s invoices during the

arbitration cases. At the outset of the treaty arbitrations, in 2012, Baldwin retained Debevoise &

Plimpton, New York (“Debevoise”) to represent his interests. Under their agreement,




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Debevoise’s clients were Bridge, LHNV, and Sanum. Debevoise routinely addressed and sent its

legal invoices to Bridge’s offices in Saipan, addressed to Bridge, LHNV, and Sanum. But

Baldwin directed Crawford, his CFO, to use Savan Vegas funds to pay Debevoise.

       135.   This scheme was a fraud on the Government. Baldwin had Crawford use the

funds of the Savan Vegas and Casino Co., 20% owned by the Government, and 20% owned by

ST Group, to pay 100% of Debevoise invoices. Baldwin took the invoices Debevoise sent to its

clients Bridge, LHNV, and Sanum in Saipan, and sent them to Crawford at Savan Vegas located

in Savanakhet, Laos. Baldwin instructed Crawford to use Savan Vegas cash to pay Debevoise

for work for Bridge, LHNV and Sanum. To create this fraud, Crawford created fake, false

invoices. Crawford copied the Debevoise letterhead, added the addressee as Savan Vegas and

Casino Co., added the amount of the original invoice, and thus created a “Debevoise” invoice

addressed to Savan Vegas.

       136.   Crawford testified that he created the false “Debevoise” invoices because when he

sent wire instructions to the Laos bank, they required a copy of the invoice that was being paid;

not wanting the bank to see he was paying a Bridge/LHNV/Sanum invoice with Savan Vegas

funds, he created the fake invoices to deceive the bank and ultimately the Government.

       137.   The CFO then sent these fraudulent invoices to Savan Vegas’ Laos bank, which

duly wired the casino’s funds to Debevoise. In this fraud and abuse of the corporate form,

Baldwin paid his legal bills to sue the Government using 20% of the Government’s casino funds.

       138.   But as noted above, CFO Crawford did as he was told by Baldwin to make these

wrongful payments of $2.42 million, 40% of which belonged to the two minority shareholders.

       139.   In addition, at no time during Baldwin’s control of the Savan Vegas casino, from

January 2008 through April 2015, did Baldwin make or allow any payments from the Savan




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Vegas casino to the other shareholders, the Government, and ST Group. Over that period,

Baldwin directed the CFO to transfer over $85 million from Savan Vegas to Sanum and to

Bridge without a single payment to Lao PDR.

G.     Baldwin and Bridge Entered Into Contracts With the Intent to Avoid Performance.
       140.    In 2007, when Baldwin was negotiating with ST Group over the terms of an

investment in the Laos gaming sector, he learned that the Government had made two grants for

casino licenses, one at Savanakhet and one at Paksong. They were linked—the license holder

had to build both, even though the site at Paksong was remote and not as valuable as the site at

Savanakhet, on the Mekong River at a bridge crossing to Thailand.

       141.    Baldwin agreed, but he never had any intention to build the required $25 million

casino at Paksong. Instead, he kept misleading ST Group and the Government so that he could

keep a monopoly on gaming businesses in three Laos provinces that were contingent upon the

Paksong license.

       142.    The PCA Tribunal made express findings of fact that Baldwin entered into the

Paksong contract with no intention of performing it, but maintained his bad faith behavior to

control monopoly rights in three Laos provinces to prevent another investor from entering the

Laos gaming market.

H.     Enforcement of these Costs Awards Against LHNV and Sanum is Impossible.

       143.    LHNV is a shell company and a corporate investment vehicle with no assets other

than its nominal interest in Sanum. It was formed purely for utilizing the Lao-Netherlands BIT; it

is and has always been a corporate entity without any business, employees, or retained assets.

       144.    Likewise, Clay Crawford, CFO of Bridge and Sanum, testified that Sanum had

minimal remaining assets consisting of outstanding loans to two small Baldwin gaming

operations in Cambodia.


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       145.    Neither arbitral award debtor has any assets in the United States.

       146.    The alter ego issue was in fact discussed by the parties before the LHNV Tribunal

in October 2016 at a hearing on the Lao PDR’s motion for security for costs. The Lao PDR

argued that since LHNV and Sanum were shell companies, were it to prevail and receive an

award for fees and costs, LHNV and Sanum would be judgment proof, hiding behind Baldwin,

not a named party. In arguing against the motion, LHNV’s counsel argued that the tribunals

should not order security for costs, but should recognize that if the Lao PDR received an award

for costs, it could pursue an alter ego claim against Baldwin. LHNV’s counsel stated:

               Mr. Branson [Lao PDR's counsel] knows how all these companies are sort
       of linked together and if he wants to try to enforce Awards for costs later on
       against a company that is not LHNV, he has everything he might need to be able
       to do that. This is just simply not the same situation as if they were sat across the
       table not knowing where the assets lie on our side of the table. . . . But the fact is,
       it is not an unknown third-party funder who you can’t even bring an alter ego
       claim against, if they want to try to claim money over against Mr. Baldwin that’s
       not paid by LHNV, they know who he is and they know they can make that
       attempt.”

       147.    And so it has come to pass. The Lao PDR must make that attempt “to claim

money over against Mr. Baldwin that’s not paid by LHNV” because LHNV and Sanum have

refused to pay the costs awards.

                                          CAUSES OF ACTION

              COUNT I---ENFORCEMENT OF THE ARBITRAL AWARDS AND ALTER
                                   EGO LIABILITY

       148.    The Final Awards are binding and subject to enforcement.

       149.    Article 34.2 of the UNCITRAL Rules, pursuant to which Sanum agreed to have

the arbitration conducted, states that “[t]he award shall be . . . final and binding on the parties.

The parties undertake to carry out the award without delay.” Likewise, Article 52(4) of the




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ICSID(AF) arbitration rules, which LHNV consented to use, provides that “[t]he award shall be

final and binding on the parties.”

        150.    Notwithstanding their commitment to undertake “to carry out the [A]ward without

delay,” Sanum and LHNV have failed to pay the amounts awarded to the Lao PDR in the Final

Awards.

        151.    The United States implemented the New York Convention pursuant to Chapter 2

of Title 9 of the U.S. Code. See 9 U.S.C. § 201, et seq. Section 207 of that Chapter provides:

“The court shall confirm the award unless it finds one of the grounds for refusal or deferral of

recognition or enforcement of the award specified in the said Convention.”

        152.    The New York Convention provides that covered awards must be enforced,

absent very specific and limited grounds. 9 U.S.C. § 207 provides that confirmation is mandatory

“unless [the Court] finds one of the grounds for refusal or deferral of recognition or enforcement

of the award specified in the said Convention.” 9 U.S.C. § 207. Accordingly, US courts have

little discretion to refuse to enforce an award under the FAA.

        153.    Under the New York Convention, this Court is a “secondary court,” with

authority only to confirm and to enforce the awards, unless one of the express grounds listed in

the Convention justifies refusal.

        154.    No grounds listed in the Convention to justify refusal to enforce the awards exists

in this case.

        155.    Thus, pursuant to 9 U.S.C. § 207, the Lao PDR is entitled to immediate

recognition and enforcement of the Award under the New York Convention.

        156.    Equity demands that the Defendants be held liable to pay the full amount of the

two awards in these arbitration cases.




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       157.    The "issues of alter ego and veil piercing are equitable questions." Lunneborg v.

My Fun Life, E. Edwards, and C. Edwards, 163 Idaho 856, 421 P. 3d 187, 202 (Idaho 2018)

(citing Wandering Trails LLC v Big Bite Excavation, Inc., 156 Idaho 586, 594, 329 P.3d 368,

376 (Idaho 2014).

       158.    There is no litmus test to determine when the corporate veil will be pierced; the

result will depend on the circumstances of each particular case. But, "(1) there must be a unity of

interest and ownership that the separate personalities of the corporation and the individual no

longer exist, and (2) that if the acts are treated as those of the corporation alone, an inequitable

result will follow." Lunneborg, supra at 200.

       159.    The two foreign arbitral tribunals each made findings of fact that Baldwin is the

“directing mind” of LHNV and Sanum. LHNV Award, ¶ 236; Sanum Award, ¶ 174. There is

clear proof that Baldwin dominated and controlled the operations and finances of Bridge, LHNV,

and Sanum, so that the separate corporate personalities of each ceased to exist.

       160.    Bridge, although a non-shareholder in the award debtors, LHNV and Sanum, is

liable under the alter ego legal doctrine as an intimately intertwined company in Baldwin's web

that was involved in the creation of LHNV and Sanum and was the beneficiary of Baldwin's

misconduct in utilizing these corporate vehicles for his and its benefit. See Lunneborg, supra

(piercing the veil of a related party, not a shareholder).

       161.    The multiple facts which compel the conclusion that the Court must pierce the

veil and hold Defendants John K. Baldwin and Bridge liable for the debts asserted here by the

Lao PDR, include, inter alia, (i) multiple facts proving the assertion that Baldwin conducted the

affairs of these companies with a unity of interest such that the separate identities of the

companies ceased to exist, (ii) fraud upon the Government, (iii) fraud upon the tribunals, where




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both (ii) and (iii) made the conduct of the arbitration cases more complex and thus more

expensive, adding materially to the Lao PDR’s costs which the Plaintiff is seeking to recover in

this proceeding, as well as (iv) multiple facts proving disregard of the corporate forms, and

(v) multiple misuses of corporate funds. In essence, Baldwin treated any money in any Baldwin

owned company as "his money" and he directed his employees to send it to any person or

corporate entity as he alone decides.

       162.    The Lao PDR has equity on its side and piercing the LHNV and Sanum corporate

veils is necessary to prevent hardship to the Lao PDR. Baldwin ran a criminal enterprise in Laos,

bribing Government officials, paying a witness not to testify, stealing funds from the

Government’s co-owned investment, the Savan Vegas casino, and dealing in all phases of his

operations with the Government in bad faith.

                                        ATTORNEY FEES

       163.    It has been necessary for Lao PDR to retain counsel to bring this action. The

Plaintiff hereby requests that the Court award the Plaintiff the costs and fees it incurs in this

matter pursuant to, among other provisions, Idaho Code §§ 12-120, 121, and 123, and any other

applicable provision of law.

       164.    The Plaintiff further requests attorney fees and costs against the Defendants as

alter egos of the arbitral award debtors due to their refusal in bad faith to pay the Final Awards.

       165.    In the event of a default judgment, the Plaintiff requests that the Court award it its

reasonable fees incurred in bringing this matter, in the amount of $10,000.00.

                                    PRAYER FOR RELIEF

Whereas the Plaintiff prays:




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    (a) That the Court enter an order pursuant to 9 U.S.C. § 207 enforcing the Final Awards

       against all Defendants;

    (b) That on the basis of the enforced Final Awards, the Court enter judgment that all

       Defendants are jointly and severally liable to Lao PDR in the amount of

       $3,727,358.98; and

    (c) That Plaintiff be awarded such other and further relief as may be proper, including

       pre- and post- judgment interest, attorney fees, costs, and expenses of this action.



    DATED: April 21, 2020.

                                              GIVENS PURSLEY LLP



                                              /s/ Bradley J. Dixon
                                              Attorneys For the Applicant The Government
                                              of the Lao People’s Democratic Republic




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           EXHIBIT A
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                                                                          ANNEX




       Agreement on encouragement and reciprocal protection of
                              investments between
                     the Lao People’s Democratic Republic
                                         and
                        the Kingdom of the Netherlands



The Lao People’s Democratic Republic
and
the Kingdom of the Netherlands,


hereinafter referred to as the Contracting Parties,


Desiring to strengthen their traditional ties of friendship and to extend and
intensify the economic relations between them, particularly with respect to
investments by the nationals of one Contracting Party in the territory of the other
Contracting Party,


Recognising that agreement upon the treatment to be accorded to such
investments will stimulate the flow of capital and technology and the economic
development of the Contracting Parties and that fair and equitable treatment of
investment is desirable,


Have agreed as follows:




                                           1
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                                         Article 1


For the purposes of this Agreement:


(a) the term “investments” means every kind of asset and more particularly,
though not exclusively:


    (i)    movable and immovable property as well as any other rights in rem in
           respect of every kind of asset;
   (ii)    rights derived from shares, bonds and other kinds of interests in
           companies and joint ventures;
   (iii)   claims to money, to other assets or to any performance having an
           economic value;
   (iv)    rights in the field of intellectual property, technical processes, goodwill
           and know-how;
   (v)     rights granted under public law or under contract, including rights to
           prospect, explore, extract and win natural resources.


(b) the term “nationals” shall comprise with regard to either Contracting Party:


    (i)    natural persons having the nationality of that Contracting Party;
   (ii)    legal persons constituted under the law of that Contracting Party;
   (iii)   legal persons not constituted under the law of that Contracting Party but
           controlled, directly or indirectly, by natural persons as defined in (i) or by
           legal persons as defined in (ii).




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(c) The term "territory" means:
the territory of the Contracting Party concerned and any area adjacent to the
territorial sea which, under the laws applicable in the Contracting Party
concerned, and in accordance with international law, is the exclusive economic
zone or continental shelf of the Contracting Party concerned, in which that
Contracting Party exercises jurisdiction or sovereign rights.




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                                    Article 2


Either Contracting Party shall, within the framework of its laws and regulations,
promote economic cooperation through the protection in its territory of
investments of nationals of the other Contracting Party. Subject to its right to
exercise powers conferred by its laws or regulations, each Contracting Party shall
admit such investments.




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                                    Article 3


1)   Each Contracting Party shall ensure fair and equitable treatment of the
     investments of nationals of the other Contracting Party and shall not impair,
     by unreasonable or discriminatory measures, the operation, management,
     maintenance, use, enjoyment or disposal thereof by those nationals. Each
     Contracting Party shall accord to such investments full physical security and
     protection.


2)   More particularly, each Contracting Party shall accord to such investments
     treatment which in any case shall not be less favourable than that accorded
     either to investments of its own nationals or to investments of nationals of
     any third State, whichever is more favourable to the national concerned.


3)   If a Contracting Party has accorded special advantages to nationals of any
     third State by virtue of agreements establishing customs unions, economic
     unions, monetary unions or similar institutions, or on the basis of interim
     agreements leading to such unions or institutions, that Contracting Party
     shall not be obliged to accord such advantages to nationals of the other
     Contracting Party.


4)   Each Contracting Party shall observe any obligation it may have entered
     into with regard to investments of nationals of the other Contracting Party.


5)   If the provisions of law of either Contracting Party or obligations under
     international law existing at present or established hereafter between the
     Contracting Parties in addition to the present Agreement contain a
     regulation, whether general or specific, entitling investments by nationals of
     the other Contracting Party to a treatment more favourable than is provided
     for by the present Agreement, such regulation shall, to the extent that it is
     more favourable, prevail over the present Agreement.

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                                      Article 4


With respect to taxes, fees, charges and to fiscal deductions and exemptions, each
Contracting Party shall accord to nationals of the other Contracting Party who are
engaged in any economic activity in its territory, treatment not less favourable
than that accorded to its own nationals or to those of any third State who are in the
same circumstances, whichever is more favourable to the nationals concerned. For
this purpose, however, any special fiscal advantages accorded by that Party, shall
not be taken into account:
a)     under an agreement for the avoidance of double taxation; or
b)     by virtue of its participation in a customs union, economic union or similar
       institution; or
c)     on the basis of reciprocity with a third State.




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                                       Article 5


1) The Contracting Parties shall guarantee that payments relating to an investment
may be transferred. The transfers shall be made in a freely convertible currency,
without restriction or delay. Such transfers include in particular though not
exclusively:


a) profits, interests, dividends and other current income;


b) funds necessary


    (i)   for the acquisition of raw or auxiliary materials, semi-fabricated or
          finished products,
          or
   (ii)   to replace capital assets in order to safeguard the continuity of an
          investment;


c) additional funds necessary for the development of an investment;


d) funds in repayment of loans;


e) royalties or fees;


f) earnings of natural persons;


g) the proceeds of sale or liquidation of the investment;


h) payments arising under Article 7.




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2) A Contracting Party may require that, prior to the transfer of payments relating
to an investment, tax obligations in relation to such an investment have been
fulfilled by the investors, provided that such obligations shall be non-
discriminatory and shall not be used to defeat the purpose of paragraph 1) of this
Article.




                                         8
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                                     Article 6


Neither Contracting Party shall take any measures depriving, directly or
indirectly, nationals of the other Contracting Party of their investments unless the
following conditions are complied with:


 a) the measures are taken in the public interest and under due process of law;


 b) the measures are not discriminatory or contrary to any undertaking which the
    Contracting Party which takes such measures may have given;


 c) the measures are taken against just compensation. Such compensation shall
    represent the genuine value of the investments affected, shall include interest
    at a normal commercial rate until the date of payment and shall, in order to be
    effective for the claimants, be paid and made transferable, without delay, to
    the country designated by the claimants concerned and in the currency of the
    country of which the claimants are nationals or in any freely convertible
    currency accepted by the claimants.




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                                     Article 7


Nationals of the one Contracting Party who suffer losses in respect of their
investments in the territory of the other Contracting Party owing to war or other
armed conflict, revolution, a state of national emergency, revolt, insurrection or
riot shall be accorded by the latter Contracting Party treatment, as regards
restitution, indemnification, compensation or other settlement, no less favourable
than that which that Contracting Party accords to its own nationals or to nationals
of any third State, whichever is more favourable to the nationals concerned.




                                         10
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                                     Article 8


If the investments of a national of the one Contracting Party are insured against
non-commercial risks or otherwise give rise to payment of indemnification in
respect of such investments under a system established by law, regulation or
government contract, any subrogation of the insurer or re-insurer or Agency
designated by the one Contracting Party to the rights of the said national pursuant
to the terms of such insurance or under any other indemnity given shall be
recognised by the other Contracting Party.




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                                     Article 9


Each Contracting Party hereby consents to submit any legal dispute arising
between that Contracting Party and a national of the other Contracting Party
concerning an investment of that national in the territory of the former
Contracting Party to the International Centre for Settlement of Investment
Disputes for settlement by conciliation or arbitration under the Convention on the
Settlement of Investment Disputes between States and Nationals of other States,
opened for signature at Washington on 18 March 1965, in the event that both
Contracting Parties have become Contracting States to the said Convention. In
case a Contracting Party is not a Contracting State to the said Convention, the
disputes referred to above shall be submitted to the International Centre for
Settlement of Investment Disputes under the Rules Governing the Additional
Facility for the Administration of Proceedings by the Secretariat of the Centre
(Additional Facility Rules). A legal person which is a national of one Contracting
Party and which before such a dispute arises is controlled by nationals of the other
Contracting Party shall, in accordance with Article 25 (2) (b) of the Convention,
for the purpose of the Convention be treated as a national of the other Contracting
Party.




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                                     Article 10


The provisions of this Agreement shall, from the date of entry into force thereof,
also apply to investments, which have been made before that date, but they shall
not apply to any claim concerning an investment, which arose before its entry into
force.




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                                    Article 11


Either Contracting Party may propose to the other Party that consultations be held
on any matter concerning the interpretation or application of the Agreement. The
other Party shall accord sympathetic consideration to the proposal and shall afford
adequate opportunity for such consultations.




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                                     Article 12


1) Any dispute between the Contracting Parties concerning the interpretation or
    application of the present Agreement, which cannot be settled within a
    reasonable lapse of time by means of diplomatic negotiations, shall, unless
    the Parties have otherwise agreed, be submitted, at the request of either Party,
    to an arbitral tribunal, composed of three members. Each Party shall appoint
    one arbitrator and the two arbitrators thus appointed shall together appoint a
    third arbitrator as their chairman who is not a national of either Party.


2) If one of the Parties fails to appoint its arbitrator and has not proceeded to do
    so within two months after an invitation from the other Party to make such
    appointment, the latter Party may invite the President of the International
    Court of Justice to make the necessary appointment.


3) If the two arbitrators are unable to reach agreement, in the two months
    following their appointment, on the choice of the third arbitrator, either Party
    may invite the President of the International Court of Justice to make the
    necessary appointment.


4) If, in the cases provided for in the paragraphs (2) and (3) of this Article, the
    President of the International Court of Justice is prevented from discharging
    the said function or is a national of either Contracting Party, the Vice-
    President shall be invited to make the necessary appointments. If the Vice-
    President is prevented from discharging the said function or is a national of
    either Party the most senior member of the Court available who is not a
    national of either Party shall be invited to make the necessary appointments.


5) The tribunal shall decide on the basis of respect for the law. Before the
    tribunal decides, it may at any stage of the proceedings propose to the Parties



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    that the dispute be settled amicably. The foregoing provisions shall not
    prejudice settlement of the dispute ex aequo et bono if the Parties so agree.


6) Unless the Parties decide otherwise, the tribunal shall determine its own
    procedure.


7) The tribunal shall reach its decision by a majority of votes. Such decision
    shall be final and binding on the Parties.


8) Each Contracting Party shall bear the costs of the member appointed by that
    Contracting Party, as well as the costs of its representation in the arbitration
    proceedings; the costs of the Chairman, as well as the remaining costs, shall
    be borne in equal parts by the two Contracting Parties. The tribunal may,
    however, in its decision direct that a higher proportion of costs shall be borne
    by one of the two Contracting Parties.




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                                  Article 13


As regards the Kingdom of the Netherlands, the present Agreement shall apply to
the part of the Kingdom in Europe, to the Netherlands Antilles and to Aruba,
unless the notification provided for in Article 14, paragraph (1) provides
otherwise.




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                                      Article 14


1)   The present Agreement shall enter into force on the first day of the second
     month following the date on which the Contracting Parties have notified each
     other in writing that their constitutionally required procedures have been
     complied with, and shall remain in force for a period of fifteen years.


2)   Unless notice of termination has been given by either Contracting Party at
     least six months before the date of the expiry of its validity, the present
     Agreement shall be extended tacitly for periods of ten years, whereby each
     Contracting Party reserves the right to terminate the Agreement upon notice
     of at least six months before the date of expiry of the current period of
     validity.


3)   In respect of investments made before the date of the termination of the
     present Agreement, the foregoing Articles shall continue to be effective for a
     further period of fifteen years from that date.


4)   Subject to the period mentioned in paragraph (2) of this Article, the Kingdom
     of the Netherlands shall be entitled to terminate the application of the present
     Agreement separately in respect of any of the parts of the Kingdom.




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IN WITNESS WHEREOF, the undersigned representatives, duly authorised
thereto, have signed the present Agreement.




DONE            in       two         originals         at        ..........................................,
on.........................................., in the Lao, Netherlands and English languages, the
three texts being authentic. In case of difference of interpretation the English text
will prevail.




For the Lao People’s                                        For the Kingdom of
Democratic Republic:                                        the Netherlands:




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           EXHIBIT C
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                                       INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES

         ICSID                                       1818 H STREET, NW J WASHINGTON, DC 20433 I USA
                                                TELEPHONE +1 (202) 458 1534 FACSIMILE +1 (202) 522 2615
                                                                            J


                                                                           WWW.WORLDBANK.ORG/ICSID

                                                                                August 6, 2019

By courier
(advance copy by email)

 Lao Holdings N.V.                                Lao People's Democratic Republic
 c/o Ms. Deborah Deitsch-Perez                    c/o Mr. David J. Branson
 Mr. Jeffrey T. Prudhomme                         Beijing
 Mr. Alexander Hinckley                           People's Republic of China
 Stinson LLP                                       and
 3102 Oak Lawn A venue, Suite 777                 Mr. John D. Branson
 Dallas, Texas 75219-4259                         Ms. Emily Doll
 United States of America                         Mr. Russ Ferguson
  and                                             Womble Bond Dickinson (US) LLP
 Dr. Todd Weiler                                  One Wells Fargo Center
 Barrister & Solicitor                            301 South College Street
 #19-2014 Valleyrun Blvd.                         Suite 3500
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 Canada                                           United States of America
  and
 Mr. Ken Kroot
 Chief Litigation Officer
 Lao Holdings N.V.
 L.G. Smith Boulevard 62,
 Miramar Building, Suite 304,
 Oranjestad, Aruba




                Re: Lao Holdings N.V. v. Lao People's Democratic Republic
                                (ICSID Case No. ARB(AF)/12/6)


Dear Mesdames and Sirs,

       Please find enclosed a certified copy of the Tribunal's Award dated August 6, 2019, which
incorporates the Tribunal's (i) Decision on Jurisdiction dated February 21, 2014; (ii) Decision on
the Merits on the First Material Breach of June 10, 2015; (iii) Decision on Costs of November 5,
2015, and (iv) Decision on the Second Material Breach of December 15, 2017.

       Pursuant to Arbitration Rule 48, I have authenticated the original text of the Award and
deposited it in ICSID's archives. In accordance with Arbitration Rule 48, the Award is deemed to
have been rendered on the date of dispatch, which is indicated on the original text of the Award
and on all copies.
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       As recorded in Section 18 of Procedural Order No. 1, the parties have consented to the
publication of the Award. We will therefore proceed to publish the Award on the ICSID website .



                                                          .   Yourssi~~


                                                           ~iooi ..
                                                              Secretary-General




Enclosure

cc (with enclosure) (advance copy by email): Members of the Tribunal
   Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 62 of 457




INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES

                           WASHINGTON, D.C.

                    In the arbitration proceeding between

                          LAO HOLDINGS N.V.

                                  Claimant

                                     and

            THE LAO PEOPLE’S DEMOCRATIC REPUBLIC

                                 Respondent


                      ICSID Case No. ARB(AF)/12/6




                                 AWARD



                           Members of the Tribunal

                   The Honourable Ian Binnie, C.C., Q.C.
                        Professor Bernard Hanotiau
                          Professor Brigitte Stern

                          Secretary of the Tribunal

                          Ms. Catherine Kettlewell


                 Date of dispatch to the Parties:6 August 2019
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                               REPRESENTATION OF THE PARTIES


Representing Lao Holdings N.V.:               Representing The Lao People’s Democratic
                                              Republic:
Ms. Deborah Deitsch-Perez                     Mr. David J. Branson
Mr. Jeffrey T. Prudhomme                      Beijing
Mr. Alexander Hinckley                        People’s Republic of China
Stinson LLP
3102 Oak Lawn Avenue, Suite 777               and
Dallas, Texas 75219-4259
United States of America                      Mr. John D. Branson
                                              Ms. Emily Doll
                                              Mr. Russ Ferguson
and                                           Womble Bond Dickinson (US) LLP
                                              One Wells Fargo Center
Dr. Todd Weiler                               301 South College Street
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and

Mr. Ken Kroot
Chief Litigation Officer
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L.G. Smith Boulevard 62,
Miramar Building, Suite 304,
Oranjestad, Aruba
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                     FREQUENTLY USED ABBREVIATIONS AND ACRONYMS


BIT or Treaty                            Agreement on Encouragement and Reciprocal
                                         Protection of Investments between the Lao People’s
                                         Democratic Republic (PDR) and the Kingdom of the
                                         Netherlands, signed on 16 May 2003, in force since
                                         1 May 2005
BIT II Proceedings                       Proceedings between Lao Holdings N.V. v. Lao
                                         People’s Democratic Republic (ICSID Case No.
                                         ARB(AF)/16/2)/ Sanum Investments Limited v. Lao
                                         People’s Democratic Republic (ICSID Case No.
                                         ADHOC/17/1)
C(B)-[XX]                                Claimants’ Exhibits
C(S)-[XX]                                Sanum’s Exhibits in PCA Proceeding
C(LH)-[XX]                               LHNV’s Exhibits
CLA(B)-[XX] or CLA-[XX]                  Claimants’ Legal Authorities
CLA(LH)-[XX]                             LHNV Legal Authorities
Claimant’s Memorial                      Claimant’s Memorial dated 22 July 2013
Claimant’s Reply                         Claimant’s Reply and Opposition to Respondent’s
                                         Counterclaims dated 9 May 2014
Claimant                                 Lao Holding NV
Claimants                                Lao Holding NV and Sanum Investments Limited
Decision on the Second Material Breach   Tribunal’s Decision on the Merits of the Claimants’
                                         Second Material Breach Application, dated 15
                                         December 2017
E&Y                                      Ernst & Young
First Material Breach Application        Claimant’s First Material Breach Application dated
                                         4 July 2014
FTA                                      Flat Tax Agreement between Laos and Savan Vegas
                                         dated 21 September 2009
Gaming Assets                            Savan Vegas Casino, Lao Bao Slot Club and
                                         Savannakhet Ferry Terminal Slot Club
Government or Respondent                 Respondent Government of The Lao People's
                                         Democratic Republic
Hearing                                  Hearing on the Merits of Second Material Breach
                                         Application held 3 to 7 September 2018 in Singapore
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ICSID or the Centre               International Centre for Settlement of Investment
                                  Disputes
ICSID-AF Rules                    Arbitration Rules (Additional Facility) of the
                                  International Centre for Settlement of Investment
                                  Disputes
ICSID Convention                  Convention on the Settlement of Investment
                                  Disputes Between States and Nationals of Other
                                  States dated 18 March 1965
Laos-China BIT                    Agreement between the Government of the People’s
                                  Republic of China and the Government of The Lao
                                  People’s Democratic Republic Concerning the
                                  Encouragement and Reciprocal Protection of
                                  Investments, dated 31 January 1993.
LHNV or Claimant                  Lao Holdings NV
LHNV’s Reply                      Claimant’s Reply and Opposition to Respondent’s
                                  Counterclaims dated 9 May 2014
LHRE-[XX]                         Respondent’s Exhibits
LHRA-[XX]                         Respondent’s Legal Authorities
MaxGaming                         MaxGaming Consulting Services Limited (Macau)
MIC                               Ministry of Information and Culture
Paksong PDA                       Project Development Agreement by and between
                                  The Lao People’s Democratic Republic, Sanum
                                  Investments, Nouansavanh Construction Co. Ltd.,
                                  and Mr. Sittixay Xaysana dated 10 August 2007
Paksong Vegas                     Paksong Vegas Hotel and Casino
Participation Agreement           Participation Agreement for Thanaleng by and
                                  between Sanum and ST Holdings dated 4 October
                                  2008 (Exhibit (CB)-6)
PCA                               Permanent Court of Arbitration
PCA Proceeding                    PCA proceeding between Sanum Investments
                                  Limited (People’s Republic of China) v. the
                                  Government of the Lao People’s Democratic
                                  Republic – PCA Case No. 2013-13, chaired by Dr.
                                  Andrés Rigo Sureda
PDA                               Savan Vegas Project Development Agreement
Respondent’s Counter-Memorial     Respondent’s Counter-Memorial on the Merits dated
                                  20 February 2014
Respondent’s Rejoinder            Respondent’s Rejoinder (Amended) dated 4 June
                                  2014
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RMC                                    RMC Gaming Management LLC
Sanum                                  Sanum Investments
Savan Vegas                            Savan Vegas Hotel and Casino
Settlement                             Deed of Settlement dated 15 June 2014 and Side
                                       Letter dated 18 June 2014
SIAC                                   Singapore International Arbitration Centre
SRE-[XX]                               Respondent’s Exhibits in PCA Proceeding
ST                                     ST Holdings
Thanaleng                              Thanaleng Slot Club
Amended Transcript, [Day], p. [page], Transcript of the Hearing
[lines]
UNCAC                                  United Nations Convention Against Corruption
VCLT                                   Vienna Convention on the Law of Treaties
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     1. OVERVIEW

1.      Mr. John Baldwin and Mr. Shawn Scott, two U.S. entrepreneurs who were experienced in
        a number of businesses including gambling facilities, became involved in casinos and slot
        machines in Laos in 2007. For this purpose, they caused two companies to be incorporated
        in Aruba, the Netherlands Antilles, Lao Holdings NV (“LHNV”), and a subsidiary Sanum
        Investments (“Sanum”) in Macau (collectively referred to as “the Claimants”). Mr.
        Baldwin and Mr. Scott, using various corporate structures partnered with a Laotian
        conglomerate (“ST Holdings”) in two casino projects and three slot machine clubs in Laos
        positioned near its border with Thailand. One of the casinos, the Savan Vegas Hotel and
        Casino (“Savan Vegas”), was built and operated successfully. The second casino, Paksong
        Vegas Casino (“Paksong Vegas”), was never built.

2.      Within three years there was a falling out between the Claimants and their local partner.
        ST Holdings ceased cooperation with Sanum, initiated litigation against it and shut Sanum
        out of Thanaleng, the most profitable of the slot clubs. Mr. John Baldwin testified that ST
        Holdings was closely connected to leading politicians in the Respondent Government. He
        said that ST Holdings orchestrated a series of wrongful Government acts against LHNV
        which led to the result, designed by the Government, of driving LHNV out of Laos and
        appropriating for the Government the wealth created by the investment and expertise of
        Mr. Baldwin and his associated companies.

3.      The Claimants initiated arbitrations by LHNV under the bilateral investment treaties
        between Laos and the Netherlands,1 and by Sanum pursuant to a similar investment treaty
        between Laos and Macau (now China).2 These arbitrations have consumed multiple
        proceedings and years of litigation. Eventually Sanum obtained an award against ST
        Holdings from the Singapore International Arbitration Centre (“SIAC”) for over US $200
        million. Sanum is not a claimant before this Tribunal, and the Tribunal does not purport



1
  Agreement on Encouragement and Reciprocal Protection of Investments between Laos and the Kingdom of the
Netherlands, signed on 16 May 2003, in force since 1 May 2005.
2
  Agreement between the Government of the People’s Republic of China and the Government of The Lao People’s
Democratic Republic Concerning the Encouragement and Reciprocal Protection of Investments, dated 31 January
1993, as amended on 10 April 2006.
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          to address its claims. However, much of the evidence of Mr. John Baldwin is related to
          both companies, and as he was the directing mind of both companies, and their principal
          witness, references will be made to Sanum from time to time (or collectively to “the
          Claimants” in the plural) as part of the background to the disposition of the LHNV claims.
          Moreover, counsel for the Claimant advised that it did not withdraw “any factual
          allegations, as the totality of the facts remain relevant to certain treaty breaches for
          which the Claimants will seek relief.”3

4.        The Respondent Government’s position is that it has been dragged into a business dispute
          between private parties, the Claimants and ST Holdings for whose conduct it has no
          responsibility. In any event, the Government says, the Claimants’ business efforts in Laos
          were characterized by bribery and corruption, and their claims ought to be dismissed
          because of the absence of “clean hands” as well as on the merits. The Claimants point out
          correctly, that the Government has failed to demonstrate any substantial pursuit of the
          officials who, in the Government’s view, took the bribes.

5.        The Tribunal concludes that the LHNV claims must be dismissed. The dispute grew out
          of a commercial fight between private businesses. The Respondent Government became
          involved in aspects of the dispute as a regulator of the gambling business in Laos, as a
          shareholder in Sanum, and through its responsibility for the administration of justice in
          Laos, but the Claimants have failed to establish the facts necessary to ground liability in
          international law under the BIT in those respects.

6.        The Tribunal has carefully considered each element of LHNV’s myriad Treaty claims,
          including the claim of expropriation of Thanaleng and the allegations of breaches of
          Articles 3(1), 3(2) and 4 with respect to Thanaleng, Savan Vegas and the slots clubs at Lao
          Bao and Ferry Terminal, and Article 3(4) of the BIT with respect to Savan Vegas, and
          concludes for the reasons that follow that there is no merit in any of the claims and
          allegations brought before this Tribunal.




3
    Letter dated 26 March 2018 from Claimant to the Tribunal.
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7.    At the same time, the Tribunal finds that the Respondent has not established bribery and
      corruption against the Claimants on “clear and convincing evidence”. Nevertheless, the
      evidence of multiple financial transactions by Mr. John Baldwin with Madam Sengkeo, the
      Claimants’ local consultant in Laos and conduit to Government officials, taken
      cumulatively, establishes gross financial impropriety to the lesser standard of a balance of
      probabilities in respect of some investments as well as bad faith. While the Government
      has not always behaved appropriately (as found by the Tribunal in the Second Material
      Breach Application), and politics undoubtedly played a role in the worsening relations
      between the Government and the Claimants, LHNV has failed to demonstrate any
      legitimate expectations or establish other violations of the BIT including fair and equitable
      treatment. The evidence of their principal witness and directing mind, Mr. John Baldwin
      is not consistent with much of the documentation and is not reliable. Payments on Mr.
      Baldwin's instructions to a key witness, Madam Sengkeo, to purchase her refusal to testify
      at the merits hearing, go to the root of the integrity of the arbitration.

8.    In all instances LHNV has failed to meet its burden of proof.

9.    The claims of LHNV are dismissed with costs.

2. PROCEDURAL HISTORY

10.   The Tribunal has issued the following decisions during the proceeding: (i) Decision on
      Jurisdiction of 21 February 2014; (ii) Decision on the Merits on the First Material Breach
      of 10 June 2015, (iii) Decision on Costs of 5 November 2015 and (iv) Decision on the
      Second Material Breach of 15 December 2017 (“Decision on the Second Material
      Breach”). The full procedural history of this case is described in these decisions. These
      Decisions, and the Decision on the Second Material Breach, are an integral part of the
      Award and are appended hereto as follows: i) Decision on Jurisdiction of 21 February 2014
      (Annex A); (ii) Decision on the Merits on the First Material Breach of 10 June 2015
      (Annex B), (iii) Decision on Costs of 5 November 2015 (Annex C) and (iv) Decision on
      the Second Material Breach (Annex D).

11.   The procedural details of this arbitration following the Decision on the Second Material
      Breach are summarized below.
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12.   In the Decision on the Second Material Breach, the Tribunal ruled as follows:

             227. The Second Material Breach Application is allowed.

             228. Pursuant to Section 32 of the Settlement, the Treaty arbitration is
             revived on the basis jointly and severally of the Government’s breaches
             of:

             (a) Section 8, which promised a “new flat tax”, but instead the Government
             imposed a 28% ad valorem tax on gross gaming revenues;

             (b) Section 23, which promised the Claimants relief from “current criminal
             investigations”, which nevertheless have been revived.

             229. Both of these breaches constitute material breaches that deprived the
             Claimants of the intended benefits (or “bargain”) promised by each of
             Section 8 and Section 23.

             230. Except as aforesaid, the grounds of revival relied on by the Claimants
             are rejected.

             231. The parties are instructed to confer and propose to the Tribunal a
             timetable for the renewed Treaty arbitration within 30 days of the date of
             this decision.

             232. A pre-hearing teleconference to resolve any outstanding issues will
             be held within 45 days of the date of this decision.

             233. The issue of costs of this application is reserved to be dealt with at
             the conclusion of the hearing on the merits.

13.   As instructed by the Tribunal in its Decision on the Second Material Breach, on 14 January
      2018, the Claimant LHNV [being the sole Claimant in the ICSID proceeding] submitted
      its proposal regarding the timetable and requested the Tribunal to hold the hearing on the
      merits for this case after the scheduled hearing of related but separate proceedings
      identified as Lao Holdings N.V. v. Lao People’s Democratic Republic (ICSID Case No.
      ARB(AF)/16/2)/ Sanum Investments Limited v. Lao People’s Democratic Republic (ICSID
      Case No. ADHOC/17/1) (the “BIT II Proceedings”). The Claimant also requested an in-
      person pre-hearing conference with the objective of exploring with the Tribunal how to
      proceed and for the Parties to receive any further instructions.

14.   On 18 January 2018, the Respondent filed its response objecting to Claimant’s proposal to
      schedule a hearing after the BIT II Proceedings. The Respondent requested that the
      Tribunal schedule the hearing in this case within sixteen weeks as to not further delay the
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      proceeding. Further exchanges by the Parties on this matter were submitted by Claimant
      on 26 January 2018 and 16 February 2018 and by Respondent on 29 January 2018.

15.   On 19 February 2018, having heard the Parties’ positions, the Tribunal decided the date for
      the hearing on the merits. The Tribunal invited the Parties to confer on a schedule for the
      exchange of written submissions and other logistical matters.

16.   On 2 March 2018, the Parties informed the Tribunal that they had been unable to reach an
      agreement on the scope and nature of the Tribunal’s instructions from 19 February 2018.
      As a result, each Party sent its proposal separately for the Tribunal’s consideration.

17.   On 7 March 2018, the Tribunal decided to schedule a pre-hearing conference and provided
      the Parties the corresponding agenda of the items to be discussed in the pre-hearing
      conference. On 19 March 2018, the Claimant LHNV submitted its positions regarding the
      items in the agenda for the pre-hearing conference as well as a proposed procedural order.
      On 20 March 2018, the Respondent submitted its comments to Claimant’s communication
      of 19 March 2018 and corresponding proposals. On 21 March 2018, the Tribunal held a
      pre-hearing organizational meeting with the Parties by teleconference.

18.   On 26 March 2018, as discussed during the pre-hearing organizational meeting, the
      Claimant LHNV provided the list of claims for which it no longer would seek specific
      relief.

19.   On 29 March 2019, the Tribunal issued Procedural Order No. 10 on the organization of the
      hearing.

20.   On 23 April 2018, the Tribunal, through the Secretary of the Tribunal, reminded
      Respondent of the deadline provided in Procedural Order No. 10 for it to inform whether
      the Respondent would withdraw any defences in light of Claimant’s withdrawal of claims
      of 26 March 2018. On 24 April 2018, the Respondent confirmed that it maintained its
      defences.

21.   On 15 May 2018, pursuant to paragraph 8 of Procedural Order No. 10, the Respondent
      filed an Application for Additional Evidence, together with an index of supporting
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      documentation and Exhibits R-001-002, R-004, R-028-029, R-034-036, C-1053, and R-
      054-055 and three additional documents not identified for the record.

22.   On 16 May 2018, each Party submitted the preliminary list of witnesses for cross-
      examination at the hearing.

23.   On 30 May 2018, the Claimant filed its response to the Respondent’s Application for
      Additional Evidence together with Exhibits C-1225 to C-1227, and Legal Authorities CL-
      379 to CL-389.

24.   By letter of 31 May 2018, the Respondent requested the Tribunal to order the Claimant to
      inform it on the order of presentation of the witnesses to be examined at the scheduled
      hearing. Additionally, the Respondent requested the examination from Lao PDR via video-
      link of the following witnesses: Minister Kmabay Damlath, Dr. Sinlavong
      Khoutphaythoun, and Minister Chaleune Yiapaoheu.

25.   On 6 June 2018, the Tribunal provided further instructions to the Parties regarding the
      submissions on the list of witnesses for cross-examination at the scheduled hearing. On 8
      June 2018, the Claimant filed its response opposing the Respondent’s request for the
      witnesses’ video-link testimony, together with Exhibits C-1224, C-1235 and Legal
      Authority CL-390.

26.   On 12 June 2018, the Centre informed the Parties that Ms. Catherine Kettlewell, ICSID
      Legal Counsel, would serve as Secretary of the Tribunal, replacing Ms. Anneliese
      Fleckenstein.

27.   On 15 June 2018, the Respondent filed its reply to its Application for Additional Evidence.
      On this same date, the Claimant filed its objection to the Respondent’s preliminary witness
      list, together with Exhibit C-1237.

28.   On 22 June 2018, the Respondent filed its response to the Claimant’s opposition to the
      examination of witnesses via video-link.

29.   On 25 June 2018, the Tribunal issued Procedural Order No. 11, on the Respondent’s
      Application for Additional Evidence.
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30.   On 26 June 2018, the Tribunal issued Procedural Order No. 12, on the Respondent’s
      request for the examination of witnesses via video-link.

31.   On 27 June 2018, the Respondent filed a request for clarification of Tribunal’s Procedural
      Order No. 11. On this same date, it stated its agreement to the full consolidation of this
      proceeding with the Permanent Court of Arbitration (“PCA”) proceeding Sanum
      Investments Limited (People’s Republic of China) v. the Government of the Lao People’s
      Democratic Republic – PCA Case No. 2013-13 (the “PCA Proceeding”).

32.   On 28 June 2018, the Tribunal issued an amended Procedural Order No. 11, correcting
      certain typographical errors.

33.   By letter of 28 June 2018, the Tribunal informed the Parties that the Claimant’s request
      objecting to the Respondent’s witness list was approved and invited the Parties to submit
      their final witness lists.

34.   On 5 July 2018, the Tribunal addressed the Respondent’s communication of 27 June 2018,
      concerning the full consolidation of this proceeding with the PCA Proceeding. The
      Tribunal informed the Parties that it did not consider the consolidation as “practical or
      necessary at this late stage of the proceeding”.

35.   On 6 July 2018, each Party submitted its final witness lists. The Claimant excluded one
      witness in accordance with the Tribunal’s decision contained in its letter of 28 June 2018.

36.   On 9 July 2018, the Parties jointly requested the Tribunal for a one-day extension for the
      further deadlines in the organization of the hearing. On 11 July 2018, the Tribunal took
      note of the Parties’ agreed extensions.

37.   On 17 July 2018, the Claimant submitted a request for additional evidence to rebut the
      Respondent’s additional evidence pursuant to the Tribunal’s Procedural Order No. 11.

38.   On 18 July 2018, the Claimant submitted a request to substitute Dr. Thomas Zitt for Mr.
      Steven Rittvo for examination on the Innovation Group’s Expert Report at the scheduled
      hearing, together with Exhibit C-1267 and Exhibits A to F. On the same date, the
      Respondent submitted its objection to the Claimant’s request together with Exhibits 1
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      through 12. On 19 July 2018, the Tribunal invited the Claimant to submit its comments to
      the Respondent’s objection. On 25 July 2018, the Claimant filed its response to the
      Respondent’s objection of 24 July 2018, together with Exhibits G through L.

39.   On 25 July 2018, the Respondent filed its observations to the Claimant’s request for
      additional evidence of 17 July 2018. The Claimant’s filed its reply on support of its request
      on 26 July 2018.

40.   On 26 July 2018, the Respondent filed additional observations to the Claimant’s request
      for the substitution of experts of 18 July 2018.

41.   On 31 July 2018, the Tribunal issued Procedural Order No. 13, deciding that the scheduled
      hearing would proceed on all issues except for damages and quantum and ruled on the
      Claimant’s request for the substitution of experts to give testimony at the hearing.
      Simultaneously, the Tribunal issued Procedural Order No. 14 on the Claimant’s request for
      additional evidence as follows:

             “1. The following documents submitted by the Claimants are admitted on
             consent:

             Exhibits R-049, C-1240, R-046, C-1241, C-1242, C-0928, C-1243, C-
             1131, C-1244, C-1245, C-1246, C-774, C-755, C-1226, C-1248, C-1249,
             C-1250, C-1251, R-026, C-1238 A, C-1238 B , C-1239, C-1256, C-1257,
             C-1258, C-1259, C-1260, C-1261, C-1262, C-1263, C-1264, C-1265, C-
             1266 .

             2. The Tribunal admits the extracts of the Witness statements of John
             Baldwin, Angus Noble, William Greenlee and Clay Crawford submitted
             by the Claimants, but permits the Government to provide additional
             extracts from the same witness statements which the Government
             contends are necessary to give “balance” to the extracts submitted by the
             Claimants, as per the ruling in item 1 above.

             3. The Baldwin Statement (Exhibit C-1244) and the Kurlantzick Report
             (Exhibit C-1247) are not admitted into evidence.

             4. The Government’s Opening Memorial in SIAC Arb 143/14/MV
             (Exhibit C-971) is admitted into evidence.

             5. The interlocutory correspondence in ICSID Case No ARB (AF)/16/2
             (Exhibits C-1252, C-1253, C-1254 and C-1255) are not admitted into
             evidence.
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             6. The admissibility of the further report of Professor Joseph Kalt is
             deferred pending a decision following the merits hearing as to whether a
             hearing on damages and quantum is required.”

42.   On 10 August 2018, the Respondent filed a request to strike the witness statement of Mr.
      William Greenlee, together with Appendices 1 through 4. By communication of the same
      date, the Respondent requested leave from the Tribunal to include new evidence into the
      record (Exhibit LHRE-164 and LHRE-165).

43.   On 17 August 2018, the Claimant filed its response opposing the Respondent’s request to
      strike Mr. Greenlee’s witness statement from the record, together with the following
      supporting documentation: Exhibit C(B)-434, C(B)-492, C-1242, R-001 and R-036. On the
      same date, the Claimant filed its observations, partially agreeing with the Respondent’s
      request to include new evidence into the record. On 20 August 2018, the Tribunal invited
      the Respondent to comment on the Claimant’s observations.

44.   On 20 August 2018, the Claimant filed a request to increase their examination time at the
      hearing and sent a proposed hearing schedule for the Tribunal’s consideration. On 22
      August 2018, the Tribunal invited the Respondent to comment on Claimant’s proposal.

45.   On 23 August 2018, the Respondent filed a reply to the Claimant’s response concerning its
      request to strike Mr. Greenlee’s witness statement and its observations to the Claimant’s
      position towards its request to include new evidence into the record. This submission was
      filed together with Appendices 1 through 5.

46.   On this same date, the Claimant submitted additional observations to the Respondent’s
      comments on Mr. Greenlee’s witness statement and requested the Tribunal to strike from
      the record an exhibit of 291 pages filed by the Respondent together with BDO’s expert
      report as part of the Respondent’s additional evidence submitted pursuant to Procedural
      Order No. 11. The Tribunal invited the Respondent to comment on these two submissions
      by the Claimant.

47.   On 23 August 2018, the Respondent submitted its opposition to the Claimant’s request for
      an enlargement of the examination time, together with Appendices 1 through 3.
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48.   On 24 August 2018, the Respondent filed its observations on the Claimant’s objection to
      the introduction of the exhibit to BDO’s expert report, and its rejoinder on Mr. Greenlee’s
      witness statement.

49.   On the same date, the Claimant informed the Tribunal and the Respondent of its decision
      to withdraw their request to cross-examine Sivath Sengdouangchanh at the hearing.

50.   On 25 August 2018, the Claimant requested the Tribunal’s clarification on paragraph 3.ii
      of Procedural Order No. 10, concerning the witnesses’ examination. On 26 August 2018,
      the Respondent filed its observations to this request.

51.   On 28 August 2018, the Respondent withdrew the witness statement of Mr. Vanheung
      (Vanheuang) Nanthachak from the record.

52.   On 29 August 2018, the Tribunal issued Procedural Order No. 15, on (1) Respondent’s
      request to strike from the record Mr. William Greenlee’s witness statements; (2)
      Respondent’s request to introduce exhibits LHRE-164 and LHRE-165; (3) Claimant’s
      request to extend the time assigned at the hearing; (4) Claimant’s request to exclude the
      BDO Report submitted by the Respondent, and (5) Claimant’s request for advance notice
      for witness examination. These issues were decided as follows:

             “1. The Respondent’s request to strike from the record Mr. William
             Greenlee’s witness statements is premature.

             2. Exhibits LHRE-164 and LHRE-165 are to be admitted into evidence.

             3 Each party shall have equal time and is to determine the order in which
             its own cross-examinations proceed as well as time allocation.

             4. The Claimants’ request to exclude from the record the 291 additional
             pages attached to the BDO Report contained in Exhibit LHRE-161 is
             granted.

             5. The Parties are not required to provide advance notice of topics to be
             covered in cross-examination.”

53.   By letter of the same date, the Tribunal requested the Parties to confer and provide to the
      Tribunal a final hearing schedule.

54.   On 30 August 2018, the Claimant submitted the Parties’ final and agreed hearing schedule.
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55.   A hearing on the merits was held at Maxwell Chambers in Singapore, from 3 to 7
      September 2018 (the “Hearing”). As on previous occasions, the Tribunal conducted the
      hearing jointly with the Tribunal in the PCA Proceedings. At no time were the ICSID
      proceedings and the PCA proceedings consolidated. The following persons were present
      at the Hearing:

      Tribunal:
       The Honorable Ian Binnie, QC              President
       Prof. Bernard Hanotiau                    Arbitrator
       Prof. Brigitte Stern                      Arbitrator

      ICSID Secretariat:
       Ms. Cathy Kettlewell                      Secretary of the Tribunal

       PCA Tribunal:
       Mr. Andrés Rigo                           President
       Prof. Bernard Hanotiau                    Arbitrator
       Prof. Brigitte Stern                      Arbitrator


       PCA:
       Ms. Fedelma Claire Smith                  Secretary of the Tribunal
       Attending Video Conferencing from Lao:
       Ms. Gaëlle Buchet                         Case Manager

      For the Claimant:
       Ms. Deborah Deitsch-Perez                 Stinson Leonard Street
       Mr. Jeff Prudhomme                        Stinson Leonard Street
       Mr. Alexander Hinckley                    Stinson Leonard Street
       Mr. Todd Weiler
       Mr. Ken Kroot                             In house counsel-Sanum
       Mr. Jorge Menezes (also attending Video   FCLaw
       Conferencing from Lao)
       Parties:
       Mr. Shawn Scott
       Mr. Tucker Baldwin
       Other:
       Ms. Benjawan Poomsan Terlecky
       Ms. Diana Paraguacuto

      Claimant’s Expert:
       Mr. Gerard Ngo
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      For the Respondent:
        Mr. David Branson
        Mr. Kurt Lindquist II                    Womble Bond Dickinson (US) LLP
        Mr. John Branson                         Womble Bond Dickinson (US) LLP
        Ms. Emily Doll                           Womble Bond Dickinson (US) LLP
        Mr. Russ Ferguson                        Womble Bond Dickinson (US) LLP
        Mr. John Dackson                         Womble Bond Dickinson (US) LLP
        Parties:
        Outakeo Keodouangsinh
        Phothilath Sokhotchounlamaly
        Other:
        Ms. Xaynari Chanthala (Attending Video
        Conferencing from Lao)
        Mr. K.P. Santivong (Attending Video
        Conferencing from Lao)

       Respondent’s Expert:
       Prof. Hervé Ascensio

      Court Reporters:
       Goh Chee Jian                             Epiq
       Tan Chee Keeng                            Epiq
       Tan Liang Chiah Sharon                    Epiq
       Tay Ai Poh                                Epiq
       Chua Hong Guan (Damien)                   Epiq

      Interpreters:
       Mr. John Johnston                         Laotian/English
       Ms. Maly Siribounthong                    Laotian/English
       Mr. Samuel Mattix                         Laotian/English
       Ms. Ana Ooms                              French/English
       Mr. Jean-Christophe Kuzniak               French/English


56.   During the Hearing, the following persons were examined:

      On behalf of the Claimant:
       Mr. John Baldwin
       Mr. Clay Crawford
       Mr. Angus Noble

      On behalf of the Respondent:
       Mr. Phimphone Sengthong
       Judge Soulideth Souvannasaly
       Minister Chaleune Yiapaoheu
       (Video Conferencing from Lao)
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       Minister Sinlavong Khoutphaythoun
       (Video Conferencing from Lao)
       Governor Kambay Damlath
       (Video Conferencing from Lao)


57.   On 18 September 2018, the Respondent requested the Tribunal to provide further
      instructions concerning the submission of further pleadings or applications.

58.   On 19 September 2018, the Claimant filed a submission addressing the Respondent’s
      closing arguments made at the Hearing.

59.   By communication of 20 September 2018, the Tribunal informed the Parties that it would
      not admit into the record the Claimant’s submission of 19 September 2018 and that any
      further submissions but for those related to transcript issues, would require the Tribunal’s
      approval. The Tribunal invited the Parties to submit their corrections to the Hearing
      transcript by 28 September 2018.

60.   Following the Tribunal’s instructions, on 28 September 2018, the Claimant submitted the
      Parties’ agreed transcript corrections to be included by the Court Reporters. Amended
      transcripts were received from the Court Reporters on 22 October 2018.

61.   On 22 February 2019, the Respondent filed its submission on costs and on 7 March 2019,
      the Claimant filed its submission on costs. On 12 March 2019, the Tribunal invited the
      Parties to comment on the other Party’s submission on costs, if they wished to do so. On
      15 March 2019, the Respondent submitted its comments to Claimant’s submission on costs.

62.   On 2 May 2019, the Tribunal requested the Parties to confirm the Tribunal’s understanding
      that the Award shall be deemed to be made at the place of arbitration, irrespective of where
      it is signed. Both Parties confirmed the Tribunal’s understanding on 6 May 2019.

63.   The proceeding was closed on 17 July 2019.
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3. OVERVIEW OF THE FACTS

            Laos: Claimants’ Investments in Laos




64.        As mentioned earlier, the Claimant, LHNV, owned directly and indirectly through its
           subsidiary, Sanum, gambling assets in Laos including the Savan Vegas Hotel and Casino
           Complex in Savannakhet Province. The Casino is strategically located near the Friendship
           Bridge which spans the Mekong River between Laos and Thailand. The Claimants also
           had an investment in “slot clubs” located at the Thai border at Lao Bao and Savannakhet
           Ferry Terminal (located at the Savannakhet/Mukdahan checkpoint), all in the Savannakhet
           Province and at Thanaleng to the Northwest. LHNV and its subsidiary Sanum, claim to
           have invested many millions of dollars in these projects.4




4
    The Claimants’ principal, Mr. John Baldwin, testified as follows:
      Q. … Can you tell us when Sanum first invested in Laos and what kind of money it invested, at what time
      period?
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          The Original Treaty Claims

65.      The Claimants allege expropriation without compensation and Treaty breaches in respect
         of their investment in gambling projects described in the Project Development Agreement
         (“PDA”) dated 10 August 2007 in respect of the Savan Vegas Casino, as well as the three
         slot clubs, Thanaleng, Lao Bao and Savannakhet Ferry. The claims also relate to the
         expected expansion of the Savannakhet Airport and opportunities for development in the
         Special Economic Zone at Thakhet.

66.      LHNV initiated its ICSID proceedings on 14 August 2012 against the Respondent, before
         the International Centre for Settlement of Investment Disputes (“ICSID” or the “Centre”)
         pursuant to the Agreement on Encouragement and Reciprocal Protection of Investments
         between Laos and the Kingdom of the Netherlands,5 and the Arbitration Rules (Additional
         Facility) of ICSID (“ICSID-AF Rules”).6

67.      On 14 August 2012, Sanum Investments Limited, a LHNV subsidiary which operated the
         Savan Vegas Hotel and Casino, initiated its claim before the PCA for alleged violations of
         the Agreement between the Government of the People’s Republic of China and the
         Government of The Lao People’s Democratic Republic Concerning the Encouragement




     A. We – we started investing in Laos in 2007. Our initial commitment was a total of seven and a half million
     dollars – my recollection is seven and a half million dollars paid to ST Group in various stages, and then the
     next thing we invested in was getting new plans drawn and studies done for Savan Vegas and Paksong Vegas.
     Q. And in what year was that done?
     A. That was done in 2008 primarily.
     Q. When was the first monies paid? 2007 or 2008?
     A. First monies, 2007.
     Q. And then the money that was in 2008, can you say during roughly what month?
     A. Well, the largest amount of money was paid prior to the Savan – was paid in probably the last six months
     of 2008.
     Q. During all of that time in 2007 and 2008, did you have a flat tax agreement yet?
     A. Yes.
     Q. Prior – let me show you some documents. Let me show you –
     A. Well, we had an agreement to get the flat tax agreement. The flat tax was approved – the flat tax was
     approved by Prime Minister Bouasone in [29 December 2008].
Transcript, 5 September 2018, p. 134, l. 10 to p. 135, l. 12, date corrected p. 135, ll. 9-12.
5
  Signed on 16 May 2003, in force since 1 May 2005.
6
  As amended on 10 April 2006.
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           and Reciprocal Protection of Investments, dated 31 January 1993 and the UNCITRAL
           Arbitration Rules as revised in 2010.

68.        While the proceedings before the two Tribunals are distinct and separate, the proceedings
           were the subject of joint Hearings in Singapore and elsewhere. Accordingly, for ease of
           reference only, LHNV and Sanum will be referred to as "the Claimants", as the facts of the
           cases are intermingled. This terminology is not to suggest, however, that the two arbitral
           proceedings are consolidated or otherwise conjoined.


           Claims and Counterclaims

69.        The Claimants’ original Treaty claims were based on a multiplicity of alleged treaty
           breaches by the Government including (but not limited to) an 80% tax on casino revenues
           and what the Claimants contended were unfair and oppressive audits of the Savan Vegas
           Hotel and Casino. In addition, the Claimants alleged that the Government abused its
           sovereign authority to assist ST Holdings to acquire other assets which belonged in whole
           or in part, to the Claimants. In the Treaty proceedings, the Claimants eventually valued
           their investment loss as of 31 August 2016 at between US $690 million and US $1 billion.7


           The Settlement and its Aftermath

70.        The Treaty claims were thought to have been resolved by a Deed of Settlement concluded
           between the Parties during the merits Hearing in Singapore on 15 June 2014 (to be read
           together with a Side Letter dated 18 June 2014) (herein referred to collectively as “the
           Settlement”).

71.        Shortly after the Settlement, the Claimants alleged that the Government had committed a
           material breach of its terms, which entitled them to a revival of the Treaty arbitrations (“the
           First Material Breach Application”). The Government contested jurisdiction. On 11
           August 2014, the Government filed a Notice of Arbitration with the SIAC pursuant to




7
    See Reports of Joseph P. Kalt dated 14 October 2016, 2 December 2016, 22 December 2016 and 15 March 2017.
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        paragraphs 35 and 42 of the Settlement, seeking an order directing Sanum to comply with
        its obligations under the Settlement.

72.     The ICSID and PCA Tribunals held a hearing on 14 October 2014 in Washington, D.C. on
        the objections to jurisdiction, which were dismissed. However, on 20 January 2015, the
        High Court of the Republic of Singapore held that the PCA Tribunal did not possess subject
        matter jurisdiction under the Laos-China BIT because of the status of Macau and issues of
        state succession not here relevant, as well as the limitation in the BIT, according to which
        “only disputes over the amount of compensation for expropriation can be submitted to
        arbitration.”8 The First Material Breach Application was dismissed on the merits by the
        ICSID Tribunal on 10 June 2015. Subsequently, the judgment of the Singapore High Court
        was reversed by the Court of Appeal of Singapore on 29 September 2016.9


         Delimitation of the Relief Presently Sought by the Claimants

73.     The Claimants’ Second Material Breach Application was successful, and on 15 December
        2017, the Hearing on the merits of the “revived” claim was ordered to proceed. On 26
        March 2018, the Claimants advised the Tribunal that they no longer sought relief in respect
        of “Article 6 expropriation claim regarding the [Savan Vegas], its Article 6 expropriation
        claim regarding Ferry Terminal or Lao Bao slot clubs […], or its claims regarding
        Respondent’s seizure of its bank account in breach of Articles 3(2), 3(4), 4, 5, and 6.”10

74.     The Claimants’ letter of 26 March 2018 notionally divided and separated their surviving
        claims concerning LHNV (Thanaleng, Savan Vegas and the Ferry Terminal and Lao Bao
        slots) and Sanum (Thanaleng, Paksan, Thakhet and Paksong Vegas Hotel and Casino). As
        mentioned, however, counsel for the Claimants asserted in the same letter that “the totality
        of the facts remain relevant to certain treaty breaches for which the Claimants will seek
        relief.” Equally, the Respondent conjoined its “clean hands” defence to all claims by both
        Claimants at issue in the ICSID and PCA proceedings involving Mr. John Baldwin and the



8
  Government of the Lao People’s Democratic Republic v. Sanum Investments Ltd., [2015] SGHC 15 at para. 128.
9
  Sanum Investments Ltd. v. Government of the Lao People’s Democratic Republic, [2016] SGCA 57.
10
   Letter dated 26 March 2018 from Claimant to the Tribunal.
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       various interrelated allegations of bribery and corruption. Accordingly, it will be necessary
       for the Tribunal to address “the totality” of the factual circumstances of the listed projects
       of both Claimants insofar as they are relevant to the position of LHNV.

75.    The Claimant maintained the expropriation claim pursuant to Article 6 of the Treaty as
       well as the following Treaty claims:

       (a)     denial of fair and equitable treatment and prohibitions on impairment by
               unreasonable and discriminatory measures in respect of Savan Vegas, Thakhet,
               Paksan, Thanaleng, Ferry Terminal and Lao Bao (Article 3(1) of the Treaty);

       (b)     breach of contractual obligations regarding Savan Vegas and Paksong Hotel and
               Casino (Article 3(4) of the Treaty);

       (c)     national treatment regarding Savan Vegas, Lao Bao and Ferry Terminal (Articles
               3(2) and 4 of the Treaty);

       (d)     Most Favoured Nation claims regarding Savan Vegas, Thanaleng, Ferry Terminal
               and Lao Bao concerning full protection and security, most constant protection and
               security and access to justice (Article 3(2) of the Treaty).

4. RELEVANT ARTICLES OF THE BIT

        The Recitals

76.   The Preamble to the Treaty provides, in its relevant part:

               Desiring to strengthen their traditional ties of friendship and to extend and
               intensify the economic relations between them, particularly with respect
               to investments by the nationals of one Contracting Party in the territory of
               the other Contracting Party, recognizing that agreement upon the treatment
               to be accorded to such investments will stimulate the flow of capital and
               technology and the economic development of the Contracting Parties and
               that fair and equitable treatment of investment is desirable.

77.    Article 2 of the Treaty provides:

               Either Contracting Party shall, within the framework of its laws and
               regulations, promote economic cooperation through the protection in its
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              territory of investments of nationals of the other Contracting Party. Subject
              to its rights to exercise powers conferred by its laws or regulations, each
              Contracting Party shall admit such investments.

78.   Article 3(1), 3(2), 3(4), and 3(5) of the Treaty, in its relevant part, provide:

              1) Each Contracting Party shall ensure fair and equitable treatment of
              the investments of nationals of the other Contracting Party and shall not
              impair by unreasonable or discriminatory measures, the operation,
              management, maintenance, use, enjoyment or disposal thereof by those
              nationals. Each Contracting Party shall accord to such investments full
              physical security and protection.

              2) More particularly, each Contracting Party shall accord to such
              investments treatment which in any case shall not be less favourable than
              that accorded either to investments of its own nationals or to investments
              of nationals of any third State, whichever is more favourable to the
              national concerned.

              3) …

              4) Each Contracting Party shall observe any obligation it may have
              entered into with regard to investments of nationals of the Other
              Contracting Party.

              5) If the provisions of law of either Contracting party or obligations under
              international law existing at present or established hereafter between the
              Contracting Parties in addition to the present Agreement contain a
              regulation, whether general or specific, entitling investments by nationals
              of the other Contracting Party to a treatment more favourable than is
              provided for by the present Agreement, such regulation shall, to the
              extent that it is more favourable, prevail over the present Agreement.

               (emphasis added)

79.   Article 4 of the Treaty provides:

              With respect to taxes, fees, charges and to fiscal deductions and
              exemptions, each Contracting Party shall accord to nationals of the other
              Contracting Party who are engaged in any economic activity in its
              territory, treatment not less favourable than that accorded to its own
              nationals or to those of any third State who are in the same circumstances,
              whichever is more favourable to the nationals concerned. For this purpose,
              however, any special fiscal advantages accorded by that Party, shall not be
              taken into account:

              (a) under an agreement for the avoidance of double taxation; or

              (b) by virtue of its participation in a customs union, economic union or
              similar institution; or
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             (c) on the basis of reciprocity with a third State.

              (emphasis added)

80.   Article 6 of the Treaty provides:

             Neither Contracting Party shall take any measures depriving, directly or
             indirectly, nationals of the other Contracting Party of their investments
             unless the following conditions are complied with:

             (a) the measures are taken in the public interest and under due process
             of law;

             (b) the measures are not discriminatory or contrary to any undertaking
             which the Contracting Party which takes such measures may have given;

             (c) the measures are taken against just compensation. Such compensation
             shall represent the genuine value of the investments affected, shall include
             interest at a normal commercial rate until the date of payment and shall, in
             order to be effective for the claimants, be paid and made transferable,
             without delay, to the country designated by the claimants concerned and
             in the currency of the country of which the claimants are nationals or in
             any freely convertible currency accepted by the claimants.

             (emphasis added)

81.   Article 9 of the Treaty provides:

             Each Contracting Party hereby consents to submit any legal dispute arising
             between that Contracting Party and a national of the other Contracting
             Party concerning an investment of that national in the territory of the
             former Contracting Party to the International Centre for Settlement of
             Investment Disputes for settlement by conciliation or arbitration under the
             Convention on the Settlement of Investment Disputes between States and
             Nationals of other States, opened for signature at Washington on 18 March
             1965, in the event that both Contracting Parties have become Contracting
             States to the said Convention. In case a Contracting Party is not a
             Contracting State to the said Convention, the disputes referred to above
             shall be submitted to the International Centre for Settlement of Investment
             Disputes under the Rules Governing the Additional Facility for the
             Administration of Proceedings by the Secretariat of the Centre (Additional
             Facility Rules). A legal person which is a national of one Contracting Party
             and which before such a dispute arises is controlled by nationals of the
             other Contracting Party shall, in accordance with Article 25 (2) (b) of the
             Convention, for the purpose of the Convention be treated as a national of
             the other Contracting Party.
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5. OTHER MATTERS

        Other Legal Provisions

82.     The Respondent argues that, in addition to the BIT, domestic law is relevant to the
        existence of the Claimants’ contractual rights and the legality of the conduct of the foreign
        investors. Furthermore, there are international norms such as “[t]he United Nations
        Convention Against Corruption which defines bribery and money laundering as
        fundamental criminal offenses that undermine the international system of foreign trade.”11
        It is the contention of the Respondent that the Claimants violated the BIT, the laws of Laos
        and international norms.

83.     According to the Claimant LHNV’s Reply, the “[BIT] clearly governs this dispute.”12 The
        United Nations Convention Against Corruption (“UNCAC”) “creates obligations only for
        the state Parties, to develop anti-corruption policies, practices, and task forces. It does not
        bind or purport to bind the conduct of entities such as the Claimant.”13 The Claimants also
        question the Respondent’s appeal to international public policy and, in particular, the
        international standard for the gaming industry based on domestic gaming regulations of
        just four jurisdictions, none of them applicable to the Claimants’ projects in Laos.

84.     While the Claimants admit that domestic statutes obviously do determine whether certain
        alleged acts are legal or illegal for the purposes of domestic law, domestic law does not
        dictate the consequences for an investor’s claims under the Treaty.

85.     The Claimants argue that “once an investor has established its investment in conformity
        with the host state’s laws, that investment falls within the scope of the treaty (assuming all
        of the other jurisdictional hurdles have been cleared), and the investor is prima facie
        entitled to its protections.”14 The Claimants further argue that the cases that “consider



11
   Respondent’s Counter-Memorial, para. 20.
12
   Claimant’s Reply and Opposition to Respondent’s Counterclaims dated 9 May 2014 (hereinafter “Claimant’s
Reply”), para. -237.
13
   Ibid.
14
   Ibid., para. 246.
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            whether allegations of misconduct constitute a proper defence on the merits do not assist
            Laos because tribunals have required Respondents to demonstrate that the actions taken in
            breach of the treaty were actually justified by the misconduct.”15

86.         The Claimants also dispute the relevance of the “uncontroversial proposition that arbitral
            tribunals have an inherent power to preserve the integrity of their own process …”16 The
            Claimants equally reject the applicability of the “unclean hands” doctrine and note that the
            Respondent has not cited any case in which a tribunal has sanctioned post-investment
            behavior with a full dismissal of the claimant’s case.


             Tribunal’s Analysis

87.         The law to be applied by the Tribunal is determined by the Treaty. The Treaty is an
            international instrument that to the extent it requires interpretation will be interpreted by
            the Tribunal in accordance with the provisions of the Vienna Convention on the Law of
            the Treaties (“VCLT”) to which both State parties to the Treaty have acceded. As the
            Parties admit in their exchanges, the domestic law of the State may also be relevant. The
            extent of its relevance is a matter of dispute between the Parties, particularly on the question
            of whether to be protected an investment needs to be made and operated according to the
            law of the host State. This issue and the disputed applicability of international policy relate
            to the defence of illegal conduct and the Tribunal will address both matters as needed in its
            consideration of the Respondent’s defence.


             Clarification on the Nature of the Respondent’s Illegality Claims

88.         As part of its defence, the Respondent has pleaded that the Tribunal should dismiss all
            claims because of the illegal activities in which the Claimants allegedly engaged, including
            bribery, embezzlement and money laundering. The Claimants have at times characterized




15
     Ibid., para. 249.
16
     Ibid., para. 252.
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        this defence as a “request for dismissal … for lack of jurisdiction” because at inception or
        in its operation the investment of the Claimants was illegal.17

89.     As the Tribunal understands it, the present submission of the Respondent to dismiss all
        claims on grounds of illegality is not an objection to the Tribunal’s jurisdiction, but an
        affirmation of the Tribunal’s jurisdiction to consider the claims on their merits which, the
        Government says, ought to be dismissed because of the Claimants’ illegal conduct.




6. THE RESPONDENT’S THRESHOLD POSITION IS THAT THE CLAIMS OUGHT
   NOT TO BE ENTERTAINED BY REASON OF THE CLAIMANTS’ BRIBERY AND
   CORRUPTION

90.     At the threshold of its argument, the Respondent contends that the claims should be
        dismissed in their entirety, in part because of corruption in the creation of the investments,
        and in part because of corruption in the course of performance of the various PDAs and
        unsuccessful initiatives by the Claimants to obtain licences for new gambling facilities.

91.     The Respondent alleges that the principals behind the Claimants, Mr. John Baldwin and
        Mr. Sean Scott, were quite brazen about how to do business in a culture of corruption.
        However, Mr. Baldwin says, they steadfastly resisted. In this respect, Mr. Baldwin testified
        that:

                 Laos can be quite a corrupt country … As I met fellow businessmen in
                 Laos, I came to realize that almost every major business operating in Laos
                 has paid money under the table for their concessions, or their flat tax
                 agreements or other Government approvals. Sanum, however, has not.18

92.     In his re-examination at the Hearing, Mr. John Baldwin made an even more emphatic
        denial of corrupt activities: “I gave strict instructions always that we weren’t paying any
        bribes.”19




17
   Claimant’s Reply, para. 13.
18
   John Baldwin Sixth Witness Statement (ICSID), dated 9 May 2014, para. 5.
19
   Mr. Baldwin testified as follows in re-examination by his counsel:
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                                                          33


93.      The allegations of bribery in the course of making the initial investment include:

         (a)      an alleged bribe of US $30,000 to Laotian tax authorities to obtain approval of the
                  original 2009 Flat Tax Agreement which the Claimants regarded as essential to
                  their investment in their flagship Savan Vegas Hotel and Casino project;

         (b)      payment of US $25,000 to Government officials to procure a licence for the
                  Claimants’ proposed Thakhaek Slot Club and Welcome Centre.20

94.      The allegations of bribery in the course of performance of the PDAs and related initiatives
         include:

         (a)      payment of US $875,000 to the Claimants’ consultant in the Laos private sector,
                  Madam Sengkeo Phimmasone, to bribe Government officials to stop an audit by
                  Ernst & Young (“E&Y”) of Savan Vegas in order to avoid disclosure of the
                  Claimants’ illegal activity21 and witness tampering (Madam Sengkeo Phimmasone
                  refused to make herself available to testify in these proceedings. The Respondent
                  alleges she was paid by the Claimants to stay away);

         (b)      payment of bribes totalling US $ 21,000 in 2012 to Government officials in an effort
                  to obtain an extension of the 2009 Flax Tax Agreement;22




     Q. Mr. Branson asked you a number of questions about the contracts, the consulting contracts, that Mr.
     Bouker had that Marty Gersten had written up and you said you hadn't seen them, but now that you've seen
     them, do they cause you to believe that Mr. Bouker was being dispatched to go and bribe people?
     A. No.
     Q. And why is that?
     A. Well, first and foremost, I gave strict instructions always that we weren't paying any bribes. That's
     number one. I just don't do it and I'm a stubborn guy and I just don't – I tell my staff the same thing always,
     you know, it's a slippery slope and you can't start down it, so that's number one. But number two is, you
     know, fair value [in terms of a success fee] for result for work given. I mean, if he [Mr. Bowker] has the
     contacts to do this, more power to him. (emphasis added)
Amended Transcript, 5 September 2018, p. 168, 8-19.
20
   Respondent’s Rejoinder, paras. 10-11, 15-17.
21
   Respondent’s Counter-Memorial, para. 73; Respondent’s Rejoinder, para. 9(i) and (vii).
22
   Respondent’s Counter-Memorial, paras. 90-93; Respondent’s Rejoinder, paras. 10,15, 19.
         Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 95 of 457

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        (c)      offer of a US $7 million bribe to the Prime Minister of Laos for approval of a licence
                 to establish a casino in the capital city of Vientiane;23

        (d)      a bribe of US $80,000 to the Governor of the Province of Champasak to approve a
                 slot club at Chong Mek;24

        (e)      bribes totalling US $106,000 to Government officials to close the Paksan Slot Club
                 as a way of bringing pressure on ST Holdings to settle their differences;25

        (f)      a claim (now abandoned) of payment of unspecified amounts of bribes to
                 Government officials stationed at Savan Vegas to turn a blind eye to unlawful
                 gambling by Lao citizens;26

        (g)      an allegation (now abandoned) of payment of unspecified amounts to Thai border
                 officials to facilitate Thai gamblers crossing into Laos to gamble and return
                 unhindered with their winnings;27 and

        (h)      additional allegations (now abandoned) that the Claimants engaged in money
                 laundering and embezzled funds from Savan Vegas by use of phoney loans.28

95.     In addition, the Respondent alleges that the Claimants paid US $120,000 to Cambodian
        officials for a Cambodian lottery licence, bribed Cambodian officials to obtain Cambodian
        diplomatic passports and bribed Cambodian customs officials to ignore unlawful border
        crossings. These allegations were designed to demonstrate that the principals of the
        Claimants are “bad people” with a predisposition to use bribery and corruption to advance
        their financial interests. The facts underlying the Cambodian allegations are so far
        removed from the allegations of corruption in Laos, that the allegations relating to
        Cambodia are irrelevant and will not be considered further.




23
   Respondent’s Counter-Memorial, para. 97.
24
   Respondent’s Counter-Memorial, paras. 100-101; Respondent’s Rejoinder, paras. 21-22.
25
   Respondent’s Counter-Memorial, paras. 102-104.
26
   Respondent’s Counter-Memorial, para. 110-113.
27
   Respondent’s Counter-Memorial, paras. 114.
28
   Respondent’s Counter-Memorial, paras. 115-199, 133, 135, 338.
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         Evidence of Bribery and Corruption is Relevant in Respect of Criminality Both at
         the Time of Investment and During Subsequent Performance

96.     The Parties agree that investment tribunals are rightly sensitive to allegations of corruption.
        They agree that the Respondent bears the burden of proof. They disagree on the standard
        of proof, i.e. whether a balance of probabilities is sufficient or whether corruption must be
        established to the more demanding standard of “clear and convincing evidence” of
        corruption. They also, of course, disagree on the facts.

97.     There is no doubt that bribery and corruption are contrary to the domestic laws of Laos.29


        6.1.1. The Respondent’s Argument

98.     The Respondent asserts that the Claimants are not legally entitled to maintain any of their
        claims in these proceedings as a matter of ordre public international and public policy.30
        Corruption, the Respondent argues, is relevant to the initial investment but also to the
        investor’s subsequent conduct in relation to the investment in the host country.31




29
   Lao Penal Code
Article 157:
Any person bribing or agreeing to bribe a civil servant shall be punished by six months to two years of imprisonment
and a fine equal to the amount or value of the bribe.
     In the event of a substantial bribe, the bribed civil servant, the briber and the person who agrees to give the
     bribe shall be punished by three to five years of imprisonment and fines equal to twice the amount or value
     of the bribe.
     Bribe intermediaries shall be punished by six months to two years of imprisonment and fines equal to the
     amount or value of the bribe.
LHRA-15.
Lao Law on Investment Promotion
Article 73: Prohibited actions for investors:
     Investors are prohibited to perform the following actions:
     1. Give bribes to officers and government officials who have responsibilities for concerned tasks;
LHRA-21.
30
   World Duty Free Company Limited v. Republic of Kenya, ICSID Case No. ARB/00/7, Award (“World Duty Free
v. Kenya”), at para. 188(3), LHRA-31.
31
   Referencing ICC Dossier: Addressing Issues of Corruption in Commercial and Investment Arbitration, Chapter 11,
at para. 31, LHRA-155 (citing Flughafen Zürich A.G. and Gestión e Ingeniería IDC S.A. v. Bolivarian Republic of
Venezuela, ICSID Case No. ARB/10/19, Award, 18 November 2014, at paras. 129-132.):
     31. The approach to bribery is different in investment arbitrations, where jurisdiction does not derive from a
     contract, but rather from an investment treaty. In these cases, validity of contracts is not the question. The
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99.     The difference is that corruption in the making of the investment will raise issues of
        jurisdiction for the Tribunal, whereas subsequent acts of corruption will go to a claimant’s
        entitlement for relief under the BIT.32

100.    In particular, the Respondent relies on the analysis in Metal-Tech v. Uzbekistan:

                 While reaching the conclusion that the claims are barred as a result of
                 corruption, the Tribunal is sensitive to the ongoing debate that findings on
                 corruption often come down heavily on claimants, while possibly
                 exonerating defendants that may have themselves been involved in the
                 corrupt acts. It is true that the outcome in cases of corruption often appears
                 unsatisfactory because, at first sight at least, it seems to give an unfair
                 advantage to the defendant party. The idea, however, is not to punish one
                 party at the cost of the other, but rather to ensure the promotion of the rule
                 of law, which entails that a court or tribunal cannot grant assistance to a
                 party that has engaged in a corrupt act.33 (emphasis added)

101.    The Respondent also relies, more generally, on the doctrine of “clean hands”. The
        Claimants’ misconduct is sufficient, it is said, to deny them the assistance of investor-state
        arbitration.


        6.1.2. The Claimant’s Argument

102.    The Claimants point out that the Tribunal’s jurisdiction is founded on the BIT and neither
        the Netherlands nor the Chinese BIT contains a provision authorizing a tribunal to deny
        the treaty’s protection on the basis that the claimant/investor engaged in corruption. If the
        BITs provide no authority to dismiss, the Tribunal would have to base its decision on
        customary international law. However, the lack of “clean hands” is neither a recognized



     issue is whether an investor who has incurred in corrupt practices when making or performing the investment
     can still enjoy protection under the relevant investment treaty. And the answer is no. (38) Investment
     arbitration has initiated and led the movement of zero tolerance towards corruption.
32
   Fraport AG Frankfurt Airport Services Worldwide v. Republic of the Philippines, ICSID Case No. ARB/03/25, at
para. 345, LHRA-29:
     If, at the time of the initiation of the investment, there has been compliance with the law of the host state,
     allegations by the host state of violations of its law in the course of the investment, as a justification for
     state action with respect to the investment, might be a defence to claimed substantive violations of the BIT,
     but could not deprive a tribunal acting under the authority of the BIT of its jurisdiction. (emphasis added)
33
   Respondent’s Opening Submission, Slide 143, citing Metal-Tech Ltd. v. Republic of Uzbekistan, ICSID Case No.
ARB/10/3, Award, 4 October 2013, at para. 389, Exhibit LHRA-157.
        Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 98 of 457

                                                    37


        rule of customary international law nor a general principle of international law and thus
        affords no authority to dismiss.34

103.    The Claimants acknowledge that corruption in the establishment of an investment can
        render a claim inadmissible because treaty protections are only available for valid
        investments recognized under the treaty (based upon either an explicit or implied legality
        requirement).35    The Claimants deny corruption but in any event deny any causal
        connection between the acts of alleged corruption and these claims. The Respondent only
        concocted its corruption allegations after the arbitrations were commenced and in any
        event has failed to govern itself in a manner consistent with its international obligations,
        including due process and good faith, and the prosecution of bribe-takers as well as alleged
        bribe-givers.36

104.    The Claimants’ principal, Mr. John Baldwin, denied the applicability of the “red flags”
        approach to the investments in issue here:

                Q. Is it possible that when you enter into a consulting contract like this,
                that if the event is achieved, the consultant is sent the money and the
                consultant then is instructed to pay it to certain government ministers so
                that it keeps the company one step removed from proof of the bribe? Isn’t
                that how it works, Mr. Baldwin?

                A. That’s a possibility, although it didn’t happen here.37

        6.1.3. The Tribunal’s Ruling

105.    The Tribunal considers that proof of corruption at any stage of the investment may be
        relevant depending on the circumstances. While the UNCAC applies to States rather than
        private parties, it embodies what has become a principle of customary international law




34
   Citing Yukos Universal Limited (Isle of Man) v. The Russian Federation, UNCITRAL PCA Case No. AA 227,
Award, 18 July 2014, at paras. 1362-1363, CLA(B)-395.
35
   Claimant’s Closing Submission, Slide 3.
36
   Claimant’s Opening Submission on Respondent’s Corruption Allegations, Slide 4.
37
   Amended Transcript, 5 September 2018, p. 91, 16-25.
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         applicable, according to the OECD, to root out corruption used “to obtain or retain
         business or other undue advantage in relation to the conduct of international business.”38

106.     The Respondent also relies on a generalized doctrine of “clean hands” which is a metaphor
         employed as a defence to equitable relief in common law jurisdictions. Incorporation of
         such a general doctrine into investor-State law without careful boundaries would risk
         opening investment disputes to an open-ended, vague and ultimately unmanageable
         principle. However, putting aside the label, serious financial misconduct by the Claimants
         incompatible with their good faith obligations as investors in the host country (such as
         criminality in defrauding the host Government in respect of an investment) is not without
         Treaty consequences, both in relation to their attempt to rely on the guarantee of fair and
         equitable treatment, as well as their entitlement to relief of any kind from an international
         tribunal.


         The Applicable Standard of Proof

         6.2.1. The Respondent’s Argument

107.     The Respondent notes that many international tribunals have recognized the difficulty of
         “proving” bribery and corruption. In the nature of things, the parties to such transactions
         are generally careful to leave no paper trail or other direct or documentary evidence. As a
         result, if corruption is to be combatted effectively, it is necessary to rely on inferences from
         circumstantial evidence. A reasonable approach is to identify “red flags” which, if



38
   UN Convention Against Corruption, Article 16(1), LHRA-16. See also OECD Convention on Combating Bribery
of Foreign Public Officials in International Business Transactions, Article 1(1), Exhibit LHRA-136:
    Each Party shall take such measures as may be necessary to establish that it is a criminal offence under its
    law for any person intentionally to offer, promise or give any undue pecuniary or other advantage, whether
    directly or through intermediaries, to a foreign public official, for that official or for a third party, in order
    that the official act or refrain from acting in relation to the performance of official duties, in order to obtain
    or retain business or other improper advantage in the conduct of international business. (emphasis added) .
See also ICC Dossier: Addressing Issues of Corruption in Commercial and Investment Arbitration, Chapter 11, at
para. 34, Exhibit LHRA-155:
    It is now undisputed that a finding of corruption when making or performing an investment will lead to
    dismissal of claimant’s claims and to a loss of any protection afforded by the treaty. (emphasis added)
Respondent’s Opening Statement, Slide 146.
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                                                       39


        established, require the alleged perpetrators to provide an exculpatory explanation of
        otherwise suspicious conduct. In Metal-Tech v. Uzbekistan,39 for example, the tribunal
        considered probative of corruption the Government’s evidence of substantial payments to
        a consultant where:

        (a)      the consultant lacks experience in the sector,

        (b)      the consultant is not a resident of the country where the project is located;

        (c)      the consultant has no significant business presence or experience within the
                 country;

        (d)      the consultant requests “urgent” payments and/or unusually high commissions;

        (e)      the consultant requests payments be made in cash, be made in a third country, to a
                 numbered bank account, or to some other person or entity than the one with whom
                 the agreement was signed;

        (f)      the consultant has a close personal/professional relationship to the Government that
                 could improperly influence the decision.40


        6.2.2. The Claimant’s Argument

108.    The Claimants contend that the applicable standard of proof of corruption in international
        law is “clear and convincing evidence” which must consist of “substantial facts” not mere
        “inferences”.41 Relevance is placed on Waguih Elie George Siag and Clorinda Vecchi v.



39
   Metal-Tech v. Uzbekistan, Exhibit LHRA-157, at para. 293. See also ICC Dossier Addressing Issues of Corruption
in Commercial and Investment Arbitration, Chapter 5, Exhibit LHRA-160.
40
   Metal-Tech v. Uzbekistan, Exhibit LHRA-157, para. 293.
41
   Liman Caspian Oil BV and NCL Dutch Investment BV v. Republic of Kazakhstan, ICSID Case No. ARB/07/14,
Award, 22 June 2010, Exhibit CLA(B)-441, at para. 424:
     … It is not sufficient to present evidence which could possibly indicate that there might have been or even
     probably was corruption. Rather Claimants have to prove corruption…[T]he issue is not one of inference,
     and the Tribunal considers that Claimants have not met their burden of proof in this regard.
See also Gustav FW Hamseter GmbH & Co KG v. Republic of Ghana, ICSID Case No. ARB/07/24, Award, 18 June
2010, Exhibit LHRA-26, at para. 134.
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                                                      40


        The Arab Republic of Egypt, where the tribunal held that “the applicable standard of proof
        is greater than the balance of probabilities but less than beyond a reasonable doubt.” The
        term favoured by the Claimants is “clear and convincing evidence.” 42


        6.2.3. The Tribunal’s Ruling

109.    The Tribunal acknowledges the difficulty of proving corruption as well as the importance
        of exposing corruption where it exists. In the nature of the offence, the person offering the
        bribe and the person accepting it will take care to cover their tracks. Nevertheless, given
        the seriousness of the charge, and the severity of the consequences to the individuals
        concerned, procedural fairness requires that there be proof rather than conjecture. The
        standard of “probabilities” requires the trier of fact to stand back and make an overall
        assessment. The requirement of “clear and convincing” evidence puts the focus more
        closely on the building blocks of the evidence to ensure a rigorous testing.

110.    In the Tribunal’s view there need not be “clear and convincing evidence” of every element
        of every allegation of corruption, but such “clear and convincing evidence” as exists must
        point clearly to corruption. An assessment must therefore be made of which elements of
        the alleged act of corruption have been established by clear and convincing evidence, and
        which elements are left to reasonable inference, and on the whole whether the alleged act
        of corruption is established to a standard higher than the balance of probabilities but less
        than the criminal standard of beyond reasonable doubt, although of course proof beyond a
        reasonable doubt would be conclusive. This approach reflects the general proposition that
        the graver the charge, the more confidence there must be in the evidence relied on.43




42
   Waguih Elie George Siag & Clorinda Vecchi v. Arab Republic of Egypt, ICSID Case No ARB/05/15, Award, 1
June 2009, Exhibit CLA(LH)-069, at para. 326.
43
   See Libananco v. Turkey (Exhibit CLA(LH)-168), para. 125; Rompetrol v. Romania (Exhibit CLA(LH)-173),
para. 182; both relying on the Separate Opinion of Judge Higgins in the Oil Platforms case, ICJ Reports 1996, at
856.
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                                                       41


            Failure of the Respondent to Investigate and Prosecute Persons who Allegedly
            Accepted Bribes

111.       As the Claimants point out, the Respondent has brought no prosecutions against any
           Government official said to be on the receiving end of the bribes. Nor is there before the
           Tribunal any evidence of a serious criminal investigation of anyone other than the
           principals of the Claimant, Mr. John Baldwin and Mr. Sean Scott.

112.       Conviction of its own officials would not estop the Government from pursuing the
           Claimants as bribe-givers. However, in this case, the Tribunal finds it disturbing that no
           prosecutions have been brought against any persons alleged to have accepted bribes, nor
           has there been evidence of due diligence in any investigation. These omissions are relevant
           to the credibility of the Government’s allegations, as will be seen.


           6.3.1. First Allegation – Bribes to Obtain the 2009 Flat Tax Agreement

               6.3.1.1.    The Respondent’s Argument

113.       The Claimants have repeatedly acknowledged that the Flat Tax Agreement (“FTA”)44 was
           essential to the economic profitability of Savan Vegas. Mr. John Baldwin testified in
           Singapore that the Claimants would not have built the casino without an FTA:

                   Q. And would you have built the Savan Vegas casino for $25 million, $30
                   million if that was the tax you had to pay, if the government refused to
                   give you a flat tax agreement?

                   A. No.45

114.       It is alleged that to obtain the original 2009 FTA, a bribe of US $30,000 was paid to Ms.
           Manivone or Mr. Khamphai, senior officials with the Government tax department, through
           the Claimants’ intermediary or consultant, Madam Sengkeo.




44
     Flat Tax Agreement between Laos and Savan Vegas, dated 21 September 2009, Exhibit C(B)-007.
45
     Amended Transcript, 5 September 208, p. 89, 12-16.
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                                                 42


115.    The FTA was of great value to the Claimants as it limited most types of tax to a flat sum
        of US $745,000 per year regardless of the profits made by the multi-million-dollar casino
        operation.

116.    The chronology is as follows:


       DATE                             ACTIVITY
       29 December 2008                 Prime Minister approves FTA in principle
       21 September 2009                Flat Tax Agreement signed.
       22 September 2009          Internal Sanum e-mail records that Mr. Khamphai requested
                                  wire of “agreed payment” to Madam Sengkeo’s account
                                  “approved” by Mr. Baldwin.46
       24 September 2009          Internal Sanum e-mail records that the “tax people are
                                  requesting […] $30,000 USD […] to get the flat tax
                                  approval.”47
       7 October 2009             Internal Sanum e-mail records that Madam Sengkeo “has
                                  provided her daughter’s bank account” information.48
       8 October 2009             Internal Sanum e-mail records that Mr. Baldwin instructed the
                                  disbursement of funds “by wire” for “service[s] partially
                                  rendered”. Amounts of $10,000 and $20,000 were disbursed
                                  from the account “by wire”.49


117.    According to the Respondent, the sequence of dates, and the use of the daughter’s bank
        account in lieu of Madam Sengkeo’s own account, raise “red flags”.

118.    While the FTA had been agreed to in principle in December 2008, Mr. John Baldwin
        testified that the deal was not done, because “we needed to get the flat tax agreement
        reduced into a formal document at that specific time.”50 Accordingly, it would have been




46
   Emails regarding Flat Tax, Exhibit LHRE-152.
47
   Ibid.
48
   Ibid.
49
   Ibid.
50
   Mr. John Baldwin testified as follows:
     Q. What was the agreement’s substance? I mean, the agreement with Madam Sengkeo, what was the
     substance of that agreement?
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                                                          43


         quite understandable for the payment of a bribe to be delayed until October 2009 when the
         FTA was signed, as opposed to December 2008 when it was purportedly approved in
         principle by the Government.

119.     In cross-examination, Mr. John Baldwin denied any illegal payment to Madam Sengkeo
         but according to the Respondent, Mr. Baldwin’s explanation that the reference to payment
         in October 2009 of US $30,000 to the “tax people” meant payment to Madam Sengkeo for
         her own benefit rather than as a bribe for tax officials is (according to the Respondent)
         manifestly absurd. In this respect, Mr. John Baldwin testified as follows:

                  Q. Isn’t this a statement to the CFO of Sanum/Savan Vegas to pay a bribe
                  of $30,000 to a tax official in the Ministry of Finance?

                  A. No.

                  Q. How do you interpret it? What does it mean?

                  A. That the $30,000 success fee was supposed to be paid to Madam
                  Sengkeo and her tax people that were with her.

                  Q. She is “the Tax people”?

                  A. Yes.

                  Q. Did she work for the government then?

                  A. No.

                  Q. She didn’t? She’s not an employee of the Ministry of Finance?

                  A. No.51




    A. I believe – I – I don't know specifically, but I believe that we needed to get the flat tax agreement reduced
    into a formal document at that specific time, but Madam Sengkeo's engagement went back nearly a year, is
    my recollection, and that she helped, through that whole period, to get the flat tax agreement.
    Q. What was the agreement? Why was she getting 30,000? Why not 50,000?
    A. Well, she agreed to take $30,000.
Amended Transcript, 5 September 2018, p.69, 16-25 to 70, 1-3.
51
   Amended Transcript, 5 September 2018, p. 66, 1-15.
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                                                          44


120.     The Respondent adds that the US $30,000 may have gone to Madam Sengkeo in the first
         instance, but in the Respondent’s view, the coincidence of timing with Sanum’s apparent
         need to ingratiate itself with Government officials is fatal to Mr. Baldwin’s credibility.


             6.3.1.2.      The Claimant’s Argument

121.     The Claimants contend that payment of US $30,000 to Madam Sengkeo was a “success
         fee” for obtaining the FTA where previous intermediaries had failed.52 Mr. Baldwin
         strongly denied any impropriety:

                  Q. Down at the bottom of the page it says:

                  “Dear Billy and Team, Mr Khamphai of the Tax Department and Mdm
                  Sengkeo had just informed us that Joe had picked up the flat tax document
                  at his office [meaning Mr Khamphai’s] since 9AM this morning...

                  However, he has asked us to wire the agreed payment to Madam
                  Sengkeo’s account as followed...”

                  And then they give the account number. So isn’t this interesting, that the
                  day that the flat tax agreement is delivered to your employee, he asked that
                  $30,000 is wired that day?

                  A. Well, my reading of this is that “he” is Joe.

                  Q. And who is he saying that the money should be paid to?

                  A. Madam Sengkeo.53 (emphasis added)



52
   Mr. Baldwin testified in his Second Witness Statement in the SIAC case of 8 June 2015 as follows:
    15. The Government alleges that I authorized payments totaling US $30,000 to Madame Sengkeo
    Phimmasone, as a bribe to obtain the flat tax agreement issued on 1 September 2009 for Savan Vegas. This
    too is false. The payments represented a success fee to Madam Sengkeo for her efforts to help Savan
    Vegas negotiate a Flat Tax Agreement with the Lao Government – a project on which she had worked since
    at least July 2008.
    16. Initially, it was the ST Group – then our local partner in Laos – that was responsible for obtaining a flat
    tax agreement for Savan Vegas. However, it failed to do so, thus by mid-2008, we took it upon ourselves to
    negotiate such an agreement with the Lao Government. In order to have local Lao expertise to assist us,
    Savan Vegas offered a success fee to Madam Sengkeo to lobby for a satisfactory Flat Tax Agreement for
    Savan Vegas. Madam Sengkeo was a partner of ST, which is how I came to know her. I discovered that she
    had many high-level connections in the Lao Government. This made her a natural choice for this consulting
    engagement. (emphasis added)
John Baldwin Second Witness Statement, 8 June 2015, paras. 15-16, Exhibit LHRE-159.
53
   Amended Transcript, 5 September 2018, p. 67, 2-18.
        Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 106 of 457

                                                       45


122.    Mr. John Baldwin testified that there was no reason to bribe any Government employee in
        September 2009 as the Prime Minister had already agreed to a flat tax agreement in
        December 2008.54


             6.3.1.3.     The Tribunal’s Ruling

123.    The Respondent’s case is speculative rather than substantial. Madam Sengkeo was in the
        consulting business.        Consultants are paid.        While the Claimants never produced a
        “consulting agreement” with Madam Sengkeo, the evidence is that it is not unusual for
        consultants to insist on a success fee as part of their remuneration. The effort to obtain an
        FTA was successful. It was likely worth millions of dollars to the Claimants in reduced
        taxes. In that context, payment of US $30,000 in 2009 is not a disproportionate “success
        fee”. Moreover, no one was prosecuted in this affair. Even if Madam Sengkeo did not
        cooperate with the Government, why was her daughter (the owner of the bank account) not
        investigated? What is the daughter’s explanation? The evidence of corruption in this
        instance is neither clear nor convincing. The bribery allegation in connection with the FTA
        is not established to the necessary standard for such a serious charge.


        6.3.2. Second Allegation – Bribes to Extend the Flat Tax Agreement After Expiry of
             the 5-Year Term

             6.3.2.1.     The Respondent’s Argument

124.    On 18 March 2011, Savan Vegas submitted its proposal to extend the FTA, which was due
        to expire on 31 December 2014. Six days later, on 24 March 2011, the Claimants paid
        US $21,000 to Mr. Bouker Noutharath, a retired hospital worker from Olympia,
        Washington State, United States of America, who had returned to live in Laos. He had no


54
 Mr. Baldwin testified:
   Q. Would there be any reason to have to bribe anyone when the Prime Minister had already approved your
   flat tax?
   A. You know, there's no reason to and, plus, obviously, the Prime Minister's office was watching this. The
   local tax people were watching this, the finance department's watching this. This was a significant project
   and lots of people were watching it and there's no way. You just wouldn't – couldn't happen.
Amended Transcript, 5 September 2018, p. 151, 2-11.
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                                                    46


        experience as a “consultant” but had good contacts within the Government. On 4 March
        2011, he was retained by Savan Vegas55 as a consultant to lobby in favour of an extension
        of the FTA. Mr. Baldwin says Mr. Bouker was promised a success fee substantially in
        excess of US $21,000, but Mr. Bouker, who agreed to cooperate with the Government,
        testified that:

                I have seen the entry in the general ledger that I was sent $21,000 on March
                24, 2011. The entry says “prof fee re flat tax acceptance – Brian
                Nonthavet.” RE-131. I remember that Sanum was concerned about
                extending a flat tax agreement, but I was not involved in that issue. I was
                sent the $21,000 to deliver it to a government person. I remember it
                was Mr. Paoa [of Savan Vegas] who asked me to make this payment about
                the tax issue but I cannot remember the name of the Government
                person who I gave this payment too.56 (emphasis added)

                *****

                These contracts are for fraud reasons. They were drafted and sent to me
                by lawyer Martin Gersten…They were to provide a cover for the bribes
                Sanum intended to pay to have the Government extend the Flat Tax
                Agreement and to obtain the Thakhaek slot club licence.57

125.    The Respondent believes the unidentified “Government Person” was Ms. Manivone but
        Mr. Baldwin testified he was “sure” this was not so:

                Q. Do you know that at the time you were negotiating with Madam
                Manivone in the tax department of the Ministry of Finance?

                A. Well, we were – negotiated with Madam Manivone from 2007 clear
                through, you know, into 2012.

                *****

                Q. Isn’t it true that Mr Paoa asked Bouker to deliver $21,000 [in 2012] to
                Ms Manivone in the tax department to help in negotiations for the flat tax
                agreement?

                A. I don’t think so.




55
   Bouker Nonthavet Third Witness Statement, 23 May 2014, Exhibit 4, Respondent’s Opening Submission, Slide
161.
56
   Bouker Nonthavet First Witness Statement, 2 April 2014, at para. 7.
57
   Amended Transcript, 5 September 2018, p. 90, 20-25.
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                                                       47

                   Q. But you’re not sure?

                   A. I’m sure…58

               6.3.2.2.    The Claimant’s Argument

126.       Mr. Bouker received a legitimate consulting mandate. By e-mail dated 21 March 2011, he
           requested US $21,000 as “an advance”. His bank records do not show a withdrawal of
           US $21,000 but withdrawals of three different amounts on 28 March (US $9,500 cash), 30
           March (US $9,000 to his son) and 4 April (US $2,135 cash). Mr. Bouker is a dissatisfied
           former employee whose testimony is not credible.


               6.3.2.3.    The Tribunal’s Ruling

127.       There are inconsistencies in Mr. Bouker’s evidence and it is significant that he can
           remember nothing about (or is otherwise unwilling to identify) “the Government Person”
           to whom he said he handed US $21,000. There are too many loose ends to his story. There
           is no evidence that Madam Manivone (the presumed recipient) or anyone else was
           prosecuted. In the Tribunal’s view, the Respondent’s evidence does not establish by clear
           and convincing evidence that a US $21,000 bribe was offered by Mr. Bouker to any
           Government official as alleged.


           6.3.3. Third Allegation – The Claimants Paid US $500,000 in Bribes in 2012 to (i)
                Shut Down the E&Y Audit of Savan Vegas and (ii) to Cause the Government to
                Shut Down the Thanaleng Slot Club to the Disadvantage of ST Holdings

128.       On 8 July 2012, Mr. Baldwin wired Sanum’s Chief Financial Officer, Mr. Clay Crawford,
           that “Savan has an extraordinary expense of $500,000 this week. I’ve tell you about it
           when we speak on the phone, but please think about our cash situation.”59




58
     Amended Transcript, 5 September 2018, p. 86, 7-24.
59
     E-mail from Mr. John Baldwin to Clay Crawford, 8 July 2012, Exhibit LHRE-154.
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                                                        48


129.    Mr. Baldwin accepts that the sum of US $500,000 was subsequently sent to Vientiane
        including US $300,000 cash in a backpack delivered to Madam Sengkeo by his personal
        assistant, Bruce Douglas.60


             6.3.3.1.     The E&Y Audit

130.    Mr. Baldwin acknowledges ordering Mr. Douglas, to fly to Vientiane with US $300,000
        cash. It is established that US $300,000 was subsequently deposited in Madam Sengkeo’s
        bank account. She subsequently deposited US $30,000 in her bank account in New York.

131.    The Respondent’s allegation is that the balance of US $270,000 was paid by Madam
        Sengkeo to Government officials to stop the E&Y audit of the Savan Vegas which Mr.
        Baldwin considered part of a Government move to get rid of Sanum and take over the
        Claimants’ gambling assets without compensation.61




60
   Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, pp. 207-208, Exhibit LHRE-160:
     Q. You ordered Mr. Douglas on that day, or the day before, rather, the same day you had to have the 200,000
     on 11 July you ordered Mr. Douglas to get into an airplane in Cambodia, fly across the border with USD
     300,000 in a suitcase, didn’t you?
     A. In a backpack.
     Q. You have USD 500,000 going into Vientiane in a two-day period in cash?
     A. Yes.
61
   John Baldwin testified in his Third Witness Statement, 22 July 2013, at para. 5:
     …“Even those few Government officials who will still speak with me have admitted that we have been the
     target of a deliberate campaign to strip Sanum of its investments in Laos. The objective of these efforts
     appears to be to leave the successful businesses, in which we invested so much and which we spent years
     developing, in the hands of our local commercial partner, the ST Group...and the senior Lao Government
     officials who have intimate business and familial connections with ST.”
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                                                       49


                 6.3.3.1.1.       The Respondent’s Argument

132.    The Respondent points out that the alleged “loan” to Madam Sengkeo was
        undocumented.62 Only US $15,000 has been repaid.63 Mr. Baldwin acknowledges that
        Madam Sengkeo has not been asked by the Claimants to repay the balance.                             The
        US $30,000 deposit in New York was 10% of the US $300,000 transfer. Madam Sengkeo
        was a “ten percenter”, and her receipt of US $30,000 indicates that bribes of US $270,000
        were paid.

133.    The bribe succeeded, according to the Respondent. On 12 July 2012, Ernst & Young was
        ordered by unidentified Government officials to stop work on its audit of Savan Vegas.64
        The E&Y audit would have disclosed the Claimants’ illegal activities (subsequently




62
   See testimony of Mr. John Baldwin, Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, p. 209,
Exhibit LHRE-160:
     Judge Barkett: Can I ask a question? Would there be loan documents evidencing this loan?
     A. Not on this loan. We have made her other loans that there are. This was – she was part owner of
     Paksong Vegas and a part owner of Savan Vegas, small pieces. We had – she helped us with a lot of
     things, but she and I become very close friends. When she called us, she said she needed it and I
     responded to that need. (emphasis added)
63
   Testimony of Mr. John Baldwin, Amended Transcript, 5 September 2018 at p. 41, 14-25 to p. 42, 5-10:
     Q. …first of all, your $300,000 loan that you say you gave Madam Sengkeo in 2012, are there any loan
     documents for that loan?
     A. No, there are not.
     Q. Has she ever repaid it?
     A. She – she paid me 500,000 Thai baht.
     Q. That's US $15,000?
     A. US $15,000.
     Q. Do you have any record of that payment?
     A. I think so – yeah, I do.
     Q. Have you ever produced it? You have been asked….
     *****
     Q. Okay. But the other – let's assume she gave you US $15,000. The other 285,000 that you lent her in 2012
     has not been repaid?
     A. It has not been repaid.
     Q. And we're now in 2018?
     A. Yes.
64
   Letter from Ernst & Young to the Ministry of Finance, Exhibit LHRE-53:
     In relation to our final report, we also feel it necessary to remind the Inspection Committee that, since we
     were instructed by your goodself on 10 July 2012 to cease our fieldwork at Savan Vegas Hotel & Casino
     (SVC) and to refrain from receiving any additional information and/or documents from SVC on the same
     day, our final report will only contain our preliminary findings and/or observations for the work performed
     on documents and information received by us from SVC up till and including 10 July 2012.
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           uncovered by a BDO audit after the Government ousted the Claimants from the casino)
           including (the Government alleges) embezzlement and money laundering.


                    6.3.3.1.2.       The Claimant’s Argument

134.       The Claimants say the US $300,000 was a “loan” to Madam Sengkeo. The New York
           deposits are unrelated. Madam Sengkeo was closely involved with ST Holdings. There
           had been a falling out.         She thus had an “urgency” for funds when ST Holdings
           malevolently cut off Madam Sengkeo’s regular source of income.65 Mr. Baldwin was a
           loyal friend.


                    6.3.3.1.3.       The Tribunal’s Ruling

135.       Mr. Baldwin’s explanation of the US $300,000 payment to Madam Sengkeo is not credible.
           It is clear on the evidence that Mr. Baldwin and his CFO, Mr. Clay Crawford, were
           concerned about the threat to Sanum’s business posed by the E&Y audit. Mr. Baldwin had
           every incentive to influence the Government to call off the E&Y audit in the summer of
           2012. It is simply not plausible, as the Claimants argue, that the E&Y audit was stopped
           because Government officials had concluded that E&Y had failed to find incriminating
           evidence. If that were true, the obvious instructions from the Government to E&Y would
           have been to keep digging not to give up and down tools.

136.       On the other hand, the Claimants had a powerful motive to stop the audit as Mr. Baldwin
           and Mr. Crawford knew (and the Government merely suspected) of the existence of
           financial skeletons in the Savan Vegas books later uncovered by the BDO audit. All in all,
           the Tribunal concludes that the Claimants got a senior Government official to stop the audit




65
     Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, p. 207208, Exhibit LHRE-160/SRE-160:
       Q. What was going on in Vientiane in July 2012 that you needed all that cash there except the Thanaleng
       case was happening about 10 days later and the E&Y audit was terminated the day before. Those are the two
       events that I can think of that related to Savan Vegas, what can you think of?
       A. ST had cut Madame Sengkeo off from any income from their investments, because she had helped
       us over him, he had cut her off from any money and she lives primarily on money from him. She
       needed money to pay bills on the hotel she was building. The USD $300,000 is a loan to her. (emphasis
       added)
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                                                51


       and that the $270,000 was paid through Madam Sengkeo (i.e. $300,000 less 10%) to that
       Government person or persons.

137.   That said, the Tribunal is troubled by the fact that the Government has apparently not
       identified any bribe-takers. The order to E&Y to stop the audit came as a surprise to E&Y
       and must have been issued by a senior Government source, otherwise the audit would have
       continued. The Respondent does not suggest that E&Y took the bribe but E&Y must
       know who gave its auditors the order to stop work. The evidentiary trail could then
       have been followed up the chain of command from the Government person who gave the
       order to identify the person who authorized the order, who could then have been required
       to provide the Government (and subsequently the Tribunal) with an explanation for the
       stop work order.

138.   The Respondent has not offered any explanation for this gap in the evidence. In the
       circumstances, while the evidence of Mr. Baldwin that Madam Sengkeo required the funds
       for her personal use is deeply unsatisfactory, so too is the Government’s apparent failure
       even to attempt (so far the evidence is concerned) to get to the bottom of the matter, not
       only potentially to punish the wrongdoers, but to provide solid evidence that a bribe was
       given and taken by Government official(s) to stop the E&Y audit.

139.   The Tribunal concludes that it is more probable than not that Madam Sengkeo was used as
       a conduit to bribe Government officials to stop the E&Y audit, but that this conclusion is
       not established to the higher standard of “clear and convincing evidence”. The Tribunal is
       satisfied, however, on the lesser standard of probabilities, that Mr. Baldwin involved the
       Claimants in serious financial illegalities in respect of the halt of the E&Y audit.


          6.3.3.2.    Payment of About US $200,000 in Bribes to Shut Down the Thanaleng
                 Slot Club

140.   In 2012, the Claimants were experiencing tense relations with their then Laotian partner,
       ST Holdings. In part, the tensions related to a profitable slot club at Thanaleng, which ST
       Holdings agreed to joint venture with Sanum. The joint venture was to commence at a
       future date awaiting the expiry of an earlier arrangement ST Holdings had contracted with
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                                                      52


           a different slot machine supplier. However, when the date for the change-over arrived, ST
           Holdings refused to proceed with its deal with Sanum.

141.       Mr. Baldwin is alleged to have then paid bribes to Government officials through a
           “consultant”, Mr. Anousith Thepsimuong, in an effort to shut down the Thanaleng Slot
           Club as a pressure tactic to force ST Holdings to negotiate a solution rather than continue
           with litigation (which the Claimants ultimately lost in the Laotian Courts).


                   6.3.3.2.1.      The Respondent’s Argument

142.       On 28 July 2012, during the corporate struggle over the Thanaleng Slot Club, the Claimants
           attempted to obtain leverage over ST Holdings by bribing Government Ministries to shut
           down the Club. The money was channelled through Mr. Anousith. The sum of US
           $190,000 was deposited in Mr. Anousith’s bank account on 11 July 2012 and a cash
           withdrawal of US $100,000 was made the following day.66

143.       Mr. Baldwin testified that Mr. Anousith was paid to lobby “the National Assembly” but
           this explanation is not credible. The National Assembly has no executive function. Only
           a Government Minister would have operational authority to issue a stop order against the
           Thanaleng Slot Club.

144.       Mr. Baldwin acknowledged that he could not explain how or why the National Assembly
           would get involved in such an executive action:

                   Q. You say that the National Assembly is going to suspend a licence, but
                   did he [the Deputy Prime Minister] ever explain or did you ever find out
                   how the National Assembly would actually do that?

                   A. No.67




66
     Extract of ANZ Bank Statement for Mr. Anousith Thepsimoung, Exhibit LHRE-153.
67
     Amended Transcript, 5 September 2018, at p. 9,23-25 to p. 10, 1-4.
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                                                        53


                 6.3.3.2.2.        The Claimant’s Argument

145.    Mr. John Baldwin readily admits that in July 2012 he was doing what was possible to get
        the Government to close the Thangaleng Slot Club,68 including by a written submission to
        the country’s President. The Claimants say there is no reason to disbelieve Mr. Baldwin’s
        evidence that he was told by the Deputy Prime Minister to lobby the country’s National
        Assembly.69

146.    Mr. Baldwin denied that money was intended for a Government Minister:

                 Q. See, that brings us back to July and this $500,000 pot of money that we
                 have sitting in Vientiane in Madam Sengkeo’s bank account – her son-in-
                 law’s bank account. Isn’t it true that that money was there to stop the court
                 case from having a judgment – the money was there so you could get the
                 slot club shut down and negotiate with Mr Sithat?

                 A. The money was specifically earmarked to do lobbying with the
                 National Assembly.

                 Q. Well, we just established that you have a good friend who is the
                 fourth most powerful person in the country. Wasn’t the money for him
                 to shut down the club so you could stop the court decision?



68
   Mr. Baldwin testified that he wrote to President Choummaly Sayasone requesting the Government to shut down the
Thangaleng Slot Club:
     “Sanum asks that the Government suspend that the slot machine licence at the Vientiane Friendship Bridge.
     We believe that a temporary suspension will encourage the parties to negotiate and come to terms so they
     can work together. Once the parties have reached an agreement, formed a joint venture that is approved by
     the relevant ministries, and determine that they can operate the Vientiane…Bridge Slot Club together, the
     licence would be reinstated. Until then, Sanum requests your assistance in suspending the licence and
     allowing time and space to work [together] towards peace with [the] ST Group.” Correct? So, as I said, you
     were trying to get a space to negotiate your way out of this trouble with ST.
     A. Yes.
Amended Transcript, 5 September 2018, p. 7, 19-25 to p. 8, 1-11.
69
   In re-examination, Mr. Baldwin testified about the National Assembly as follows:
     MS DEITSCH-PEREZ: You spoke with Mr Branson about the Thanaleng lobbying. Can you tell us where
     you first got the idea to lobby the assembly with respect to Thanaleng?
     A. Yeah. I was having breakfast with Deputy Prime Minister Somsavath – we were having oatmeal – and
     he – I said I got – I have to get – make peace with Sithat somehow and I – how do we do it and he said, you
     know, it's a tough row, because, you know, he's joined at the hip with Bounnhang – you know, with vice-
     president Vorachith, Bounnhang Vorachith, and he said I – there's not very many people that are going to be
     able to help you with this, you've got to make peace with Sithat and Vorachith, so I said, “Well, who can help
     me do that?”, and he said, “Well, two places – the politburo and the National Assembly”, and he said the
     politburo, “That's difficult, so I would suggest that you reach out to the National Assembly.”
Amended Transcript, 5 September 2018, p. 171, 3-22.
        Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 115 of 457

                                                     54

                A. No.70 (emphasis added)

147.    The Claimants argue that there is no evidence that Mr. Anousith paid money to any
        Government official. He received fees as a consultant to lobby the National Assembly to
        shut down the Thanaleng Slot Club. He was entitled to spend that money as he wished.
        Laos is a cash economy. Payment of large amounts of cash in respect of legitimate
        transactions is not unusual.71 Cash does not signal illegality.


                6.3.3.2.3.       The Tribunal’s Ruling

148.    Once again, the payment to Mr. Anousith is deeply suspicious. There is no documentation
        of any consultancy. There is no explanation of the work for which almost $200,000 were
        paid to him and deposited in his personal bank account. The mandate to lobby the
        “National Assembly” seems far-fetched. Moreover, despite the alleged payment of bribes,
        the Thanaleng Slot Club was not shut down. In the circumstances, the Tribunal is unable
        to find “clear and convincing evidence” that a bribe was made or even offered through Mr.
        Anousith. However, on the lower “probabilities” standard, the Tribunal concludes that it
        is more likely than not that a bribe was paid to an unidentified Government official or
        officials in an unsuccessful effort to advance the Claimants’ agenda at the Thanaleng Slot
        Club.




70
  Amended Transcript, 5 September 2018, p. 15, 3-18.
71
  Testimony of Mr. John Baldwin, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, pp. 12667-
1268, Exhibit LHRE-163:
    Q. And then the next day, on July the 12th there was a withdrawal of a hundred thousand, correct, in
    cash?
    A. It shows a withdrawal of a hundred thousand.
    Q. What did you tell Mr. Anousith to do with that hundred thousand?
    A. I didn’t tell him to do anything with that money.
    Q. I see. Why did you think he took out a hundred thousand of the 193 you just sent him?
    A. We paid him a fee, we didn’t – it’s his money to do with as he wishes.
                                                      *****
    Q. Was his job to get a government minister to shut down the Thanaleng Slot Club?
    A. No.
    Q. What was it to do?
    A. We had hired, we had hired him to lobby the national assembly to ask them to shut down the Thanaleng
    slot club. (emphasis added)
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                                                      55


        6.3.4. Fourth Allegation – The Claimants Arranged for a Further US $575,000
             Transfer to Madam Sengkeo to Prevent Her from Testifying in These
             Proceedings

149.    In 2014, when the initial phase of these proceedings was pending, the Government sought
        to have Madam Sengkeo testify. To that end, she was provided with a written assurance
        of immunity dated 7 May 2014, if she provided “information and documents related to
        offering of bribery to government of [sic] official(s) who were performing accounting audit
        activities at Savan Vegas and Casino Co., Ltd.”72

150.    At a pre-hearing conference on 14 May 2014, the Claimants (amongst other matters)
        applied to the Tribunal to allow Mr. Baldwin to make a “personal loan” to Madam Sengkeo
        of US $575,000.73 Given the importance and sensitivity of Madam Sengkeo’s evidence
        potentially to be given at the merits Hearing, the Tribunal declined to give its permission
        for a US $575,000 loan to her from Mr. Baldwin.

151.    The initial Hearing on the merits proceeded in Singapore in June 2014. Madam Sengkeo
        did not attend to testify for the Government.




72
   Letter of Immunity from Government’s Anti-Corruption Office dated 07/05/2014, Exhibit LHRE-140:
                                            LETTER OF ASSURANCE
     Re: Protection of the rights and best interests of individuals who provide information for anti-
     corruption purpose
     The President of the Government Inspection Committee issues a Letter of Assurance for protection to Ms.
     Sengkeo Phimmasone, aged 60, a business person, residing at Xangkhou Village, Xaythany District, of
     Vientiance Capital. The assurance of protection is for her contribution in the anti-corruption efforts by
     providing information and documents related to offering of bribery to government of official(s) who were
     performing accounting audit activities at Savan Vegas and Casino Co., Ltd. In accordance with Article 08,
     Chapter I of the Law on Anti-Corruption, the Government Inspection Committee issues this Letter, and
     informs the ministries and organizations, provinces and domestic and foreign organizations to acknowledge
     based on this Letter of Assurance for Ms. Sengkeo Phimmasone, and this Letter serves as legal evidence.
73
   See evidence of Mr. John Baldwin, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, p. 1391,
Exhibit LHRE-163, Respondent’s Opening Submission, slide 182.
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                                                      56


            6.3.4.1.     The Respondent’s Argument

152.    Mr. John Baldwin, having been denied the Tribunal’s permission, arranged for a third
        party, Gary Morris,74 to make Madam Sengkeo a US $575,000 “loan” which was
        undocumented and was not in fact a loan,75 but an inducement to keep Madam Sengkeo
        from testifying. There is no evidence that the Claimants’ loan of US $300,000 in July 2012




74
   Testimony of Mr. John Baldwin, Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, p. 213,
Exhibit LHRE-163:
    Mr. Branson: Mr. Baldwin, did you ever provide that additional loan guarantee of 575,000 to Ms. Sengkeo?
    A. No.
    Q. What did you do instead?
    A. I asked one of my friends to lend her money on other assets.
    Q. Did you guarantee that loan?
    A. I did not have to.
    Q. Mm?
    A. I did not have to.
    Q. Why not?
    A. The assets that she pledged were of sufficient value that he was content with the loan that was made.
    Q. Okay, so you arranged for her to get another loan?
    A. Yes.
75
   Amended Transcript, 5 September 2018, p. 43, 12-23:
    Q. When did Madam Sengkeo ask you for the $575,000?
    A. My recollection is perhaps two weeks before the [ICSID] hearing [in May 2014]. (p. 25, 16-18)
                                                       *****
    Q. I see. So in May 2014, when your counsel asked this tribunal to allow you to pay her or lend – guarantee,
    rather, $575,000, what did you do after the tribunal refused to bless that?
    A. I started asking mutual friends, people that I know, to lend money, if they would lend – make her a loan.
    (p. 27, 19-25)
                                                       *****
    Q. And what loan documentation did he get to secure that loan?
    A. My understanding, and my recollection, is that there are mortgages – there were mortgages given by
    Madam Sengkeo on significant pieces of real estate that she owned in Vientiane. (p. 28, 8-13)
                                                       *****
    Q. – to ask Madam Sengkeo?
    A. No.
    Q. How about your good friend, Gary Morris, have you asked him to show you any loan documents that he
    has?
    A. No.
    Q. So the two people that, supposedly, are your good friends haven't produced any documents to you to
    produce to the tribunal?
    A. No.
    Q. Has she paid back the 575 to Mr Morris?
    A. I don't know.
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                                                        57


        or the third party “loan” of US $575,000 of May 2014, being a total of US $875,000 has
        been repaid except for US $15,000, leaving US $860,000 not accounted for.76


             6.3.4.2.     The Claimant’s Argument

153.    Mr. Baldwin had a long-standing business relationship with Madam Sengkeo which, over
        time, developed into personal friendship. It was perfectly normal for Madam Sengkeo to
        seek a personal loan and for Mr. Baldwin to arrange it. There is no evidence whatsoever
        that the loan of US $575,000 or any part thereof was intended by Mr. Baldwin, or
        understood by Madam Sengkeo, as an inducement not to testify. Madam Sengkeo,77 who
        now lives outside Laos, was being improperly pressured by the Government to give false
        evidence to support its bribery and corruption case78 and it is therefore quite understandable




76
   Testimony of Mr. John Baldwin, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, p. 1392,
Exhibit LHRE-163:
     Q. Has Ms. Sengkeo paid any of that money back?
     A. I don’t know.
     Q. It means that, as we sit here today, that you lent her 300,000, Mr. Morris, Mr. McCain’s colleagues lent
     her 575, that’s $875,000. Has she paid you back?
     A. She paid me back 500,000 baht.
     Q. That’s 15,000 US?
     A. Baht money.
77
   Mr. Baldwin testified to his friendship as follows:
     …but my friendship with Madam Sengkeo is – is - I mean, Madam Sengkeo and I had a great relationship.
     I mean, it wasn't - she is my friend. I mean, she - we went to many, many, many dinners. I hung out with
     her family. We – you know, she's my friend. I mean, there was nothing untoward about my business
     relationships with her.
Amended Transcript, 5 September 2018, p. 38, 12-20.
78
   Mr. John Baldwin testified in re-examination:
     Q. What else did you hear from Peep about Madam Sengkeo's situation?
     A. Madam Sengkeo has been under – it's been – what I've been told is that Madam Sengkeo has been under
     a great deal of pressure by the government of Lao to sign documents making allegations that were not true
     and she has been very worried about the consequences of this on not only just her economic state, her property
     holdings and even her personal safety –
     JUDGE BINNIE: When you say you have been told, who told you?
     A. Peep. Peep told me, and the – madam – Peep [Sanum employee] has expressed to me that Madam Sengkeo
     has expressed to her that she just feels there's an enormous amount of pressure and an enormous amount of
     personal harm that she is subject to if she doesn't do everything the government asks her to, whether it's true
     or not. It's there – she says it's been stressed to her it doesn't matter that it's true; she needs to help the
     government of Lao in their efforts.
Amended Transcript, 5 September 2018, p. 161, 4-25.
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                                                           58


           that she wished to avoid being a witness. Mr. Baldwin’s explanation of the loans to Madam
           Sengkeo is not rebutted and there is no evidence inconsistent with his version of events.


               6.3.4.3.     The Tribunal’s Ruling

154.       The US $575,000 loan, coming on top of the previous loan of US $300,000, of which only
           US $15,000 were repaid bristles with “red flags”. Mr. Baldwin clearly intended to sidestep
           the Tribunal’s denial of permission by arranging for the US $575,000 loan from a third
           party. Given Madam Sengkeo’s central role in dealings between the Claimants and the
           Government over many years, her testimony would have shed crucial light on the legality
           or illegality of many of the disbursements at issue in the Respondent’s allegations.

155.       Mr. John Baldwin testified:

                   Q. So when Mdm Sengkeo withdrew US $80,000 in cash on July 20,
                   the day before you went to visit your good friend, the Deputy Prime
                   Minister, what do you think she was going to do with those US dollars?

                   A. It was Mdm Sengkeo’s money to do what she wanted. She represented
                   to me that she needed the loan to pay construction bills.79 (emphasis
                   added)

156.       It cannot be said that the bare payment of US $875,000 to Madam Sengkeo is “clear and
           convincing evidence” of bribery. There is no evidence to contradict Mr. Baldwin’s
           evidence of her need for funds.                There are other possible explanations for their
           disbursement.

157.       On the whole, however, while the Tribunal is unable to find “clear and convincing
           evidence” that the money was paid to Madam Sengkeo to bribe Government Ministers, the
           Tribunal is nevertheless satisfied on the lower standard of balance of probabilities that Mr.
           Baldwin and Madam Sengkeo were involved in channeling funds illicitly to Lao
           Government officials, and further that she was paid to secure her loyalty and to avoid her
           testifying on behalf of the Government, thereby obstructing justice.




79
     Amended Transcript, 5 September 2018, p. 23, 4-11.
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 120 of 457

                                                59


158.   The coincidence of the timing of “loans” of US $875,000 (less one repayment of US
       $15,000) to Madam Sengkeo and the Claimants’ urgent need for Government intervention
       on its behalf at critical junctures of its business (the termination of the E&Y audit and the
       attempt to shut down the Thanaleng Slot Club), together with Madam Sengkeo’s role as
       the Claimants’ principal go-between with the Government, which Mr. Baldwin describes
       as a corrupt Government, compels an inference of Mr. Baldwin’s unlawful conduct and
       through Mr. Baldwin, the culpability and bad faith of both LHNV and Sanum, on whose
       behalf he acted.

159.   The Government’s failure to track down bribe-takers or to provide a convincing
       explanation of its efforts (even if on occasion unsuccessful) to do so, tells against the
       Government’s case, although the fact that the key witness, Madam Sengkeo, herself refused
       to cooperate made the Government’s task more difficult.

160.   Possibly the Government prefers to spare itself some embarrassment by declining to put
       whatever it knows about “bribe-takers” into the record of the Tribunal.

161.   Be that as it may be, the circumstances disclosed to the Tribunal do not rise to the level of
       “clear and compelling evidence” of corruption.

162.   However, the Tribunal’s conclusion that corruption of Government officials is established
       to the lower standard of “balance of probabilities” is relevant to the issue of the Claimants’
       good faith and the legitimacy of the Claimants’ alleged “legitimate” expectations of fair
       and “equitable” treatment. This issue is dealt with below.
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        6.3.5. Fifth Allegation – Bribery Scheme in June 2015 to Restore Control of Savan
             Vegas to the Claimants

163.    The Respondent seized control of the Savan Vegas and gambling facilities on 15 April
        2015. Its right to do so was eventually confirmed by an arbitral tribunal constituted under
        the SIAC by its Award dated 29 June 2017.80

164.    Prior to the SIAC Award, however, the Claimants asserted a right under the 2014
        Settlement to take back control81 on the basis they had managed to sell their investments
        on the open market prior to the 15 April 2015 deadline imposed as a term of the Settlement
        with the Government. The allegedly genuine third-party offer to purchase dated 14 April
        2015 was from an entity called MaxGaming Consulting Services Limited (Macau)
        (“MaxGaming”).82 Its CEO, Mr. Angus Noble, represented in writing that MaxGaming
        had funds available to complete the transaction and intended to do so.83 In testimony before
        the SIAC tribunal in January 2017, Angus Noble acknowledged that these representations
        were false.84 He repeated this retraction to this Tribunal at the Hearing. The MaxGaming


80
   SIAC Award dated 29 June 2017.
81
   Email from Mr. Gene McCain to Mr. John Baldwin and Mr. Shawn Scott dated 15 May 2015, Exhibit LHRE-156:
     The Buyers have also made it clear that Sanum Investments Ltd. must be given back control of the
     management of the Casino for the Buyers to regain confidence that the Laos government will honor the Deed
     of Settlement and so that Sanum can be given time to get the revenue and operations back to where they
     should be. The Buyers are [sic] require that the Deed of Settlement be reinstated and that the terms of the
     Deed are followed.
Respondent’s Opening Submission, slide 195.
82
   Email and attachment from Mr. Tucker Baldwin to Mr. Gene McCain dated 10 June 2015, Exhibit LHRE-157:
     I, the undersigned, hereby acknowledge that Sanum Investments Co., Ltd. is aware of and supportive of Mr.
     Eugene McCain and Mr. Ben Gersten acting on behalf of Maxgaming Consulting Services, Ltd. in their
     efforts to resolve the Savan Vegas and Gaming Assets dispute such that the terms of the Deed of Settlement
     and the original PDA and Land Concession rights are reinstated and implemented on terms which will allow
     Maxgaming to complete their purchase of Savan Vegas Casino.
83
   Letter from Mr. Angus Noble to Mr. John Baldwin and Mr. Shawn Scott dated 29 April 2015, Exhibit LHRE-155:
     I have reconfirmed that our funds are available and allocated for this acquisition. My partners in the
     acquisition are eager to complete the purchase and move forward on their plans for expanding and upgrading
     the facilities. With the major changes in the Macau gaming industry, our acquisition of Savan Vegas could
     not be better timed.
84
   Testimony of Mr. Gus Noble, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, p. 1484,
Exhibit LHRE-163:
     Q. Is any of that true?
     A. No, it is not.
     Q. Wasn’t true?
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        transaction did not proceed and was found by the SIAC tribunal to be a sham.85 Having
        heard Mr. Noble’s evidence, this Tribunal also concludes that the 14 April 2015 offer was
        a sham. Indeed Mr. Noble more or less concedes that it was a sham.


             6.3.5.1.     The Respondent’s Argument

165.    The MaxGaming offer was a fraudulent scheme perpetrated by the Claimants in order to
        regain control of Savan Vegas86 from the Government. The Claimants had every interest
        in pre-empting the Government’s seizure of Savan Vegas and putting a halt to the
        Government’s access to the books of Savan Vegas and records targeted by a Government
        audit into alleged wrongdoing at Savan Vegas including money laundering and
        embezzlement.


             6.3.5.2.     The Claimant’s Argument

166.    While unrealistic, Mr. Noble genuinely believed he could orchestrate the purchase, which
        he testified was, for him, “the chance of a lifetime.”


             6.3.5.3.     The Tribunal’s Ruling

167.    The MaxGaming offer was indeed a sham but bribery and corruption, as opposed to fraud
        and chicanery, is not established.




     A. No.
Respondent’s Opening Submission, slide 190. See also Testimony of Gus Noble, Transcript, 26 January 2017
Hearing, SIAC Case No. ARB/143/14/MV, pp. 1493-1494, Exhibit LHRE-163:
     Q. They say your financial backers. At that time you didn’t have any financial backers, did you, June
     9, 2015?
     A. No, I did not.
Respondent’s Opening Submission, slide 199.
85
   SIAC Award dated 29 June 2017.
86
   Email and clean copies of Gersten’s Consulting Agreement, Exhibit LHRE-158, Respondent’s Opening Submission,
slide 186. Unsavoury consultants were retained to advance the transaction for success fees totaling US $11 million.
        Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 123 of 457

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        6.3.6. Sixth Allegation – Miscellaneous Acts of Bribery and Corruption

168.    Other allegations of bribery and corruption were made:

        (a)     offer of a US $7 million bribe to the Prime Minister of Laos for approval of a licence
                to establish a casino in the capital city of Vientiane;87

        (b)     a bribe of US $80,000 to the Governor of the Province of Champasak to approve a
                slot club at Chong Mek;88 and

        (c)     bribes totalling US $106,000 to Government officials to enable the opening and
                continued operation of the Paksan Slot Club.89

        There is no “clear and convincing” evidence against the Claimants in support of any of
        these additional claims of bribery and corruption.

169.    As the Claimants point out, the Respondent has identified only two possible Government
        bribe takers, namely Mr. Bounnong (but there is no indication he has been investigated)
        and Madam Manivone. The evidence is that Madam Manivone was put under investigation
        only after refusing to testify for the Respondent.90 The Claimants state that on 29 May
        2014, the Respondent promised its Rejoinder would reveal the results of its investigation.
        It did not.

170.    The Claimants complain, rightly, that the Respondent’s failure to offer any credible
        explanation for not pursuing the investigation of its own employees, or indeed even to
        attempt to identify the alleged bribe-takers, weighs against the credibility of these
        miscellaneous allegations.91




87
   Respondent’s Counter-Memorial, para. 97.
88
   Respondent’s Counter-Memorial, paras. 100-101; Respondent’s Rejoinder, paras. 21-22.
89
   Respondent’s Counter-Memorial, paras. 102-104.
90
   See the Respondent’s email to the Tribunal dated 29 May 2014, Claimants’ Closing Submission, slide 12.
91
   The Claimants cite Wena Hotels Ltd. v. Arab Republic of Egypt, ICSID Case No. ARB/98/4, Award, 8 December
2000, CLA(LH)-070, which rejected the Government’s bribery defence in part for failure to show the implicated
Government official was investigated and prosecuted:
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                                                           63


171.     Nevertheless, in the Tribunal’s view, none of these additional allegations is supported by
         sufficient evidence to warrant further inquiry or comment.

7. THE CLAIM FOR EXPROPRIATION

          Thanaleng Slot Club

         7.1.1. Background

172.     At its origin, the dispute underlying the Thanaleng claim is a contractual dispute between
         two private parties, Sanum and ST. They had signed a Master Agreement on 30 May
         2007, where they agreed “to negotiate and work towards entering into certain joint
         ventures, represented by necessary agreements, which shall convey 60% of all 2nd Party’s
         [ST] gaming businesses located in the country of Lao PDR … This Agreement is not
         intended to be a definitive agreement but only provides the Parties’ general understandings
         of their relationship. The Parties agree to work together in good faith to negotiate and
         finalize all necessary agreement to fully implement the concept and terms set forth in this
         Agreement.”92 The Respondent’s treatment of the Thanaleng situation is part of the
         “totality of the facts” said by counsel for the Claimants to be relevant to LHNV’s Treaty
         claims.

173.     On 4 October 2008, Sanum and ST signed a Participation Agreement for Thanaleng
         (“Participation Agreement”). Under this agreement, Sanum agreed to supply to ST
         certain slot machines, on a “generated revenue sharing/participation basis.”93                             This



     116. Although the Tribunal believes Minister Sultan’s testimony that he was not personally aware that “Mr.
     Kandil was an agent to Farargy” and that when he did learn about it, “I passed that to the prosecutor requesting
     a full-fledged investigation”, it is undisputed that Mr. Kandil was never prosecuted in Egypt in connection
     with this agreement. Regrettably, because Egypt has failed to present the Tribunal with any information
     about the investigation requested by Minister Sultan, the Tribunal does not know whether an investigation
     was conducted and, if so, whether the investigation was closed because the prosecutor determined that Mr.
     Kandil was innocent, because of lack of evidence, or because of complicity by other government officials.
     Nevertheless, given the fact that the Egyptian government was made aware of this agreement by Minister
     Sultan but decided (for whatever reasons) not to prosecute Mr. Kandil, the Tribunal is reluctant to immunize
     Egypt from liability in this arbitration because it now alleges that the agreement with Mr. Kandil was illegal
     under Egyptian law.
92
   Master Agreement, Exhibit C(B)-1.
93
   Participation Agreement, Exhibit C(B)-6.
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        agreement was meant to expire on 11 October 2011 when an existing contract of ST with
        another supplier of slot machines expired. As explained by Sanum, “the expiration of the
        Participation [Agreement] is only the end of percentage of profit distribution and
        proportion of shareholding of each party in the business participation of the Slot Club,
        which shifted from ST Group who used to receive 60% to receive 40% instead, and Sanum
        who used to receive 40% to receive 60%, and at the same time (after 11 October 2011)
        there shall change or create a joint venture company of which Sanum holds 60% and ST
        Group 40%.”94

174.    The controversy arose because Sanum and ST disagreed on whether the Master Agreement
        remained in force and was valid and created binding obligations on the parties, despite the
        expiration of the Participation Agreement. Was the Participation Agreement a temporary
        agreement just to cover the period of time when other slot machine supplier agreements
        were in place? Once those slot machine supplier contracts expired, did the Master
        Agreement and other agreements referenced above remain in effect and control the
        contractual relationship between Sanum and the ST Group?95


        7.1.2. The Parties’ Arguments

175.    The Claimants argue that they were deprived of their investment by flawed court
        proceedings tainted by interference by the Respondent and without payment of
        compensation. The Claimants summarize the measures for which they seek relief as
        follows: “Beginning with premature termination of the OEDR proceedings on orders from
        the Minister of Justice, and police participation in Sanum’s eviction from the Thanaleng
        Club, and ending with manifestly unreasonable judgments rendered by the courts of Laos,
        Respondent directed a result in favor of ST that deprived Sanum of its entitlement to 60%
        of the revenues generated by its investment in the Thanaleng Slot Club. The entire process
        was marred by manifest procedural defects, as well as producing a result that was



94
   See Sanum’s Defense and Counterclaim in the proceedings before the Lao Commercial Court dated 3 July 2012,
Exhibit C(B)-181.
95
   Ibid. The term “supplier contract” is used in singular or plural indistinctly in the original text.
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        substantially unreasonable.”96 Sanum’s loss impacted the value of LHNV’s investment in
        Sanum.

176.    At the closing of the Hearing, the Claimants confirmed that their Thanaleng claim in this
        proceeding is not based on denial of justice but on the allegation that the totality of the
        Respondent’s treatment substantially deprived the Claimants of the enjoyment of their
        investment without the payment of compensation.97

177.    The Claimants insist that Sanum did have an ownership interest in Thanaleng as established
        in the Master Agreement, and invested millions of dollars in Thanaleng. The Claimants
        argue that the Respondent’s interpretation of the Master Agreement is contrary to the
        understanding and conduct of the parties to this agreement; it was a binding agreement that
        contemplated future negotiations between Sanum and a would-be supplier of slot machines
        and not between Sanum and ST. The fact that the Master Agreement contemplated
        additional agreements does not detract from its binding character. The Claimants point out
        that when ST sought the judicial annulment of the Master Agreement, the document was
        described as the “basic agreement defining rights in order to manage the relations between
        both parties.”98

178.    The Claimants dispute the relevance of the cases relied on by the Respondent because in
        the instant case the Respondent consistently treated the Master Agreement as legally
        binding, “[o]nly Laos – for the first time in these proceedings – has ever characterized the
        Master Agreement as an agreement to agree that did not generate legally enforceable
        rights.”99

179.    According to the Claimants, ST refused repeatedly to accept payment in exchange for a
        contractually-required exchange of rights which did not extinguish the rights of Sanum,




96
   Claimants’ Closing Submission, p. 25; Amended Transcript, 7 September 2018, p. 23, 21-25 to p. 25, 8-21.
97
   Claimants’ Closing Submission, p. 68.
98
   Claimant’s Reply, para. 37.
99
   Ibid., para. 39.
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           “but merely constituted another breach by ST of its obligations to relinquish control of the
           club to Sanum.”100

180.       The Respondent submits that the decision of the Lao Courts concerns a private dispute
           between ST and Sanum and there was nothing untoward in the various judicial proceedings
           in Laos. According to the Respondent, the Claimant has committed abuse of process by
           pursuing contradictory claims in parallel arbitrations against Laos based on the same
           treaties and the same economic interests. In this respect, the Respondent, at the Hearing,
           recounted the time line of the procedure:

                    We have in July 2012 the decision of the Lao Commercial Court.
                    Immediately, before they exhausted their local remedies, which they are
                    required to do under international law, they filed this arbitration alleging
                    that the Thanaleng court decision was a denial of justice and an
                    expropriation. Later they amended to say it’s an expropriation.

                    In June 2015, there was a decision by the LHNV tribunal on the first
                    material, the breach application. They didn’t prevail.

                    Three months later, they filed the SIAC arbitration against ST on the same
                    contracts, alleging that the Lao court proceedings had no meaning, they
                    were just -- how would one say it?

                    One would say their view of the Lao court proceedings in Singapore was
                    that they were a voluntary mediation. If you don’t like the result of a
                    mediation, you withdraw and you go to court. That’s how they’re treating
                    the Lao court proceeding when they go to Singapore: it didn’t matter, is it
                    wasn’t definitive.

                    So, they get an ST SIAC Award in August 2016. They filed it in the Lao
                    courts in 2017.

                    Then the Lao courts refused to enforce it in August 2017. On 1 September
                    2017, they filed a denial of justice claim in the new ICSID arbitration.
                    Then in December 2017, the second material breach application was
                    granted, reinstating this tribunal to hear the Thanaleng case again.

                    So they have these conflicting – once you issued the second material
                    breach decision, it revived these two treaty claims that are in conflict with
                    the treaty claims they had filed in September 2017.101




100
      Ibid., para. 48.
101
      Amended Transcript, 3 September 2018, p. 143, 6-25 to p. 144, 1-17.
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181.     The Respondent further explained:

                  Sanum said in these cases that the 26 July 2012 decision of the court was
                  expropriation number one. They said their rights were expropriated, that’s
                  the claim here, and they filed the first BIT claims in August 2012.

                  But the second BIT arbitration says that the date of expropriation was
                  August 2017 when the Lao courts refused to enforce the SIAC award, and
                  that’s the subject of the second BIT arbitration.

                  So you have these inconsistent claims made by the same claimant under
                  the same treaties, based on the same facts. We say that’s an abuse of
                  process.102

         7.1.3. Tribunal’s Ruling

182.     The Thanaleng claim relates to a dispute between the Claimants and ST. It concerns the
         Respondent only to the extent of the Respondent’s alleged interference in court
         proceedings, and only if its actions could be characterized as a violation of international
         law.

183.     The Claimants have placed the weight of their argument on the alleged interference of the
         Respondent in the Lao Commercial Court proceedings in 2012. But the dispute resolution
         provision in the Master Agreement (Article 2.10)103 provides for a four-stage mechanism.
         At the fourth stage, after a party to the Master Agreement has exhausted the remedies
         available in the Lao Courts, it may submit the dispute to arbitration if it is unsatisfied with
         the result without the need to demonstrate a breach of due process or other violations in the
         conduct of the court proceedings.




102
    Ibid., p. 145, 5-19.
103
    “If any dispute shall arise, the Parties agree to conduct an amicable negotiation. If such dispute cannot be settled
by mediation, the Parties may submit such disputes to the Resolution of Economic Dispute Organization or Courts of
the Lao PDR according to the provision and law of Lao PDR in accordance with this Agreement. All proceedings of
the arbitration shall be conducted in Lao and English languages.
Before settlement by the arbitrator under the Rules of the Resolution of Economic Dispute Organization, the Parties
shall use all efforts to assist the dispute resolution in accordance with the laws of Lao PDR.
If one of the Parties is unsatisfied with the results of the above procedure, the Parties shall mediate and, if necessary,
arbitrate such dispute using internationally recognized mediation/arbitration company in Macao, SAR PRC.” Master
Agreement, C(B)-001.
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184.       The Claimants also explained that the four-step mechanism provided for in the Master
           Agreement has been found to violate Lao law and, therefore, “any award rendered under
           the mechanism that differed from the judgment of the Lao Courts would [not] be
           enforceable in Laos (the only country where the ST’s assets are now located) as a matter
           of Lao ‘public policy.’”104

185.       Sanum has exercised in full the four levels of remedies provided for in the Master
           Agreement. After exhausting its recourse to the Lao Courts, Sanum initiated the SIAC
           arbitration in 2015. In 2016, the SIAC tribunal awarded Sanum the $200 million it had
           claimed.

186.       The Claimants say that they have not been able to enforce the SIAC award and link the
           inability to enforce it to the alleged interference of the Respondent in the Lao Commercial
           Court in 2012. As explained by the Claimants at the Hearing:

                    The problem is, looking at the totality of the circumstances, the Lao Court
                    of Appeals – and that’s the highest level in an enforcement proceeding –
                    won’t allow enforcement of the SIAC award and so the original action that
                    the government took in ramming the original decision through to benefit
                    ST and forcing claimants to have to go to that additional stage, to have to
                    go to the fourth stage, that allowed ST the time to move all of its assets
                    back into Laos and put the claimants in a position where they would be
                    dependent on going to Laos to enforce the award against ST where the
                    same thing, or worse, could happen. So, there was a distinct consequence
                    at the stage of the measure relating to the Thanaleng proceeding in 2012.

                    Even if the claimant could then go on to the SIAC proceeding, which it
                    did, there was still a consequence and there was still harm caused by that
                    action, because being able to go to the fourth tier, that didn’t right the ship.
                    That didn’t enable Sanum to have a clear path to recovery. So there’s still
                    consequences to what the government did in 2012.”105

187.       The Claimants want to skip over the fact that Sanum has a valid arbitral award against a
           private party in which it was awarded 200 million dollars after it exhausted the remedies
           in the Lao Courts for the alleged interference of the Respondent in the Lao Commercial
           Court back in 2012. The alleged inability to enforce the award is not before this Tribunal


104
      Ibid., Slide 69.
105
      Amended Transcript, 7 September 2018, p. 40, 19-25 to p. 41, 1-17.
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           and it has not been proven by the Claimants that “there was a distinct consequence [of the
           Government’s alleged interference] at the stage of the measure relating to the Thanaleng
           proceeding in 2012.”106          There is simply no persuasive evidence that the alleged
           interference of the Respondent in the proceeding of a lower court interfered with the steps
           taken by the Claimants to exercise their rights under the Master Agreement and, in
           particular, their recourse to SIAC arbitration.

188.       The Claimants say their claim in the SIAC arbitration was not for the full amount of the
           value lost in Thanaleng. The Claimants explained why Sanum capped its claim for
           damages:

                    in part because ST did not appear and that raised the issue of whether or
                    not they were going to hide assets, such that it was fruitless to seek the full
                    value of Thanaleng. The full value of Thanaleng, I know we’re bifurcated
                    so we’re not going to talk very much about those kind of things, but the
                    full value of Thanaleng is more than 400 million in order to not have the
                    fees, and in light of the practical recognition that ST was likely hiding its
                    assets, we capped the SIAC claim at 200 million. So it won’t be possible
                    to recover the full amount from ST to cover the cost of the damage that the
                    government caused by directing the Thanaleng case in Laos.107

189.       The Respondent is not responsible for the decision of the Claimants to self-limit the amount
           of the claim against ST. The evidence does not establish any improper interference by the
           Respondent in the court proceedings.

190.       In sum, the Tribunal concludes that the claim for expropriation in respect of the Thanaleng
           investment lacks any merit.


            Paksong Vegas Hotel and Casino

191.       Although the Claimants have in this instance put their focus on Sanum’s contractual rights,
           LHNV is also involved as Sanum’s parent, and is equally subject to the Respondent’s
           defence of lack of good faith and lack of clean hands in both the ICSID and PCA
           proceedings, sufficient to disqualify the Claimants or either of them from any Treaty



106
      Amended Transcript, 7 September 2018, p. 41, 7-9.
107
      Amended Transcript, 3 September 2018, p. 125, 3-16.
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        remedy. Further, the Tribunal accepts the invitation of counsel for the Claimants to
        consider “the totality” of the facts as relevant to the Treaty breaches for which LHNV seeks
        relief, and in particular the presence or absence of good faith in respect of LHNV’s direct
        and indirect investments in Laos.


        7.2.1. Background

192.    On 10 August 2007, a Project Development Agreement was concluded between Lao PDR,
        and Sanum, the Laotian company Nouansavanh Construction Co. Ltd., and Mr. Sittixay
        Xaysana for the development of the Paksong casino (“Paksong PDA”). Under the
        Paksong PDA, a Laotian entity, Paksong Vegas and Casino Co. Ltd., was set up with Lao
        PDR holding 20%, Sanum 60% and the ST entities 20%. The Paksong PDA required the
        Company to build and operate a $25 million hotel casino and golf resort in the Paksong
        district of Champasak Province.


        7.2.2. Location of Paksong

193.    As explained by the Claimants, the location was challenging:

                 “The challenges were both logistical and commercial. Logistically,
                 Paksong’s location meant that transportation of construction materials
                 would be more costly than at the Savan Vegas site, as access to the site
                 was more difficult and time consuming, and that other construction costs
                 would be significantly higher than those of Savan Vegas. Also, the
                 concession was located on the side of a large hill which precluded the
                 building of simple, large buildings to house the hotel and casino and other
                 amenities. Commercially, since Paksong was not located on the border
                 with Thailand or even in a population center in Laos that was easy to
                 access, it lacked a readily identifiable customer base. The challenges of
                 attracting customers made it difficult to identify the optimal type of facility
                 to construct on the site.”108




108
   Sanum Statement of Claim, para. 63 (PCA Proceeding) as referred by the Parties before this Tribunal for “the
totality” of the facts, see supra paras. 3 and 191.
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                              (Respondent’s Opening Submission Slide, 96)

194.    Mr. Baldwin testified about the problem posed by Paksong’s distance from the Thai border:

                 Another challenge posed by Paksong Vegas had to do with its customer
                 base. Because Lao citizens generally are restricted from playing table
                 games, the customer base for our casinos consists largely of Thai citizens
                 who live in Northeastern Thailand. However, because Paksong Vegas
                 would be located deep in Laos’s interior, without easy access to the border,
                 we were concerned that it would be difficult to attract customers to the
                 casino. 109


195.    These challenges notwithstanding, Mr. John Baldwin testified that the Paksong project
        package “came with very valuable benefits. Chief among these were the monopoly gaming
        rights in Champasak and Salavan Provinces granted to Paksong Vegas under the PDA.”110

196.    Due to the challenges posed by the site, on 31 March 2008, Paksong Vegas proposed to the
        provincial government, inter alia, to move the entire project to the area near Chong Mek.
        On 29 April 2008, the proposal was rejected by the provincial government.

197.    On 21 August 2008, the office of the Prime Minister advised that Paksong Vegas was to
        return Paksong and pursue only the project at Khone Phapheng (where the Government
        also favoured development) together with other interested parties. The notice from the


109
    Sanum First Witness Statement of Mr. John Baldwin, 1 October 2013, para. 32, as referred by the Parties before
this Tribunal for “the totality” of the facts, see supra paras. 3 and 191.
110
    Ibid., para. 64.
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         Champasak Provincial Office requested Sanum “to follow the agreements already reached
         by higher authority and only do the work at Kilometer 30 in Paksong. (According to
         instructions from the Government Secretariat, if the company cannot comply, then the
         project must be placed on hold for now).”111 The notice added that “[i]t is not approved to
         open casino branches in Paksong and other places, only at Khone Phapheng. The Paksong
         land (Kilometer 30) will be returned to the Government.”112

198.     On 23 October 2008, the Prime Minister’s Office issued a notice, purporting to strip
         Paksong Vegas of its monopoly rights. The Prime Minister’s Office also reiterated that
         Yingsoksay, the operator of the existing hotel and resort in the area, could look for other
         foreign investors to develop Khone Phapheng; Paksong Vegas could participate in that
         development if it chose to do so, but either way, according to the Prime Minister’s Office,
         it no longer had the exclusive right to do so. Further, on 19 December 2008, Champasak
         provincial authorities instructed Paksong Vegas to return the land concession it had been
         granted so it could be used for “another purpose,” referencing the Prime Minister’s 21
         August 2008 notice.113

199.     On 30 January 2009, a meeting was held in the MPI’s offices. It was attended by all Lao
         agencies concerned and Paksong Vegas. The Paksong Vegas and Casino Development
         Project and the Khone Phapheng Entertainment Complex Project Development were
         discussed. The Tribunal will re-visit this meeting in its analysis.

200.     On 27 April 2010, the MPI terminated the PDA because Paksong Vegas had not signed a
         land concession agreement in accordance with Article 4 of the PDA, and construction on
         the project had been delayed for more than two years, which affected the “social-economic




111
    Notice from Champasak Provincial Office conveying denial of the proposed relocation of “higher authority”
Exhibit C(S)-309, as referred by the Parties before this Tribunal for “the totality” of the facts, see supra paras. 3 and
191
112
    Exhibit C(S)-311, as referred by the Parties before this Tribunal for “the totality” of the facts, see supra paras. 3
and 191.
113
    Ibid., para. 76.
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         development plan of Champasak province.”114 Termination of the PDA was re-affirmed
         by the Respondent on 10 April 2012.

201.     The Respondent claims that Sanum was not a ready, willing and able investor for the
         Paksong project. The Claimants argue that the Respondent ignores the evidence that Lao
         authorities had ordered Sanum to cease construction and two years later without prior
         notice cancelled the PDA on grounds of failing to develop the land. According to the
         Respondent, Sanum did not dispute the concession because the location was not
         commercially acceptable. The Respondent explains that Paksong and Savannakhet were
         linked; they were part of a bargain: whoever would develop Savannakhet, an excellent
         commercial site, must also develop the less attractive Paksong. The provincial government
         was keen to develop the remote areas while Sanum was interested only in more profitable
         sites; the interests of Sanum as a commercial developer and of the provincial government
         were not aligned.

202.     Mr. Baldwin wanted to develop a site at Chong Mek. He agreed that the monopoly rights
         were limited to the Paksong development area and did not include Chong Mek, “unless the
         government agreed to modify this. The way it’s written right now, it does not include
         Chong Mek but it doesn’t say we can’t ask for modifications.”115 Mr. Baldwin appeared
         to be following a strategy of bait and switch.

203.     The terms of the notice rejecting the proposal affirm that at the time the Government’s
         intention was not to terminate the PDA, but to request that the existing agreements be
         respected.

204.     The Claimant admitted, at the meeting of 30 January 2009, that “it has not carried out the
         Paksong Vegas project as scheduled in the contract and as it was presented to the Province.”




114
    Statement of Claim, para. 82, as referred by the Parties before this Tribunal for “the totality” of the facts, see supra
paras. 3 and 191.
115
    Amended Transcript, 4 September 2018, p. 216, 19-22.
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           Mr. Baldwin confirmed at the Hearing that no contract to build a $25 million five-
           star hotel with a casino and nightclub was ever signed.116

205.       Paksong Vegas had not made the investment it had promised in the PDA within the
           required timeframe as admitted by Mr. Baldwin and, in the Tribunal’s view, never intended
           to.


           7.2.3. The Tribunal’s Analysis

206.       On Mr. Baldwin’s own admission, the Claimants never believed that the Paksong site could
           be developed on commercially attractive terms. The Claimants’ argument that work was
           being done and, if not done, was due to the Government order to stop the work is not
           credible.    Accordingly, while the issue of the expropriation of the Paksong Vegas
           investment is not before this Tribunal as such, and this Tribunal does not purport to decide
           any issue which is not before it, nevertheless the underlying facts of the Paksong Vegas
           venture reinforce the Respondent’s general defence that Mr. Baldwin’s relationship with
           Laos was throughout characterized by bad faith. To the extent necessary to determine the
           bad faith issues, and for that purpose alone, the Tribunal finds on a careful review of the
           facts that not only has LHNV failed to demonstrate any lack of good faith on the part of
           the Respondent in respect of Paksong Vegas but, on the contrary, concludes that Mr.
           Baldwin negotiated throughout his dealings with the Respondent in bad faith and that such
           bad faith is to be attributed to LHNV on the basis that as the directing mind of LHNV, the
           parent of Sanum, Mr. Baldwin’s conduct was and is its conduct.


            Paksan Slot Club

207.       Although the Claimants’ primary focus is on Sanum in respect of Paksan, LHNV is also
           implicated as Sanum’s parent, and the Paksan episode is relevant to the Respondent’s
           allegation that the entirety of the Claimants’ investments in Laos was tainted from first to
           last by bad faith.




116
      Amended Transcript, 5 September 2018, p. 63, 4-7.
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         7.3.1. Background

208.     As told by Sanum and not disputed by the Respondent, the relevant facts are that “[s]oon
         after Sanum agreed to partner with ST, it discovered that there was an existing slot club in
         operation in the Paksan district of Bolikhamxay Province - one of the provinces in which
         Savan Vegas has the exclusive right to operate. To enforce that exclusive right, ST asked
         the Government of Bolikhamxay Province to shut down the club, and it did so.”117 The
         existence of the slot club led Savan Vegas to open its own club at the same location, the
         Paksan Hotel.

209.     The Ministry of Information and Culture (“MIC”) granted Savan Vegas a one-year
         license to operate a slot club in the Bolikhamxay Province on 24 October 2007. The MIC
         renewed the license on 26 November 2008.

210.     After the lease of the former club expired in October 2008, Savan Vegas signed its own
         lease on 25 December 2008 and refurbished the space in the Paksan Hotel formerly
         occupied by the slot club. The club re-opened on 25 October 2009 and the MIC renewed
         the slot license for another year on 27 October 2009.

211.     On 18 February 2010, the Prime Minister’s Office ordered the slot club license to be
         cancelled: “The authorization to open an electronic gaming club granted to Savan Vegas
         Ltd. by the Information and Culture Department of Bolikhamxay Province is not in
         accordance with regulations in that it exceeds the authority of that office. Therefore, you
         should stop operation of electronic gaming at Paksan Hotel. Further, the company is no
         longer authorized to erect an advertising billboard in Bolikhamxay Province.”118

212.     The license was not renewed in 2010. On 11 March 2011, the Government ordered the
         MIC and the provincial Governor to close the club within three days. The club closed on
         13 March 2011. Sanum and Savan Vegas petitioned the Prime Minister to re-open the club.




117
    Sanum Statement of Claim, para. 89, as referred by the Parties before this Tribunal for “the totality” of the facts,
see supra para. 3.
118
    Exhibit C(S)-326, p. 3, as referred by the Parties before this Tribunal for “the totality” of the facts, see supra para.
3.
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       The petition was denied on 19 May 2011 and Savan Vegas was ordered to comply with
       Notice No. 305.


       7.3.2. The Tribunal’s Analysis

213.   The Tribunal concludes that the license granted in 2009 had expired in October 2010 and
       had not been renewed. Monopoly rights kept competitors out but did not entitle Savan
       Vegas to establish and operate other gambling facilities unless those other facilities were
       specifically authorized. The Claimants have not shown that Savan Vegas had a right to the
       license’s renewal or even that it attempted to renew the license.

214.   At the time the Paksan slot club closed, the club was operating without a license and there
       is no documentary evidence that the Respondent had created any legitimate expectation in
       the Claimants that the license would be renewed or that it may operate de facto as if it had
       a license. The Claimants’ argument about a de facto license begs the question of why
       Sanum had applied for the license’s renewal in the preceding years. The Tribunal concludes
       that the license expired on its own terms and had terminated when the slot club was ordered
       to be closed.     The Tribunal accordingly concludes, as with the Paksong Vegas
       expropriation claim, that while the Paksan slot club expropriation claim is not before this
       Tribunal as such, the underlying facts bear directly on the allegations of bad faith on the
       part of the Respondent asserted before this Tribunal by the Claimant, LHNV. The Tribunal
       finds on a careful review of the facts that LHNV has failed to demonstrate any lack of good
       faith on the part of the Respondent in respect to Paksan, but on the contrary that Mr.
       Baldwin’s bad faith activity is to be attributed to LHNV, Sanum’s parent, on the basis that
       Mr. Baldwin is the directing mind of LHNV and his conduct is attributable to LHNV.


       Thakhet Casino and Hotel Resort

215.   In this situation, as well, the Claimants and the Government accuse each other of bad faith.
       Mr. Baldwin, the directing mind of both Claimants, testified at length about the bad faith
       treatment he received from the Government in respect of Thakhet. The Government, on
       the other hand, presents Thakhet as further proof that Mr. Baldwin and LHNV were bad
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           faith investors who are not entitled to treaty protection. These cross allegations are relevant
           to LHNV’s Treaty claims.

216.       In 2010, Sanum started negotiations with the Committee for the Laos-Thailand Friendship
           Bridge III Economic Zone Development (the “SEZ” and the “SEZ Committee”) for a land
           concession at the foot of a planned bridge to cross the Mekong River. The negotiations
           resulted in a MOU between Sanum and the SEZ Committee dated 20 October 2010. The
           MOU contemplated a land concession to Sanum of about 90 hectares in the SEZ, payment
           by Sanum of US $900,000 to allow the provincial government to compensate individuals
           occupying the land, and US $400,000 to be paid upon signature of the MOU. The MOU
           required Sanum to sign a land concession within 30 days and secure all necessary approvals
           from the central and local governments within one year prior to building on the concession
           land.

217.       On 4 February 2011, Savan Vegas submitted a proposal for a slot club to the Governor of
           the Khammouane Province and the MIC. The proposal was supported by the Governor
           and, on 21 February 2011, the MIC approved the Savan Vegas’s Welcome Center and Slot
           Club. Shortly thereafter, on 2 March 2011, the Prime Minister’s Office directed the MIC
           to revoke its approval because slot club licenses may only be issued “by the Government”
           which was interpreted by the Prime Minister to mean the Prime Minister’s Office.119 On
           29 March 2011, Sanum and Savan Vegas petitioned the Prime Minister’s Office to grant
           permission to open the Welcome Center and Slot Club in the SEZ. The petition was
           rejected in October 2011.

218.       It was decided in the Tribunal’s ruling on the Merits of the Claimant’s Second Material
           Breach Application that, in the Tribunal’s view,

                    the Claimants have not established a land entitlement that includes the
                    disputed 16 hectares, and there is no undertaking by the Government in
                    Section 22 to use its powers of eminent domain to expropriate the existing
                    private owners for the financial benefit of the Claimant. Refusal to




119
      Notice from the Prime Minister’s Office to the of Information and Culture, 2 March 2011, Exhibit C(B)-337.
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                  expropriate private land for the private gain of the Claimant does not
                  constitute evidence of ‘bad faith.’120

219.     This decision was reached by the Tribunal in the context of whether the Government
         breached Article 22 of the Deed of Settlement by failing to negotiate the Thakhet related
         agreements in good faith. The Tribunal considers that the Claimants have also failed to
         establish rights to the remainder of the land referred to in the MOU. Sanum had 365 days
         from the date of the Land Concession Agreement to seek all the approvals for all
         investment activities described in the MOU.                   In turn, before the Land Concession
         Agreement could be signed, Sanum needed to complete a Feasibility Study, a Master Plan
         and a Socio-Economic and Environmental Impact Study for the Land Concession, all to be
         approved by the Concessioner. The Land Concession Agreement required by the MOU
         was never signed; it never went beyond the negotiation stage. Despite face to face
         negotiations over the PDA throughout the summer and fall of 2011, Sanum and the SEZ
         Committee had not finalized the terms of the PDA, including the land concession.121 In
         the overall picture, whether or not Sanum had obtained a licence had no impact on the
         viability of its Thakhaek project.

220.     In the view of the Tribunal it is clear from the MOU that Savan Vegas could not expand to
         Thakhaek in the Kammouane Province without the “final approval from all
         governmental authorities (central and local).”122 The MOU provides for the eventuality
         that the approval is forthcoming and also in case it is not.123 Furthermore, the MOU
         subjects the exact location of the Concession Land to a future agreement: “Once the exact
         location of the Concession Land has been agreed upon, the Concessionee will confirm its
         acceptance of the Concession Land in writing to the Concessioner.”124 There was never
         any agreement in this respect.




120
    Decision on the Merits of Claimants’ Second Material Breach Application, 15 December 2017, para. 207.
121
    Sanum Reply, para. 182, see also Exhibit RE-101, as referred by the Parties before this Tribunal for “the totality”
of the facts, see supra para. 3.
122
    Exhibit RE-101, clause 2.3(c).
123
    Exhibit RE-101, clauses 2.3(c) and (d).
124
    Exhibit RE-101, clause 3.1.
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         7.4.1. The Tribunal’s Analysis

221.     The MOU shows that Savan Vegas’ monopoly rights did not encompass a right to establish
         slot clubs or casinos beyond the area covered by the Savan Vegas PDA:

                  If the Concessionee would like to expand the casino or slot business of
                  Savan Vegas, which is an investment project of Sanum Investments
                  Limited according to the Foreign Investment License no. 09507 [not
                  readable], dated 17 August 2007 to the Concession Land to be a branch
                  (Welcome Center) of Savan Vegas such expansion shall be proposed,
                  approved and agreed in writing from the Government first before
                  implementing such expansion. The Khammouane Province wilfully [sic]
                  support the expansion of Savan Vegas to the Land Concession according
                  to the appropriate procedures and regulations.125

222.     As regards the slot license, the Tribunal notes that the Respondent’s witnesses from the
         MIC and the Government Secretariat Office have claimed that the license was issued by
         mistake.126 The Respondent has argued that the MIC had no authority to issue the license
         because of Notice No. 1957 of the Prime Minister and says that the license was procured
         by a bribe. Leaving aside the issue of the bribes allegedly paid by the Claimants, the
         Tribunal observes that the license was effective for less than ten days and that the
         revocation was justified on the lack of authority of the MIC to grant it. The Tribunal
         appreciates that Notice No. 1957 refers to the Government and is not explicitly limited to
         the Prime Minister’s office but by 2011 Sanum was fully aware that the Prime Minister’s
         Office was the essential authority on the Claimants’ gambling ventures in Laos. The Prime
         Minister’s Office never approved the Claimants’ gambling project in Thakhaek. The
         Claimants had just finished a bruising encounter with the Government over the Claimants’
         failure to fulfill its obligations in respect of the Paksong Hotel and Casino project. By
         2011, the Claimants had entirely failed to live up to their Paksong commitments, while
         pretending otherwise. The Claimants had demonstrated themselves not to be good faith
         investors.




125
   Exhibit RE-101, clause 3.3.
126
   Sanum Reply, para. 316, fn 767, as referred by the Parties before this Tribunal for “the totality” of the facts, see
supra para. 3.
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223.       In the Tribunal’s view, the Claimants were seeking in bad faith (even if not by bribes) to
           manipulate Government officials to obtain approvals to which the Claimants were not
           entitled. It is significant that the MIC licence was issued to Sanum in February 2011 by
           the same Minister who was ordered to cancel the Paksan license for lack of authority one
           year earlier in February 2010.

224.       Negotiations for the renewal of the Flat Tax Agreement had stalled by March 2011. The
           Government was agitating for accountability in respect of its 20% interest in Savan Vegas.
           The Claimants allege that the 16-hectare parcel on Highway 13 was essential to the success
           of their Thakhaek project, yet negotiations for the 16-hectare parcel never reached
           agreement in the Tribunal’s view.

225.       The Tribunal concludes that there is insufficient evidence of bad faith on either side in
           respect of Thakhek. It was simply a commercial possibility that never reached the stage of
           agreement.

8. VIOLATION OF OTHER TREATY RIGHTS

226.       The Treaty claims are brought by the Claimant LHNV under the Netherlands-Lao BIT.
           Nevertheless, the allegations of bad faith and treaty violations extend to the Government’s
           treatment of all of the Claimants’ investments, as well as the Government’s defence of its
           treatment of all of the LHNV and Sanum investments. Again, the Tribunal recalls the
           submission by counsel for the Claimants that “the totality of the facts remains relevant to
           certain treaty breaches for which the Claimants will seek relief.”127 However, in this part
           8, where reference is made to the “Claimant” (singular), it refers to LHNV only.


            The Claimant’s Allegations of Unfair and Inequitable Treatment

227.       LHNV contends that it was denied fair and equitable treatment pursuant to Article 3(1) of
           the Treaty in respect of Thanaleng.




127
      Letter dated 26 March 2018 from Claimant to the Tribunal.
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228.    With respect to the fair and equitable treatment claims, the Claimant contends that even if
        the applicable standard is no higher than the minimum standard of treatment under
        customary international law as contended by the Respondent, the Claimant should succeed
        because there has been “a gross denial of justice, manifest arbitrariness, blatant unfairness,
        a complete lack of due process, evident discrimination, or a manifest lack of reasons.”128

229.    The Claimant alleges that Respondent also violated Article 3(4) of the Treaty (Umbrella
        Clause Claims) by repudiating its contractual obligations as follows:

        (a)      the Respondent imposed construction and brokerage taxes and overtime fees in
                 violation of the FTA;129 and

        (b)      the audit of Savan Vegas violated provisions in the Shareholders’ Agreement and
                 in the PDA that protected Savan Vegas from unreasonable document and
                 information requests.130

230.    The Claimant further alleges that Respondent inflicted discriminatory and less favourable
        treatment on Sanum and its investments (in relation to Articles 3(1), 3(2) and 4 of the
        Treaty) with the following measures:

        (a)      by imposing a 30% tax rate on the Ferry Terminal Slot Club, which was over 100
                 times more than the 0.22% rate charged to ST;131

        (b)      by assisting ST in ejecting Sanum from its Thanaleng joint venture investment;132

        (c)      by pursuing an unlawful audit by E&Y which favoured ST over Sanum by
                 facilitating ST’s attack on Sanum’s management of Savan Vegas.133




128
    Glamis Gold, Ltd. v. the United States of America, UNCITRAL (1976), Award, 8 June 2009, at para. 616,
Exhibit LHRA-73.
129
    Claimant’s Memorial, para. 243.
130
    Claimant’s Memorial, para. 242.
131
    Claimant’s Memorial, para. 249.
132
    Claimant’s Memorial, paras. 211-214.
133
    Claimant’s Memorial, paras. 192201 and 213.
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231.       In respect of the Thanaleng Slot Club (in relation to Article 3(1) and 6 of the Treaty):

           (a)      the Respondent deprived the Claimant of the benefit of its investment through
                    arbitrary, unfair and discriminatory court proceedings that lacked any semblance of
                    due process and by the participation of its law enforcement officials in physically
                    evicting Sanum personnel and machines from Thanaleng;134

           (b)      by the same conduct, the Respondent also violated both the fair and equitable
                    treatment and the unreasonable or discriminatory impairment standards contained
                    in Article 3(1) of the BIT.135


            The Onus of Proof

232.       The Claimant accepts both the legal onus and the evidentiary onus of establishing one or
           more treaty breaches on a balance of probabilities.


            The Claimant’s Lack of Good Faith

233.       Much of the Claimants’ case rests on the allegation that it proceeded in all respects in good
           faith but was thwarted at every turn by a corrupt and devious Government acting in bad
           faith. On the contrary, in the Tribunal’s view the evidence is clear that the Claimants dealt
           in bad faith with the Government from the initial signing of the Paksong Hotel and Casino
           PDA calling for a US $25 million hotel and casino and thereafter included the financial
           irregularities in the operation of the Savan Vegas Hotel and Casino. The Claimants never
           intended to build a US $25 million facility in Paksong. From the Claimants’ perspective,
           the benefit of the Paksong PDA was a monopoly to block other more serious investors from
           offering gambling facilities in Champaska and Salavan Provinces. Having obtained the
           monopoly, the Claimants attempted to force the Government’s hand in relocating the
           project to what, from the Government’s perspective, was a much less attractive site. The
           bad faith continued through the disputes over the Savan Vegas Hotel and Casino, which




134
      Claimant’s Memorial, paras. 61-94, 219-223; Claimant’s Reply, paras. 23-109.
135
      Claimant’s Memorial, paras. 178-190, Claimant’s Reply, paras. 155-160.
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        was built but operated in defiance of Sanum’s reporting obligations to the Government
        (and, when the books were eventually opened, revealed significant financial irregularities).
        The bad faith continued with Mr. Baldwin’s recent efforts to deter Madam Sengkeo’s
        appearance to testify at the merits proceeding and the sham MaxGaming offer to purchase
        Savan Vegas in April of 2015.

234.    The principle of good faith arises in investment treaty arbitrations in various contexts.
        Tribunals, of course, regularly refer to Article 31(1) of the Vienna Convention for the rule
        that treaties shall be interpreted in good faith. The obligation extends to a duty of parties
        to arbitrate in good faith.136 In Phoenix v. Czech Republic, the tribunal referred to Phoenix’s
        “initiation and pursuit of this arbitration” as “an abuse of the system of international ICSID
        investment arbitration.”137 (The tribunal found an abuse of rights in that case by the
        “claimant’s creation of a legal fiction in order to gain access to an international arbitration
        procedure to which it was not entitled.”138)

235.    The Tribunal listened carefully to the testimony of Mr. John Baldwin and found him to be
        an argumentative witness who preferred evasion to candour. Much of his testimony was
        simply not credible. He proceeded in bad faith from the outset in assuring the Government
        that he intended to invest US $25 million at the Paksong site, which by his own account
        would have been highly unprofitable.

236.    Mr. Baldwin is the directing mind of both Claimant companies. His conduct throughout
        was to advance their corporate interests. His bad faith conduct is their conduct. While the
        Government’s conduct was at times aggressive and inappropriate in relation to the
        Settlement (as documented, for example, in the Second Material Breach Application),
        nevertheless the Claimants failed to establish that the Government acted in bad faith in



136
    Libananco Holdings Co Limited v. Republic of Turkey, ICSID Case No. ARB/06/8, Final Award, Exhibit CLA-
168, where good faith was discussed in the context of the alleged interception and surveillance by Turkish police of
legally privileged communications between the claimant, its counsel and witnesses. See also Born, International
Commercial Arbitration at pp. 1008-1014 and Methanex Corporation v. United States of America, UNCITRAL
(1976), Final Award, Exhibit CLA-259.
137
    Phoenix Action, Ltd. v. The Czech Republic, ICSID Case No. ARB/06/5, at para. 144, Exhibit RA-25.
138
    Ibid., para. 143.
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        relation to the investors or the investments during the time period covered by this revived
        arbitration.

237.    It is well established that the bad faith conduct of the investor is relevant to the grant of
        relief under an investment treaty.139

238.    To summarize, the particular acts of bad faith by Mr. Baldwin on behalf of the Claimants
        of most concern to the Tribunal are:

        (A)      misrepresentations made to the Government to obtain Paksong Hotel and Casino
                 PDA on the strength of a promise to make a US $25 million investment on the site
                 which, in the Tribunal’s view, the Claimants never intended to pursue;

        (b)      likely making illegal payments to Government officials to stop the E&Y audit of
                 the Savan Vegas Hotel and Casino;

        (c)      likely attempting to obstruct justice with the payment of US $875,000 to Madam
                 Sengkeo directed, as to US $575,000 to the obstruction of the due process of this
                 arbitration by paying Madam Sengkeo not to testify;

        (d)      attempting to mislead the Treaty Tribunals with the sham offer to purchase the
                 Savan Vegas from MaxGaming Consulting.140

239.    As will be seen, the Claimant’s allegations of the other treaty violations (in addition to
        expropriation) also fail on the facts.               However, having listened to Mr. Baldwin’s



139
    See UNCTAD Series on International Agreements III, Fair and Equitable Treatment (2012) at pp. 83-85:
     Investor conduct has emerged as a relevant factor in the analysis of FET claims by arbitral tribunals. It may
     be relevant in two ways. First, it may justify the measure taken against the investor by the respondent
     country. Thus in Genin v. Estonia, the tribunal found that the Estonian national bank had good reasons to
     revoke the operating license of the claimant’s investment because the claimant had failed to disclose relevant
     facts. In such cases, the adverse measure serves as a State’s reaction to, or a sanction for the investor’s
     conduct…Fraud or misrepresentation on the part of an investor may form the basis of a legitimate
     regulatory interference with its rights. In such cases, even the outright termination of the investment
     may be justified, provided it is a proportionate response to the investor’s conduct in light of the
     relevant domestic laws of the host State...in some situations, an investor’s own conduct may be held to be
     a cause for the harm suffered.
140
    Although the MaxGaming incident occurred after the date of Settlement, it was fully debated at the Hearing and
formed part of the corpus of the bad faith allegations.
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           explanations over several hearings of his dealings with Laos, the Tribunal wishes to leave
           in no doubt its conclusion that Mr. Baldwin and LHNV exhibited manifest bad faith in
           various efforts not only to manipulate the Government to advance their gambling initiatives
           but, in the instance of Madam Sengkeo, to manipulate the arbitration process itself.


            Alleged Wrongful Treatment of the Thanaleng Investment

240.       At issue are the proceedings before the Courts of Laos between Sanum and ST. The
           Claimants allege that they were denied due process to a level that constituted a denial of
           justice.


           8.4.1. The Claimant’s Argument

241.       In respect of the Thanaleng Slot Club, the Claimants contend that:

           (a)        the Government deprived the Claimant LHNV of the benefit of its investment in
                      Sanum through arbitrary, unfair and discriminatory court proceedings that lacked
                      any semblance of due process and by the participation of its law enforcement
                      officials in physically evicting Sanum personnel and machines from Thanaleng;141

           (b)        by the same conduct, the Respondent also violated both the fair and equitable
                      treatment and the unreasonable or discriminatory impairment standards contained
                      in Article 3(1) of the BIT.142

242.       While the origin of the court case was a “private dispute”, the Claimants contend that their
           Thanaleng claims manifestly implicate the conduct of Lao judicial and executive branch
           officials including the Minister of Justice and the police on the spot at the time of the
           seizure. According to Claimants, the result was wrongful internationally because it was
           arbitrary, unfair, discriminatory and lacked any semblance of due process. Moreover, the




141
      Claimant’s Memorial, paras. 61-94, 219-223; Claimant’s Reply, paras. 23-109.
142
      Claimant’s Memorial, paras. 178-190, Claimant’s Reply, paras. 155-160.
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        Thangaleng proceedings deprived LHNV of the shareholder value of Sanum’s Thanaleng
        investments without compensation.

243.    The Claimants relied upon the expert opinion of Maitre Gérard Ngo143 who found due
        process violations in the Court summons to Sanum, which was made only 48 hours before
        the trial scheduled for 26 July 2012, the limited duration of the hearing of 26 July 2012 (90
        minutes), the brevity of the judges’ deliberation and the conclusion set out in the judgment
        which (the Claimant) argues had been decided before the hearing began.

244.    The Claimants allege that the Courts of Laos were controlled and interfered with by the
        Government against Sanum and constituted a denial of justice. The evidence for this
        allegation comes from Mr. Baldwin144 and Mr. Richard Pipes.145

245.    The Claimants further contend that the Minister of Justice wrongfully intervened in the
        physical eviction of Sanum from the Thanaleng premises on 29 April 2012, thereby
        favouring ST, contrary to the laws governing the execution of judgments in Laos and
        principles of international law.




143
    Maitre Gérard Ngo Expert Report, para. 176.
144
    Mr. Baldwin testified in his Third Witness Statement as follows:
     118. I was eventually able to meet with Minister [Justice] Chaleun on 27 April 2012. He said that the pressure
     to rule against us was coming from “high up”. I inquired who was pressuring him, noting that you could not
     get much higher than the Minister of Justice. I asked if it was the Prime Minister; he said no. I asked if it
     was the President; he said no. Then I asked if it was the Vice President, Bounnhang Vorachit, and he
     shrugged his shoulders. I took this to be an acknowledgement that it was the Vice President of Laos who
     was pressuring Minister Chaleun. I was surprised and disappointed by this sudden change in Chaleun…
Mr. John Baldwin Third Witness Statement, para. 46. See also Mr. John Baldwin Sixth Witness Statement, para. 59.
145
    Mr. Pipes testified in his First Witness Statement as follows:
     29. I should note that in several meetings I had with the Chief Judge handling the case, the Chief Judge told
     me that he too was under a great deal of pressure to resolve the case quickly, with a predetermined result that
     would not be to our benefit. At times, the Judge was almost apologetic and wanted me to understand that,
     when cases are filed in which powerful people in Laos have an interest, the result is often mandated by high-
     ranking Government officials. In fact, the Chief Judge and other Lao attorneys confirmed to me that these
     types of cases are referred to as “directed ones”. At one point, the Chief Judge told me in his chambers that
     in our case he was “just the driver” and that he was being told where to go.
Richard Pipes First Witness Statement, para. 29.
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        8.4.2. The Respondent’s Argument

246.    The Government contends that Sanum had no cognizable interest in the Thanaleng Slot
        Club because the operative contract (the Temporary Thanaleng Participation Agreement
        dated 23 February 2010) expired on its own terms on 11 October 2011 and as the Courts
        of Laos correctly held, the Master Agreement dated 20 May 2007 did not create enforceable
        rights. The Master Agreement itself so states:

                 The Parties hereby agree to negotiate and work towards entering into
                 certain joint ventures, represented by necessary agreements, which shall
                 convey 60% of all 2nd Party’s gaming business located in the country of
                 Lao PDR (the “Joint Ventures”). This Agreement is not intended to be a
                 definitive agreement but only provides the Parties’ general understandings
                 of their relationship. The Parties agree to work together in good faith to
                 negotiate and finalize all necessary agreements to fully implement the
                 concepts and terms set forth in this Agreement.146 (emphasis added)

247.    The trial Court held against Sanum by its decision dated 26 July 2012,147 affirmed by the
        Court of Appeal on 11 December 2013148 and affirmed again by the Supreme Court of Laos
        on 4 April 2014, whose decision stated:

                 The Defendant [Sanum] claimed that once the contract with the electrical
                 slot machine supplier expired, the main contract issued on 30 May 2007,
                 and other contracts, should be effective immediately to cover the
                 obligations between Sanum Investment Company (Defendant) and the HT
                 Vegas Company Limited (Plaintiff). However, this is not the case, due to
                 the fact that it is stated in the beginning part of the main contract, wherein
                 it is defined, that this contract has no intent to be a strict contract, as it
                 is only to support the parties toward having an overall understanding of
                 their relationship.

                 *****

                 This [evidence] shows that the parties cannot consider the main
                 contract as a completed business joint venture agreement due to this
                 contract determining only general principles on how to develop sub-
                 contracts and agreements between both parties in all gambling joint
                 ventures. Therefore, the parties need to renew the contract to be in


146
    Master Agreement, Exhibit C(B)-1; Respondent’s Opening Submission, Slide 20.
147
    Court Decision, 26 July 2012, Case No. 11/PC, VTC, p. 5, Exhibit C(B)-34, Respondent’s Opening Submission,
slide 21.
148
    Judgment, Commercial Chamber Panel of the People’s Court in the Central Region, No. 71/CC.A, p. 9, Exhibit
C(B)-486, Respondent’s Opening Submission, Slide 22.
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                 compliance with the main contract issued on 30 May 2007.149 (emphasis
                 added)

248.    The Government contends that “the proper procedures were applied under the Lao court
        rules. Those rules … plainly meet international standards of procedural fairness.”150

249.    The Respondent’s legal expert, Professor Hervé Ascensio, concluded:

                 83. On the basis of the rules of international law, and having considered
                 the legal and factual circumstances of the case, my conclusions are the
                 following ones:

                 1) as far municipal legality, the domestic proceedings complied with the
                 standard of international law;

                 2) no violation of international law is demonstrated concerning access to
                 an independent and impartial court;

                 3) no violation of international law is demonstrated concerning the
                 fundamental procedural guarantees;

                 4) the decisions adopted on the merits by Laotian courts on the Thanaleng
                 site do not reveal a substantive denial of justice.151

250.    Respondent contends that the Claimants’ legal expert, Maitre Gérard Ngo, lacks relevant
        expertise and that (again according the Respondent), his criticisms were effectively
        rebutted by the Respondent’s expert, Professor Hervé Ascensio, who expressed the view
        that:

                 Taking into account the whole of the legal and factual circumstances, it
                 does not appear manifest that the threshold of arbitrary, applicable under
                 public international law, was crossed.152

251.    The Government considers that there is no credible evidence that it interfered with the
        Court proceedings.

252.    Sanum was afforded due process in knowing the case it had to meet and every opportunity
        to lead evidence and make submissions in its own defence.



149
    Lao Supreme Court Judgment, ST v. Sanum, Case 52, Exhibit C-1239.
150
    Respondent’s Counter-Memorial, para. 142.
151
    Professor Ascensio Expert Report, 4 June 2014, para. 83; Claimants’ Opening Submissions, slide 66.
152
    Professor Ascensio Expert Report, 4 June 2014, at paras. 51-52.
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         8.4.3. The Tribunal’s Ruling

253.     The Tribunal’s role is to apply international law, not the domestic law of Laos. It has no
         jurisdiction to sit on appeal from the Courts of Laos. As stated by the Arif v. Moldova
         tribunal:

                  The Tribunal is not in a position and has no competence to take sides in
                  this controversy. If it tried, it would indeed sit as a court of appeal over
                  decisions of the Moldovan judiciary.153

254.     The decision of three levels of Laotian courts on the interpretation of the Master Contract
         went against Sanum, and in the Tribunal’s view, neither the interpretation given by those
         Courts to the agreements nor the judicial process offended international standards.154

255.     The Tribunal heard the viva voce testimony of Judge Soulideth Souvannasaly, one of the
         judges who heard the Sanum case at first instance. He disputed Mr. Pipes’ evidence about
         Government interference155 and testified that, contrary to Mr. Pipes’ Witness Statement,
         Sanum did not press its earlier request for an adjournment when its case came on for a
         hearing.156




153
    Mr. Franck Charles Arif v. Republic of Moldova, ICSID Case No. ARB/11/23, Award, at paras. 481, Exhibit
CLA(LH)-041.
154
    As stated by the Jan de Nul N.V. and Dredging International N.V. v. Arab Republic of Egypt, ICSID Case No.
ARB/04/13, Award, para. 209:
     It is not the role of a tribunal constituted on the basis of a BIT to act as a court of appeal for national courts.
     The task of the Tribunal is rather to determine whether the Judgment is “clearly improper and discreditable”
     in the words of the Mondev tribunal.
Professor Ascensio Expert Report, Exhibit PJ-24.
155
    Judge Soulideth testified:
     Q. And when you say, “That is not the truth”, what were you referring to?
     A. I meant what Mr. Pipes said was untrue.
     Q. Regardless of what Mr. Pipes said to you, it’s true that you were under pressure to resolve case 52 between
     ST and Sanum quickly; correct?
     A. No.
Amended Transcript, 6 September 2018, p. 12, 18-24.
156
    Judge Soulideth further testified:
     Q. You received a request for postponement from Sanum on 25 July 2012. My question is: in the courtroom,
     on 26 July 2012, did you ask anyone representing Sanum if they wished to press their request for a
     postponement?
                                                          *****
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256.    The Tribunal considers 48 hours to be an excessively short notice for a trial but Judge
        Soulideth testified that when the trial was called, Sanum was present in Court and, having
        failed to press its request for an adjournment, there was nothing to prevent the case from
        proceeding and it did proceed with the participation of Sanum’s representatives.

257.    Moreover, according to Judge Soulideth, Sanum was free to present evidence and make
        such submissions as it saw fit. Judge Soulideth denied that the disposition of the case had
        been decided prior to the hearing (contrary to the witness statement of Richard Pipes). The
        narrative portion of the judgment had been drafted beforehand based on the documentation
        (a customary practice in Laos, according to the Judge), but the “consideration” and
        “decision” were not written until following the panel deliberations after the hearing.157

258.    The Tribunal would have been interested in hearing from the Sanum representatives who
        were present at the trial but they were not called. In the circumstances, the Tribunal accepts
        the evidence of Judge Soulideth and rejects the allegations of the Claimants that this was a
        “directed case” whose outcome was “mandated by high ranking Government officials” as
        unproven. On the evidence, there was no breach of fair and equitable treatment or other
        Treaty violation, and no wrongful treatment by the judiciary of the Claimant’s Thanaleng
        investment by denial of justice or otherwise.


         Did The Respondent’s Treatment of Savan Vegas Breach Articles 3(1) and 3(4) of
         the Treaty?

259.    As mentioned, the Government, which was a shareholder in the Savan Vegas project,
        initiated an audit by E&Y.



     A. So, I asked this Sanum personally in the courtroom that, “Do you wish to proceed or do you wish to still
     have that postponement that you submitted on 25 July 2012?”, but they did not – they did not say they did.
Amended Transcript, 6 September 2018, p. 49, 6-21.
157
    Judge Soulideth testified:
     It was not until our deliberation that we reached a decision and drafted the remaining part of the
     “Consideration” and the “Decision” section of the Court Decision (from the last line of page 4 of the Court
     Decision – “…this act as violation of the agreement according to Article 33 of the Contract Law.” These can
     be found on pages 5 and 6 of the Court Decision.
Judge Soulideth Witness Statement, para. 14; Claimants’ Opening Submissions, slide 72.
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                                                     91


        8.5.1. The Claimant’s Argument

260.    The Claimant says that the Government’s audit proceeded in bad faith and constituted one
        of the wrongful acts orchestrated by the Government to assist ST158 in its ongoing dispute
        with the Claimant. In the result, Article 3(4) of the Treaty was breached because of non-
        compliance with the Government’s contractual obligations. Moreover, the Claimant
        argues, Article 3(1) was also breached because:

        (a)     the Government’s abusive exercise of authority (as Government not shareholder)
                was inconsistent with the good faith principle embedded in the FET standard;

        (b)     even if not adopted for an improper purpose, measures that are arbitrary and
                discriminatory are also inconsistent with the FET;

        (c)     the audit was conducted in an unreasonable manner that impaired the LHNV’s
                enjoyment of its investment;159

261.    As a result of the audit and other wrongful conduct, the Government is said to have imposed
        on Savan Vegas “unlawful and discriminatory tax demands in the amount of US $23.8
        million.”160 Moreover, the Ferry Terminal Slot Club was taxed at a rate grossly in excess
        of the tax rate imposed on ST and, was therefore discriminatory.161


        8.5.2. The Respondent’s Argument

262.    The Parties settled any and all claims with respect to pre-July 2014 taxes as part of the
        mutual commitments contained in Article 7 of the Settlement162 which provided that:

                Laos shall forgive and waive any and all taxes and related interest and
                penalties due and payable by the Claimants and the Gaming Assets up to
                1 July 2014 in respect of the Gaming Assets, provided, however, that taxes
                shall be due and payable as from 1 July 2014 as provided in Section 8


158
    The audit and tax demands were adopted to provide a pretense for ejecting Sanum from Sanum Vegas. Exhibit
C(B)-424 and Exhibit C(B)-351, Claimants’ Opening Submission, slide 77.
159
    Claimants’ Opening Submission, slide 83.
160
    Claimants’ Memorial, para. 213.
161
    Ibid.
162
    Settlement, Section 7, Exhibit C(B)-774.
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 153 of 457

                                                     92

               below. The taxes covered herein are all taxes and fees including but not
               limited to those that are specifically indicated in Article 1 of the previously
               signed FTA attached as Annex D hereto.

263.   The Claimant accepted the tax waiver as part of the Settlement for which mutual releases
       were exchanged, and the Claimant cannot now complain about tax measures which are not
       properly part of this arbitration.

264.   Equally, any tax issues arising after 1 July 2014 are outside the scope of this arbitration.


       8.5.3. The Tribunal’s Ruling

265.   With respect to the E&Y audit, the Respondent had good cause for concern about the
       accounts of Savan Vegas. Sanum had not complied with its reporting obligations. The
       Claimant LHNV has failed to establish bad faith on the part of the Respondent in pushing
       for an audit in furtherance of its rights as a significant shareholder in Savan Vegas.

266.   Nor was the Government conduct arbitrary. It had not received information it was owed
       by reason of its shareholding interest in Savan Vegas. The request for an audit was not
       abusive, and in the end the Government’s suspicions were vindicated by the disclosure of
       serious financial irregularities.

267.   There is no credible evidence that the E&Y audit was conducted in an unreasonable
       manner.     Sanum’s CFO, Mr. Clay Crawford, testified that E&Y made excessive
       information demands that interfered with the efficient operation of the business but the
       Tribunal heard no expert evidence from an independent auditor that E&Y departed from
       normal audit practice.

268.   Moreover, as earlier stated, the Tribunal is of the view that on a balance of probabilities
       Mr. Baldwin dealt in bad faith with the Government in arranging illicit payments to stop
       the E&Y audit prior to its completion.

269.   The Claimant has not established any breach of contractual (or Treaty) obligations in
       respect of Savan Vegas by the Government.
        Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 154 of 457

                                                       93


270.    As to the tax issues at Savan Vegas and the Ferry Terminal, it has already been pointed out
        that the tax waiver was effective up to and including 1 July 2014.163 The tax complaints
        were not revived by the outcome of the Second Material Breach Application which did
        not set aside the Settlement but implemented it.


         Alleged Violations of Treaty Rights in Respect of the Paksan Slot Club, Lao Bao and
         the Savannakhet Ferry Dock

271.    The Claimant’s allegations of wrongful acts and Treaty breaches in respect of these
        investments have already been reviewed at length in the earlier reasoning of this Award.
        While the Claimants did not press their complaints in respect of Lao Bao and the
        Savannakhet Slot Clubs at the Hearing, those complaints relate essentially to tax matters
        which were resolved with the 2014 Settlement. To the extent the complaints in this respect
        were not withdrawn, they are dismissed.


         Allegation that the Respondent Violated Article 3(4) of the Treaty (Umbrella Clause
         Claims)

272.    The Claimants argue that the Government repudiated its contractual obligations as follows:

        (a)      the Respondent imposed construction and brokerage taxes and overtime fees in
                 violation of the FTA;164 and

        (b)      the audit of Savan Vegas violated provisions in the Shareholders’ Agreement and
                 the PDA that protected Savan Vegas from unreasonable document and information
                 requests.165




163
    United Nations International Law Commission, Articles on Responsibility of States for Internationally Wrongful
Acts, with commentaries (2001), Exhibit CLA(LH)-087:
     Article 45: Loss of the right to invoke responsibility:
     The responsibility of a State may not be invoked if:
       (a) the injured State has validly waived the claim;
       (b) the injured State is to be considered as having, by reason of its conduct, validly acquiesced in the
       lapse of the claim.
164
    Claimant’s Memorial at para. 243.
165
    Claimant’s Memorial at para. 242.
        Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 155 of 457

                                                          94


273.    In the Tribunal’s view, for the reasons already explained:

        (a)      the tax complaints were rendered moot by Article 7 of the Settlement;

        (b)      the Claimant has not established that construction and brokerage taxes and overtime
                 fees were wrongfully imposed;

        (c)      the Claimant has not established that the Government’s document and information
                 requests in respect of Savan Vegas were unreasonable.


         Allegations of Discriminatory and Less Favourable Treatment With Respect to
         Investments pursuant to Article 3(2) and Article 4 of the Treaty

274.    The Claimant alleges discriminatory and less favourable treatment with respect to Sanum
        and its investments:

        (a)      by imposing a 30% tax rate on the Ferry Terminal Slot Club, which was over 100
                 times more than the 0.22% rate charged to ST;166

        (b)      by assisting ST in ejecting Sanum from its Thanaleng joint venture investment;167

        (c)      by pursuing an unlawful audit by E&Y which favoured ST over Sanum by
                 nourishing ST’s attack on Sanum’s management of Savan Vegas.168

275.    The Tribunal has already rejected complaints (b) and (c). With respect to complaint (a),
        Article 7 of the Settlement in respect of tax issues foreclosed any liability of the Claimant
        or the Government with respect to the imposition of such taxes prior to 1 July 2014,
        including the claim of discrimination.

276.    In any event, the Claimants are in no position to complain of discrimination in the tax
        system when much of the efforts of the Claimants were directed at obtaining special
        treatment under an FTA and its extension for a further five years. To the extent other



166
    Claimant’s Memorial at para. 249.
167
    Claimant’s Memorial at paras. 211-214.
168
    Claimant’s Memorial at paras. 196, 200-201 and 213.
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 156 of 457

                                                95


       corporate entities in Laos also obtained special rates, the fact remains that the Claimant
       paid less tax than the law would otherwise have required, and, more importantly, whatever
       it owed was forgiven by the Settlement, so even if there had been breaches (which has not
       been shown to be the case), there was no loss or damage that could justify compensation.

277.   The Claimant LHNV has failed to establish any factual foundation for its complaints of
       Treaty breaches in respect of Thanaleng and Savan Vegas as previously discussed.


       Bad Faith

278.   While the Tribunal finds the Respondent’s allegations of bribery lack sufficient “clear and
       convincing evidence” to justify an affirmative finding of specific acts of corruption,
       nevertheless the probable existence of illicit payments to Madam Sengkeo and through her
       to Government officials falls to be considered under the general allegation of bad faith.

279.   When the Tribunal steps back and views the Claimants’ entire course of conduct at issue
       in these proceedings as particularized above, including the probability of corruption in the
       Claimants’ orchestration of the termination of the E&Y audit (itself an act of bad faith),
       the manipulation of Government authorities to obtain a gambling licence at Thakhaek and
       the commitments made in the Paksong PDA without any intention of building the US $25
       million hotel and casino which was its basic requirement, thereby eliminating the
       opportunity for other more serious investors to apply for gaming facilities in the Claimants’
       monopoly area, all support the conclusion that the Claimants were contemptuous of the
       commitments that came with the advantages of their Laotian investments. Mr. Baldwin’s
       testimony only served to confirm the Tribunal in that unfavourable view.

280.   While the Tribunal has already rejected the Claimants’ allegations for the reasons detailed
       above, the Claimants’ bad faith initiation of some investments and bad faith performance
       of other investment agreements (as detailed above) and the attempt of Mr. Baldwin to
       compromise the integrity of this arbitration through an inducement to Madam Sengkeo not
       to testify provide added reasons to deny the Claimant LHNV the benefit of Treaty
       protection.
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                                                          96


9. DISPOSITION ON COSTS

281.     The Respondent Government claims costs for the period from 26 April 2016 through 22
         February 2019 in respect of lawyers’ fees and expenses in the amount of $1,467,483.72.169
         These fees are exclusive of and apart from the costs sought by the Government arising out
         of Sanum Investments Limited v. The Government of the Lao People’s Democratic
         Republic, PCA Case No. 2013-13, which was not consolidated with this case but for the
         most part was heard jointly with it. (The Respondent Government claims a total of
         US $2,780,736.03 in respect of both the ICSID and PCA proceedings). By way of
         comparison, the Claimants indicated that if successful (and even if not wholly successful)
         they would be seeking US $ 20,929,951.36 in total in respect of both the ICSID and PCA
         proceedings. The Claimant’s claim, unlike the Respondent’s claim, does include the
         expenses and charges of the respective Secretariats.

282.     Article 58 of the ICSID Arbitration (AF) Rules provides:

                  (1) Unless the parties otherwise agree, the Tribunal shall decide how and
                  by whom the fees and expenses of the members of the Tribunal, the
                  expenses and charges of the Secretariat and the expenses incurred by the
                  parties in connection with the proceeding shall be borne. The Tribunal
                  may, to that end, call on the Secretariat and the parties to provide it with
                  the information it needs in order to formulate the division of the cost of
                  the proceeding between the parties.

                  (2) The decision of the Tribunal pursuant to paragraph (1) of this Article
                  shall form part of the award.

283.     Article 58 grants the Tribunal broad discretionary power to allocate costs, based on the
         circumstances of the case. “While there is some variation in tribunals’ practices, the
         prevailing approach of international investment tribunals is to order costs to follow the
         event.”170 LHNV itself has accepted the application cost-shifting principle in this



169
    The Respondent reserved all rights to claim additional attorneys’ fees and expenses, in particular if this Tribunal
makes any further requests, including requests for further submissions
170
    Cortec Mining Kenya Limited, Cortec (Pty) Limited and Stirling Capital Limited v. Republic of Kenya, ICSID
Case No. ARB/15/29, Award, 22 October 2018, ¶ 388 (citing Mr. Saba Fakes v. Republic of Turkey, ICSID Case
No. ARB/07/20, Award, dated 14 July 2010, ¶¶ 152-155); see, e.g., Telenor Mobile Communications A.S. v.
Republic of Hungary, ICSID Case No. ARB/04/15, Award, dated 13 September 2006, ¶ 107 (“[T]his Tribunal is
among those who favour the general principle that costs should follow the event.”).
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                                                       97


        arbitration—having already submitted its request for “costs and expenses of this
        proceeding, including attorneys’ fees.”171

284.    According to the Claimants, the quantum of their original claims if wholly successful,
        might have reached US $ 1 billion.

285.    The costs claim advanced by LHNV and Sanum include US $10,109,872.71 for legal work
        prior to the Settlement of June 15, 2014.172 The Respondent’s claim commences post-
        settlement, specifically from 26 April 2016.173 Thereafter, until 23 February 2017, the
        Respondent’s claim is made only for the ICSID proceedings, as during that time only the
        ICSID Tribunal was active – i.e., after the Claimant LHNV filed its Second Material
        Breach Application, but before the date the Claimant Sanum filed its Second Material
        Breach Application before the PCA Tribunal. From and after 23 February 2017 the two
        cases (ICSID Case No. ARB(AF)/12/6 and PCA Case No. 2013-13) proceeded in parallel
        although, as mentioned, not consolidated.

286.    Thus, after 23 February 2017, work on all written submissions, evidentiary applications,
        interim conferences and hearings as well as the Hearing were combined, then evenly
        divided as between the ICSID proceedings and the PCA proceedings. In the result, the
        Respondent seeks an order that the Claimant LHNV pay 50% of its legal costs, including
        lawyers’ fees and expenses, incurred from 23 February 2017, through to the present.174

287.    The Claimant points out that it was successful on a number of the interlocutory matters
        including a defeat of the Government’s jurisdictional challenges and establishment in the
        Second Material Breach Application that the Government had failed in two important
        aspects to honour the Settlement, namely the establishment of a new FTA to assist in the
        sale of Savan Vegas, and the Government’s failure to halt existing and potential criminal
        proceedings.175 These were important successes for the Claimants but in the end, they failed




171
    Respondent’s Submission on Costs, ¶6 (citing Claimant Reply, ¶ 343).
172
    Claimant’s Submission on Costs, Schedule A.
173
    Respondent’s Submission on Costs, ¶ 16.
174
    Ibid., ¶¶ 6-9.
175
    Claimant’s Submission on Costs, ¶ 29.
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                                                       98


        to establish after years of litigation any liability on the part of the Government in respect
        of any of the myriad of claims of Treaty violations (as distinguished from two breaches of
        the 2014 Settlement Agreement, as mentioned). In the circumstances, the Tribunal thinks
        it appropriate, in its discretion, to award the Respondent its lawyer fees and expenses in
        the sum of US $1,293,720.27.


         Expenses

        9.1.1. Travel Expenses

288.    The Respondent’s travel expenses represent travel to Brussels and Singapore twice by
        various witnesses and the Respondent’s lawyers and staff, for matters involving the
        Tribunal. These travel expenses also include travel to Laos, Paris, and Hong Kong for
        matters such as fact development, evidence gathering and document review.176


        9.1.2. Miscellaneous Services and Expenses

289.    The remainder of the Respondent’s expenses relate to services and expenses required to
        pursue the arbitrations, some of which were incurred in-house and others by external
        vendors. Such services include translation services; court reporter and transcript fees;
        express delivery expenses; research; and trial preparation services in Singapore, such as
        copying, binding presentations, and creating witness and evidentiary notebooks.

290.    The Respondent’s total expenses (other than legal fees and expenses) requested in this
        arbitration amount to US $173,763.45.177 This sum, taken together with legal fees and
        expenses of US $1,293,720.27 produces a costs award of US $1,467,483.72.




176
   Respondent’s Submission on Costs, ¶ 18.
177
   Respondent’s Submission on Costs, ¶¶ 19-20.
* The arbitrator’s fees and expenses of Professor Hanotiau and Professor Stern have been equally divided between
the ICSID and PCA proceedings. The amount shown here represents the ICSID portion.
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            Arbitration Costs

291.       The costs of the arbitration, including the fees and expenses of the Tribunal, ICSID’s
           administrative fees and direct expenses, amount to (in US dollars):178


                     Arbitrators’ fees and expenses
                             Honourable Ian Binnie                US$ 466,076.51
                             Prof. Bernard Hanotiau*              US$ 393,410.86
                             Prof. Brigitte Stern*                US$ 358,712.38

                     ICSID’s administrative fees                      US$ 244,000

                     Direct expenses (estimated) 179                  US$273,590

                     Total                                         US$ 1,735,789

292.       The above costs have been paid out of the advances made by the Parties which were not
           made in equal parts. The Claimant made advance payments for a total of US $1,274,969
           and the Respondent made advances for a total of US $481,622.95. The Tribunal orders the
           Claimant LHNV to bear all the arbitration costs of the ICSID proceeding. Accordingly,
           the Tribunal orders the Claimant to pay the Respondent US$ 481,622.95 for the expended
           portion of the Respondent’s advances to ICSID.

10. DISPOSITION

293.       In the Tribunal’s view, the Claimant LHNV has failed to meet the evidentiary onus of
           establishing facts necessary to support its legal arguments. The claims are therefore
           dismissed.

294.       The Claimant shall pay the Respondent US$ 481,622.95 in arbitration costs and
           US$ 1,467,483.72 for the Respondent’s legal representation costs and expenses.

Made in Singapore, Singapore.



178
      The ICSID Secretariat will provide the parties with a Financial Statement of the case account.
179
      This amount includes estimated charges relating to the dispatch of this Award (Courier, printing, and copying).
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                                      100




        essor Berna d Hanotiau                        Professor Brigitte Stem
            Arbitrator                                       Arbitrator

Date:   24 July 2019                          Date:    2 7 July 2019




                          9 Clt\(s          UL~~
                      The Honourable Ian Binnie, C.C., Q.C.
                            President of the Tribunal

                       Date:     31 July 2019
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                 Annex A
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INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES
                      WASHINGTON, D.C.


                    In the arbitration proceeding between

                          LAO HOLDINGS N.V.
                                   Claimant


                                      and


             THE LAO PEOPLE’S DEMOCRATIC REPUBLIC
                                 Respondent


                      ICSID Case No. ARB(AF)/12/6




           DECISION ON JURISDICTION


                         Members of the Tribunal
              The Honourable Ian Binnie, C.C., Q.C., President
                       Professor Bernard Hanotiau
                         Professor Brigitte Stern


                         Secretary of the Tribunal
                        Mrs. Anneliese Fleckenstein


               Date of dispatch to the Parties: February 21, 2014
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                           REPRESENTATION OF THE PARTIES

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                 FREQUENTLY USED ABBREVIATIONS AND ACRONYMS



ICSID-AF Rules                            Arbitration Rules (Additional Facility) of the
                                          International Centre for Settlement of
                                          Investment Disputes

BIT or Treaty                             Agreement on Encouragement and Reciprocal
                                          Protection of Investments between the Lao
                                          People’s Democratic Republic (PDR) and the
                                          Kingdom of the Netherlands

ICSID Convention                          Convention on the Settlement of Investment
                                          Disputes Between States and Nationals of
                                          Other States dated March 18, 1965

                                          International Centre for Settlement of
ICSID or the Centre                       Investment Disputes
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I. INTRODUCTION AND PARTIES

  1.    This case concerns a dispute submitted to the International Centre for Settlement of
        Investment Disputes (“ICSID” or the “Centre”) on the basis of the Agreement on
        Encouragement and Reciprocal Protection of Investments between the Lao People’s
        Democratic Republic (PDR) and the Kingdom of the Netherlands (the “BIT” or the
        “Treaty”), which entered into force on 1 May 2005, and the Arbitration Rules
        (Additional Facility) of the International Centre for Settlement of Investment Disputes,
        which entered into force on 10 April 2006 (the “ICSID-AF Rules”). The dispute
        relates to actions by the Respondent the Lao People’s Democratic Republic,
        hereinafter referred to as the “Lao Government”, “Laos” or the “Respondent,” that
        allegedly deprived Claimant of part or all of its investment in the gaming and tourism
        industry in Lao PDR.

  2.    The Claimant, Lao Holdings N.V., is a company incorporated under the laws of Aruba,
        The Netherlands Antilles, and is hereinafter referred to as “Lao Holdings” or the
        “Claimant.” It is important to emphasize at the outset that the Claimant did not become
        an investor in Laos until 17 January 2012 (“the critical date”) at which time it took over
        ownership of Sanum Investments Ltd., a Macao company, whose principals are John
        Baldwin and Sean Scott, and which had been investing in Laos since 2007.

  3.    The present ruling concerns an objection by the Respondent to the jurisdiction of the
        Tribunal ratione temporis to hear and determine the Claimant’s assertion that by reason
        of the protection of the Treaty it is not subject to a New Tax Code enacted on 11
        December 2011.

  4.    The Claimant and the Respondent are hereinafter collectively referred to as the
        “Parties.” Their respective representatives and addresses are listed on page (2).

II. ICSID PROCEDURAL HISTORY

  5.    On 15 August 2012, ICSID received a Request for Arbitration dated 14 August 2012
        from the Claimant against the Respondent, the Lao Government.
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    6.     On 12 September 2012, the Secretary-General of ICSID registered the Request in
           accordance with Articles 4 and 5 of the ICSID-AF Rules and notified the Parties of the
           registration. In the Notice of Registration, the Secretary-General invited the Parties to
           proceed to constitute an Arbitral Tribunal as soon as possible, in accordance with
           Article 5(e) of the ICSID-AF Rules.

    7.     In accordance with Chapter III of the ICSID-AF Rules, the Parties agreed that the
           Arbitral Tribunal would be composed of three arbitrators, one to be appointed by each
           Party and the third presiding arbitrator to be appointed by agreement of the Parties.
           Professor Bernard Hanotiau, a national of Belgium, was appointed by the Claimant;
           and Professor Brigitte Stern, a national of France, was appointed by the Respondent. 1
           On 22 March 2013, the Parties agreed to the appointment of The Honourable Ian
           Binnie, a national of Canada, as President of the Tribunal, who accepted the
           appointment on 23 March 2013.               On 26 March 2013, the Secretary-General, in
           accordance with Article 13(1) of the ICSID-AF Rules, notified the Parties that all three
           arbitrators had accepted their appointments and that the Tribunal was therefore deemed
           to have been constituted on that date.

    8.     Mrs. Anneliese Fleckenstein, ICSID Legal Counsel, was designated to serve as
           Secretary of the Tribunal.

    9.    The Tribunal held a first session with the Parties on 8 May 2013, in London. The
           Parties confirmed that the Members of the Tribunal had been validly appointed. It was
           agreed inter alia that the applicable ICSID-AF Arbitration Rules would be those in
           effect from 10 April 2006, and that the procedural language would be English. The
           Tribunal decided, on the application of the Parties, that the place of the proceedings
           would be Singapore. The Parties agreed on a schedule for the proceedings, including




1
  On 27 February 2013, the Centre sought acceptance from Claimant and Respondent’s appointees Professor
Bernard Hanotiau and Professor Brigitte Stern as arbitrators. Prof. Stern accepted her appointment on 27 February
2013. Prof. Hanotiau accepted his appointed on 4 March 2013.
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           production of documents, and the terms were embodied in Procedural Order No. 1
           signed by the President of the Tribunal and circulated to the Parties on 18 June 2013. 2

    10.    On 12 July 2013, the Respondent informed the Tribunal that it would seek bifurcation
           of the proceeding. On 2 August 2013, the Claimant objected to the Respondent’s
           request.

    11.    A hearing on the Claimant’s amended request for provisional measures and the
           Respondent’s request for bifurcation took place in London on 2 September 2013. In
           addition to the Members of the Tribunal and the Secretary of the Tribunal, present at
           the hearing were:

                  For the Claimant:

                  Mr. David W. Rivkin                           Debevoise & Plimpton LLP
                  Mr. Chrispoher Tahbaz                         Debevoise & Plimpton LLP
                  Ms. Natalie L. Reid                           Debevoise & Plimpton LLP
                  Ms. Leigh E. Sylvan                           Debevoise & Plimpton LLP
                  Mr. Andrew Esterday                           Debevoise & Plimpton LLP
                  Mr. Todd Weiler                               Barrister & Solicitor

                  Witnesses
                  Mr. John K. Baldwin                           Lao Holdings N.V.
                  Mr. Shawn Scott                               Vice Chairman Sanum Investments
                  Mr. Richard A. Pipes                          Limited Sanum Investments Limited
                  Mr. Clay Crawford                             Savan Vegas and Casino Co., Ltd.


                  For the Respondent:

                  Mr. David Branson                             King Branson LLP
                  Dr. Bountiem Phissamay                        Government of The Lao People’s
                                                                Democratic Republic
                  Ambassador Ouan Phommachack                   Government of The Lao People’s

2
  As agreed at the first session and subsequent modifications, the procedural schedule for the Claimant’s provisional
measures application was as follows: the Claimant filed an amendment to its request for arbitration including the
request for provisional measures on 28 May 2013; the Respondent filed its response on 12 July 2013; the Claimant
filed its reply on 2 August 2013; the Respondent filed its rejoinder on 23 August 2013. The procedural schedule for
the jurisdiction and merits phase was agreed as follows: the Claimant shall file its memorial on the merits on 22 July
2013; the Respondent shall file its counter-memorial on the merits and its objections to jurisdiction on 22 October
2013; the Claimant shall file its reply on the merits and counter-memorial on the objections to jurisdiction on 22
January 2014; the Respondent shall file its rejoinder on the merits and reply on jurisdiction on 22 April 2014.
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                                                  Democratic Republic
            Mr. Sith Siripraphanh                 Government of The Lao People’s
                                                  Democratic Republic
            Mr. Werner Tsu                        LS Horizon, Singapore
            Mr. K.P. Santivong                    LS Horizon, Vientiane, Lao PDR


12.    The following person was examined:

            On behalf of the Claimant:

            Mr. Clay Crawford                     Savan Vegas and Casino Co., Ltd.


13.    On 9 September 2013, the Tribunal informed the Parties of its decision to bifurcate the
       proceedings pursuant to Article 45(5) of the ICSID-AF Rules.

14.    A hearing on the Respondent’s objection to jurisdiction took place in Paris on 6 January
       2014. In addition to the Members of the Tribunal and the Secretary of the Tribunal,
       present at the hearing were:

       For the Claimant:

            Mr. David W. Rivkin                   Debevoise & Plimpton LLP
            Mr. Chrispoher Tahbaz                 Debevoise & Plimpton LLP
            Ms. Catherine M. Amirfar              Debevoise & Plimpton LLP
            Mr. Corey Whiting                     Debevoise & Plimpton LLP
            Ms. Sonia R. Farber                   Debevoise & Plimpton LLP
            Ms. Nadège Jean-Pierre                Debevoise & Plimpton LLP
            Mr. Todd Weiler                       Barrister & Solicitor

            Parties
            Mr. John K. Baldwin                   Lao Holdings N.V.
            Mr. Shawn Scott                       Bridge Capital LLC
            Mr. Tucker Baldwin                    Bridge Capital LLC

       For the Respondent:

            Mr. David Branson                     King Branson LLP
            Dr. Jane Willems
            Mr. Werner Tsu                        LS Horizon, Singapore
            Mr. K.P. Santivong                    LS Horizon, Vientiane, Lao PDR
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              Parties
              Dr. Bountiem Phissamay                  Government of The Lao People’s
                                                      Democratic Republic
              Mr. Sith Siripraphanh                   Government of The Lao People’s
                                                      Democratic Republic
              Dr. Ovan Phommasak                      Government of The Lao People’s
                                                      Democratic Republic
              Dr. Ket Kiettisak                       Government of The Lao People’s
                                                      Democratic Republic
              Mr. Khouanta Phalivong                  Government of The Lao People’s
                                                      Democratic Republic
              Dr. Bounthoury Sisouphanthong           Government of The Lao People’s
                                                      Democratic Republic
              Mr. Khampheth Viraphondet               Government of The Lao People’s
                                                      Democratic Republic

A. The Factual Background to the Dispute

  15.    Sanum was incorporated in Macau in 2005 to invest in gambling operations in Asia. In
         2007, as a result of investigations and inquiries by Mr. John Baldwin, Sanum entered
         into agreements with ST Corporation, a Laotian company with numerous commercial
         interests in that country, including potentially valuable government concessions for
         hotel and casino projects. According to Mr. Baldwin, one of the attractions of ST as a
         business partner was that it was reputed to be well connected to the Lao Government.
         The attraction for ST was that Sanum had access to ample foreign funds to invest.

  16.    Sanum agreed to establish a joint venture with ST in a series of Laotian hotel and
         gambling facilities.     Sanum contends that its contribution was more than US$85
         million.

  17.    Relations between Sanum and ST were governed by a Master Agreement dated 30 May
         2007 which resulted in three major projects, The Savan Vegas Hotel and Casino
         (“Savan Vegas”), The Paksong Vegas Hotel and Casino (“Paksong Vegas”) and a third
         enterprise that invested in slot machine clubs in at least three locations in Lao, namely
         Thanaleng, Lao Bao and the Ferry Terminal.

  18.    Sanum and ST each owned 40% of Savan Vegas and Paksong Vegas, with the Lao
         Government owning the remaining 20%.
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  19.    A separate dispute involving Paksong Vegas is being determined by another arbitral
         tribunal. It is not before this Tribunal.

  20.    The ownership structure of the slot clubs was more complicated and contested, but the
         details are not germane to the present Jurisdictional Objection.

  21.    The Sanum investments did not acquire Dutch nationality for purposes of the Treaty
         until 17 January 2012, when the Claimant was incorporated in Aruba, in The
         Netherlands Antilles.

B. The Five Year Flat Tax Agreement

  22.    As part of the Lao Government’s investment incentive program, and in recognition of
         its limited capacity to engage in tax audits of a complex cash based business, the Lao
         Government granted Savan Vegas a five year Flat Tax Agreement (“FTA”) dated 1
         September 2009, that required it to pay $745,000 per year in taxes each year through 31
         December 2013. The Claimant says that it was promised that when the FTA expired
         on 31 December 2013, it would be replaced by another flat tax agreement, ideally for
         the remainder of the 50-year concession. The terms (and in particular the tax rate) were
         to depend on negotiations arising out of the experience of the initial five year period.
         As set out below in greater detail, Sanum initiated negotiations for a new flat tax
         arrangement in March 2011 (which it said was necessary to attract further foreign long
         term financing for investments). However, for reasons and in circumstances that are
         contested in this proceeding, the Lao Government declined to enter into a renewal of
         the FTA.

  23.    According to the Claimant, responsible Laotian government officials induced Savan
         Vegas to believe (and the Savan Vegas management says it did believe so up until
         March 2012 and beyond) that the FTA in some form would be renewed. The New Tax
         Code was, it says, not a matter of “legal dispute” within the terms of Article 9 of the
         Treaty until at least March 2012, when negotiations broke down more than two months
         after the critical date [17 January 2012] of the acquisition of the investment by the
         investor of Dutch nationality.
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  24.    The Lao Government says the failure of the Flat Tax negotiations was complete, and
         must have been obvious to Savan Vegas to be a complete failure no later than
         November 2011, when the Flat Tax negotiations had clearly been rejected (and the
         rejection confirmed) by the Laotian Finance Minister. If Savan Vegas or its investors
         thought the Lao Government breached any contractual right to a renewal, any such
         contract dispute “crystallized” no later than December 2011 when Sanum received
         notice of the Finance Minister’s decision. (The Claimant disavows any contractual
         claim as relevant to the present jurisdictional objection.)

  25.    The Lao Government’s position is that the FTA extension negotiations and any “legal
         dispute” over the application of the New Tax Code are inextricably linked.        At
         whatever point the negotiations for a new flat tax agreement failed (which is a major
         point of disagreement), the New Tax Code would apply as a matter of law to Savan
         Vegas. Any “legal dispute” in respect of the New Tax Code therefore crystallized
         concurrently with the end of the Flat Tax negotiations which occurred, in the Lao
         Government’s view, well before the critical date of 17 January 2012. The Claimant
         therefore has no claim to Treaty protection in respect of the New Tax Code, and this
         Tribunal has no jurisdiction ratione temporis to hear such a dispute.

C. The New Tax Code

  26.    On 20 December 2011, the Laotian legislature enacted a casino tax of 80% of casino
         revenues (not profits). The Claimant contends, and the Lao Government denies, that
         Sanum was repeatedly assured by high Lao Government officials that this Act was
         never intended to apply to Savan Vegas. The purpose of the casino tax, the Claimant
         says it was assured by high ranking Laotian officials, was to discourage new entrants
         into the Laotian gambling industry, not to penalize established businesses, such as
         Savan Vegas.

  27.    The Lao Government, for its part, points out that the New Tax Code makes no
         exception for Savan Vegas. The New Tax Code, as an exercise of its sovereign power,
         applies to Savan Vegas according to its terms. Its potential application was known
         (and disputed) by Sanum and its principals before the Treaty became applicable to the
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         Parties. That is why Sanum was anxious to obtain the FTA extension. The “legal
         dispute” therefore predated the entry into force of the Treaty between the Parties.

  28.    The Claimant responds that as the Flat Tax negotiations were continuing up to and
         including March 2012, neither Savan Vegas nor its investors, Sanum and the Claimant,
         had any reason to believe that there was any prospect of the application of the
         “confiscatory” casino tax of 80%, plus 10% VAT, to them. They had been assured
         otherwise. There was therefore no legal dispute capable of giving rise to a Treaty
         claim prior to the acquisition of Dutch nationality in Aruba on 17 January 2012 by the
         investor.

D. Relations Deteriorate Between Sanum and ST (its Laotian Co-venturer)

  29.    In the fall of 2011, relations between Sanum and ST deteriorated sharply. It is the
         Claimant’s position in this arbitration that the Respondent, the Lao Government, took
         active steps to advance ST’s interest at Sanum’s expense, including complicity in the
         closure of the Thanaleng Slot Club and the sequestration of Sanum’s slot machines.
         The position taken by the Claimant in its Notice of Arbitration dated 14 August 2012
         was as follows:

              42.     Here ST has played the role of favored local, while members of
                      the Respondent’s justice, culture and revenue ministries, along
                      with its courts and even the Prime Minister’s Office, have shared
                      the role of abettor and expropriator. Indeed, Sanum’s story may
                      have been worse, given its discovery of how the President of ST,
                      Sithat Xaysoulivong and the Vice President of the Republic,
                      Bounnhang Vorachith, are in-laws. [Its] officials are actually
                      related as family to one and possibly more of the very
                      Government officials who have been orchestrating the steady
                      erosion of Sanum’s rights and assets within the Lao PDR.

         In this context, the Claimant alleges an array of measures initiated by the Lao
         Government beginning in April 2012, including what the Claimant regards as unfair
         and oppressive audits of Savan Vegas, resulting in tax claims which the Claimant says
         are invalid but, being unpaid, led to the freezing of Sanum’s bank accounts in Laos.
         The series of Lao Government measures, the Claimant says, was calculated to deprive
         Sanum of its investment in Laos. The application of the New Tax Code rate of 80% on
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              revenue is part and parcel of the Lao Government’s continuing policy of discrimination
              and oppression, the Claimant says.

       30.    The Respondent, for its part, says that Sanum had for years been operating its gambling
              operations using impenetrable accounting procedures, and in some respects, illegally,
              making it impossible for the Lao Government to assess their real profitability (and thus,
              perhaps, to settle on a realistic rate of “Flat Tax” for the future). As counsel for the
              Lao Government put it at the 6 January 2014 hearing:

                    [The Claimants] decided, for their own reasons, that they would put all
                    their money into Thailand; well, they had been putting their money in
                    Thailand for the last five years. And it is illegal, it is against the law in
                    Laos for any Lao corporation to have a bank account outside the country,
                    and they had seven bank accounts outside the country for the last five
                    years. We can tell from some of the documents we received from Ernst
                    & Young that in one of those bank accounts in 2011, a year before the
                    “freezing order”, they put $11 million into a Thai bank account. That’s
                    against the law. (Transcript, pages 19-20).

       31.    These extracts provide the flavour of the broader dispute, and the facts will have to be
              decided in due course, but, for the purposes of the Lao Government’s objection to
              jurisdiction, the only facts that have to be determined are those that relate to the
              existence and timing of the legal dispute in relation to the application of the New Tax
              Code to the Claimant’s investments.

    E. Public Meetings and Discussion about Amendments to the Tax Code

       32.    The Lao Government insists, but the Claimant denies, that by the spring of 2011
              Sanum must have been aware of proposed amendments to the Tax Code that would
              increase the tax rate applicable to casinos not covered by an FTA.

       33.    In April 2011, the Tax Department sent invitations to the largest businesses in Laos to
              attend a seminar/public meeting to discuss potential changes to the Tax Code. 3 The
              seminar/public meeting actually took place on 11 May 2011 and was attended by
              approximately 300 people. The handouts included a list of proposed new rates – the
              excise rate for gaming revenues was proposed to be raised to 25%.

3
    Exhibit RE-01, ¶ 6.
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       34.    Ms. Manivone Insisiengmai, Director of the Laotian Tax Department, was the keynote
              speaker. Time was made available for questions and public comment.

       35.    The Lao Government says that Sanum and Savan Vegas were invited to the meeting,
              but cannot state for a fact whether they attended the meeting. 4

       36.    On 20 June 2011, DFDL, a regional law firm with an office in Vientiane, held a
              seminar to provide information to about 100 clients and potential clients about the
              proposed New Tax Code, and about investment treaties more generally. The Claimant
              says that Sanum was not a DFDL client at the time, had no notice of the meeting and
              did not attend it.

       37.    In June 2011, at its semi-annual meeting, the Laotian National Assembly proposed to
              amend the excise tax to increase the rate on gambling revenue to 60%.                The
              amendment was not adopted into law. However, the existence of this proposal was
              publicly known. The next session of the Laotian National Assembly was to be held in
              December 2011. 5

       38.    The Claimant says any public discussion of changes to the tax code was not of interest
              to Sanum or Savan Vegas, which expected to sign a new Flat Tax Agreement.

    F. Negotiations for a Renewal of the Sanum FTA

       39.    As stated earlier, the FTA between “the Tax Department” and Sanum covers the 5 year
              period beginning, January 2009 and provides in Article 5 as follows:

                    The duration of this contract is for the period of 5 (five) years and valid
                    starting from 01 January 2009 up to 31 December 2013. The lump sum
                    payment of tax is considered as a trial for the first 5 year period, in case
                    of business growth and income has been increased on the basis of
                    certified existing data, the two Parties will discuss for further
                    improvement of the contract as to comply with the real income of the
                    business and the amount of tax payment will be reconsidered. (Emphasis
                    added)



4
    Exhibit RE-04.
5
    Exhibit RE-01, ¶ 9.
            Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 178 of 457

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      40.    The Claimant says the FTA was not envisaged as a one-time arrangement, but as a 5-
             year “trial” contemplating “further improvement [not termination] of the contract”
             when “the amount of tax payment will be reconsidered.”

    G. Government Notice 1121

      41.    On 10 June 2011, the Lao Government Secretariat in the Prime Minister’s office issued
             what the Respondent calls a “decision,” No. 1121 (“Notice 1121”), 6 which refers to the
             Sanum FTA and the “trial period” and then states the following:

                   … After the end of the trial period, the Parties shall comply with
                   principle as prescribed in the main agreement and the laws.” (Emphasis
                   added)

      42.    The Lao Government says Notice 1121 manifested a decision that Savan Vegas’s FTA
             would not be extended after the trial period of five years. It says that “most” of the
             subsequent documents passing between the Parties and within the Lao Government
             dealt with Sanum’s unsuccessful efforts to have this 10 June 2011 decision reversed. 7
             The Claimant says document 1121 is not, and does not pretend to be, a “decision.” The
             operative part of document 1121 (at least in the English translation) is ambiguous. The
             reference to “the principle as prescribed in the main agreement” could be taken as
             referring to the renewal negotiations explicitly contemplated in Article 5 of the FTA.
             Moreover, it seems to misstate the content of Sanum’s then current FTA.

      43.    When Sanum received a copy of document 1121 on 16 July 2011, the Claimant says it
             did not understand it to be a “decision.”        Discussions with the Lao Government
             continued in respect of the proposed renewal of the FTA.

    H. The Sequel to Notice 1121

      44.    On 20 June and 22 June 2011, the Ministry of Planning and Investment invited several
             Ministries and Departments, including the Tax Department of the Ministry of Finance,



6
    Exhibit RE-05.
7
    Respondent’s Objection, ¶ 29.
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             to a meeting with Sanum. The meeting was called “in light of the Notice No. 1121 of
             June 10, 2011.”

      45.    On 26 July 2011, Sanum itself asked for a meeting with the Tax Department of the
             Ministry of Finance to discuss the FTA, “following the Notification from the
             Government’s Secretariat No. 1121, dated 10 June 2011.” 8

      46.    On 4 August 2011, Ms. Manivone addressed a memo to the Minister of Finance
             recommending that the Minister seek guidance from the Prime Minister’s office on
             extending the Sanum FTA. Referring to Notice 1121, she stated the Tax Department’s
             position that the FTA should be extended because the Tax Department lacked the
             capacity to audit a gambling casino and because two other casinos in Laos had FTAs. 9
             Ms. Manivone’s 4 August 2011 memorandum to the Minister of Finance states in part
             in the English translation as follows:

                     In response to the request from Savan Vegas and Casino Ltd., the Tax
                     Department is of the view that:

                       1.   For Casino and slot machine businesses, the company shall pay
                            Lump Sum Tax as we lack experience in the management and
                            control of this kind of business. If the company is requested to
                            pay taxes according to its accounting holding, the collection of
                            the revenue might be less than lump sum. Like LaoYuan Ltd., as
                            mentioned above, casino business is a form of gambling business
                            that uses cash and does not provide receipts as evidence for
                            accounting controls and it is easy for tax evasion.

                            For other businesses (besides casino) the taxes shall be paid
                            according to the accounting holding…

                       2.   With regard to the request from Savan Vegas for Lump Sum
                            Tax, we agree with the request but we are of the view that the
                            period for Lump Sum is too long and we cannot make
                            precise predictions for the future.

                       3.   This request is made in a context of business extension with the
                            investment in hotel construction which has reached an advanced
                            stage and will continue to move ahead. For that reason, the

8
    Exhibit RE-09.
9
    Exhibit RE-10.
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                              Company is requesting to pay more taxes than it used to do in
                              the past but we are of the view that the taxes are still not high
                              enough. Therefore, the Tax Department suggests that, every 5
                              years, we should ask for 5% more of what the company is
                              proposing but the amount should be close to the amount of taxes
                              paid by other companies to the Government with the following
                              breakdown:

                              [breakdown set out in Exhibit RE-05 omitted]

                              With respect to the request from the company, an advice from
                              the Prime Minister should be sought for his further
                              consideration and actions based on the attached report.

                      This report has been prepared for your information and further guidance.

                                              Director General of Tax Department

                                              Ms. Manivone Insisiengmai (Emphasis added)

       47.    On 5 August 2011, Mr. Baldwin, Mr. Jordahl (then a Sanum VP, and a lawyer) and
              others from Sanum met with Ms. Manivone and her staff. Ms. Manivone reported that
              she and the Tax Department found Notice 1121 to have misconceived at least in part
              the arrangements with Sanum.            The Tax Department supported the extension of
              Sanum’s FTA on adjusted terms. Mr. Baldwin was given a copy of the 4 August 2011
              memo (supra). The FTA recommendation is recorded on 16 August 2011 in the
              minutes prepared by Ms. Manivone of the meeting of 5 August 2011. 10

       48.    On 23 August 2011, Ms. Manivone wrote to the Minister of Finance to “report on the
              meeting with Savan Vegas to discuss about the directive of the Government Secretariat
              pursuant to the Notification No. 1121.” After reciting the tax arrangements with other
              casinos in Laos, Ms. Manivone states:

                      The tax officers do not have experience in the audit and cannot identify
                      the source of revenue and expenses of this particular type of business.
                      [T]o ensure uniformity throughout the country all casinos are subject to




10
     Exhibit RE-11.
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                 FTA because we have no experience. Therefore we propose that the
                 FTA be extended. (Emphasis added) 11

 I. Incorporation of the Claimant in Aruba, The Netherlands Antilles

     49.    On 17 July 2011, Mr. Richard Pipes, Vice President of Sanum, recommended to John
            Baldwin, the CEO, that Sanum undertake a corporate restructuring under a Dutch entity
            to take advantage of the Dutch/Lao Bilateral Investment Treaty (“BIT”) (Pipes II, para.
            7). The Aruba company would become the new owner of Sanum and acquire 100% of
            Sanum’s Lao investment.

     50.    The reorganization proceeded at a leisurely pace. On 29 December 2011, the Sanum
            organization sent to IMC in Aruba a payment of $5,995 to establish Lao Holdings. 12

     51.    On 17 January 2012, IMC used an off the rack company named Mula Blou Holdings
            N.V., to form Lao Holdings N.V. in Aruba. 13

     52.    The Respondent says that Sanum did not inform the Lao Government Ministry of
            Finance or the Prime Minister’s office that it had created a Netherlands company to
            acquire Sanum’s investments.

 J. The Minister of Finance Rejects Renewal of the Savan Vegas FTA in Document
    0772

     53.    On 24 August 2011, the Minister of Finance informed Ms. Manivone that the Tax
            Department should hire an expert to advise it on how to audit and tax a casino
            operation. 14

     54.    On 14 September 2011, the Tax Department published a new draft of the proposed
            revision of the Tax Code based upon the proposal of the Laotian National Assembly in
            its June session to raise the excise tax for casinos to 60% of revenue. 15


11
   Exhibit RE-12.
12
   Exhibit RE-16.
13
   Exhibit RE-18.
14
   Exhibits RE-01, ¶ 18; RE-12, notes.
15
   Exhibit RE-13.
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     55.    On 28 November 2011, Ms. Manivone sent Sanum a one page letter stating that
            the Minister of Finance would not approve the extension of the FTA, but that
            when the present agreement expired on 31 December 2013, “Savan Vegas and
            Casino Co. Ltd. are to pay tax duties according to the regulated law on tax.” 16
            However, the Lao Government acknowledged that any disposition of the Sanum
            application would be subject to the approval of the Prime Minister’s office. 17

     56.    On 20 December 2011, the Laotian National Assembly passed the New Tax Code,
            raising the excise tax on casino revenue to 80% of revenue.

     57.    On 28 December 2011, Mr. Pipes wrote a letter to the Prime Minister requesting an
            extension of the FTA. He says his proposal was based on what he understood from
            Ms. Manivone would be an acceptable schedule of tax payments. 18 Mr. Pipes was in
            attendance at the hearing but, by arrangement between counsel, he did not provide oral
            testimony.

     58.    On 11 January 2012, the Prime Minister’s office directed the Minister of Finance to
            deal with the 28 December 2011 request from Mr. Pipes.

     59.    On 9 February 2012, the Deputy Minister of Finance was briefed on the latest Savan
            Vegas FTA proposals:

                 Tax Department respectfully request you to review the report draft on the
                 Flat Tax payment requested by Savan Vegas and Casino Co., Ltd. from
                 2014-2054 to be reported to Prime Minister for consideration. Tax

16
   Exhibit RE-14. The Ministry of Finance stated as follows:
                  Department of Tax hereby informs you regarding the Flat Tax Payment of Savan
                  Vegas and Casino Co., Ltd. As follows:
                    1.    Authorize Savan Vegas and Casino Co., Ltd. to act according to
                          Agreement on Flat Tax Payment until expiration (until 31/12/2013)
                    2.    After the expiration of Agreement on Flat Tax Payment (after 2013) on,
                          the Savan Vegas and Casino Co., Ltd. to pay tax duties according
                          to the regulated law on tax.
                  Therefore, issues this notification for your acknowledgement and to undertake.
                                                        Tax Department, Director
                                                        Manivone Insisiengmai (Emphasis added).
17
   Mr. Bounnam’s First Witness Statement, ¶ 11.
18
   Exhibit RE-15.
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                      Department has completely amended to such report draft as you
                      instructed on 8/2/2012 including the annexes showing the figures of tax
                      obligation to be paid from 2014-2054 made by Savan Vegas and Casino
                      Co., Ltd. attached herewith. 19 (Emphasis added).

              Nothing in the 9 February 2012 document indicates that the Lao Government officials
              considered the door to be closed to a renewal of the FTA on terms to be agreed to.

       60.    On 21 March 2012, there was a high level meeting attended by both the Prime Minister
              and the Deputy Prime Minister as well as representatives from other Lao Government
              departments. The Minutes of the meeting were filed with this Tribunal on 6 January
              2014 as Exhibit C-332. There is no reference in the Minutes to any earlier Lao
              Government “decision” taken in document 1121 of 10 June 2011 from the Prime
              Minister’s office, or document 0772 of 28 November 2011 from the Minister of
              Finance. It appears that there was a discussion in the Prime Minister’s office meeting
              of the merits of the Claimant’s proposal, which according to the Minutes of the 21
              March 2012 meeting was rejected in the following terms:

                      Regarding the proposal by Savan Vegas and Casino Company, Ltd. to
                      pay a flat tax during the years 2014 to 2054, the meeting agrees as
                      follows: 3.1. Continue to carry out the provisions of the contract
                      between the Government of the Lao PDR and Sanum Investments
                      Company, Ltd. (Savan Vegas and Casino Company, Ltd.) dated August
                      10, 2007. When the period specified in the contract for payment of
                      flat tax ends, the contract is to be revised to conform to the Tax
                      Laws of the Lao PDR.

                      Regarding payment of dividends from casino income, they are to be
                      divided by the formula of 30% for the state and 70% for the investors.
                      The 70% is to be divided according to the proportion of shares held. 20

       61.    This appears from the file to be the end of the written record of negotiations between
              the Parties concerning the renewal of the FTA.




19
     Exhibit C-319.
20
     Exhibit C-332.
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III. A GENERAL APPROACH TO THE TRIBUNAL’S JURISDICTION

 A. Prerequisites for the Tribunal’s Jurisdiction

       62.     As was noted above, the Claimant is a company incorporated under the laws of Aruba,
               The Netherlands. Article 13 of the BIT provides that in the case of The Netherlands
               the term “national” under BIT Article 1(b)(ii) shall apply to enterprises incorporated in
               Aruba. Hence, Lao Holdings N.V. is a national of The Netherlands, which has been an
               ICSID Contracting State since October 14, 1966.       Laos is not an ICSID Contracting
               State. As such, this dispute was brought under ICSID’s Additional Facility Rules. The
               Additional Facility establishes that the ICSID Secretariat may administer a proceeding
               between a State and a national of another State in the following instances, among
               others:

             a. “conciliation and arbitration proceedings for the settlement of legal disputes arising
                directly out of an investment which are not within the jurisdiction of the Centre
                because either the State party to the dispute or the State whose national is a party to
                the dispute is not a Contracting State; …” 21

       63.     Article 4 of the ICSID-AF Rules establishes, in relevant part:

               “(1) Any agreement providing for conciliation or arbitration proceedings under the
               Additional Facility in respect of existing or future disputes requires the approval of the
               Secretary-General. The parties may apply for such approval at any time prior to the
               institution of proceedings by submitting to the Secretariat a copy of the agreement
               concluded or proposed to be concluded between them together with other relevant
               documentation and such additional information as the Secretariat may reasonably
               request.

               (2) In the case of an application based on Article 2(a), the Secretary-General shall give
               his approval only if (a) he is satisfied that the requirements of that provision are
               fulfilled at the time, and (b) both parties give their consent to the jurisdiction of the
               Centre under Article 25 of the Convention (in lieu of the Additional Facility) in the

21
     Article 2(a) of the ICSID-AF Rules.
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       event that the jurisdictional requirements ratione personae of that Article shall have
       been met at the time when proceedings are instituted…”

64.     In the present case the Tribunal must examine its jurisdiction in light of the above
       Articles of the ICSID-AF Rules and the BIT. Under this analysis, for the Tribunal to
       have jurisdiction four conditions must be satisfied:

        - first, a condition ratione personae: one of the parties to the dispute must be a
          Contracting State or a national of a Contracting State, while the other must
          not be a Contracting State or a national of a Contracting State ;
        - second, a condition ratione materiae: the dispute must be a legal dispute
          arising directly out of an investment;
        - third, a condition ratione voluntatis: the parties must consent in writing that
          the dispute be settled through ICSID-AF arbitration;
        - fourth, a condition ratione temporis: the ICSID-AF Rules and the instrument
          including the arbitration clause must be applicable at the relevant time.

65.    No objection is taken to the Tribunal’s jurisdiction over the Parties or the subject
       matter of the claim. Nor is the existence of the consent to arbitration of both Parties
       contested. The Lao Government’s objection is taken solely to jurisdiction ratione
       temporis. According to the Lao Government, the investor was not a national of The
       Netherlands when the dispute over the New Tax Code arose. In its view, the “legal
       dispute” over the application to Savan Vegas of the New Tax Code arose no later than
       16 December 2011 when the Claimant received formal notice from the Prime
       Minister’s office that the FTA would not be renewed. It followed, the Lao Government
       contends, that the ordinary law governing taxes would apply from and after the expiry
       of the five year FTA on 31 December 2013. The “legal dispute” can and did arise
       before any taxes became due or payable. It arose more than a month before the
       Claimant was incorporated in Aruba as an opportunistic device to provide Sanum with
       access to the rights and remedies afforded by The Netherlands/Laos Treaty.
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 B. Burden of Proof

     66.    The Respondent acknowledges that, while “the Tribunal must ascertain that the
            prerequisites for its jurisdiction are fulfilled and that the facts on which its jurisdiction
            can be based are proven”, 22 in terms of the present jurisdictional objection, the
            Respondent accepts the burden of proving that the “legal dispute” arose before the
            critical date. 23

     67.    In particular, the Respondent accepts the onus of establishing (i) that a legal dispute
            existed and (ii) did so before 17 January 2012 and that the event(s) giving rise to the
            dispute were (iii) neither continuous nor (iv) composite.

 C. Abuse of process distinguished from objection to jurisdiction ratione temporis

     68.    While the Lao Government contends that Sanum’s “forum shopping” was an abuse of
            proper Treaty procedure, it does not make the argument that the investor’s acquisition
            of Dutch nationality was an abuse of process that entitles the Lao Government to a
            dismissal of this entire arbitration. The Lao Government’s objection to the tax element
            of the claim relies entirely on the general principle of non-retroactivity in the
            application of international treaties. The sole asserted basis of denial of the jurisdiction
            of the Tribunal over the New Tax Code issue is the principle of ratione temporis.

     69.    The Tribunal wishes to underline the distinction between these two quite different
            forms of objections. The rationale for the doctrine of abuse of process was succinctly
            set out in Phoenix Action Ltd. v. Czech Republic, ICSID Case No. ARB/06/5 as
            follows:

                  The evidence indeed shows that the Claimant made an “investment” not
                  for the purpose of engaging in economic activity, but for the sole purpose
                  of bringing international litigation against the Czech Republic. This
                  alleged investment was not made in order to engage in national economic

22
   Legal Authority RA-01, Phoenix Action Ltd. v. Czech Republic, ICSID Case No. ARB/06/5, Award, 15 April
2009 (hereinafter “Phoenix”), ¶ 64.
23
   The Respondent cites Pac Rim Cayman LLC v. Republic of El Salvador, ICSID Case No. ARB/09/12, Decision on
Jurisdiction, 1 June 2012 (hereinafter “Pac Rim”), ¶ 2.13: “The Tribunal agrees that the burden lies on a claimant
who asserts a positive right and on a respondent who asserts a positive answer to the claimant.” (Emphasis
added)
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                 activity, it was made solely for the purpose of getting involved with
                 international legal activity. The unique goal of the “investment” was to
                 transform a pre-existing domestic dispute into an international dispute
                 subject to ICSID arbitration under a bilateral investment treaty. This
                 kind of transaction is not a bona fide transaction and cannot be a
                 protected investment under the ICSID system.

                                                    (…)

                 … It is the duty of the Tribunal not to protect such an abusive
                 manipulation of the system of international investment protection under
                 the ICSID Convention and the BITs. It is indeed the Tribunal’s view that
                 to accept jurisdiction in this case would go against the basic objectives
                 underlying the ICSID Convention as well as those of bilateral investment
                 treaties. The Tribunal has to ensure that the ICSID mechanism does not
                 protect investments that it was not designed for to protect … 24

     70.    The Tribunal considers that it is clearly an abuse for an investor to manipulate the
            nationality of a company subsidiary to gain jurisdiction under an international treaty at
            a time when the investor is aware that events have occurred that negatively affect its
            investment and may lead to arbitration. In particular, abuse of process must preclude
            unacceptable manipulations by a claimant acting in bad faith who is fully aware prior
            to the change in nationality of the “legal dispute,” as submitted by the Respondent.

     71.    The Respondent the Lao Government says the award in Venezuela Holdings B.V. and
            others v. Bolivarian Republic of Venezuela, ICSID Case No. ARB/07/27 (2010) 25 is
            dispositive in its favour due to the factual similarity with the case at hand, although in
            point of law, the Tribunal’s decision in that case turned explicitly on an allegation of
            abuse of right. In fact, the tribunal in that case essentially ruled that it is an abuse to
            change nationality after a dispute has arise, but that no such abuse exists when the
            change of nationality has occurred after the dispute has arisen, in which case the rules
            of ratione temporis application of the Treaty aloow the claim to be heard by the arbitral
            tribunal.




24
 Phoenix ¶¶ 142 and 144.
25
 Legal Authority RA-04, Venezuela Holdings B.V. and others v. Bolivarian Republic of Venezuela (formerly Mobil
Corporation and others v. Venezuela), ICSID Case No. ARB/07/27, Decision on Jurisdiction, 10 June 2010.
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72.    It was shown in that case that Mobil had made substantial investments in Venezuela
       from 1999 to 2005. In 2004, Venezuela raised the royalty tax rate from 1% to 16.66 %.
       Mobil said it was “surprised” at that development. In February and in May 2005,
       Mobil wrote to the Government complaining of the rise in tax rates. Then in June
       2005, Venezuela raised the rate to 30% by Ministerial decree and introduced a bill into
       the legislature to raise it further to 50%. Mobil wrote on 20 June 2005 that the recent
       raise “has broadened the investment dispute.” It requested negotiations to “reach an
       amicable resolution of this matter.” The Tribunal concluded that: “It results from those
       letters that in June 2005 there were already pending disputes between the Parties
       relating to the increase of royalties and income taxes decided by Venezuela.”
       Thereafter, “on 27 October 2005, Mobil created a new entity under the laws of the
       Netherlands ...” That entity then acquired the Mobil companies that had been engaged
       in Venezuela and “the Dutch Holding Company was thus inserted into the corporate
       chain for the Cerro Negro and La Ceibo projects.”

73.    On these facts, the Mobil Tribunal observed:

            203.    As recalled above, the restructuring of Mobil’s investments
                    through Dutch entity occurred from October 2005 to November
                    2006. At that time, there were already pending disputes relating
                    to royalties and income tax. However, nationalisation measures
                    were taken by the Venezuelan authorities only from January
                    2007 on. Thus, the dispute over such nationalisation measures
                    can only be deemed to have arisen after the measures were taken.

            204.    As stated by the Claimants, the aim of the restructuring of their
                    investments in Venezuela through a Dutch holding was to
                    protect those investments against breaches of their rights by the
                    Venezuelan authorities by gaining access to ICSID arbitration
                    through the BIT. The Tribunal considers that this was a
                    perfectly legitimate goal as far as it concerned future disputes.
                    (Emphasis added)

74.    The Tribunal then flagged the important distinction between the abuse of process
       doctrine and an objection to jurisdiction ratione temporis. As to abuse of process, the
       Tribunal stated:

            205.    With respect to pre-existing disputes, the situation is different
                    and the Tribunal considers that to restructure investments only in
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                    order to gain jurisdiction under a BIT for such disputes would
                    constitute, to take the words of the Phoenix Tribunal, “an
                    abusive manipulation of the system of international investment
                    protection under the ICSID Convention and the BITs…
                    (Emphasis added).

75.    However, as to an objection to jurisdiction ratione temporis, the Mobil Tribunal
       continued:

            … the Claimants seem indeed to be conscious of this, when they state
            that they “invoke ICSID jurisdiction on the basis of the consent
            expressed in the Treaty only for disputes arising under the Treaty for
            action that the Respondent took or continued to take after the
            restructuring was completed. (Emphasis added)

76.    The Tribunal in Pac Rim Cayman LLC v. Republic of El Savador, ICSID Case No.
       ARB/09/12, explained clearly that the time frame corresponding to a finding of abuse
       of process is not the same as the time frame corresponding to an objection ratione
       temporis. More precisely, if a company changes its nationality in order to gain
       ICSID jurisdiction at a moment when things have started to deteriorate so that a
       dispute is highly probable, it can be considered an abuse of process, but for an
       objection based on ratione temporis to be upheld, the dispute has to have actually
       arisen before the critical date to conform to the general principle of non-
       retroactivity in the interpretation and application of international treaties.

77.    As far as abuse of process is concerned, the Pac Rim tribunal explained:

            2.99 … In the Tribunal’s view, the dividing-line occurs when the
            relevant party can see an actual dispute or can foresee a specific
            future dispute as a very high probability and not merely as a possible
            controversy. In the Tribunal’s view, before that dividing-line is reached,
            there will be ordinarily no abuse of process; but after that dividing-line is
            passed, there ordinarily will be. The answer in each case will, however,
            depend upon its particular facts and circumstances, as in this case. As
            already indicated above, the Tribunal is here more concerned with
            substance than semantics; and it recognises that, as a matter of practical
            reality, this dividing-line will rarely be a thin red line, but will include a
            significant grey area. (Emphasis added)

78.    The solution is different when the issue is based on an objection to jurisdiction ratione
       temporis:
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                   2.101. Ratione Temporis: The Tribunal considers that this approach as
                   regards the Abuse of Process issue is materially different from the
                   approach applicable to the Ratione Temporis issue, where both Parties
                   relied on the general principle of non-retroactivity for the interpretation
                   and application of international treaties.

                   …

                   2.104. Where there is an alleged practice characterised as a continuous
                   act … which began before 13 December 2007 and continued thereafter,
                   this Tribunal would have jurisdiction ratione temporis over that portion
                   of the continuous act that lasted after that date, regardless of events or
                   knowledge by the Claimant before 13 December 2007. The Tribunal
                   concludes that this solution is different from that reached in its analysis
                   of the Abuse of Process issue, as here explained.

                   …

                   2.107. In the Tribunal’s view, the relevant date for deciding upon the
                   Abuse of Process issue must necessarily be earlier in time than the date
                   for deciding the Ratione Temporis issue.

       79.    In the present case, as in Phoenix, it is difficult to discern any fresh economic
              investment arising out of the restructuring that would advance the purposes of the
              Treaty which, according to its preamble, exists “to extend and intensify the economic
              relations between th[e Parties], particularly with respect to investments by the nationals
              of one Contracting Party in the territory of the other Contracting Party.” 26

       80.    Article 31(1) of the Vienna Convention on the Law of Treaties, provides that “[a] treaty
              shall be interpreted in good faith in accordance with the ordinary meaning to be given
              to the terms of the treaty in their context and in the light of its object and purpose.”
              The Lao Government says the Claimant has simply taken over the existing investment
              of Sanum, the Macaon company, and its insertion into the ownership structure was for
              the purpose of legal tactics, not investment.

       81.    However, in this present case, the Lao Government does not advance the argument
              that, as was the case in Phoenix, the abuse of process ought to result in a dismissal of
              the entire arbitration.   Its jurisdictional concern is solely with jurisdiction ratione

26
     Legal Authority CA-19.
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              temporis, i.e. the attempt to give retroactive effect to the Treaty at the instance of a
              party not entitled to its protection. At paragraph 20 of its Objection dated 15 October
              2013, the Lao Government states as follows:

                   Subsidiarily, Respondent argues that Claimant has proceeded in bad faith
                   in prosecuting its claim in the fashion it has done, and asks the Tribunal
                   to find as a fact that the proceeding with respect to the tax dispute
                   constitutes an abuse of process. Respondent notes that it does not
                   argue, as did Respondent in Pac Rim Cayman LLC v The Republic of El
                   Salvador, 27 that “abuse of process” is an independent ground for a
                   finding of a lack of jurisdiction. Rather Respondent urges the
                   Tribunal to make a finding on abuse of process solely for the
                   purpose of allocating fees and costs at the end of the arbitration,
                   following the guidance of the Tribunal in Phoenix Action Ltd. v. The
                   Czech Republic, which awarded all fees and costs to the Respondent in
                   that case based upon a finding of claimant’s abuse of the international
                   investment arbitration system. (Emphasis added)

       82.    The Lao Government’s position was reaffirmed on 6 January 2014 at the hearing on the
              jurisdictional objection. The Lao Government seeks only that the Claimant’s alleged
              “forum shopping” be taken into account in the disposition of arbitral costs.

       83.    In other words, in the present case, the question could have been discussed whether a
              dispute was foreseeable before the change of nationality, if an objection had been
              raised on the basis of an abuse of process. However, as the only objection to
              jurisdiction was based on ratione temporis issues, the only task of the Tribunal is to
              determine the moment when the dispute arose. If that moment – “the critical date” – is
              before the change of nationality, then the Tribunal enjoys no jurisdiction; if, to the
              contrary, the critical date is after the change of nationality, then the Tribunal can assert
              jurisdiction.

IV. THE TRIBUNAL’S ANALYSIS OF THE OBJECTION TO JURISDICTION
    RATIONE TEMPORIS

 A. The Applicable Texts

       84.    Article 9 of the Lao/Netherlands Treaty deals with “legal disputes” and provides as
              follows:

27
     Pac Rim, supra note 23.
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                 Article 9 [legal dispute]

                 Each Contracting Party hereby consents to submit any legal dispute
                 arising between that Contracting Party and a national of the other
                 Contracting Party concerning an investment of that national in the
                 territory of the former Contracting Party to the International Centre for
                 Settlement of Investment Disputes for settlement by conciliation or
                 arbitration under the Convention on the Settlement of Investment
                 Disputes between States and Nationals of other States. (Emphasis
                 added)

  85.     While there is no explicit temporal limit written into Article 9, such a time limit does
          appear in relation to the making of a “claim” under Article 10:

                 Article 10 [claim]

                 The provisions of this Agreement shall, from the date of entry into force
                 thereof, also apply to investments, which have been made before that
                 date, but they shall not apply to any claim concerning an investment,
                 which arose before its entry into force. (Emphasis added)

  86.     The articles relevant to the determination of the present jurisdictional objection draw a
          distinction between a “legal dispute” and a “claim.” This is not necessarily relevant, as
          pointed out by the tribunal in Emilio Agustin Maffezini v. Kingdom of Spain, ICSID
          Case No. ARB/97/7, Decision on Jurisdiction, 25 January 2000, 16 ICSID Review –
          F.I.L.J. 1, 33, para. 97 (2001):

                 While a dispute may have emerged, it does not necessarily have to
                 coincide with the presentation of a formal claim. The critical date will in
                 fact separate, not the dispute from the claim, but the dispute from prior
                 events that do not entail a conflict of legal views and interests.

B. The Lao Government’s Position on its Jurisdictional Objection

  87.     The Lao Government’s objection to the inclusion of the New Tax Code claim in this
          arbitration may be summarized as follows:

        (a)   on 18 March 2011, Sanum made a request to extend its FTA;
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      (b)    on 10 June 2011, the Prime Minister’s office rejected that request [by Notice 1121],
             thus requiring Savan Vegas casino to pay taxes after the expiry of the FTA at the rates
             in the tax code (that is when the tax dispute became a “fact”);

      (c)    Sanum tried through five months of subsequent negotiations to have that decision
             reversed;

      (d)    Sanum was aware from 5 August 2011 that two other casinos in Laos had FTAs;

      (e)    Sanum’s negotiations attempting to reverse the Prime Minister’s office’s decision of
             10 June 2011 ended, in any case, on 28 November 2011 when the Finance
             Department notified Sanum [by Document 0772] that Sanum’s investments would be
             subject to the tax code upon expiry of the current FTA;

      (f)    the New Tax Code was enacted on 20 December 2011, establishing that the new rate
             for the excise tax on casino revenue would be 80%, thus fixing the “injury” alleged in
             these proceedings; and

      (g)    the “legal dispute” thus predated the Claimant’s acquisition of Dutch nationality;

      (h)    the Claimant thus has no recourse under the Treaty.

88.         In response to the Claimant’s contention that the dispute had not crystallized before the
            change of nationality, counsel for the Lao Government contends that there were no
            “negotiations” with anyone in a position of authority in 2012. Sanum’s letter of 28
            December 2011 to the Prime Minister’s office, it says, was merely a unilateral offer to
            negotiate. It is obvious, counsel for the Lao Government concludes, that a claimant
            cannot delay the formation of a “legal dispute” by writing unilateral letters of
            “proposals” that are meaningless.

89.         Be that as it may, the Lao Government contends that, when Lao Holdings was
            incorporated in Aruba on 17 January 2012, the “legal dispute” over the application of
            the New Tax Code had plainly been disposed of adversely to Sanum by the Lao
            Government, and the Treaty therefore has no application. Counsel for the Lao
            Government put the point as follows:
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                 The negotiations to attempt to reverse the Prime Minister’s Office’s June
                 10, 2011 decision ended on November 28, 2011 when the Tax
                 Department notified Sanum it would be subject to the tax code; and…
                 the new Tax Code was enacted on December 20, 2011, establishing that
                 the new rate for the excise tax on casino revenue would be 80%, thus
                 fixing the “injury” alleged in these proceedings. The operative
                 “disagreements on points of law and facts, conflict of legal views or of
                 interests” all arose before the “crucial date” of January 12 [sic, should
                 say 17], 2012. 28

     90.    Hence, the Lao Government says the tax issue not only crystallized prior to the critical
            date, but was resolved against the Claimant (at that time unprotected by the Treaty) by
            the Lao Government prior to the critical date.

 C. The Claimant’s Response to the Jurisdictional Objection

     91.    The Tribunal notes that the Claimant disavows any contractual claim arising out of the
            Lao Government’s refusal to extend the FTA or what the Claimant says are the Lao
            Government’s failures to live up to its alleged promises to renegotiate the FTA.

     92.    Equally, the Claimant does not contest the enactment of the New Tax Code, as such.
            At the enactment stage there was no “legal dispute.” 29

     93.    Having said that, the Claimant offers a “cascade” of responses, both legal and factual,
            to the Lao Government’s objection.

     94.    Firstly, the Claimant says that under the Treaty there is no time limit on when an
            investor can take a “legal dispute” to arbitration. Accordingly, it does not matter if the
            “legal dispute” over the application of the New Tax Code arose in 2011 or 2012.

     95.    The Claimant argues that the difference between the wording of Article 9 and 10 shows
            that the framers of the Treaty put their minds to “temporal” issues, and the absence in
            Article 9 of an explicit time limit comparable to Article 10 must be given effect.


28
  . (Respondent’s Objection, ¶ 22)
29
   ConocoPhillips Petrozuata B.V.,ConocoPhillips Hamaca B.V. and ConocoPhillips Gulf of Paria B.V. v.
Bolivarian Republic of Venezuela, ICSID Case No. ARB/07/30, Decision on Jurisdiction and the Merits, 3
September 2013 and citing Victor Pey Casado and President Allende Foundation v. Republic of Chile, ICSID Case
No. ARB/98/2, Award, 8 May 2008.
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     96.    The Claimant insists that it does not place any reliance on Article 10. The Claimant
            invokes only the “legal dispute” provisions of Article 9.

     97.    Secondly, and in the alternative, if the Treaty is interpreted as containing an applicable
            temporal limitation, the “legal dispute” over the application of the tax law did not arise
            until after the negotiations for the renewal of the FTA collapsed (at the earliest) in
            March 2012, well after the critical date. The Claimant cites the Micula tribunal for the
            proposition that “… the critical date is when the dispute arose rather than the date when
            events and actions that may have given rise to the dispute took place.” 30

     98.    In his Fourth Witness Statement, sworn on 25 November 2013, Mr. Baldwin
            acknowledges receipt on 16 December 2011 of the Ministry of Finance rejection, but
            testifies that the rejection at the Ministerial level was understood by Sanum to be
            simply a prelude to a review by the Prime Minister. He testified to the following
            conversation with Ms. Manivone after receipt of Notice 0772, which, in his view,
            simply confirmed that the locus of negotiations had now shifted from the Ministry of
            Finance to the Prime Minister’s office:

                 Notice No. 0772 informed us that the Government had rejected our FTA
                 extension proposal. Although this notice was dated 28 November 2011,
                 we did not receive it until 16 December 2011 – this again is typical of
                 how the Lao Government operates. When we received this Notice, I was
                 surprised. I spoke with Madame Manivone about it, and she explained
                 that she was instructed by the Minister of Finance to issue it. She
                 assured me, however, that the FTA would nonetheless be extended,
                 and that she would help guide us through the process. She explained
                 that we would now have to go through the Prime Minister’s Office to
                 obtain approval for the FTA extension, and that we should resubmit our
                 proposal directly to the Prime Minister. So, later that month, we
                 submitted a new proposal to extend the FTA – containing the same
                 proposed flat tax payments as those recommended by Madame
                 Manivone in her 4 August 2011 report to the Minister of Finance – to the
                 Prime Minister. (para. 20, Emphasis added)

     99.    The inevitable question, of course, is whether Mr. Baldwin correctly recorded his
            conversation with Ms. Manivone, and if so her intent in providing what he took to be


30
  Ioan Micula , Viorel Micula and others v. Romania, ICSID Case No. ARB/05/20, Decision on Jurisdiction and
Admissibility, 24 September 2008, ¶ 155.
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              assurances. The Lao Government did not adduce any evidence from Ms. Manivone to
              dispute Mr. Baldwin’s evidence. Mr. Baldwin was present at the 6 January 2014
              hearing in respect of the jurisdictional objection but by agreement of counsel (as will
              be explained) Mr. Baldwin did not testify and was not cross-examined. His evidence
              was taken as read.

       100. The Fourth Baldwin Statement continued:

                    Throughout early 2012, we believed that our latest proposal for extension
                    of the FTA was under active consideration by the Government. Indeed, I
                    discussed the extension of Savan Vegas’s FTA on multiple occasions
                    during this time period with Dr. Sinlavong, the Minister to the Prime
                    Minister’s Office. (Emphasis added)

       101. The Lao Government filed an affidavit by Dr. Sinlavong dated 9 December 2013
              stating that “Mr. Baldwin has contacted me many times to discuss his investments in
              Laos” (para. 4). His redacted statement does not disclose the content or timing of those
              discussions. 31 The Claimant requested that Dr. Sinlavong be produced at the hearing of
              6 January 2014 for cross-examination, but Dr. Sinlavong did not appear. Counsel for
              the Lao Government advised the Tribunal that Dr. Sinlavong had failed to make a
              timely visa application to the French Embassy.

       102. The Lao Government points out the lack of any written communication from the Lao
              Government corroborating the version of ongoing “negotiations” testified to by Mr.
              Baldwin and Mr. Pipes, and it says that the documentation that does exist contradicts
              rather than confirms their testimony.


31
     In the Claimant’s Rejoinder on Jurisdiction dated 23 December 2013 it is said at ¶ 45:
                    45. In addition, a document produced by Respondent and recently translated by
                    Claimant shows that Dr. Sinlavong – who now claims to “have never spoken to
                    anyone on the issue related to the extension of the flat tax” – actually issued an
                    official notice calling for Savan Vegas’s exemption from the New Tax Law in
                    March 2012. Notice No. 728/GO, dated 28 March 2012 and signed by Dr.
                    Sinlavong, advised the Ministers of Finance and Planning and Investment:
                    “When the Flat Tax Agreement expires, the new Agreement must be amended
                    according to the Law on Tax of the Lao PDR (subject to the accounting entry
                    system).” More specifically, the Notice states that “benefits sharing obtaining
                    [sic] from Casino Income [should be]. . . divided according to the State formula
                    namely 30% and the investor gets 70% of the total income,” as an alternative to
                    the 80% demand on revenues established under the New Tax Law.
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       103. The Lao Government says that the 28 December 2011 “proposal” was not even a good
             faith offer to negotiate. The yearly payments listed in Mr. Pipes’ letter were lower than
             the 18 March 2011 proposal the Lao Government had previously rejected. In response,
             Mr. Baldwin testified that:

                   Moreover, the terms of the December proposal, as was the case with
                   every proposal, reflected what we were told at the time had the best
                   chance of being accepted by the Lao Government. It makes no sense for
                   us to have submitted a proposal we did not believe in good faith would
                   be accepted by the Lao Government – our goal was to obtain an
                   extension of the FTA. [Statement dated 25 November 2013, para. 22]

       104. Moreover, the Claimant contends that whatever “legal dispute” existed prior to
             March 2012 related to the old tax law, which was at a much lower rate, and not to the
             New Tax Code enacted on 20 December 2011 but which did not come into effect until
             October 2012, and could not have been applied to the Claimant in any event until the
             expiry of Sanum’s FTA on 31 December 2013, long after the critical date of 17 January
             2012.

       105. The Claimant argues that the “tax laws of the Lao PDR” mentioned in Exhibit C-33232
             must refer to something other than the New Tax Code because if an 80% tax were
             imposed on revenue (plus 10% VAT) the next paragraph makes no sense because there
             would be no dividends to divide.

       106. The Claimant, in its 2 August 2013 submission, contends the following:

                   In March 2012, after Sanum and Savan Vegas learned that members of
                   the Government were opposed to their latest proposal for extension, they
                   withdrew their proposal. Nevertheless, Government officials continued
                   to state even after that point that agreement on the FTA could be reached
                   before the expiry of Sanum’s FTA and the new casino tax would not be
                   applied to Savan Vegas. 33

       107. Also, according to the Claimant, the Lao Government did not threaten the Claimant
             with the new 80% tax on casino revenue until after the Claimant delivered its Notice to
             Arbitrate herein on 12 August 2012.                Prior to that date, there had been “no

32
     Referred to in ¶ 55 of this Decision.
33
     Claimant’s Provisional Measures Reply dated 2 August 2013, ¶ 26.
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           confrontation of the points of view of the Parties” on that legal issue. In its application
           for Provisional Measures dated 19 April 2013, the Claimant first identified the risk of
           the application to it of the “80% tax on gaming revenues.” On 12 July 2013, the Lao
           Government affirmed its intention to impose the New Tax Code and stated:

                 Absent any proof that a tax would be “confiscatory”, claimant is not
                 entitled to Provisional Measures blocking enforcement of a tax passed in
                 a tax code. (para. 1)

     108. The Claimant contends that the New Tax Code did not become a “legal dispute”
           between the Parties until it was raised in 2013 in the context of the Claimant’s Request
           for Provisional Measures.

     109. The Claimant says that in the Provisional Measures proceeding, the Respondent
           asserted for the first time (and the Claimant subsequently denied), that Savan Vegas
           would be subject to the New Tax Code. Thus, the Claimant argues, the “legal dispute”
           over the application of the New Tax Code did not in fact crystallize until July 2013.
           The Order for Provisional Measures dated 17 September 2013 granted a measure of
           protection to the Claimant from the New Tax Code by way of an escrow arrangement.
           The terms of the Provisional Measures decision are not otherwise at issue in the present
           application. 34



34
  As to the Provisional Measures the Tribunal enjoined:
                  “the Lao Government from (a) demanding that Claimant pay any amounts
                  allegedly due pursuant to the New Tax Law; and (b) instituting or further
                  pursuing any action, judicial or otherwise, to collect any payments Respondent
                  claims are owed by Claimant pursuant to the New Tax Law; (b) enjoins the Lao
                  PDR from taking any enforcement action, judicial or otherwise, to seize or
                  interfere in the operations of the Lao Bao and Ferry Terminal slot clubs based
                  on any disputed tax amounts; (3) enjoins the Lao PDR from taking any action,
                  judicial or otherwise, to freeze or seize funds that Claimant or its related entities
                  place in accounts in the Lao banking system; and ( 4) these orders are under the
                  condition that the Claimant deposits in an escrow account at a Singapore bank
                  or other bank satisfactory to the parties under arrangements negotiated by the
                  parties and approved by the Tribunal, the amount of US$429,330 on the first
                  day of each month commencing 1 January 2014. (5) enjoins both parties from
                  taking any steps that would alter the status quo ante, or aggravate the dispute.”
On 16 December 2013, the Claimant informed the Tribunal that both Parties had reached an agreement on the
escrow arrangements to be established in accordance with the Tribunal’s 17 September 2013 Decision on Claimant’s
Amended Application for Provisional Measures. The Tribunal confirmed this agreement on 23 December 2013.
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  110. Therefore, it was not until 12 July 2013, according to the Claimant, that the present
       “legal dispute” arose.

  111. Finally, the application of the New Tax Code is a continuing measure that will affect
       the Claimant’s investments from and after 1 January 2014, and each assessment will
       give rise to a new claim or legal dispute. It is therefore an issue that the Tribunal
       should deal with.

  112. In any event, according to the Claimant, no “claim” has yet been made against Savan
       Vegas under the New Tax Code, which did not become law until October 2012, and
       which could not as a matter of law apply to Savan Vegas until the FTA expired on 31
       December 2013 (four days before the hearing of this jurisdictional objection). If, and
       when a “claim” is made against the Claimant under the New Tax Code, by way of
       assessment, demand or otherwise, there will arise a “claim” capable of being referred to
       arbitration (if necessary) under Article 10, but, says the Claimant, no such “claim” is
       yet in existence.

D. The Tribunal’s Analysis of the Claimant’s First Response to the Objection Ratione
   Temporis: Namely that the Treaty Contains No Ratione Temporis Limitation

  113. The Tribunal does not accept the argument that there is no temporal limit in relation to
       Article 9 and that any party may at any time refer to arbitration “legal disputes” that
       were dealt with before the investor’s accession to the Treaty (leaving aside events that
       form elements of continuing or composite disputes).

  114. The general principle of non-retroactivity is expressed in Article 28 of the Vienna
       Convention on the Law of Treaties as follows:

             “Unless a different intention appears from the treaty or is otherwise
             established, its provisions do not bind a party in relation to any act or fact
             which took place or any situation which ceased to exist before the date of
             the entry into force of the treaty with respect to that party.”
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     115. It cannot be said that the silence of Article 9 with respect to a temporal limit “clearly”
           manifests a “different intention” apparent on the face of the Treaty. 35 The fact (as the
           Claimant points out) that Laos and The Netherlands used different language in different
           treaties does not alter the fact that nothing in this Treaty contemplates that investors
           such as the Claimant could change their nationalities at will by artful corporate
           restructurings to “forum shop” after a legal dispute has arisen with the same investor on
           the same issue and had therefore become, in the words of the Paushok tribunal, 36 a
           “discrete event in the course of relations [between the Parties]” that predated the
           Treaty.”

     116. The general presumption favours non-retroactivity and in this Treaty the presumption is
           not displaced by any different intention “apparent” on its face.

     117. The Tribunal does not view the Treaty as intending to provide legal weapons to
           investors for the purpose of re-engaging in a pre-existing legal dispute with the Lao
           Government.

     118. Accordingly, the Tribunal concludes that the Respondent is entitled to raise the
           objection ratione temporis to its assertion of a “legal dispute” under Article 9.

     119. The question, therefore, is when did the tax dispute arise?




35
   In its 1996 Commentaries to the Draft Articles of the Law of Treaties, the International Law Commission stated:
                  There is nothing to prevent the Parties from giving a treaty, or some of its
                  provisions, retroactive effect if they think fit. It is essentially a question of their
                  intention. The general rule however is that a treaty is not to be treated as
                  intended to have retroactive effects unless such an intention is expressed in the
                  treaty or was clearly to be implied from its terms. (Emphasis added)
36
   Sergei Paushok and others v. Republic of Mongolia, UNCITRAL, Award on Jurisdiction and Liability, 28 April
2011, ¶ 498.
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 E. The Tribunal’s Analysis of the Claimant’s Second Response to the Respondent’s
    Objection, Namely that the “Legal Dispute” Over the New Tax Code Did Not Arise
    Between the Parties Until After the Critical Date of 17 January 2012

        1. Definition of a “Legal Dispute”

     120. Both Parties accept as appropriate the definition of “dispute” formulated by the
          Permanent Court of International Justice in the Mavrommatis case 37 at page 11:

                A dispute is a disagreement on a point of law or fact, a conflict of legal
                views or of interests between two persons.

     121. To which the tribunal in Victor Pey Casado v. Chile, 38 added:

                In order to establish the existence of such a dispute, “it must be shown
                that the claim of one of the Parties meets obvious opposition from the
                other.” (para. 441)

                (;;;)

                It is only with the expression and the confrontation of the points of view
                of the Parties that the dispute is crystallized. (para. 443)



        2. When did the dispute arise? The contentions of the Parties and the Tribunal’s
           findings

     122. The Claimant contests the Lao Government’s position that the end of the FTA renewal
          negotiations (whatever date that might be) triggered a “legal dispute” about the
          application of the New Tax Code. The Claimant says the two disputes are distinct and
          separate. However, the Tribunal agrees with the Lao Government that the issues are
          linked. In the situation confronting the Parties in 2011 and 2012, Sanum clearly
          understood that it would be subject to the ordinary law of Laos, including the Tax
          Code, unless affirmatively exempted by the extension of its FTA. Sanum opposed the
          application to its investments of the ordinary tax laws on the basis of various alleged
          Lao Government representations and understandings regarding renewal of the FTA,

37
 Legal Authority RA-05, The Mavrommatis Palestine Concessions, PCIJ Ser A No 2, 11 (1924).
38
 Legal Authority CA-12, Victor Pey Casado and President Allende Foundation v. Republic of Chile, ICSID Case
No. ARB/98/2, Decision on the Request for Provisional Measures, 25 September 2001.
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      and assurances from Lao Government officials that it was never their intention to apply
      the New Tax Code to existing investments such as Savan Vegas. In the Tribunal’s
      view, the link between the FTA extension and the tax issue, while sequential, is clear,
      with the result that the treatment of the tax aspects of Sanum’s business can be
      considered as a continuous behaviour.

123. Sanum’s objective in the negotiations was to avoid the application of the ordinary tax
      laws. Whether or not at that time Sanum had formulated a detailed challenge to the
      application of the tax law to its investments and the implication of constantly
      increasing rates of tax being considered by the legislative power, does not detract from
      the direct link between a failure of the FTA negotiations and the consequent triggering
      of the tax dispute.

124. The Parties agree that the test for determining the critical date is objective and that the
      relevant question is not whether the Lao Government subjectively believed the legal
      dispute to have arisen, or whether the Claimant subjectively believed it had not, the
      question is whether the facts, objectively analysed, establish the existence of a dispute
      and if so at what time did it arise, and was it resolved (as the Lao Government argues)
      before the Treaty came into force as between the Lao Government and the Claimant?

125. In early 2011, the Ministry of Finance decided to undertake a revision of the Tax Code
      under the supervision of the Director General of the Tax Department, Ms. Manivone
      Insixiengmai, as related above.

126. Counsel for the Respondent emphasizes that flat tax agreements are also made to serve
      the Lao Government’s interest, not only investor’s.          If the Lao Government’s
      assessment of the benefit changes, the rationale for the Flat Tax, from its point of view,
      may disappear.

127. Certainly, Ms. Manivone consistently took the view in her memoranda that the Finance
      Tax Department had only 15 auditors to audit all the largest companies in Laos and she
      believed that her department lacked not only the human resources but the expertise to
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              audit a casino, a cash based business. 39 She pushed hard for a renewal of the Sanum
              FTA, and made no secret of the Tax Department’s views in her dealings with the
              Claimant.

       128. From the Claimant’s perspective, it needed certainty about future tax treatment if it
              were to be able to arrange for long term financing to expand its gambling operations in
              Laos. The financial prospects of the company, and therefore its potential attraction as
              an investment, were linked, inter alia, to its exposure to an escalation of Laotian taxes
              over the life of the concession.

       129. The evidence shows that, in the months following Sanum’s request for a renewal of the
              FTA, there was disagreement within the Lao Government over the advantages and
              disadvantages of extending Sanum’s FTA.

       130. The Prime Minister’s office was actively involved in the file at least by 10 June 2011
              when it issued Notice 1121. The document, in the Tribunal’s view, is ambiguous (as
              previously discussed). It cannot reasonably be interpreted, on the present state of the
              record, as a decision rejecting Sanum’s request for a new FTA. But it establishes that
              the locus for the making of the final decision was at the Prime Ministerial level.

       131. Ms. Manivone, who was a central figure in the Sanum negotiations, does not appear to
              have treated Notice 1121 as a rejection, and her conduct thereafter (as disclosed by the
              Lao Government documents) is not consistent with that view.

       132. The Lao Government did file a witness statement from Mr. Bounnam Chounlaboudy,
              who in June 2011 was Director of the Legislative Division of the Tax Department, but
              it is apparent from his statement that he was only peripherally involved (if at all) in the
              Sanum negotiations. 40 Mr. Bounnam does describe Notice 1121 as a denial of Sanum’s

39
     Exhibit RE-01, ¶ 10.
40
     Mr. Bounnam’s lack of knowledge of relevant events is evident from his witness statement, for example:
                    14. I was aware that Mrs. Manivone had discussions with her staff about the
                    Savan Vegas’ request for an extended Flat Tax Agreement during the summer
                    2011.
                    15. I was aware that Mrs. Manivone directed her staff to write a report
                    addressed to the Minister of Finance. It is dated August 4, 2011.
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           request, but his conclusory statement is unsupported by any explanation or analysis of
           the text (neither the Laotian text nor the English text). In light of the unsatisfactory
           state of the evidentiary record, the Claimant requested Mr. Bounnam be produced at the
           6 January 2014 hearing for cross-examination but he failed to appear.

    133. The Lao Government explained that Mr. Bounnam was unable to obtain a French visa
           because of his last-minute application and the holiday schedule of the French Embassy
           in Laos. 41 However, in the Tribunal’s view, there was no justification for leaving the
           visa application until the last minute. The hearing date for 6 January 2014 had been
           fixed more than 3 months earlier by the Tribunal’s bifurcation order dated 23
           September 2013. It was evident at the 23 September 2013 hearing that there were
           sharp differences between the Parties on some of the facts central to the Lao
           Government’s own jurisdictional objection. In the absence of a waiver by the Claimant
           of its right to cross-examine the Lao Government’s deponents, it was up to the Lao
           Government to have its witnesses available for cross-examination either at the hearing
           or at some prior occasion under arrangements satisfactory to the Parties. 42

    134. In light of Mr. Bounnam’s failure to appear, and the lack of any evidence from Ms.
           Manivone, as well as the lack of clarity in the English text, the Tribunal declines to
           treat Notice 1121 dated 10 June 2011 as a “decision” to reject the Sanum
           application, which could have triggered the dispute which is in front of the
           Tribunal.

    135. There is no doubt, in any event, that Ms. Manivone and the Tax Department continued
           to negotiate with Sanum on an open-ended basis.




                   16. I was informed that Mrs. Manivone held a meeting with her staff and Sanum
                   staff on August 5, 2011.
                   17. I was informed that Mrs. Manivone told Mr. Baldwin that she would submit
                   the Tax Department’s recommendation directly to the Minister of Finance.
41
   Email to the Tribunal from Counsel for the Respondent dated Friday, 3 January 2014.
42
   Pursuant to Procedural Order No. 1, and as provided in the IBA Rules (applicable to these proceedings under
Section 14.1 of Procedural Order No. 1), any witness whose statement is submitted as evidence is subject to cross-
examination.
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136. Document 0772 dated 28 November 2011 on the other hand, clearly documents a
     decision to reject Sanum’s application, but only at the level of the Minister of Finance.

137. On the Lao Government’s view, the Flat Tax issue was dead as of 28 November 2011
     (or at least by 16 December 2011 when Sanum acknowledged receipt of a copy of
     document 0772). At that point, if not earlier, the Lao Government says, Sanum was
     exposed to the ordinary tax rate, and any “legal dispute” about the New Tax Code arose
     at that time – at least a month before the critical date of 17 January 2012.

138. The Tribunal agrees with the Lao Government that, if the Sanum Flat Tax issue were
     shown to have been concluded in or before December 2011, the “legal dispute” over
     the New Tax Code ought to be held to have arisen prior to the critical date of 17
     January 2012, despite the Claimant’s view that greater formality would ordinarily be
     required to turn a potential legal dispute into an actual legal dispute.

139. However, both Mr. Baldwin and Mr. Pipes have provided sworn testimony to
     demonstrate a reasonable expectation that the decision of the Minister of Finance was
     just a stepping stone in a longer process. In his Fourth Witness Statement dated 25
     October 2013, Mr. Baldwin testifies:

          Notice No. 0772 informed us that the Government had rejected our FTA
          extension proposal. Although this notice was dated 28 November 2011,
          we did not receive it until 16 December 2011 – this again is typical of
          how the Lao Government operates. When we received this Notice, I was
          surprised. I spoke with Madame Manivone about it, and she
          explained that she was instructed by the Minister of Finance to issue
          it. She assured me, however, that the FTA would nonetheless be
          extended, and that she would help guide us through the process. She
          explained that we would now have to go through the Prime
          Minister’s Office to obtain approval for the FTA extension, and that
          we should resubmit our proposal directly to the Prime Minister. So, later
          that month, we submitted a new proposal to extend the FTA – containing
          the same proposed flat tax payments as those recommended by Madame
          Manivone in her 4 August 2011 report to the Minister of Finance – to the
          Prime Minister. (para. 20, Emphasis added)

140. Mr. Baldwin was available for cross-examination at the 6 January 2014 hearing. Ms.
     Manivone was not.
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141. Mr. Bounnam says in his first Sworn Statement that:

          22. In January 2012, the Tax Department received a message from the
          Prime Minister’s office, dated January 10, referring to another request
          from Sanum to extend the FTA. I have reviewed this document.

     His redacted Statement sheds no light on what transpired in January 2012. In a further
     Sworn Statement dated 9 December 2013, Mr. Bounnam refers to work he did in
     relation to a letter from the Vice-Minister of Finance to the Prime Minister’s office
     dated 10 February 2012 (i.e. after the critical date of 17 January 2012). However, if
     anything, his testimony simply indicates ongoing preparation for the meeting convened
     by the Prime Minister on 21 March 2012 to discuss Sanum’s FTA proposal. Mr.
     Bounnam’s statements raise more questions than they provide answers. This is not to
     say that Mr. Bounnam is to be disbelieved. However, his evidence is largely based on
     hearsay, is vague and uncertain in content, and (absent cross-examination) raises too
     many questions to be relied on by the Lao Government to establish that the FTA
     negotiations ended in December 2011.

142. Therefore, the Tribunal does not consider the letter of 28 November 2012 as a
     “decision” to reject Sanum’s application, which could have triggered the dispute
     which is in front of the Tribunal.

143. Mr. Pipes’ Second Witness Statement sworn 2 August 2013 states that, even after the
     meeting with the Prime Minister and Deputy Prime Minister on 21 March 2012, Sanum
     was led to believe that the FTA extension was still a live issue within the Lao
     Government.

          In March of 2012, we learned that members of the Government were
          opposed to our most recent proposal to extend the Savan Vegas Flat Tax
          Agreement, and we withdrew our proposal. But even after March 2012,
          we continued to believe that we would succeed in coming to an
          acceptable agreement for extension of the Flat Tax Agreement based on
          clear statements by Government representatives to that effect. Because
          of those statements, and also because of other reassurances we had
          received from various Government officials that the new casino tax
          would not be applied to Savan Vegas, we believed that we would
          eventually resolve the issue presented by the new casino tax before
          the current Flat Tax Agreement expired. (para. 11, Emphasis added)
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     144. Mr. Pipes thus refers to discussions of some sort after March 2012. However, Mr.
          Pipes is not specific about his “sources”, nor does he identify the “Government
          officials” referred to, and this substantially lessens the weight of his testimony. This
          being said, from a jurisdictional perspective, the question whether the FTA negotiations
          continued after March 2012 is of little relevance. The Tribunal’s concern is with 17
          January 2012. In any event, to the extent the evidence of Mr. Pipes on this point was
          considered by the Lao Government to be of significance, he was present and available
          for cross-examination at the 6 January 2014 hearing and could have been cross-
          examined on those issues. This eventuality was avoided by the agreement of counsel,
          as explained below.

     145. However, for present purposes, the Tribunal puts no weight on whatever may
          subsequently have been said by the anonymous “Government officials” referred to but
          not identified by the Claimant.

     146. It results from this analysis that it appears to the Tribunal on the analysis of the
          Claimant’s evidence that the dispute arose on 21 March 2012, when the final
          decision not to grant a new FTA to Sanum was adopted at the highest level, in
          other words, that the dispute arose after the critical date. It remains to verify
          whether the Lao Government has adduced credible contrary evidence on when the
          dispute arose.


        3. The Failure of the Lao Government to Produce Satisfactory Factual Evidence on
           When a “Legal Dispute” Arose with Respect to the New Tax Code

     147. Ms. Manivone would have been able to provide crucial evidence with respect to the
          Sanum negotiations, and in particular their progress (or lack of it) within the Lao
          Government, but, despite the Lao Government’s initial statement that it would provide
          a witness statement from Ms. Manivone, none was ever provided to the Tribunal. 43




43
  Initially, the Tribunal was told no such statement was filed because “Ms. Manivone has left the country on
holiday,” (16 October 2013) and subsequently, on 11 December 2013, the Tribunal was advised that Ms. Manivone
“had to accompany her husband, a Lao senior soldier, to Vietnam on official business.”
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       148. The Respondent instead chose to file witness statements from more peripheral Lao
              Government officials, including Mr. Bounnam (who as mentioned was not involved in
              the Sanum negotiations at the relevant time), as well as Mr. Souralay and Minister
              Sinlavong, neither of whom could shed much light on the actual state of negotiations.

       149. On Friday 3 January 2014, three days before the hearing called to consider its own
              objection to jurisdiction, which had been scheduled three months before, the
              Respondent Lao Government advised the Tribunal that none of Mr. Bounnam, Mr.
              Souralay or Minister Sinlavong would be available for cross-examination on their
              witness statements.

       150. As stated, both Mr. Baldwin and Mr. Pipes for the Claimant were available on 6
              January 2014 for cross-examination.

       151. Eventually counsel for the Parties reached an agreement that the Claimant’s witness
              statements would be taken as read, some of the Laotian witness statements would be
              redacted, but as redacted would remain in evidence, that the two Laotian witness
              statements in respect of which the Claimant had waived cross-examination would be
              entered in full, and that no cross-examination would take place of anybody. 44


44
     The arrangement was put on the record in the 6 January 2014 Hearing Transcript, pp. 1-3:
                   MR BRANSON: I made a proposal; Mr Rivkin accepted it. I will let him
                                     explain it.
                   MR RIVKIN:        Yes, I will explain the proposal and let me explain our
                                     thinking about it a little bit as well. The agreement we
                                     reached was that because Mr Branson has not arranged for any
                                     of his witnesses to be here for cross-examination, he will not
                                     cross-examine Mr Baldwin. All of the witness statements may
                                     be taken into the record, but Mr Branson proposed that we be
                                     able to redact certain portions of the witness statements of the
                                     three witnesses who did not appear for cross-examination. We
                                     had some back and forth yesterday and agreed on which
                                     sections would or would not be redacted. So we can provide -
                   PRESIDENT:        Of the Respondent's witnesses?
                   MR RIVKIN:        Yes. Mr Baldwin's witness statements are in in full.
                   PRESIDENT:        Although he is not being cross-examined?
                   MR RIVKIN:        Although he is not being cross-examined. The two witnesses
                                     whom we had decided not to cross, their witness statements
                                     are in in full. And the four witness statements by the three
                                     witnesses who were not brought for cross-examination can be
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152. Nevertheless, counsel agreed that:

           … neither side accepts the truth of what's in the witness statements, even
           the redacted witness statements, and we will have an opportunity to
           discuss that in our presentations, of course.

153. The Tribunal, of course, accepts the agreement of counsel with respect to the
     testimony. As a result of counsel’s agreement, the Tribunal does not draw any adverse
     inferences regarding the witnesses on either side. However, the Tribunal is still left
     with the problem of the onus of proof. Has the Lao Government proven, as it set out
     to do, that the legal dispute regarding the application of the New Tax Code arose prior
     to the critical date of 17 January 2012? In the Tribunal’s view, the Lao Government
     has not discharged its onus of proof of the facts.

154. In particular, the Tribunal is of the view that the Lao Government has failed to
     discharge its burden of proof to establish that the negotiations to renew the FTA had
     come to an end – and that therefore the application of the “New Tax Code” had become
     a “legal dispute” between the Parties as of the critical date – namely 17 January 2012.
     In fact, on the contrary, it would appear on the current record that the Sanum Flat Tax
     proposal was very much alive at the meeting in the Prime Minister’s office on 21
     March 2012.

155. A similar situation existed in the Pac Rim case, where negotiations continued after the
     date when the Claimant considered that a dispute had arisen because of a “final” refusal
     of a gold exploitation permit:

                       admitted as redacted, and we will provide you with those
                       redacted copies now.
                                             (…)
           PRESIDENT:  Alright. Mr Branson, do you have anything to add to that?
           MR BRANSON: Yes, I think it was irrelevant. I made the proposal so that both
                       Parties would have equal treatment at the hearing. If they
                       can't cross-examine our witnesses, then I shouldn't cross-
                       examine their witnesses, so we have equal treatment. I also
                       proposed that they could redact sections if they believed they
                       might have been able to impeach, so that it would be equal on
                       both sides. And I trust that our agreement signifies that there
                       is equal treatment, and that one party won't be able to allege
                       later that there was not equal treatment. That was the purpose
                       of the proposal and the purpose of the acceptance.
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          2.83. The Tribunal has taken particular note of the Claimant’s belief that
          it received indications from the Salvadoran authorities, to the effect that
          the different permits and authorisations could yet be granted to its
          Enterprises. According to the Claimant, even if there were theoretical
          legal circumstances under which a government agency’s failure to meet a
          statutory deadline could give rise to a dispute between an investor and
          the Respondent, the conduct in this particular case of MARN, the
          Bureau of Mines and other government officials led the Claimant
          reasonably to understand that even though deadlines had been
          missed by these authorities, PRES´s applications for a permit and a
          concession remained under consideration by the Salvadoran
          authorities. Therefore, so the Claimant contends, having induced it to
          understand that despite the missed deadlines in 2004 or 2007 there was
          no dispute between the Parties, the Respondent is now effectively
          precluded, as a matter of law, from here arguing that the missed
          deadlines triggered the present dispute between the Claimant and the
          Respondent before December 2007.

          2.84. The Tribunal accepts the Claimant’s submissions. It also notes that,
          even after March 2008, there were discussions between the Claimant and
          the Salvadoran authorities. In the Notice of Intent, it was specifically
          pleaded that: “(i)n 2008, President Elias Antonio Saca was reported as
          having publicly stated that he opposed the granting of any outstanding
          mining permits. In light of President Saca’s comments and the
          Government’s actions and inactions, the Enterprises engaged in several
          meetings with the Government in 2008 seeking approval of the necessary
          permits.” Accordingly, the Tribunal concludes that the alleged omission
          to grant a permit and concession was not completely finalised before
          13 December 2007, because even at that time there still seemed to be
          a reasonable possibility, as understood by the Claimant, to receive
          such permit and concession notwithstanding the passage of time.
          (Emphasis added)

156. In other words, the case at hand presents a similar situation, because (to track the
     language of the Pac Rim decision) the Lao Government has failed to demonstrate that
     the FTA negotiations had been finalized before 17 January 2012 and even at that time
     there still seemed a reasonable possibility as understood by the Claimant, basing itself
     on objective facts, that such negotiations would lead to a renewal of the FTA on
     mutually satisfactory terms.      On the record before the Tribunal the negotiations
     continued until 21 March 2012.

157. It is unnecessary for the Tribunal to decide whether the FTA issue died as a result of
     the decision taken by the Prime Minister on that date.
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V. DISPOSITION BY THE TRIBUNAL OF THE RESPONDENT’S OBJECTION TO
   JURISDICTION RATIONE TEMPORIS

  158. The Tribunal rejects the jurisdictional challenge on the basis that the Lao Government
       has not met the burden of showing that a legal dispute with respect to the application of
       the New Tax Code had arisen on or before the critical date of 17 January 2012. The
       Tribunal concludes on the present record that the FTA negotiations continued after that
       date and, until those negotiations ended, the application of the New Tax Code was a
       mere possibility that was not yet ripe for a “legal dispute” to arise.

VI. DISPOSITION OF APPLICATION FOR COSTS

  159. The Tribunal does not see fit to make any award of costs at this stage of the
       proceeding.
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                 Annex B
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                    ICSID Case No. ARB (AF)/12/6

                        LAO HOLDINGS N.V.
                             Claimant

                                  and

THE GOVERNMENT OF THE LAO PEOPLE’S DEMOCRATIC REPUBLIC
                       Respondent




                 DECISION ON THE MERITS




                       ARBITRAL TRIBUNAL

            The Honourable Ian Binnie, C.C., Q.C., President
                Professor Bernard Hanotiau, Arbitrator
                  Professor Brigitte Stern, Arbitrator




                       Secretary of the Tribunal
           Ms. Mercedes Cordido-Freytes de Kurowski, ICSID



                          Date: June 10, 2015
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I.         OVERVIEW

1.         The Claimant, Lao Holdings N.C., owns gambling assets in Laos including the

Savan Vegas Hotel and Casino Complex in Savannakhet Province. It is strategically

located near the Friendship Bridge which spans the Mekong River, between Laos and

Thailand. As a result of what it considered to be investment treaty violations, the Claimant,

a company incorporated under the laws of Aruba in the Netherlands Antilles, initiated

proceedings on 14 August 2012 against the Respondent, the Government of The Lao

People’s Democratic Republic (the “Government”), before the International Centre for

Settlement of Investment Disputes (ICSID).              The claim was made pursuant to the

Agreement on Encouragement and Reciprocal Protection of Investments between Laos and

the Kingdom of the Netherlands1, and the Arbitration Rules (Additional Facility) of

ICSID.2


2.         The Claimant’s original ICSID claims were based on a multiplicity of the

Respondent Government’s actions, including an 80 % tax on casino revenues and what the

Claimant contended were unfair and oppressive audits of its Savan Vegas Hotel and

Casino. The Claimant eventually valued its investment loss at between USD 690 million

and USD 1 billion.




1
    Signed on 16 May 2003, in force since 1 May 2005.

2
    As amended on 10 April 2006.


                                                    2
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3.     The ICSID claims were resolved by a Deed of Settlement concluded between the

parties during the merits hearing in Singapore on 15 June 2014 (to be read together with a

Side Letter dated 18 June 2014) (herein referred to collectively as “the Settlement”).


4.     The Claimant now alleges a “material breach” of the Settlement by the Government

which, it says, justifies the Tribunal in reviving the pre-settlement ICSID claims.


5.     The Claimant’s core allegation is that subsequent to the Settlement, the

Government infringed the Claimant’s gambling monopoly rights by approving and

granting permission for the establishment of a rival casino or casinos within its area of

exclusivity. The Government undertook in Article 13 thereof to facilitate the sale of the

Claimant’s gambling assets in Laos “on a basis that will maximize Sale proceeds to the

Claimants and Laos”. Instead, according to the Claimant, the Government’s approval of a

rival casino or casinos has so substantially destroyed the potential value of the Savan Vegas

Hotel and Casino in the eyes of potential investors as to frustrate (and terminate) the

Settlement.


6.     The Claimant offers no direct evidence of such approval. Instead it has produced a

variety of items of circumstantial evidence, including media reports, blogs, the continuing

operation of a rival slot club or clubs in the Claimant’s territory and activities of private

individuals and entities (not the Government) from all of which, the Claimant argues,

Government approval can be inferred.


7.     The important question arises as to whether any of the conduct of various private

entities (including a corporation in which the Government holds a minority 30% interest)

which promoted creation of a potential rival casino can be attributed to the Government.

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8.         If the Tribunal is persuaded on the attribution issue, the further question arises as

to whether the Government “cured” the alleged default within 45 days “after receipt of

notice of such breach” as permitted by Article 32 of the Settlement, by making it clear that

no rival casino would be permitted in the Claimant’s territory during the balance of the 50

year life of the Claimant’s concession.


9.         The Tribunal’s jurisdiction to revive the ICSID claims is conferred (and limited) by

Article 32 of the Deed of Settlement which reads in part (as clarified by the Side Letter),

as follows:3


           The Claimants shall only be permitted to revive the arbitration in the event that
           Laos is in material breach of Sections 5-8, 15, 21-23, 25, 27 or 28 above and only
           after reasonable written notice is given to Laos by the Claimants of such breach
           and such breach is not remedied within 45 days after receipt of notice of such
           breach. (emphasis added)



10.        For reasons that follow, the Tribunal is of the view that even accepting arguendo

the interpretation of the Deed of Settlement most favourable to the Claimant, the evidence




3
    The full text of Article 32 as clarified by the Side Letter reads as follows:


           Article 32

           The Claimants shall only be permitted to revive the arbitration in the event that Laos is
           in material breach of Sections 5-8, 15, 21-23, 25, 27 or 28 above and only after reasonable
           written notice is given to Laos by the Claimants of such breach and such breach is not
           remedied within 45 days after receipt of notice of such breach. The Sale Deadline and any
           other relevant time periods herein shall be extended by the length of time required to
           cure such breach. In the event that there is a dispute as to whether or not Laos is in material
           breach of Sections 5-8, 15, 21-23, 25, 27 or 28 above, the Tribunals shall determine
           whether or not there has been such a material breach and shall only revive the
           arbitration if they conclude that there has been such a material breach.




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fails to establish on a balance of probabilities that the Government itself, directly or

indirectly, “approved and granted” permission for a rival casino contrary to the Claimant’s

contractual entitlement.


11.     The Tribunal notes the Claimant’s contention that against a sovereign state a

Claimant “is often unable to furnish direct proof of facts giving rise to responsibility”

because, as the Claimant argues, such evidence is often “exclusively within the control of

the Government”.4       Nevertheless where, as here, the Claimant’s case is based on

“inferences of fact and circumstantial evidence” (see Claimant’s Submission, 27 March

2014, at para. 27) a Tribunal must be careful not to shift the onus of proof from the Claimant

to the Respondent Government or to bend over backwards to read in inferences against

“the sovereign state” that are simply not justified in the context of the whole case.


12.     Further, even if it were accepted, arguendo, that some of the evidence is suggestive

of some sort of “tacit” signal of approval to rival entrepreneurs, all of which is denied by

the Government, it is the Tribunal’s conclusion that any such alleged conduct was “cured”

by the Government within 45 days. If there was any doubt before 26 June 2014 about the

Government’s policy against new casinos, there was none afterwards. The Government’s

position was not shouted from the roof tops to the extent the Claimant now insists upon

but, in the Tribunal’s view, there was no contractual obligation undertaken by the




4
 Relying on the Corfu Channel Case, Judgment of 9 April 1949, at 18 and Alpha Projektholding GmbH v.
Ukraine, (ICSID Case No. ARB/07/16), Award of 8 November 2010) at 373.


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Government to have the Prime Minister make a high level denunciation of every potentially

damaging newspaper report or other misinformation sourced in the private sector.


13.     The Tribunal rejects the Claimant’s argument that the violations of the Settlement

by the Government, to the extent they have been established (if at all), created such serious

prejudice to the Claimant as to render the violations incurable within the permitted 45 days.

The curative measures that were taken extinguished whatever claim for revival might

otherwise have arisen on the evidence before the Tribunal.


14.     Accordingly, the Claimant’s application for a revival of the arbitration pursuant to

Article 32 of the Deed of Settlement must be dismissed. The disposition of costs will be

dealt with as hereinafter provided, and together with this decision on the merits, will be

incorporated in the Award to be issued under Article 52 of the Arbitration (Additional

Facility) Rules of ICSID.


II.     BRIEF HISTORY OF THE INVESTMENT

15.     The Claimant has invested substantial monies since 2007 in three major projects in

Laos, the Savan Vegas Hotel and Casino (“Savan Vegas”), the Paksong Vegas Hotel and

Casino (“Paksong Vegas”) and other enterprises (with local partners) that operated slot

machine clubs. The Claimant’s gambling assets are held through Sanum Investments Inc.,

a company incorporated in Macao.5




5
  The Government makes the curious submission that there is no “operating company” or “subsidiary” which
is a party to the PDA. (Government Submission 3 April 2015 at para 119.) However, the Claimant’s
subsidiary Sanum is a party to the PDA. The Government’s submission seems to have overlooked the fact

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16.      The ICSID dispute related to the Respondent Government’s fiscal, regulatory and

administrative measures allegedly targeting the Claimant’s investment at the instigation of

the Claimant’s erstwhile but now estranged Laotian partners. These measures6 according

to the Claimant deprived it of part or all of the value of its investment in the Laos gaming

and tourism industry. The Government, for its part, accused the Claimant of various acts

of criminality.7


17.      It is unnecessary for the purposes of this application to explore in any detail the

particulars of the ICSID dispute. Suffice it to say that by the spring of 2014, the Claimant

and its U.S. principals wanted to halt the threatened Laotian criminal investigations and to




that Lao Holdings NC, not Sanum, is the only Claimant in the ICSID proceeding.


6
    The “oppressive” measures, the Claimant alleges, were instigated by powerful Laotian business and
political leaders in part for the benefit of Sanum’s estranged Laotian business partners, a Laotian company
called ST and its principals who are Laotian nationals. Eventually, the Government issued fresh tax claims
against Savan Vegas which the Claimant says were invalid but, being unpaid, led to the freezing of the Savan
Vegas bank accounts in Laos. The series of Government measures taken together, the Claimant contended
in the ICSID arbitration, amounted to de facto expropriation.

7
   The Government contended that the Claimant and its related companies had for years been operating their
gambling operations using impenetrable accounting procedures, and in some respects acting illegally,
including through the corruption of Laotian Government officials. In 2013, the Government declared its
intention to initiate criminal investigations of the Claimant and its principals who are U.S. citizens. Counsel
for the Government made the submission at the 6 January 2014 hearing that:

        [The Claimants] decided, for their own reasons, that they would put all their money
        into Thailand; well, they had been putting their money in Thailand for the last five
        years. And it is illegal, it is against the law in Laos for any Lao corporation to have
        a bank account outside the country, and they had seven bank accounts outside the
        country for the last five years. We can tell from some of the documents we received
        from Ernst & Young that in one of those bank accounts in 2011, a year before the
        “freezing order”, they put $11 million into a Thai bank account. That’s against the
        law. (Transcript, 6 January 2014, pP. 19-20).




                                                        7
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“maximize the Sale proceeds” of their gambling assets in Laos. Equally, the Government

wanted to see them gone.


III.     THE DEED OF SETTLEMENT DATED 15 JUNE 2014 AND THE SIDE
         LETTER OF 18 JUNE 2014

18.      By Deed of Settlement dated 15 June 2014, which is to be read together with a Side

Letter dated 18 June 2014, the Claimant agreed with the Government to end the hearing of

the ICSID arbitration (and a parallel UNCITRAL arbitration involving Paksong Vegas that

was pending before the Permanent Court of Arbitration).


19.      The Settlement is governed by New York law. It contemplated that the money

necessary to achieve a clean break between the Claimant and Laos would come from a

third party purchaser of the Claimant’s gambling assets. The Government itself did not

agree to pay any compensation. Its position was described by its counsel as follows:


         We started negotiating on Thursday. We negotiated all day Friday. I imposed
         the terms, here are the terms: “We pay them nothing; they dismiss their claims,
         they sell their casino for what they can get, and they leave Lao. Those are the
         terms.”
         (Transcript, 17 June 2014, p. 25)
         I told you, I imposed the terms. I’ve been trying my best to make it possible
         for them to work the deal. So, any time they asked me for anything that would
         make it easier for them to sell, make it easier for them to do this or that, I would
         put it in the Agreement. I bent over backwards.
         (Transcript, 17 June 2014, p. 33)
20.      Counsel for the Claimant explained the origins of the Settlement somewhat

differently:


         The settlements arose--the possibility of the Settlement arose a couple of weeks
         ago when Claimants received an offer to purchase their--the Savan Vegas
         properties, and it became clear that that might be a means to resolve the disputes.
         But, of course, Claimants can only sell the Savan Vegas and the other properties
         they own with the cooperation of the Laos Government and with certain steps
         taken by the Laos Government that make the properties salable.

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          (Transcript, 19 June 2014, pp. 49-50) (emphasis added)

           The “certain steps taken by the Laos Government” included, in the Claimant’s

view, negotiation of a new Flat Tax Agreement and preservation of the casino monopoly

acquired by Sanum under the Project Development Agreement on Savan Vegas

Entertainment Hotel and Casino in Savannakhet Province dated 10 August 20078 between

the Government and Sanum Investments and its private Laotian partners (hereinafter

referred to as the “2007 Sanum Agreement”).


21.       Under the Settlement, the Claimant was entitled to attempt to complete a sale within

10 months from June 15, 2014, with an extension of time if necessary to accommodate

a closing date. During that time, the Claimant and its affiliates would continue to run

the businesses subject to the “monitoring and oversight” of the Government’s agent, RMC

Gaming Management LLC (“RMC”). At the end of 10 months, if no sale had materialized,

the Claimants and Laos would have the right “to appoint RMC or any other qualified operator”

to step in and manage the gambling assets “in place of the Claimants until the sale is complete”

(Article 12 of the Settlement).


22.       Central to the Claimant’s argument is the interpretation of Article 6 of the Deed of

Settlement (as clarified by the Side Letter):


          Article 6
          Laos shall treat the Project Development Agreement (“PDA”) dated 10 August
          2007 in respect of the Savan Vegas Casino and each of the licenses and land
          concessions issued in respect of the Savan Vegas Casino, the Lao Bao Slot Club




8
    Exhibit C-004 at p. 10


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          and the Savannakhet Ferry Terminal Slot Club (collectively the “Gaming Assets”),
          as being restated as of the Effective Date, with a term in each of fifty (50) years
          from the Effective Date. ST owns 40% of the Lao Bao and Ferry Terminal Slot
          Clubs. [emphasis added]

Much of the present dispute revolves around the disagreement of the parties about the

meaning and effect of the underlined words of Article 6.9


23.       The Claimant says the effect of Article 6 is to make Sanum’s casino monopoly

enforceable not only by Sanum but also by its parent, the Claimant. The Government

acknowledges the existence of the casino monopoly but says that only Sanum (not the

Claimant) is entitled to enforce it. Moreover, the Government insists that any dispute under

the 2007 Sanum Agreement lies within the exclusive jurisdiction of the Singapore

International Arbitration Centre (SIAC).


24.       The parties agree that the Settlement governs the negotiation of any new Flat Tax

Agreement (FTA), and that disputes in relation thereto are potentially within the

jurisdiction of this Tribunal under Article 32 of the Settlement. The Claimant argues that

the breach of the monopoly destroyed the Settlement, and with it a proper basis for the

Claimant to negotiate a new FTA and thereby contributed to its losses. The Government

responds that the Settlement is still in force and the continuing failure to reach a new FTA




9
    In its 3 April 2015 Submission, the Government states that in its ruling of 19 December 2014,

               “the Tribunal never determines that the phrase “to treat as being restated”
                is ambiguous, and therefore it is error to interpret unambiguous words by
                reference to some supposed “purpose” not expressed in Article 13”.

In fact, the 19 December 2014 ruling stated unequivocally in para. 2 that “the Tribunal has also concluded,
for the reasons set out below, that given the ambiguous wording of Article 6 of the Deed of Settlement on
which the Claimant relies…” (emphasis added)


                                                      10
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has been, and continues to be, exclusively attributable to the intransigence of the Claimant,

which has refused to name its nominee to the joint “Flat Tax Committee” contemplated

under Article 9 of the Settlement.


25.      The Claimant also expected to profit from a land concession and development of

an airport and other amenities on 90 hectares of land at Thakhet under a memorandum of

understanding dated 20 October 2010 as contemplated under Article 22 of the Settlement.

When the Claimant declined to pay the required USD 500,000 fee in a timely way, the

Government declared an end to the Claimant’s potential participation in Thakhet.


(i)      The Alleged Breaches of the Settlement by the Respondent Government

26.      A few days after the celebration in Singapore of the signing of the Deed of

Settlement and the Side Letter, the Claimant filed on 4 July 2014 an “Application for

Finding of Material Breach of Deed of Settlement and for Reinstatement of Arbitration”

(“the Material Breach Application”). The ground for relief was an allegation that the

Respondent Government had “approved and granted” gambling concession(s) to third

parties in the nearby “Savan City” project in breach of the Savan Vegas casino monopoly

rights, thereby ending (the Claimant said) any possibility of a sale that “will maximize Sale

proceeds to the claimant and Laos” as contemplated in Article 13 of the Settlement.10 It




10
   The Government argues that Article 13 only applies to a sale by the Gaming Operator, RMC, if and when
RMC takes control of the Gaming Assets in the event Sanum fails to “complete a sale on time” (Government
Submission, 3 April 2015, at para. 109.). This is not correct. “Sale” is defined in Article 10 as “a Sale of the
gaming assets”. The context of Article 10 is a sale by the Claimant not the “Gaming Operator” RMC.
Accordingly the “Sale” referenced in Article 13 could be by either the Claimant or RMC, depending on the
circumstances, and in either case the purpose set out in Article 13 applies.


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also alleged, as stated, that the Government, not the Claimant, is responsible for the failure

to achieve a new FTA and the frustration of the Thakhet project.


(ii)     The Sanum “Monopoly Rights”

27.      The parties appear to agree that any Government permission to open a rival casino

would have a “material” impact on the income and future prospects of the Savan Vegas

Hotel and Casino. In its 3 April 2015 Submission, the Government concedes that “the

damages caused by a new casino could be large [and] when multiplied by 50 [i.e. the

number of years of the monopoly] could be astronomical” [para. 22]. Lower future

earnings as a result of increased competition would mean a lower current valuation and a

correspondingly reduced price for the Claimant’s gambling assets in the market place.


28.      The “monopoly rights” are contained in article 9(24) of the 2007 Sanum Agreement,

which provides as follows:


         The Company has been granted monopoly rights for its Casino business
         operations only with the condition that the Government shall not approve and
         grant any other parties or entities who put up their applications for the operation
         of certain Casino business in the three (3) neighboring provinces close to the
         Project development zone of the Company namely: Savannakhet, Khammaouane
         and Bolikhamsay, throughout the concession period of 50 years.
         However, should there have any applications submitted by any parties or entities,
         all those shall be made through the consent and approval of both the
         Government and the authorized investors who have management rights
         (emphasis added)



         The Government’s position is that it has given no “approval and grant” of a casino

licence in the Claimant’s exclusive territory. The Claimant responds that Article 9(24)

does not use the word “licence” and, in its view, may be breached without the actual grant

of a licence. The Claimant says:


                                                 12
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           “the provision of the PDA that underlies Claimant’s Application does not refer to
           the grant of a gaming license, which in any event would be surprising at this early
           stage of development of the project, rather, it is the “approval” of “casino
           business,” whether formal or informal that constitutes a breach of Savan Vegas’s
           monopoly rights and a material breach of the Settlement. (Claimant’s Submission,
           27 March 2014, para. 7).


           According to the Claimant, “informal” approval can be very informal, such as the

Government’s failure to shut down the non-conforming slot club(s) of Madam Kozy

(discussed below) or the presence of the Vice President of the National Assembly at a

signing ceremony on 26 June 201411 where private developers announced a $10 billion

project for Savan City.


29.        In the alternative, the Claimant argues that “even if the Tribunal declines to find

that Laos has approved a new casino at Savan City, the refusal of the Prime Minister or

political figure of equivalent authority to issue a single public statement denying approval




11
     As Claimant’s counsel put it:

           How does the government show approval? Well, it shows approval by sending a senior official like
           the Vice President of the National Assembly to a signing ceremony which is highly-publicized
           within Laos and outside of the country; and at which the Vice President of the Lao National
           Assembly says that the goals of Savan City and the SEZ have been realized.

           You’ll recall the testimony, you will recall those are in the words in the press release and you will
           recall Mr. Thongsay confirmed that is what he said. That is a statement of Lao government approval.
           It is a public statement of Lao government approval, and it fits in with all the rest of the evidence
           about what happened.

           (Submissions, 14 April 2015, at p. 161)




                                                       13
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of a casino over the past nine months itself constitutes a separate and independent material

breach of Section 6 of the Settlement”.12


30.        In the further alternative, the Claimant accuses the Respondent Government of

attempting to mislead the Tribunal by submitting a “doctored” site map for Savan City and

“the Tribunal should need no more than that to determine that Laos is liable.”13


(iii)      The Flat Tax Arrangement

31.        The Claimant’s previous 5-year FTA with the Government expired on 31

December, 2014.


32.        The Settlement contemplated the negotiation of a new Flat Tax agreement within

45 days of 15 June 2014. The Claimant, having filed the present Application on 4 July

2014, declined to join in the agreed process to arrive at a new Flat Tax Agreement. It

argued that because of the Government’s alleged breach of the Savan Vegas monopoly

rights, the contractual arrangements made in the Settlement were, as a matter of law,

nullified. The Government’s breach of the monopoly rights therefore had the knock-on

effect of denying the Claimant the benefit of a new FTA as well as the opportunity offered

by the potential development of the Thakhet site.


33.        In the result, Savan Vegas has paid no income tax on casino revenues or earnings

since 1 January 2015. It also withheld employment tax from January 1, 2015, until the




12
     Claimant’s Submission, 27 March 2014, para. 11; Evidence of John Baldwin, 14 April 2015, p.20 ll 12-17

13
     Claimant’s Submission, 27 March 2014, para. 15


                                                      14
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week prior to the Tribunal’s Singapore hearing on 13-14 April 2015, at which point Savan

Vegas paid employment tax said to be owing of approximately USD335,000.14


IV.         THE EVIDENCE DOES NOT ESTABLISH THE ALLEGED BREACH OF
            THE SAVAN VEGAS MONOPOLY RIGHTS

34.         The Claimant contends that the Government has approved and granted permission

to build and operate a rival casino in the “Savan City” project adjacent to the Savan Vegas

Hotel and Casino in Savannakhet Province.


35.         In the Tribunal’s view, the evidence does not justify any such conclusion.


(i)         The “Savan City Project”


36.         The Government, in 2003, established a Special Economic Zone (SEZ) adjacent to

what became the Savan Vegas Hotel and Casino property. The SEZ is administered by the

Savan SENO Special Economic Authority, (“the SEZ Authority”), a Government entity.


37.         Little if any development of this SEZ has occurred since 2003.


38.         In 2007, the SEZ Authority entered into an agreement for the development of a

portion of the SEZ called Site A with a private developer, the Thai Airports Ground

Services Co. Ltd. [“TAGS”], under which a new operating company (eventually called




14
      Baldwin testimony 14 April 2015, p. 5, ll 9-15


                                                       15
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“Savan City”) would be formed.15 For ease of reference, the 2007 Agreement will be

herein referred to as “the 2007 Savan City PDA”.


39.        Savan City, as it is now called, is owned 70% by private interests, who were

responsible for raising the funds and developing the Project, and owned 30%, directly or

indirectly, by the Government.


40.        The 2007 Savan City PDA attached a Master Plan for development. Over the

ensuing years, TAGS failed to produce a viable development for Site A.


41.        Between 2008 and 2012, the Claimant, through Sanum attempted to promote a

development on site A.16 In 2013 Sanum submitted a proposal of about 200 pages for

development of Site A to the Deputy Prime Minister. This was not accepted.


42.        In 2014, Savan City put together a development proposal for Site A in conjunction

with a Malaysian private developer, Asean Union Inc.


43.        At a press conference in Vientiane, the capital of Laos, on 26 June 2014, Savan

City and Asean Union announced the new $10 billion project. The project was based on

three development agreements for a portion of Site A that included an agreement for a

financial centre17 that would offer “off-shore” banking services (herein referred to as the




15
  The Agreement is dated 13 June 2007 and made between the Savan SENO Special Economic Zone
Authority [“SEZA”] and TAGS

16
     Evidence of the John Baldwin, April 14 2015, p. 24, ll 13-18, Exhibit c-272, p. 25, ll 1-5;

17
 Joint Venture Agreement dated 2 May 2014 in respect of establishing the ASEAN Union Bank between
ASEAN Union Inc. and Savan City Co., Ltd. (Exhibit C-887)


                                                        16
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“Asean Bank Agreement”, a project that would require changes in Laotian banking law),

an agreement for a substantial resort18 (herein referred to as the “Entertainment

Complex” agreement), and an Agreement to establish “Savan Gateway”, a development

that included a shopping centre, Tourist Information Centre, duty free shopping, a petrol

station and other facilities.19


44.        The Master Plan attached to the Asean Bank Agreement20 and the Entertainment

Complex Agreement21 designated part of the site as the location of a casino. The casino

designation in the Master Plan is heavily relied upon by the Claimant to prove its case.


45.        At the very public “signing ceremony” in Vientiane, the promoters announced a

new “US $10 billion” project, to be called Asean Paradize Savan City. As stated, the Vice

President of the National Assembly attended the signing ceremony and welcomed the

potential $10 billion investment. The private promoters hoped to develop a new casino

close to the Savan Vegas Hotel and Casino, but there is no evidence the Vice President was

aware of the casino objective. The promoters’ press release on that day did not make

explicit reference to a casino:


                   “The Integrated Entertainment resort, will become a major
                   tourism attraction for Laos with theme parks, recreation,




18
   Joint Venture Agreement dated 2 May 2014 between ASEAN Union and Savan City in respect of
establishing the Asean Union “Entertainment Resort” (Exhibit C-792)

19
  Joint Venture Agreement dated 28 May 2014 between ASEAN Union and Savan City in Respect of
Establishing the Savan Gateway (Exhibit C-793)

20
     Exhibit C-887, 2 May 2014

21
     Exhibit C-792, 2 May 2014


                                              17
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                   hospitality and food, and our objective is to rival some of Asia’s
                   top entertainment regions, as we combine Laotian hospitality with
                   modern entertainment concepts and attractions”.22



46.        The Claimant learned about this announcement in a report published in The Nation,

a Thai newspaper, on 27 June 2014, which did refer to a casino, as follows:


           Malaysian investor ASEAN Union Group has launched its second venture
           overseas – the Asean Paradize Savan City – in Laos with a total investment of
           USD$10 billion (B13T20 billion) comprising of offshore financial center,
           entertainment, casino and communities for foreigners. (emphasis added)



47.        The story was taken up by other media including the Asian Gambling Brief which

reported on June 27, 2014 that:


           Work is scheduled to start in July this year on a $10 billion project in Laos
           including an offshore financial centre, a casino and entertainment complex and
           community for foreigners, according to The Nation Newspaper. (emphasis added)



48.        According to the Claimant, it was the published references to the construction of a

rival casino adjacent to the Savan Vegas Hotel and Casino complex that led the Claimant

to trade mutually accusatory correspondence with the Government and, eventually, to file

its Material Breach Application on 4 July 2014.


49.        The Claimant has identified and filed numerous blogs and websites referring to a

casino project on Site A but none of these announcements are sourced with the

Government. However, the Claimant says that if the casino publicity was untrue, the Prime




22
     Exhibit C-796, 26 June 2014


                                                  18
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Minister himself should have publically said so. Instead, the Prime Minister stayed silent,

and the only published denial at the ministerial level was contained in a report in BCI ASIA

on 26 August 2014.23 This was too little and too late, the Claimant says.


50.        In addition, the Claimant relies on the evidence of Ms. Lisa McWilliams, a

businesswoman who lives in Saipan who was sent by the Claimant to visit the premises of

Asean Paradize (the marketing arm of Asean Union) on August 26, 2014, in Kuala Lumpur.

She met with Aubry O’Hara, a senior employee. Ms. McWilliams indicated to him that

she had clients who might be interested in making a direct investment in Site A. Mr.

O’Hara, without prompting, suggested an investment in a casino. Ms. McWilliams held a

similar meeting with Mr. Chew of Asean Union. Her evidence was that:


           “[Mr. O’Hara of Asean Paradize] explained that Savan City would have an Asean
           Paradize Bank, shopping malls, condos, off-shore banking, an entertainment
           centre, hotels and a casino”. (para. 14) (emphasis added)
           “[Mr. Chew of Asean Union] said a casino ultimately would be licensed by the
           Lao Government. . . and he was very confident that it would be built.” (para. 23)
           (emphasis added)




23
     See BCI ASIA 26 August 2014: “Govt says casino not part of Savan City project.”

           The government has confirmed that there has been no agreement reached for a casino to operate
           under the Savan City project, in the Savan-Seno Special Economic Zone (SSEZ) in Savannakhet
           province.
           The Secretariat Office of the Lao National Committee for Special Economic Zones (S-NCSEZ)
           issued an official letter recently, denying a June 27 report by Thai media (The Nation) that a casino
           will be incorporated in the development.

                                                      *     *   *   *

           Vice Governor of Savan-Seno Special Economic Zone Authority Mr. Thongsay Sayavongkharmdy
           told Vientiene Times yesterday that he wondered howt he media (the Nation) got information about
           this project, saying that their information about the casino is inacurate.

                                                       19
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        There is no reason to doubt the witness statement of Ms. McWilliams. However,

it simply confirms that ASEAN Union and its affiliates were doing whatever they could to

promote development of the site. If the prize of a casino attracted investment so much the

better. Ms. McWilliams’ evidence does not establish any grant and approval of permission

for a rival casino that can be attributed to the Government.


51.     Similarly, the Claimant relies on the evidence of Mr. Eugene McCain, a developer

based in Phukhet, Thailand, who was sent by the Claimant to visit the premises of Asian

Engineering Consultants (“AEC”) in Bangkok on February 16, 2015. He was told about

an AEC project in Savannakhet and was shown a proposed Master Plan of Savan City that

included a casino. His evidence was that:


        “[The AEC management team] explained that there would actually be two casino
        gaming facilities at Savan City.” (para. 11)



        Again, there is no reason to doubt the accuracy of Mr. McCain’s recollection of his

conversation with senior officials at AEC.24 However, promotional efforts by AEC, an

entrepreneurial engineering and planning firm in Bangkok, does not establish any approval

and grant of permission by the Government of Laos.




24
  See the Agreement between Mr. Hassan’s company, Insure Asia and AEC of 25 June 2014 (Exhibit C-
795).


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52.        Mr. John Baldwin, the principal of the Claimant, acknowledged in cross-

examination that he had no personal knowledge of any such Government approval.25


53.        Moreover, as stated earlier, Article 9(24) of the 2007 Savan Vegas PDA

contemplates that applications could be submitted “by any parties or entities” for a new

casino licence in the Claimant’s monopoly area, but approval thereof would require the

“consent and approval” of both the Government and the “authorized investors who have

management rights” [i.e. Sanum itself, which is a subsidiary of the Claimant]. To the extent

that Asean Union was attempting to round up funding for a casino project on Site A prior

to making such a submission to the Government, there was no breach of the 2007 Savan

Vegas PDA, to which in any event, of course, Asean Union was not a party. In theory, at

least, Sanum might have given its consent, as indeed in 2013 Sanum discussed a joint

arrangement with Madam Kozy’s slot machine clubs within Sanum’s exclusive territory,

as described below.


(ii)       The Doctored Evidence

54.        The Claimant alleges that the Government attempted to mislead the Tribunal with

a “doctored” version of the Site A plan attached to the 2014 Asean Bank Agreement and

the 2014 Entertainment Complex Agreement. The new Plan, produced shortly before the

Singapore hearing, substituted the designation “CJHQ” for the word “casino” on a cross-




25
     Evidence of John Baldwin, Transcript 14A, p. 34, ll 3-6.


                                                      21
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hatched portion of the Site Plan.26 The “doctored evidence” was so serious a matter, the

Claimant says, as to justify rescinding the Settlement.


55.         In the Tribunal’s view, the evidence does not warrant or justify this allegation. The

Site plans attached to two of the three Asean Union Agreements do indicate a site for a

casino. Mr. Chanchai in paragraph 11 of his 18 December 2014 statement acknowledged

this fact.27 The Claimant’s position was shown to be correct.


56.         When Mr. Chanchai was subsequently asked by counsel for the Respondent

Government for a clearer copy of the original site plan, Mr. Chanchai says he decided that

the designation of a casino should be removed from the map because it was misleading,

and he did so. He testified (as translated) in cross-examination as follows:


            I changed this map because when there are problems, Mr. Thongsay asked me to
            submit the whole document for him to double-check whether I have any agreement
            with Asean Union. When Mr. Thongsay consider and then he complained that the
            casino, why it is under the plan, casino is the activity that the Government is not
            allow, so please do not deviate or to mislead people there is casino, so I have to
            eradicate it so that it is correct. We have this new plan.28



57.         The Claimant objects that the “new plan” was not identified as a “new plan” when

transmitted to its counsel but erroneously passed off as a legible copy of the original plan.




26
     Transcript, 13 April at p. 32

27
     Chanchai witness statement dated 18 December 2014, para. 11:
           When we were drafting the agreement at the last minute, I
           placed a map that showed a hotel with a casino labelled on the
           map in the agreement because it was an old one in my files.

28
     Transcript, 13 April, p. 188, ll. 2-11.


                                                     22
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Be that as it may, Mr. Chanchai’s admission with respect to the word “casino” was already

in the record, and whatever miscommunication occurred when the map was provided to

the Claimant in regrettable but of no great probative value.


58.     The Claimant also contends, based on Mr. John Baldwin’s evidence, that Savan

City would not have announced the $10 billion project unless the casino had been

approved.


59.     Whatever may be Mr. Baldwin’s experience, it is clear that Savan City and Asean

Union did not comply with such a prudent “practice”. They were prepared to make

announcements before the grant of necessary licenses and approvals. This is confirmed by

the fact that on 26 June 2014, the Asean Union itself announced not only a casino but the

establishment of a significant “offshore” banking centre on Site A. The banking centre

could not happen without a change in the laws of Laos governing banking. No such change

had been made. Mr. Hassan of Asean Union testified:


               Q.     You have said in your witness statements that you wish to
               develop a financial centre?
               A.      Yes.

               Q.      Inside there? [i.e. Site A]

               A.      That is exactly what I want to do. That is my expertise.

               Q.      You’ve said that you’ve approached the Government of
               Laos to have a financial regulatory laws passed by the national
               assembly?
               A.       Yes, that is right. I submitted six inches of -- few
               thousand pages of laws which I expected them to go through and
               pass for an offshore financial centre to be created.
               Q.     If the national legislature, national assembly of Laos, does
               not pass those laws, does not change the banking regulatory
               environment, will you invest any money in Site A?
               A.      No point in investing there then.

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                    Q.      The answer is no?
                    A.      No.
                    (Transcript 13 April, p. 200, l 14 to p. 201, l. 8) (emphasis added)



           In other words, no changes had been made to the banking laws, yet the promoters

announced the development of an “offshore” banking facility with fanfare on 26 June 2014

as part of a $10 billion investment for which approval had not been secured.


60.        The Tribunal is of the view that no inference of Government prior “grant and

approval” of permission for a casino can be drawn from the promoters’ publicity at the 26

June “signing ceremony”.


(iii)      The “Integrated Entertainment Complex”

61.        The Claimant argues that the expression “integrated entertainment complex”,

which appear in various of the promoters’ documents, is well understood “in industry

parlance” as a euphemism for “a complex built around a casino”.29                     The 2014

“Entertainment Resort” Agreement uses the expression “Integrated Entertainment

Complex” in its preamble, as does more recent promotional material for “Savan Eco-City”.

Therefore, the Claimant says, a casino is still in the plan for Site A, albeit camouflaged by

an euphemism.




29
     Claimant’s Submission,, 7 March 2015, at para. 2


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62.      In the Tribunal’s view, the Claimant puts more weight on this argument than is

plausible in light of all the other evidence.


63.      Whatever may be the understanding of the phrase “integrated entertainment

complex” in some circles, this meaning was not acknowledged by the aspiring promoters

of Savan City, neither of whom had any particular experience in the gambling industry.

The Government witness Mr. Thongsay denied any such connotation in “our country”. He

testified as follows:


                Q.       Did you ever try to understand what the words “integrated
                entertainment resort” or “integrated entertainment complex”
                meant in the world of tourism and gaming?


                A.        The meaning of “resort” or “comprehensive” - or
                comprehensive, or “integrated entertainment”, I do not understand
                how they interpret it in other regions, but for our country, it mean
                that it is related to promotion, tourism promotion, there are play
                areas for children, there are singing contests, TV programs so that
                people will have enjoyable activities, because our culture is
                related to the culture promoting arts, but not about casino.
                (emphasis added)
                (Transcript, 13 April, p. 156)
         In any event, unless the Claimant could tie its understanding of the euphemism to

the Government, and thereby attempt to link the Government to an implicit “grant and

approval” of permission for a casino (which the Claimant is unable to do), this

terminological argument is of insignificant probative value.


(iv)     Conclusion with Respect to the Activities of the Promoters of Savan City

64.      The Tribunal is satisfied that the private developers involved in Savan City

promoted the idea of a casino on Site A. It seems probable that at the time of the “signing

ceremony” on 26 June 2014, both Mr. Chanchai and Mr. Hassan optimistically thought the


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Government might be persuaded to licence a new casino (however much they may have

denied it when challenged by Madam Bouatha Khatthinda, a senior Government official

on 2 July 2014). Madam Bouatha testified as follows:


                    Q.      Just so I’m clear, at the meeting, did they tell you that they
                    never planned to build a casino in Site A?
                    A.      Yes. I asked them time and time again not to tell a lie
                    because this is something that you can do it very lightly, and then
                    they answer that, “we never have any intention to develop the
                    casino in Site A”, because the largest investor - they’re Muslim -
                    so they consider casino violating their belief, so representative
                    Asean Union said so.
                    Q.      So the representative of Asean Union said it never had any
                    intention to operate a casino in Site A; is that correct?
                    A.        Yes.30

           It seems the developers may not have been candid with Madam Bouatha. But she,

according to her testimony (which the Tribunal accepts), was very candid and categorical

with them. There would be no casino on Site A.


65.        In any event, the intended target of the Claimant’s submissions is not the private

promoters but to implicate the Government. There is no evidence that Mr. Chanchai or

other private developer approached the Savan City Board, or the SEZ Authority or any

other Government entity even to inquire about the potential availability of permission for

a casino. There is no evidence that either Mr. Chanchai or Mr. Hassan was even aware

before June 26, 2014 of the Government prohibition or the Claimant’s monopoly

entitlement.




30
     Evidence of Madam Bouatha, Transcript, April 13, 2015, at p. 114, l. 19 to p. 115, l. 6


                                                       26
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V.      ACTIVITIES OF SAVAN CITY AND ITS PROMOTERS CANNOT IN THE
        CIRCUMSTANCES BE ATTRIBUTED TO THE GOVERNMENT

66.     As stated, the Government, through its SEZ Authority, has a 30% minority interest

in Savan City and three members of the seven members Board of Directors.


67.     The evidence is clear that Savan City is a commercial corporation. It is not the

Government.      The 2007 Savan City PDA lays the foundation for a public/private

partnership. It bears many of the hallmarks of a shareholders’ agreement and establishes a

governance structure that considerably limits the authority of Mr. Chanchai and his

“majority” shareholders.


68.     The 70% majority shareholder, the Asean Union Inc., appoints the Vice Chairman

of the Board who is also the chief operating officer (Mr. Chanchai) and three additional

members, who together constitute a majority of the Board. The Vice Chairman of Savan

City is required to run its day to day operations “in accordance with policies and strategies

approved by the Board of Directors”, but only the Board itself is authorized to make “major

decisions”. In particular, the 2007 Savan City PDA provided that:


        In any Board of Directors meetings, the representatives from “both parties” shall
        attend and decisions on any major issues shall be made based on the consensus
        principle:
        The Board had the right and duty to consider and approve investment operational
        plans of the Company.




                                               27
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69.         The uncontradicted evidence of Mr. Thongsay Sayavongkhandy, a Government-

appointed Director of Savan City, was that in fact that the Board had not met “for a number

of years” because implementation of the Site A project was not “progressing”.31


(i)         Mere Ownership of a 30% Minority Interest is not “Control”

70.         It is elementary that 30% of the voting shares of a corporation, and a minority of

seats on the Board of Directors, does not confer “control”. Of course, the majority

shareholders would be conscious in their decision making of the existence of such a

sizeable 30% minority, especially when the minority shareholder is the Government of

Laos.


71.         Moreover, the Claimant points out, a fourth Board member, while not a

Government employee, is “intimately connected to the Lao Government and a close

relative of a number of senior and powerful Lao officials”.32


72.         The evidence of Madam Bouatha, head of the SEZ Secretariat, was that the

Government representatives played a passive role in public/private partnerships in SEZs

because of their inexperience:


            “We never take control, both because of our limited shareholdings and because we
            depend on the expertise and experience of our investing partners to run their
            business. We want our officials who serve on boards to learn the best practices so




31
     Transcript, 13 April, 2015, p. 128, ll 1-6.

32
     Witness Statement of John K. Baldwin, 27 March 2015, para. 6


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           when the concession terminates and reverts to the Government, we will have been
           training our officials.”33



73.        Similarly the Government official most intimately involved in the affairs of Savan

City, Mr. Thongsay testified (in translation) in the course of cross-examination as follows:


           The press release broadcasted by Asean Union, they did not present to the board of
           director and they do not present it to our SEZ management, so it is beyond our
           jurisdiction and it not official document for government to be recognised on.
           (Transcript, April 13, 2015, p. 139, ll. 2-7)


                                            *        *       *
           In fact, I have not contacted with Asean Union, because Asean Union, they are not
           the partner of the government. (Transcript, April 13, 2015, p. 137, ll. 5-12)



74.        Mr. Thongsay’s attitude (and the Tribunal has no reason to doubt his description of

the process) was simply that if the “private” partners brought forward a project, it would

be processed in accordance with Government requirements.


75.        It is to be noted that on 28 June 2013, a year before the events in question here, a

Directive was issued to all SEZs confirming that they had no authority to licence new

casinos.


           There must not be any authorization for establishment of casino or gambling
           related activities in the Special Economic Zones except for the agreements that
           have already been signed with the Government.34




33
     Witness Statement of Madam Bouatha, 2 April 2015, para. 14

34
  Laos Ex. 11, 28 June 2013. Letter from Deputy Standing Head of SEZs to the Senior Management/Board
of Directors of SEZs


                                                    29
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           The Claimant points out that this Directive did not purport to preclude the Prime

Minister’s office from granting permission. On the other hand, the bureaucratic road to the

Prime Minister’s office lies through Madam Bouatha, who testified that no application for

a casino was made by or on behalf of the developers of Site A. There is no evidence of

anyone following a different path to the Prime Minister’s office and the Tribunal cannot

proceed on the basis of Mr. Baldwin’s unsupported speculation and innuendo that some

such “unofficial” approach may have been made.


(ii)       No Board of Directors Meeting of Savan City Was Called to Authorize the
           Signing of the 2014 Agreements

76.        The evidence is that the Savan City Board of Directors never met to consider any

of the three 2014 development agreements. The testimony (in translation) of Mr. Thongsay

was as follows:


            “… signing of such contract have not communicated and channelled through the
           board of director of the company, and it is not approved by the Government. So it
           makes it just only signing among the private sector”.35



77.        The Claimant suggests that while the Government was formally in a minority

position in terms of shares and board representation, in reality its influence as Government

would prevail at the Board level on any “major issue”. This may be so, but the evidence

is clear and uncontradicted that no Board of Directors meeting took place.




35
     Transcript, 13 April 2015, p. 133, ll 4-8


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78.        Counsel for the Claimant conceded that it is obvious that Board approval was

required to authorize the three Asean Union agreements.36 The Tribunal agrees. The

requirement in the 2007 Savan City PDA was that a meeting of the Board is to be called

“on any major issues” and that the representatives from both parties “shall attend” and

decisions “shall be made on the consensus principle”. Moreover, as stated, the Board had

the right and duty to consider and approve investment plans of the Company. On the

evidence, then, corporate approval was required and no corporate approval was given.


79.        The Claimant’s argument was that either a meeting of the Savan City Board was in

fact held as required and approval was in fact given to the Asean Union Agreements, and

therefore that the Government witnesses were lying, or that in Laos corporations operate

freely outside the framework of their governing laws. The more plausible conclusion,




36
     Counsel for the Claimant submitted:

           It’s in this context also that you have to consider the question of whether or not there was board
           approval. You have heard Lao’s witnesses repeat many times that there was not board approval,
           that there hadn’t been a meeting in years and therefore all these government representatives on the
           board had never seen the agreements and did not know what the project was all about. That is why
           they have to deny that there was any board approval.

           Well, we also saw and you saw yesterday, Mr. Thongsay confirmed and Mr. Khanpheth confirmed
           that the board of directors has to approve any major agreements. You saw that in the 2007 agreement
           in Article 6, you also saw in Article 10 that any hiring of a contractor had to be informed and
           bringing in of a new partner had to be approved.

           It is impossible to believe that the three agreements that bound Savan City to this project, and that
           realized the goals of Savan City - - these were binding agreements, these were not MOUs - - that
           those binding agreements are not operative agreements that had to be approved by the board of
           directors. The language of Article 6 in that 2007 agreement, which both sides agree is the operative
           document, made that clear.

(Submissions, 14 April 2015, p. 162, l 7 to p. 163, l. 6)


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however, is that no meeting of Directors was held, no approval was given, and the Asean

Union Agreements were unauthorized by the Savan City corporation.


(iii)       There is no Evidence that Officials in the Prime Minister’s Office Received
            Any Application for the Approval and Grant of Permission for a Rival Casino

80.         The evidence of Madam Bouatha was that the approval for any new casinos licences

would have to be decided at “a meeting” of the Prime Minister and Deputy Prime Minister.

Such applications would be processed through her office as well as the Ministry of

Planning and Investment.37 She testified that no such applications were ever made with

respect to Savan City.38 The Tribunal has no reason to disbelieve her testimony.


VI.         INTERNATIONAL LAW PRINCIPLES OF STATE ATTRIBUTION DO
            NOT IMPOSE LIABILITY ON THE GOVERNMENT

81.         It is clear that a minority shareholding in a corporation is not sufficient in

international law (as well as domestic law), of itself, to attribute the acts of a corporation

to its shareholders.           The result is no different where the minority shareholder is a

Government. Professor (now Judge) James Crawford’s Commentary on Article 8 of The

International Law Commission text so states:39




37
     Ibid., p. 124, l. 22

38
     Transcript, 13 April, 2015, p. 110, l. 16, p. 118, ll. 12-15

39
   See James Crawford, The International Law Commission’s Articles on State Responsibility: Introduction,
Text and Commentaries, 112-113 (Cambridge University Press 2002). See also Gustav F W Hamester GmbH
& Co KG v. Ghana, (ICSID Case No. ARB/11/28), Award (March 10 2014); EDF (Services) Limited v.
Romania, (ICSID Case No. ARB/05/13), Award (Oct. 8, 2009) at para 190-200; Jan de Nul N.V. Dredging
International N.V. v. Egypt, (ICSID Case No. ARB/04/13), Award (Nov. 6, 2008) at para. 157; Bayindir
Insaat Turizm Ticaret vs Sanayi A.S. v. Pakistan, (ICSID Case No. ARB/03/29), Award (Aug. 27, 2009) at
paras. 119-25


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           In discussing this issue it is necessary to recall that international law acknowledges
           the general separateness of corporate entities at the national level, except in those
           cases where the “corporate veil” is a mere device or a vehicle for fraud or evasion.


There is no evidence that Savan City was engaged in “fraud or evasion”.


82.        Of course, corporate acts may be attributed to the Government if the Government

directs and controls the corporation’s activities,40 particularly if such control is exercised

in relation to the subject matter of the dispute,41 Article 8 stands in part for the proposition

that:


           where there was evidence … that the State was using its ownership interest in or
           control of a corporation specifically in order to achieve a particular result, the
           conduct in question has been attributed to the State.



However, there is no evidence of such direction or control in this case. On the contrary,

both Madam Bouatha of the SEZ Secretariat, and Mr. Chanchai representing the private

developers of Savan City, testified to the contrary, and both were present and cross-

examined on this point at the Singapore hearing.


83.        Madam Bouatha testified in her written witness statement:


           “I can state with personal knowledge that the Government has not had any input
           much less control over the Savan City project for many years. Mr. Chanchai was
           not able to raise any money and there were no decisions to make. There was
           silence from him. The Government was not involved in any way in the




40
   Case Concerning Military and Paramilitary Activities in and Against Nicaragua (Nicaragua), 1986 I.C.J.
14 (June 27), at para. 17; Case Concerning the Application of the Convention on the Prevention and
Punishment of the Crime of Genocide (Bosnia and Herzegovina v. Serbia and Montenegro) (Feb. 26, 2007)
at paras. 396-415

41
     Jan de Nul, supra note 39 at para. 173


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           negotiations or plans Mr. Chanchai made with Asean Union that were announced
           in 2014.”42

84.        Mr. Chanchai made an equivalent written statement:


           “No Government official has had any involvement in design or engineering
           proposals I developed or SV Leasing developed over the past eight years to help
           me try to raise money to develop Site A. No Government official has had any
           involvement in developing websites for the company. No design plans I or others
           developed and the websites were never submitted to the Board or any Government
           agency or department for information or approval”.43

85.        Counsel for the Claimant in cross-examination expressed scepticism to both

witnesses about the source of the drafting of their witness statements but there was no onus

on the Government to establish that approval was not given. The onus was on the Claimant

to establish on a balance of probabilities that approval was given. In any event the denials

of Madam Bouatha and Mr. Chanchai were not shaken in cross-examination.


VII.       THE CLAIMANT’S THEORY OF A “TACIT” APPROVAL AND GRANT

86.        Counsel for the Claimant advanced an alternate theory that even if there was no

“approval and grant” of permission to a rival casino, the political culture in Laos is such

that powerful people and those under their protection may operate businesses under tacit

or “unofficial” permission. Thus, according to the Claimant, an inference of permission

should be drawn against the Government based on the informality of local practice. The




42
     Witness Statement of Madam Bouatha dated 2 April 2015, at para. 14

43
     Witness Statement of Chanchai Jaturaphagorn, 3 April 2015, at para. 5


                                                      34
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Claimant’s evolving Submission on this aspect of the “attribution” issue is made in its 8

April 2015 Submission as follows:


           Claimant has not alleged, and does not allege, that Savan City is a state entity
           whose action “is in law an action by the Government.” Claimant’s case does not
           hinge on proving that the Government itself is responsible for Savan City’s actions,
           including the content of its website. The point is rather that it is not credible to
           suggest that a company in which the Lao Government holds a significant
           shareholding, and enjoys a significant corporate governance presence, could have
           publicized that it would build a casino to future investors, and entered into a joint
           venture agreement to build a casino, without the Government at the very least
           knowing and approving of these facts. [para. 50] (emphasis added]

87.        This position was supported by the evidence of the Claimant’s principal, Mr. John

Baldwin, as follows:


           While Laos’s assertions that it has not granted a competing license might literally
           be true, my years of experience tell me that Laos must have at least tacitly approved
           a competing casino project in Savan City. As I stated previously, no developer
           begins to market a development to investors without at least some assurance that
           it has permission to build what it is marketing.44

           The “prudent promoter” argument has already been dealt with. As to “tacit

approval”, the Claimant relied heavily on the existence of unlicensed slot club(s) owned

by a Laotian citizen, Madam Kozy. In her case, the Claimant argues, Government approval

consisted of no more than a wink and a nod, or simply looking the other way and ignoring

her illegal use.


88.        The Tribunal does not agree that based on Madam Kozy’s situation the words

“approve and grant” in Article 9(24) of the 2007 Sanum PDA can be interpreted so loosely.




44
     Witness Statement of John Baldwin, 27 March 2015 at para. 4


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89.        It seems that Madam Kozy had a relatively modest slot club operating before the

signing of the Savan Vegas PDA in August 200745. The Claimant suggests that Madam

Kozy recently opened another club near the Friendship Bridge. The evidence on this point

is unclear.46 The Claimant also alleges that the Government drew the boundaries of the

SEZ around Madam Kozy’s operations so that the Government could continue to say

(disingenuously) that there were no casinos permitted in the SEZs. Madam Kozy and her

business partner were well connected socially and politically.


90.        The Tribunal is prepared to assume that if Madam Kozy had formal licences for her

slot club(s), the Government would have produced them (as requested) in this arbitration.

The Tribunal concludes that no such formal licence(s) exist.


91.        Madam Kozy’s operation may or may not be evidence of discrimination or

differential treatment. It seems the Government was prepared to shape the SEZ boundary

to leave her gambling operations outside.47 However, the fact that the Government has not

shut down the slot club operations of Madam Kozy, which do not include a full service

casino, is not of sufficient weight to persuade the Tribunal that the words “approve and

grant” in Article 9(24) of the 2007 Savan Vegas Agreement can be stretched out of shape

because of alleged nods, winks and the single established instance of a non-compliant slot

club operator (Madam Kozy). The fact that the Government may have turned a blind eye




45
     Evidence of John Baldwin, 14 April 2015 at p. 16, ll 3-15

46
     Evidence of John Baldwin, 14 April 2015, p. 15, ll 4-7

47
     Madam Bouatha, Transcript, 13 April 2015, p. 108, l. 5 to 108 l. 7


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to a relatively small slot machine operation or two does not mean that there is no formal

casino approval process in place or that Article 9(24) refers to something other than a

formal “approve and grant” process. Mr. Baldwin, the principal of the Claimant, and the

source of the “tacit” approval theory, acknowledged that indeed a formal licencing system

was in place.


                Q.      Who in Laos has the authority to approve a casino
                licence?

                A.      Officially or unofficially?

                Q.     You mean there’s an unofficial chain of command in the
                government of Laos?

                A.      You have a 11-member politburo who are always trading
                favours between each other. If any one of them wants a casino
                licence and is willing to trade with the others for other things they
                want, a casino licence will appear. The president of the country
                who is also – would be able to grant a licence if he wished. The
                head of the party, if he wished to, I believe would be able to.

                Q.       Who had the official authority in the government of Laos
                to grant a casino licence?

                A.        It’s been – I have been told, although I don’t have proof
                of this, that the prime minister must grant casino licences.

                Q.      That is the official position of the government? The prime
                minister is the only authority in the country who can grant a casino
                licence?

                A.      Yes. That is what I have been told.

                (Transcript, April 14, 2015, pp 38-39) (emphasis added)


    92.     It seems therefore that the ability of powerful political interests to “get their

    way” is not inconsistent with the requirement of formal approval and grant of a casino

    license. The argument that certain people may be able to obtain such a license despite

    the general prohibition does not mean the need for such a license would be dispensed

    with. It seems obvious a major investor, particularly a foreign investor, would want a
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        formal written licence before making a major investment in Laotian gambling

        facilities, as did Sanum itself in 2007.


        93.      It should be noted that the Government’s tolerance of Madam Kozy’s slot

        club(s) is not put forward as an independent ground of complaint in the Claimant’s

        Material Breach Application.


VIII. THE GOVERNMENT IS ENTITLED TO RELY ON THE 45 DAY “CURE”
      PERIOD PROVIDED IN ARTICLE 32

94.        Even if it were established that the Government had approved and granted

permission for a casino to operate in Site A with a wink or a nod on or before receipt of the

Claimant’s Notice of Breach on 27 June 2014, the Government had a contractual right to

cure the breach within 45-days of receipt of such Notice and if it did so, there can be no

revival of the ICSID arbitration.


95.        Madam Bouatha testified that when she learned of the Claimant’s complaint that

permission had been granted for a Site A casino, she summonsed Mr. Thongsay,

Mr. Chanchai and a representative of the ASEAN Union, Mr. Ellingham to a meeting on 2

July 2014, and made it clear that “only the Prime Minister” had the authority to approve.48

She says that she was assured that there would be no casino in the Site A development.


96.        Madam Bouatha instructed Savan City and Asean Union to contact The Nation and

at least one other publication to correct the published misinformation about the plan for a




48
     Transcript, 13 April 2015, page 110


                                                   38
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casino. This was done although it appears the demands made no specific reference to the

casino.


97.        Mr. Khanpheth Viraphondet, a senior legal advisor to the Government was

dispatched to Savannakhet by the Prime Minister’s office49 to investigate. He met with

representatives of Savan City and local officials on 4 August and 5 August 2014.

Mr. Khanpheth testified that his investigation confirmed that the Savan City Board had not

met and that no approval was granted or purportedly granted by the local SEZ Authority

or any other Government entity or official. His evidence was not weakened on cross-

examination.


98.        The Tribunal is satisfied that the Government did respond promptly to the 26 June

2014 misreporting in the media about a rival casino and made it clear to the private

developers in Savan City that no permission for a casino had been or would be approved

or granted.


99.        The Claimant contends that the post 26 June 2014 conduct of the Government was

not sufficient to cure the damage done. The Government’s action amounted to shutting the

barn door after the horse had left the stable. Prospective purchasers would already have

lost confidence in the promises of the Government, and even more effective remedial

action would have been futile. The breach, the Claimant says, was incurable.




49
     Transcript, 13 April 2015, p. 72, ll. 15-25


                                                   39
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100.       The Tribunal does not accept the Claimant’s argument that a misleading article in

a Thai newspaper and subsequent and related postings inflicted such destruction on the

value or marketability of Savan Vegas as to make the so-called breach incurable.

Newspapers are known to most people to make mistakes. Blogs sometimes privilege speed

over accuracy. The Government moved promptly to clarify its prohibition to the Savan

City promoters. In any event, the evidence of Greg Bousquette, a merchant banker well

versed in the gambling industry,50 who was contacted by Mr. Baldwin following the

Settlement, affirmed that “it is key that Buyers have comfort that they will get a monopoly

signed off on at the highest levels of the Lao government.”51 (emphasis added) Serious

buyers would not be put off by cyber-gossip.


101.       The Tribunal accepts the evidence of the Government’s expert, Mr. Govinda Singh,

a principal at BDO. In Mr. Singh’s opinion:


           … no investor would only consider a newspaper article. If an announcement is
           made which is not consistent with the market’s understanding of the agreements
           in place, an investor would seek to understand the issues by undertaking further
           investigations.



           Such “further investigations” would have demonstrated that permission had not

been “approved and granted” for a rival casino, and that the Government had procedures

in place to prevent permission for a casino without authority from a “meeting” of the Prime

Minister and Deputy Prime Minister, which on the evidence was not initiated. Mr. Singh




50
     Evidence of John Baldwin, 14 April 2015 at p. 49, l 22 to p. 50, l. 16

51
     C-856, Email from John Baldwin, dated 20 June 2014


                                                        40
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was available in Singapore to be cross-examined but the Claimant elected not to cross-

examine him.


102.       In order to find the Government liable for what the Claimant regards as an in-

sufficiently public Government denunciation of reports and blogs about the “rival casino”,

the Claimant must identify some source of a legal obligation on the part of the Government

to do so. In the Tribunal’s view, the Government did not, as a term of the Settlement,

assume any undertaking, directly or indirectly, to respond publicly to misleading

statements about Savan City in the media, blogs or websites. The Settlement obligation to

complete the sale “on a basis that will maximize Sale proceeds” (Article 13) does not go

so far, nor is such a positive obligation imported into the Settlement by the duty of good

faith performance under New York law.52                      Assuming for the sake of argument the

interpretation of the Settlement most favourable to the Claimant, its case put at its highest

is that the Government was obligated to respect Sanum’s monopoly. On the evidence, the

Government did so.




52
     Counsel for the Claimant put this aspect of his argument as follows:

           Q. Where do you ground that obligation to speak up?

           Mr. Rivkin: it’s grounded in the obligation of good faith and fair dealing which is in every New
           York law contract. It is also grounded in the specific provision of the deed that says they are going
           to work with us to maximize the sale proceeds, and it’s grounded in the way all of the provisions of
           the deed of settlement work together, including this provision, and the clear purpose of Article 6
           and the restating of the monopoly provision was what I have described to you earlier, is letting the
           market know that you can trust Lao with respect to this; you can have a higher degree of trust anyway
           with respect to that, and so it’s based on that..

           (Submission 14 April 2015, p. 166, l. 14 to p. 167, l. 3)


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103.    To the extent such misleading statements in the media and cyberspace might chill

potential purchasers, such purchasers would, as Mr. Singh testified, have looked into the

monopoly issue and verified the facts with senior Government officials. Upon inquiry they

would have been told what Mr. Chanchai and Mr. Ellington were told. No rival casino had

or would be approved.


104.    The Tribunal’s conclusions do not ignore Mr. Baldwin’s evidence about the risk of

powerful people in Laos getting their way at some future date and obtaining permission for

rival gambling facilities (albeit such conduct could expose the Government to a claim for

substantial damages by Sanum under s. 9 (24) of the 2014 Sanum Agreement). However,

the Tribunal is not tasked with speculation about what might happen in the future. In the

Tribunal’s view, the Government’s default, if there was any default in June 2014 or

otherwise as alleged by the Claimant, was cured within the 45 days permitted by the

Settlement.


IX.     THE PROPER INTERPRETATION OF ARTICLE 6 OF THE DEED OF
        SETTLEMENT

105.    In its interim ruling of 19 December 2014, the Tribunal identified two potential

interpretations of Article 6, one of which favoured the Claimant and the other, had it been

adopted, favoured the Government.


106.    In view of the Tribunal’s conclusions on the facts, it is not necessary to revisit the

issue of contract interpretation, which is no longer of practical significance.




                                             42
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X.      DISPOSITION OF THE APPLICATION FOR PROVISIONAL
        MEASURES

107.    The Tribunal deferred to the April 13/14, 2015 Singapore hearing the Claimant’s

Application for a Provisional Measures Order (PMO) to preserve the status quo against

potential Government action between the date of the April hearing and the issuance of a

final award.


108.    By order dated 14 April 2015, having heard the evidence, the Tribunal dismissed

the PMO Application for reasons to follow. The reasons are as follows.


109.    As the Tribunal noted in its Provisional Measures Order of 17 September 2013, a

PMO is only available when the following conditions are met (1) prima facie jurisdiction;

(2) prima facie establishment of the right to the relief sought; (3) urgency; (4) imminent

danger of serious prejudice (necessity); and (5) proportionality. 53                      Each of these

components except for (2) was met in this instance.


110.    With respect to condition (2) however, the Tribunal was satisfied at the conclusion

of the evidence on 14 April, after deliberation, that the Claimant had not established even

a prima facie right to the relief sought.


111.    The Claimant’s application for a PMO was therefore dismissed.




53
   See also Paushok v. Government of Mongolia, Order on Interim Measures at para. 45 (UNCITRAL Sept.
2, 2009).

        “[F]ive standards have to be met”… (1) prima facie jurisdiction. (2) prima facie establishment of
        the case, (3) urgency, (4) imminent danger of serious prejudice (necessity) and (5) proportionality.”

                                                    43
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 XI. DECISION          ON       THE   MERITS     OF    THE     MATERIAL        BREACH
 APPLICATION

112.    For the foregoing reasons the Claimant’s Material Breach Application pursuant to

Article 32 of the Deed of Settlement dated 15 June 2014 as clarified by the Side Letter

dated 18 June 2014 is dismissed.


XII.    DISPOSITION OF COSTS

113.    The Claimant will be ordered to pay the Respondent Government’s costs of the

arbitration. If the parties can agree on an appropriate amount, the said amount will be

incorporated in the Tribunal’s Award. If no agreement on costs is reached, the Respondent

Government is to make its submission on costs to the Tribunal within 60 days of this date.

The Claimant will have 30 days from the filing of that submission to reply to it. The

Respondent will have 30 days from the filing of the Claimant’s Reply to make its response.

The Tribunal will then proceed to make its Award under Article 52 of the Arbitration

(Additional Facility) Rules of ICSID incorporating both the reasons herein on the merits

and its disposition of costs.


Made in Washington, DC.




 Professor Brigitte Stern                     Professor Bernard Hanotiau
 Arbitrator                                   Arbitrator




                      The Honourable Ian Binnie, C.C., Q.C.
                      President



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                 Annex C
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   INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES



                               ICSID Case No. ARB (AF)/12/6

                                   LAO HOLDINGS N.V.
                                        Claimant

                                             and

        THE GOVERNMENT OF THE LAO PEOPLE’S DEMOCRATIC REPUBLIC
                               Respondent




                                DECISION ON COSTS




                                  ARBITRAL TRIBUNAL

                       The Honourable Ian Binnie, C.C., Q.C., President
                           Professor Bernard Hanotiau, Arbitrator
                             Professor Brigitte Stern, Arbitrator




                                  Secretary of the Tribunal
                              Ms. Anneliese Fleckenstein, ICSID



Date of dispatch to the Parties: 5 November 2015
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 I.      INTRODUCTION

1.       In its Decision on the Merits dated 10 June 2015, the Tribunal directed, pursuant to

Article 58 of the ICSID Arbitration (Additional Facility) Rules, that the Government of

Laos People’s Democratic Republic (the “Government”) be awarded costs against the

Claimant, Laos Holdings (the “Claimant”), as a result of the unsuccessful allegation by the

Claimant of a material breach of the Settlement Agreement dated 15 June 2014 and side

letter dated 17 June 2014 (the “Material Breach Application”).


II.      THE LAW AND THE FACTS

      a) The law

2.       Article 58 of the ICSID Arbitration (AF) Rules provides that:

         Article 58
         (1) Unless the parties otherwise agree, the Tribunal shall decide how and by whom
         the fees and expenses of the members of the Tribunal, the expenses and charges of
         the Secretariat and the expenses incurred by the parties in connection with the
         proceeding shall be borne. The Tribunal may, to that end, call on the Secretariat
         and the parties to provide it with the information it needs in order to formulate the
         division of the cost of the proceeding between the parties.

         (2) The decision of the Tribunal pursuant to paragraph (1) of this Article shall form
         part of the award.

3.       This Article gives a broad discretion to the Tribunal in the allocation of costs,

according to all the circumstances of the case.


      b) The facts

4.       Pursuant to the Decision on the Merits, counsel for the Government has submitted

a claim for fees in the sum of USD $684,007.75 and disbursements of USD $78,698.08 for

a total of USD $762,705.83.




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5.     The Material Breach Application was based essentially on an allegation that the

Government had either licensed or agreed to license a rival casino contrary to the 50-year

monopoly conferred on the Claimant’s subsidiary by agreement with the Government. The

establishment of a rival casino, according to the Claimant, destroyed much of the value of

its investment and essentially rendered it unmarketable except at an unacceptable discount

to the fair market of its gambling facilities predicated on a monopoly concession.


6.     The Government’s ultimate success turned on the testimony of public servants and

other witnesses given at the hearing in Singapore on 13-14 April 2015. The Claimant’s

allegation of a breach of its monopoly was shown to be based on erroneous newspaper

reports and the activities of promoters of a rival casino who acted without the

Government’s approval or encouragement.


7.     The Claimant was unable to present direct evidence in support of its Material

Breach Application and such secondary inferences as were available were persuasively

refuted by testimony by the Government officials most directly involved.


8.     A list of the submissions, decisions and hearings in the Material Breach Application

is attached hereto as Appendix “A” to these reasons.


9.     In assessing the Government’s costs of its successful defence, the Tribunal should

attempt to assess a quantum that is fair and reasonable to both parties in all the

circumstances.




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       c) The Government’s bill of costs

 10.      The Government’s skeleton bill of costs is set out in a one and a quarter page chart

 identifying the lawyers or paralegals who worked on the case, their hourly rate and total

 billing for each individual, as well as a statement of disbursements. The document is

 attached as Appendix “B” to these reasons.


 11.      The Tribunal has been provided with little in the way of submissions by either party.


 12.      The Claimant takes the position that considerable time and costs were unnecessarily

 thrown away on an ultimately unsuccessful jurisdictional challenge and related procedural

 issues. To further its argument, the Claimant requested copies of the billing records of the

 Respondent Government to determine how much time was spent on various unsuccessful

 procedures in the course of its defence against the Material Breach Application. The

 records were refused by the Government on the basis that at New York law, being the

 governing law of the Deed of Settlement, “billing time sheets are privileged and are not

 produced to opposing counsel”. The Claimant contests that position. The Tribunal

 considers it unnecessary to resolve this particular dispute and will proceed on the basis of

 the material now made available to it.


III.      THE TRIBUNAL’S ANALYSIS

       a) Reasonableness of time and hours spent

 13.      The Tribunal has taken into account the following considerations:

          (a)    The quantum of costs claimed by the Government is proportionate to the

                 importance and the complexity of the issues at stake.




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         (b)    The amount of time docketed by the various lawyers and paralegals is not

                excessive given the degree of responsibility assumed by counsel acting on

                behalf of the Government and the monetary value of the matters in issue.


         (c)    The rates are reasonable in the surrounding circumstances. Lead counsel

                for the Government are experienced lawyers in matters of international

                commercial law and their rates are in line with rates charged by counsel of

                comparable skill and experience in matters of similar value and complexity.


         (d)    The work’s organisation was efficient. It appears from the distribution of

                hours amongst counsel that appropriate measures were taken by senior

                counsel to delegate to more junior counsel (at a lower hourly rate) work

                suitable to their level of experience.


         (e)    In the end result, the Government was entirely successful on the merits in

                resisting the Material Breach Application of the Claimant.


      b) The unsuccessful jurisdictional challenge

14.      While the Tribunal accepts that the time shown in the Government’s bill of costs

was in fact spent by each of the persons listed, and that their hourly rates are reasonable,

the Government’s success rested almost entirely on the factual evidence presented in

Singapore on 13-14 April 2015. Prior to that date, there was much procedural skirmishing,

particularly in relation to the Government’s unsuccessful challenge to the jurisdiction of

the Tribunal even to embark on its mandate to consider the Claimant’s Material Breach

Application. The Tribunal gave extensive reasons for its conclusion that there was no merit

to this challenge. After the point was decided adversely to the Government, it launched an

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unsuccessful Request for Re-consideration which essentially repeated the arguments

already made and already rejected by the Tribunal in the original (and unsuccessful)

jurisdictional challenge.


15.      In the Tribunal’s view, while the Government was certainly entitled to bring its

jurisdictional challenge, it is not fair and reasonable to ask the Claimant to fully indemnify

the Government against the cost of procedural skirmishing that served no purpose other

than a distraction from the factual issues before the Tribunal.


      c) Are there other elements to take into consideration?

16.      In the Tribunal’s view, the Government case was made in a professional manner

with due regard to economy and efficiency. However, the assessment of the Government’s

costs must take into account its unnecessary and unsuccessful procedural manoeuvres.

Reference should also be made to the fact that the Claimant lost two successive Requests

for Provisional Measures, respectively dated 19 January 2015 and 2 April 2015. The

Tribunal rejected both requests, respectively on 18 March 2015 and 14 April 2015.


17.      As the Government has declined to produce records that would enable the Tribunal

to calculate more precisely the amount of time consumed by its jurisdictional challenges

and related motions, the Tribunal will simply apply a percentage reduction as hereinafter

specified.


      d) Disbursements

18.      The Tribunal has no reason to doubt the justification for any of the disbursements.

As the Government points out, USD $93,849.00 is a reasonable sum for out-of-pocket

expenses for a ten-month case where the client is in Laos, witnesses were in Laos and Kuala

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 Lumpur, and hearings were held in Washington and Singapore. The Claimant requested

 the presence in Singapore of the Government officials for whose expenses it is now being

 called on to pay.


 19.     The Washington hearing (and associated costs), however, was entirely dedicated to

 the Government’s unsuccessful jurisdictional challenge and related issues.


IV.      CONCLUSION

 20.     In light of the foregoing considerations, the Tribunal concludes that the quantum of

 costs claimed by the Government, exceeds what is fair and reasonable to call upon the

 Claimant to pay.


 21.     As the Government has declined to produce any breakdown of the activities in

 respect of which costs are claimed (apart from research on the interpretation of the Deed

 of Settlement under New York law and development of the Government’s position in that

 regard), the Tribunal is left with the option of assessing a global factor to determine a fair

 and reasonable award of costs relative to the work done and the result accomplished.


 22.     The Tribunal concludes that the decision should be 70% of the total claim of

 USD $762,705.83.


 23.     The Tribunal therefore awards to the Respondent costs and legal fees of

 USD $533,894.08.


 24.     Pursuant to paragraphs 31 and 32 of the Settlement Agreement dated 15 June 2014,

 this proceeding remains suspended.




                                               6
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      DATED THIS 5th DAY OF NOVEMBER 2015.




Professor Brigitte Stern                     Professor Bernard Hanotiau
Arbitrator                                   Arbitrator




                   The Honourable Ian Binnie, C.C., Q.C.
                   President




                                         7
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                   APPENDIX A




                               8
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June 17- 19, 2014    Hearing on the merits in Singapore.

June 19, 2014        The proceeding is suspended, pursuant to the parties’ agreement.

July 4, 2014         Claimant's Application for a Finding of Material Breach of Deed
                     of Settlement and for Reinstatement of Arbitration

July 11, 2014      Respondent’s Response to Claimant’s Application
August 1, 2014     Claimant’s Reply on its Application
August 8, 2014     Respondent’s Rejoinder to Claimant’s Application
August 21, 2014    Procedural Order No. 4 (one day hearing would be held in order
                   to hear the parties on the Claimant’s Application for a Finding of
                   Material Breach and for Reinstatement of the Arbitration)
September 12, 2014 Respondent’s Objection to Jurisdiction and Motion to Suspend
September 17, 2014 Claimant’s Response to Respondent’s Objection and Motion
September 19, 2014 Procedural Order No. 5 (affirmed PO No. 4)

October 1, 2014      Claimants' Submission on the Legal Issues Raised in the
                     Tribunals' Letters of 21 Aug 2014

October 14, 2014     Hearing on Claimant’s Application for a Finding of Material
                     Breach in Washington, D.C.
December 19, 2014    Interim Ruling on Issues Arising under the Deed of Settlement
January 19, 2015     Claimant's Provisional Measures Application
January 27, 2015     Respondent’s Request for Reconsideration of Interim Ruling
January 28, 2015     Respondent’s Reply to Claimant's Provisional Measures
                     Application
January 29, 2015     Claimant’s Response to Respondent’s Request for
                     Reconsideration (by letter)
February 2, 2015     Respondent’s Reply to Claimant’s Response to Request for
                     Reconsideration (by email)
February 5, 2015     Procedural Order No. 6 (Request for Reconsideration and
                     Provisional Measures)
February 18, 2015    Claimant’s Response to Respondent’s Reply to Provisional
                     Measures Application
March 10, 2015       The Tribunal and the parties hold a conference call on the Second
                     Request for Provisional Measures
March 18, 2015       Decision on Second Request for Provisional Measures
March 27, 2015       Claimant’s Memorial Submission on Material Breach
March 27, 2015       Following exchanges between the parties, the Respondent files a
                     request for the Tribunal to decide on production of documents and
                     disclosure of information.
March 31, 2015       The Claimant files observations on the Respondent’s request for
                     the Tribunal to decide on production of documents and disclosure
                     of information.

                                         9
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April 2, 2015         The Respondent files a response to the Claimant’s observations of
                      March 31, 2015 and withdraws its request concerning production
                      of documents of March 27, 2015.
April 2, 2015         The Claimant files further observations on the Respondent’s
                      response of April 2, 2015.
April 3, 2015         Respondent’s Reply to Claimant’s 27 March 2015 Submission
April 5, 2015         Procedural Order No. 7 – Decision on Respondent’s request for
                      disclosure of information
April 8, 2015         Claimant’s Reply Submission on its Material Breach Application

April 11, 2015        Respondent’s Reply to Claimant’s 8 April 2015 Submission

April 13 - 14, 2015   Hearing on Merits of Claimant’s Application for Finding of
                      Material Breach

April 14, 2015        The Tribunal decides on Claimant’s request for provisional
                      measures

April 29, 2015        The Respondent files a request for the Tribunal to decide on the
                      admissibility of new evidence – (“Government’s Request to
                      Augment the Record With Claimant’s Judicial Admission”)

May 12, 2015          The Claimant files observations on the Respondent’s request of
                      April 29, 2015 by email.

May 13, 2015          The Tribunal decides on the admissibility of new evidence.

June 10, 2015         The Tribunal issues a decision on the merits.




                                          10
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                   APPENDIX B




                               11
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 273 of 457
                            Lao Holdings N.V. v. Lao People’s Democratic Republic
                                       ICSID Case No. ARB(AF)/12/6

                             Lao PDR Costs from 28 June 2014 to 23 April 2015

                                                              Lawyers' Fees
Description                                           Rate      Hours     Total Fees in US$
Branson, David J.                                   $800,00     652,30         $521 840,00
Willems, Jane                                       $800,00      26,70          $21 360,00
King, Anthony (King & Branson LLC)                  $500,00       0,10              $50,00
Bey, Tiana A. (King & Branson LLC)                  $260,00      69,20          $17 992,00
Branson, John (Parker Poe)                          $250,00     231,80          $57 950,00
Hutchins, Sarah F. (Parker Poe)                     $290,00       0,80            $232,00
Martin, Melissa J. (Parker Poe)                     $140,00       0,30              $42,00
Skinner, Kathryn (Parker Poe)                       $100,00       3,60               $360,00
General Litigation Support

Sanford, Alex                                       $550,00       9,60              $5 280,00
Molo, Steven (Mololamken)                           $550,00       2,00              $1 100,00
Kry, Robert (Mololamken)                            $550,00       5,20              $2 860,00
Melendez, Joel (Mololamken)                         $550,00       4,30              $2 365,00
Interpretation Deed under New York Law

Wallace, Don Jr.                                    $500,00      63,50          $31 750,00
Birch, Nicholas J. (Stewart & Stewart) 2014         $185,00       3,55            $656,75
Birch, Nicholas J. (Stewart & Stewart) 2015         $200,00      98,15          $19 630,00
Public International Law Support


Paralegals
Lagvilava, Tamari (Stewart & Stewart)                $90,00       6,00               $540,00

Sub-total                                                      1177,10         $684 007,75



Disbursements                                                                 Total in US$
Translators Fees                                                                 $4 350,00
Air/Train Fares (Branson, David J.)                                             $48 614,16
Ground Transportation/Parking (Branson, David J.)                                $1 303,13
Hotel & Expenses (Branson, David J.)                                            $21 844,84
Office Supply/ Photocopying (Branson, David J.)                                      $421,86
Telephone/Internet charges (Branson, David J.)                                       $248,25
Visas (Branson, David J.)                                                            $283,00
Telephone Conference (Wallace, Don Jr.)                                               $58,56
Travel (Parker Poe)                                                                  $809,96
Meals (Parker Poe)                                                                   $199,46
Photocopies and printing (Stewart & Stewart)                                          $25,80
Westlaw (Stewart & Stewart)                                                          $539,46


Sub-total                                                                       $78 698,48


                                                      1
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                       Lao Holdings N.V. v. Lao People’s Democratic Republic
                                  ICSID Case No. ARB(AF)/12/6

                        Lao PDR Costs from 28 June 2014 to 23 April 2015

GOL Expenses                                                             Total in US$
GOL Personnel Travel                                                        $5 000,00

Sub-total                                                                      $5 000,00


TOTAL                                                                     $767 706,23




                                                2
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                 Annex D
   Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 276 of 457




IN THE ARBITRATION UNDER THE AGREEMENT ON ENCOURAGEMENT
AND RECIPROCAL PROTECTION OF INVESTMENTS BETWEEN THE LAO
    PEOPLE’S DEMOCRATIC REPUBLIC AND THE KINGDOM OF THE
NETHERLANDS AND THE ICSID ARBITRATION (ADDITIONAL FACILITY)
                           RULES
                         BETWEEN

                                LAO HOLDINGS N.V.

                                       Claimant

                                         AND

                         THE GOVERNMENT OF THE LAO
                            PEOPLE’S DEMOCRATIC
                                 REPUBLIC

                                      Respondent

                            ICSID Case No. ARB(AF)/12/6




   DECISION ON THE MERITS OF THE CLAIMANTS’ SECOND
            MATERIAL BREACH APPLICATION



                             Members of the Tribunal
                   The Honourable Ian Binnie, C.C., Q.C., President
                       Professor Bernard Hanotiau, Arbitrator
                         Professor Brigitte Stern, Arbitrator

                              Secretary of the Tribunal
                          Ms. Anneliese Fleckenstein, ICSID




Date of dispatch to the Parties: 15 December 2017
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     I.     INTRODUCTION

                  i.   The Parties

     1.     The Claimant, Lao Holdings N.V. (“LHNV”), owned gambling assets in Laos

            including the Savan Vegas Hotel and a Casino Complex in Savannakhet Province.

            The Casino is strategically located near the Friendship Bridge which spans the

            Mekong River between Laos and Thailand. The Claimant also had an investment

            in two “slot clubs.” As a result of what it considered to be treaty violations, the

            Claimant LHNV, a company incorporated under the laws of Aruba in the

            Netherlands Antilles, initiated proceedings on 14 August 2012 against the

            Respondent, the Government of The Lao People’s Democratic Republic (the

            “Government”), before the International Centre for Settlement of Investment

            Disputes (ICSID).       The claim was made pursuant to the Agreement on

            Encouragement and Reciprocal Protection of Investments between Laos and the

            Kingdom of the Netherlands, 1 and the Arbitration Rules (Additional Facility) of

            ICSID. 2

     2.     Parallel proceedings were initiated against the Government by the Claimant, Sanum

            Investments Limited, a LHNV subsidiary which operated the Savan Vegas Hotel

            and Casino, before the Permanent Court of Arbitration (PCA) for alleged violations

            of the Agreement between the Government of the People’s Republic of China and

            the Government of The Lao People’s Democratic Republic Concerning The




1
    Signed on 16 May 2003, in force since 1 May 2005.
2
    As amended on 10 April 2006.
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                             7



     Encouragement and Reciprocal Protection of Investments, dated January 31, 1993

     and the UNCITRAL Arbitration Rules as revised in 2010.

3.   While the proceedings before the two Tribunals are distinct and separate, the

     current application was the subject of a joint hearing in Singapore on 3 and 4 July

     2017. Accordingly, for ease of reference only, LHNV will be referred to in this

     Ruling as "the Claimants", as its case is intermingled with the Sanum case. This

     terminology is not to suggest, however, that the two arbitral proceedings are

     consolidated or otherwise conjoined.


          ii.   The Treaty Claims

4.   The Claimants allege expropriation without compensation of their investment in

     gambling projects described in the Project Development Agreement (“PDA”) dated

     10 August 2007 in respect of the Savan Vegas Casino, as well as the slot clubs

     located at the border at Lao Bao and Savannakhet Ferry Terminal (located at the

     Savannakhet/Mukdahan checkpoint) all in Savannakhet Province (collectively, the

     “Gaming Assets”).     The claims also relate to the expected expansion of the

     Savannakhet Airport and opportunities for development in the Special Economic

     Zone at Thakheak.

5.   The Claimants’ original treaty claims were based on a multiplicity of alleged treaty

     breaches by the Government including an 80% tax on casino revenues and what the

     Claimants contended were unfair and oppressive audits of the Savan Vegas Hotel

     and Casino. In the treaty proceedings, the Claimants eventually valued their
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                                 8



         investment loss as of 31 August 2016 at between USD $690 million and USD $1

         billion. 3


              iii.    The Settlement

    6.   The treaty claims were thought to be resolved by a Deed of Settlement concluded

         between the parties during the merits hearing in Singapore on 15 June 2014 (to be

         read together with a Side Letter dated 18 June 2014) (herein referred to collectively

         as “the Settlement”).

    7.   Shortly after the Settlement, the Claimants alleged that the Government had

         committed a material breach of its terms which entitled them to revive the Treaty

         arbitration (“the First Material Breach Application”). The Government contested

         jurisdiction. On 11 August 2014, the Government filed a Notice of Arbitration with

         the Singapore International Arbitration Centre (“SIAC”) pursuant to Paragraphs 35

         and 42 of the Settlement, seeking an order directing Sanum to comply with its

         settlement obligations.

    8.   The ICSID and PCA Tribunals held a hearing on the objections to jurisdiction,

         which were dismissed. However, on 20 January 2015, the High Court of the

         Republic of Singapore held that the PCA Tribunal did not possess subject matter

         jurisdiction under the 31 January 1993 Investment Treaty between Laos and China

         because of the status of Macao and issues of state succession not here relevant, as

         well as the limitation in the BIT, according to which “only disputes over the amount




3
 See Reports of Joseph P. Kalt dated 14 October 2016, 2 December 2016, 22 December 2016 and 15 March
2017.
          Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 284 of 457
                                       9



            of compensation for expropriation can be submitted to arbitration.” 4 This judgment

            was later reversed by the Court of Appeal for Singapore on 29 September 2016. 5

     9.     In the meantime, the ICSID proceedings continued. After hearing the parties on

            the merits, this Tribunal delivered a decision on 10 June 2015, dismissing the First

            Material Breach Application.


    II.     PROCEDURAL HISTORY OF THE SECOND MATERIAL BREACH
            APPLICATION

     10. On 26 April 2016, the Claimant LHNV submitted a Second Material Breach

            Application to the ICSID Tribunal with accompanying documentation.

     11. On 29 April 2016, the Government informed ICSID that it would be submitting a

            response to the Second Material Breach Application which, when filed on 12 May

            2016, included its Objections to Jurisdiction and a request for a procedural

            conference.


                  i.   The Objections to Jurisdiction

     12. On 24 June 2016, the Government requested a stay of the ICSID proceedings

            pending the outcome of the SIAC proceedings. Subsequently, the SIAC Tribunal

            rejected Sanum’s request for interim measures to block the Government’s seizure

            and proposed sale of the Gaming Assets.

     13. On 29 June 2016, the Tribunal held a pre-hearing conference call with the parties.




4
  Government of the Lao People’s Democratic Republic v. Sanum Investments Ltd., [2015] SGHC 15, para.
128.
5
  Sanum Investments Ltd. v. Government of the Lao People’s Democratic Republic, [2016] SGCA 57.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 285 of 457
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     14. On 30 June 2016, the Tribunal issued a Decision on Bifurcation ordering a separate

           hearing with respect to the Government’s objections to jurisdiction.

     15. On 16 September 2016, the Government submitted to the Tribunal a request for

           security for costs.

     16. On 7 October 2016, the Claimant LHNV submitted a response opposing the

           Government’s objections to jurisdiction, the motion to stay the proceedings and the

           request for security for costs.

     17. On 18 October 2016, the Tribunal and the parties held a hearing on the

           Government’s objections to jurisdiction in Brussels, Belgium. At the beginning of

           the hearing, the Government informed the Tribunal that it withdrew its objections

           to jurisdiction as they were now moot.

     18. On 20 October 2016, the Tribunal issued Procedural Order No. 8, amended on 21

           October 2016, in respect of the agreed upon filing dates, rejecting the request to

           stay the current proceedings, but setting out a schedule that was expected to

           accommodate the time required by the SIAC Tribunal to complete its deliberations.

           The Tribunal also rejected the Government’s request for an order for security for

           costs.


                 ii.   The Sanum Proceedings Before the Permanent Court of
                       Arbitration are Revived

     19. On 23 February 2017, the Claimant Sanum filed a Second Material Breach

           Application before the PCA Tribunal, which had been revived, as mentioned, by a

           decision of the Singapore Court of Appeals dated 29 September 2016. 6



6
    Sanum Investments Ltd. v. Government of the Lao People’s Democratic Republic, [2016] SGCA 57.
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                              11



20. On 6 March 2017, the Claimants submitted a request for the production of

    documents. On 17 March 2017, the Government responded. On 31 March 2017,

    the Claimants submitted a reply. On 3 April 2017, the Claimants’ request for

    production of documents was dismissed in light of the parties’ prior agreement to

    forgo a fresh document production phase and the lack of any compelling

    circumstances to order otherwise.

21. On 16 March 2017, the Claimants submitted their Memorial on the Merits of the

    Second Material Breach Application with accompanying documentation. On 5 May

    2017, the Government submitted its Counter-Memorial on the Claimants’ Second

    Material Breach Application, with accompanying documentation. On 31 May 2017,

    the Claimants submitted their Reply and on 21 June 2017, the Government

    submitted its Rejoinder.


         iii.   The Hearing on the Merits

22. On 30 June 2017, shortly before the scheduled hearing of the Second Material

    Breach Application on the merits, the Government filed with this Tribunal the Final

    Award in this dispute from the SIAC Tribunal, Case No. ARB143/14/MV, rendered

    on 29 June 2017 (which had been notified to the parties on 30 June 2017).

23. On 3 and 4 July 2017, the ICSID and PCA Tribunals proceeded with the merits

    hearing of the Claimants’ Second Material Breach Application at Maxwell

    Chambers in Singapore.      At the hearing, counsel for both parties presented

    comprehensive submissions to the Tribunals.

24. On 8 July 2017, the Government announced that it would be formally requesting

    from this Tribunal a Mareva Injunction to secure funds in the escrow account under
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 287 of 457
                                    12



         the control of the SIAC Tribunal to ensure payment to the Government of any

         potential award of costs in the event of a dismissal of the Claimants’ Second

         Material Breach Application. On 9 July 2017, the Government filed a formal

         application for a Mareva Injunction with accompanying documentation.          By

         communication of 10 July 2017, the Tribunal established an expedited schedule for

         further submissions, which were exchanged by the parties.

    25. On 17 July 2017, the Tribunal issued Procedural Order No. 9 dismissing the

         Government’s Application for a Mareva Injunction and reserving any award of

         costs until rendering a decision on the merits of the Second Material Breach

         Application.


III.     BACKGROUND TO THE SECOND MATERIAL BREACH APPLICATION

    26. As stated, the treaty claims were thought to be resolved by the Settlement. The

         Settlement contemplated the sale of the Gaming Assets by the Claimants within 10

         months, failing which a third party agreeable to both the Claimants and the

         Government would assume management of the gambling facilities pending their

         sale on “a basis that will maximize Sale proceeds to the Claimants and Laos” 7

         including assurances to a new purchaser of the Gaming Assets of:

                  (a) a continued gambling monopoly for 50 years in the Claimants’ area of

                      exclusivity8;

                  (b) a “new” flat tax; 9 and



7
  Settlement, Section 13.
8
  Settlement, Section 6.
9
  Settlement, Section 8.
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                                   13



                  (c) discontinuance of pending criminal investigations. 10

     27. It was agreed that the Government would appoint RMC Gaming Management LLC

          (“RMC”) or other suitable agent to assist in monitoring the Claimants’ Gaming

          Assets pending a sale and to assist with the sale itself 11 as described in Annex E to

          the Settlement.

     28. The parties agreed that the Settlement would be “governed by and construed solely

          in accordance with the laws of New York” 12 coupled with a somewhat complex

          dispute resolution mechanism:

                  (a) The Tribunal was given exclusive jurisdiction to revive the “suspended”

                       treaty proceedings in the event of a material breach of a section or

                       sections of the Settlement specified and listed under Section 32, “if not
                                                                                                       13
                       remedied within 45 days after receipt of notice of such breach”;




10
   Settlement, Section 23.
11
   Settlement, Section 9.
12
   Settlement, Section 42.
13
   Section 32 provides:
     The Claimants shall only be permitted to revive the arbitration in the event that Laos is in material
     breach of Sections 5-8, 15, 21-23, 25, 27 or 28 above and only after reasonable written notice is
     given to Laos by the Claimants of such breach and such breach is not remedied within 45 days after
     receipt of notice of such breach. The Sale Deadline and any other relevant time periods herein
     shall be extended by the length of time required to cure such breach. In the event that there is
     a dispute as to whether or not Laos is in material breach of Sections 5-8, 15, 21-23, 25, 27 or 28
     above, the Tribunals shall determine whether or not there has been such a material breach and shall
     only revive the arbitration if they conclude that there has been such a material breach. (emphasis
     added)
Section 35 provides:
     In the event that the Claimants fail to comply with their obligations under this Deed, Laos shall be
     entitled to commence a fresh arbitration to enforce the terms of this Deed. Such arbitration shall be
     conducted in Singapore in accordance with the Arbitration Rules of the Singapore International
     Arbitration Centre for the time being in force. The seat of the arbitration shall be Singapore. The
     Tribunal shall consist of three arbitrators. Each Party shall nominate one arbitrator and the two
     nominated arbitrators shall nominate the presiding arbitrator. In the event that the two nominated
     arbitrators are unable to agree on a presiding arbitrator, the presiding arbitrator shall be appointed
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                    (b) All other disputes arising out of the Settlement would be referred to the

                       Singapore Centre for International Arbitration (SIAC) under Section 35

                       and Section 42. 14

  29. The Government paid no financial compensation to the Claimants under or in

        respect of the Settlement.

  30. Following the execution of the Settlement, Sanum continued to operate the Casino.

        The Government nominated Mr. Robert Russell (the CEO of RMC) on 20 June

        2014 to serve on the Flat Tax Committee (“FTC”), and Sanum nominated Mr. Steve

        Rittvo (Chairman of Innovation Group and adviser to and expert witness for

        Sanum) on 25 June 2014.15


               i.      The First Material Breach Application

  31. However, as stated, on 27 June 2014, nine days after the Settlement and the Consent

        Award issued was executed, LHNV and Sanum gave Notice of a Material Breach

        alleging that the Government’s violations of the Settlement “entitle[d] Claimants




     by the President of the SIAC Court of Arbitration. The language of the arbitration shall be English.
     (emphasis added)
14
   Section 42 provides as follows:
     This Deed shall be governed by and construed solely in accordance with the laws of New York.
     Any dispute arising out of or in connection with this Deed, including any question regarding its
     existence, validity or termination, shall be referred to and finally resolved by arbitration in
     Singapore in accordance with the Arbitration Rules of the Singapore International
     Arbitration Centre for the time being in force, including its emergency arbitration rules. The seat
     of the arbitration shall be Singapore. The Tribunal shall consist of three arbitrators. Each Party
     shall nominate one arbitrator and the two nominated arbitrators shall nominate the presiding
     arbitrator. In the event that the two nominated arbitrators are unable to agree on a presiding
     arbitrator, the presiding arbitrator shall be appointed by the President of the SIAC Court of
     Arbitration. The language of the arbitration shall be English. (emphasis added)
15
   See SIAC Tribunal Award, 29 June 2017, para. 74 (Flat Tax Committee – Independent Member Position
Compensation Package, 20 June 2014).
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          to revive the international arbitration proceedings” 16 under Section 32 of the

          Settlement.

     32. The Material Breach Notice alleged in particular that the Government had violated

          Section 6 of the Settlement by granting or approving the grant of a gaming licence

          to a rival casino or casinos within Sanum’s area of exclusivity, thereby substantially

          reducing the price at which the Claimants’ Gaming Assets could be expected to be

          sold to prospective purchasers.       The breach was said to be so serious and

          fundamental as not to be “susceptible to cure due to the irreversible impact on the

          pool of buyers for the asset.” 17 Moreover, in any event, the Claimants took the

          position that under Section 32 of the Settlement “all deed deadlines in the Deed and

          Side Letter are extended by the length of time required to cure this breach.” 18


               ii.   The Claimants’ Conduct Pending a Decision on the First Material
                     Breach Application and the Impact on Subsequent Events, Rights
                     and Responsibilities

     33. On 2 July 2014, the Claimants sent the Government a further email taking a more

          nuanced position on the suspension of deadlines, namely that while:


                  [n]either the Deed nor the Side Letter expressly addresses what
                  happens with respect to the parties’ performance during the 45-
                  day cure period contemplated by Section 32 of the Deed,
                  …Claimants hereby ‘suspend[ed] further performance under the
                  Deed and Side Letter, at least until we have [the Government’s]
                  response to the Material Breach Notice. (emphasis added)




16
   C-777, Material Breach Notice, Laos Holdings N.V. v. Lao People’s Democratic Republic, ICSID Case
No. ARB(AF)/12/6, p. 2, 27 June 2014.
17
   Ibid, p. 2.
18
   Ibid.
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     34. The Claimants proceeded to suspend (i) their participation in the work of the FT

          Committee to appoint a third member, and (ii) the monthly payments of RMC’s

          fees as required under Annex E of the Deed. 19

     35. That same day, 2 July 2014, the Claimants expressly instructed Mr. Rittvo not to

          participate in the FT Committee. 20

     36. The Government responded by sending Sanum an email, also on 2 July 2014,

          asserting that if RMC were not paid, the Government would apply to SIAC to

          appoint RMC to take control of the Casino and to sell it. 21

     37. Despite what it regarded as bad faith conduct by the Claimants, the Government

          never did take steps to terminate the Settlement as threatened on 2 July 2014 or

          otherwise.

     38. On 4 July 2014, the Claimants filed their formal Application for Finding of Material

          Breach of Deed of Settlement and for Reinstatement of Arbitration in the Treaty

          arbitration.

     39. On 11 July 2014, the Government responded by asserting (and enclosing evidence)

          that:


                  In fact, there has been no grant of a license, no grant of permission,
                  no grant of any kind that will allow the operation of a new casino
                  in Savannakhet, Laos. That is a fact. The Government attaches
                  letters from the relevant officials who have personal
                  knowledge of the recent transactions that state unequivocally
                  that there is no casino in the new development plans. (emphasis
                  added)




19
   C-780, Email to Minister of Planning and Investment and Werner Tsu from David Rivkin, p. 1, 2 July
2014.
20
   C-971, Laos’ SIAC Opening Memorial, para. 42.
21
   C-781, Emails between Christopher Tahbaz and David Branson, p. 2, 2-3 July 2014.
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     40. On 11 August 2014, the Government filed a Notice of Arbitration with SIAC

           pursuant to Sections 35 and 42 of the Settlement, seeking an order directing Sanum

           to comply with its obligations under the Settlement, including a declaration that the

           waiver of overdue taxes contained in Section 7 of the Settlement was no longer

           binding on the Government, because Sanum refused to proceed with the

           establishment of a Flat Tax Committee or to cooperate with RMC’s monitoring of

           Savan Vegas pending the sale of the Casino, plus compensation, costs and interest

           on all monies due.

     41. The Government thereby continued to affirm the Settlement notwithstanding what

           it regarded as the Claimants’ bad faith breaches of the Settlement.

     42. Sanum responded in the SIAC proceedings with a request for:

                    (a) A declaration that the Settlement was void ab initio as a result of the

                        Government’s alleged fraudulent inducement of the Settlement; or

                    (b) Rescission of the Settlement in light of the Government’s material

                        breach of the Settlement;

                    (c) Or, in the further alternative, an award of monetary damages. 22

     43. The SIAC Tribunal temporarily deferred ruling on Sanum’s Motion to Stay the

           SIAC Arbitration pending the results of the Treaty arbitration rulings in the First

           Material Breach Application.




22
     C-825, Response to Notice of Arbitration and Brief Statement of Counterclaims, p. 1, 16 September 2014.
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                                   18



              iii.    The Government Moves Ahead to Establish a Flat Tax Committee

     44. On 5 December 2014, approximately six months after the Settlement had been

         executed, and there being no cooperation from the Claimants regarding formation

         of the Flat Tax Committee, the Government wrote to the President of the Macau

         Society of Registered Accountants pursuant to Section 9 of the Settlement

         explaining that a three-member committee was to be formed to determine a flat tax

         and requesting that the President assist in “secur[ing] the appointment of the third

         member of the Committee.” It was specified that “[t]he person will be a member

         of your Society familiar with the taxation of casinos.” 23

     45. The Government then wrote to Sanum on 24 December 2014 requesting it to

         facilitate


                 … the orderly process of the exchange of control due on 15 April
                 2105, in the event Sanum/LH does not complete a sale or have in
                 place an MOU, as stated in the Deed. 24

     46. On 29 December 2014, while the First Material Breach Application was still

         pending, the Government sent a notice to Mr. John Baldwin and Claimants’ counsel

         advising that if the Claimants did not participate in forming the FT Committee and

         the Flat Tax Agreement expired, Laotian tax law would apply at a rate of 35% plus

         10% VAT. 25



23
   See SIAC Tribunal Award, 29 June 2017, para. 95.
24
   R-014, Letter from Dr. Bounthavy Sisouphanthong to John Baldwin and Christopher Tahbaz, 24 December
2014.
25
   See SIAC Tribunal Award, 29 June 2017, para. 97 (Letter from Laos’ Ministry of Finance to John Baldwin
and Christopher Tahbaz, 29 December 2014):
     The Ministry of Finance has been requested by the Committee Supervising the Sanum Settlement
     to assist in compliance with the tax aspects of the Deed of Settlement (Deed). According to the
     Deed, the parties were to have agreed to a procedure to set a Flat Tax for Savan Vegas and Casino
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  47. The existing Flat Tax Agreement expired according to its terms on December 31,

         2013. 26

  48. The Claimants maintained their position that all rights and obligations under the

         Settlement (including the obligation to pay tax and to cooperate with the

         establishment of a “new” flat tax) were suspended pending a resolution of their

         First Material Breach Application.

  49. On 6 January 2015, RMC, which had previously stopped working “as a result of

         the lack of cooperation and payment from Savan Vegas”, and had declined to step




     Co. (Savan Vegas). We understand that Sanum Investments Limited (Sanum) and Lao Holdings
     NV (LH) are refusing to comply with that procedure.
     It is not acceptable to the Government of the Lao PDR that a large gaming establishment operating
     with the good licenses of the Government simply refuses to pay taxes to the Government … The
     Ministry of Finance requests compliance by Sanum, LH and Savan Vegas with the laws of the
     Government of the Lao PDR in connection with proper taxation of the gross gaming revenues of the
     Savan Vegas casino, operated in Savannakhet Province of the Lao PDR … A failure to execute a
     Flat Tax Agreement within 30 days as required by your agreement with the Government will
     lead to the imposition of tax according to the laws, based upon the requested financial reports.
     We call to your attention that by Presidential Decree, dated 24 October 2014, amending Article 20,
     point 2, of the Tax Law, the tax rate on Savan Vegas gaming revenues has been set to 35%. In
     addition, 10% VAT applies to such revenues.
     If there is no cooperation in submitting the financial reports within 15 days, a Tax Order will be sent
     to Savan Vegas for the last six months of 2014, based upon the new Tax Law and the above stated
     estimate of revenue for 2013. If after payment of taxes so imposed, the parties later agree to a Flat
     Tax with retroactive effect, the Ministry will make adjustments accordingly. (emphasis added)
26
   See Agreement No. 2569 dated 1 September 2009 Regarding Flat Tax Payment for Casino Business of
Savan Vegas and Casino between Tax Department, Financial Management Government Enterprises
Department and Savan Vegas and Casino Company, Ltd.: (LHNV Exhibit C-7)
     In order to assure that the payment of taxes of Savan Vegas and Casino Limited to the Government
     of Lao PDR is fit with actual business activity and is in line with the laws and regulations of Lao
     PDR as issued periodically, both parties agree to make this Flat Tax Agreement for the
     experimental period of 5 years. This agreement shall begin the 1st of January 2009 to the 31
     of December 2013.
     Article 1: Savan Vegas and Casino, LTD agrees to pay the government Flat Tax which
     specifically covers the Casino Business and includes Excise tax, turn over tax, profit tax, Dividend
     tax, and dividend which is included in the Flat Tax (see “Dividend” of below timetable) and is in an
     amount of $745,000 (seven hundred forty-five thousand dollars) per year. The payment shall
     be split into 4 payments, in the period of 3 months each. The Flat Tax shall be paid to the Provincial
     Tax Department of Savannkhet Province but the dividend portion of the Flat Tax shall be paid to
     the Ministry of Finance through State Enterprise Finance Supervision Department. (emphasis
     added)
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        in to act as the “qualified gaming operator” of Savan Vegas, were Sanum to fail to

        sell the Casino by the deadline of 15 April 2015, 27 recommended that in its place,

        the Government appoint San Marco Capital Partners LLC (“San Marco”) and its

        president, Ms. Kelly Gass, to manage and sell the Savan Vegas Hotel and Casino.

  50. On 19 January 2015, the Claimants sought to block the Government’s plan to

        market the Casino by filing a further Application for Provisional Measures before

        the ICSID Tribunal requesting an order prohibiting the Government from:

                (a) Applying a 45% tax (35% plus 10% VAT) on gross gaming revenues to

                     Savan Vegas;

                (b) Seizing the Casino; and

                (c) Taking any steps that would alter the status quo of the dispute pending

                     the resolution by the Tribunal of the Claimants’ First Material Breach

                     Application. 28


             iv.     The Government Moves Ahead with the Sale

  51. Events continued to progress. On 7 March 2015, the President of the Macau

        Society of Registered Accountants appointed Mr. Quin Va, a Macau registered

        accountant and qualified auditor, to be the Chair of the Flat Tax Committee. 29 (The

        Government did not formally retain Mr. Va until 15 May 2015. 30)




27
   See SIAC Tribunal Award, 29 June 2017, para. 99 (Email from Robert Russell (RMC) to David Branson,
6 January 2015).
28
   Claimant’s Application for Provisional Measures, Lao Holdings N.V. v. Lao People’s Democratic
Republic, ICSID Case No. ARB(AF)/12/6, 19 January 2015.
29
   C-971, Laos’ SIAC Opening Memorial, para. 78.
30
   C-979, Flat Tax Committee Appointment Agreement between Laos and Quin Va, 15 May 2015.
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     52. The ICSID Tribunal held a telephone hearing on 10 March 2015 in respect of the

         Claimants’ pending Application for Provisional Measures. During this hearing, the

         Government declared that it would proceed to form the FT Committee without the

         Claimants’ participation:


                The Government contends … that it is open to the Government to
                have the Flat Tax Committee constituted without the cooperation
                of [Sanum] by resorting under Article 9 of the Deed of Settlement,
                to the President of the Macao Society of Registered
                Accountants. 31

     53. On 18 March 2015, the ICSID Tribunal denied the Claimants’ Second Application

         for Provisional Measures, stating in relevant part:


                In the Tribunal’s view, the Claimant has not established a case for
                relief from the collection of the 45% tax on gross gaming revenues
                enacted in October 2014. 32

                                                …

                The Tribunal notes that the Government was quite prepared to
                proceed with the renegotiation of a Flat Tax Agreement under the
                Terms of the Settlement and in fact appointed its nominee early in
                July 2014. The Claimant has refused to participate as part of its
                broader disagreement with the Government of Laos over the status
                of the Deed of Settlement.

                When the Flat Tax Agreement expired on 31 December [2013],
                Savan Vegas became subject to the applicable tax laws of Laos.
                It is common ground that although Savan Vegas has continued to
                do business in Laos, it has not paid taxes either directly or in
                escrow since 1 January 2014. While it now offers to pay in escrow
                the sum of US $429,300 per month retroactive to 1 January 2014,
                there is no obligation on the Government to agree to such a figure
                or to any escrow arrangement.33



31
    Decision on Claimant’s Second Application for Provisional Measures, Lao Holdings, N.V. v. The
Government of the Lao People’s Democratic Republic, ICSID Case No. ARB(AF)/12/6, para. 33, 18 March
2015.
32
   Ibid, para 27.
33
   Ibid, paras. 31-32.
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                                                …

                 … [F]or so long as the Claimant continues to do business in Laos,
                 it can reasonably expect to be bound by the Laotian income tax
                 laws applicable to gambling casinos unless and until a new Flat
                 Tax Agreement is negotiated. 34

     54. On 30 March 2015, the Government again reiterated by letter to the Claimants the

          Government’s intention to take control of Savan Vegas on 15 April 2015, unless

          Sanum had either completed a sale or had signed a binding MOU with a purchaser

          of Savan Vegas. Nothing less would extend Sanum’s sale deadline (under the terms

          of Section 11 of the Settlement). 35 The letter also referenced the decision of the

          ICSID Tribunal to reject the Application for Provisional Measures.                 The

          Government stated that:


                 the Government is not enjoined from proceeding to complete the
                 takeover of the Gaming Assets (and further not enjoined from
                 enforcing the outstanding tax invoices sent to Savan Vegas in
                 January 2015) … We trust Sanum/LH will now agree to
                 cooperate to ensure a peaceful turnover. (emphasis added)

     55. The letter concluded by inviting Sanum:


                 to be in contact with the Ministry of Planning and Investment …
                 to set forth [Sanum’s] proposed compliance with these
                 important terms of the Deed [of Settlement]. (emphasis added)

     56. The Claimants persisted in the view that while their First Material Breach

          Application was still pending, their obligations under the Settlement were

          suspended, as were the rights of the Government to proceed to take control of Savan

          Vegas and sell it.




34
  Ibid, para. 34.
35
  R-018, Letter from Dr. Bounthavy Sisouphanthong to John Baldwin and Christopher Tahbaz, 30 March
2015.
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                                   23



               v.    The ICSID Tribunal Rejects the Claimants’ First Material Breach
                     Application

     57. On 13 and 14 April 2015, the ICSID Tribunal held a hearing on the merits of the

          First Material Breach Application in Singapore. On the evening of 14 April 2015,

          following the conclusion of the hearing, the Tribunal emailed both parties its

          decision not to grant the Claimants’ request for a provisional measure to prohibit

          the Government from proceeding with the take-over of the Savan Vegas Casino:


                 The Tribunal is seized of [a] request for Provisional Measures in
                 support of the Claimant’s Material Breach Application. Having
                 deliberated … the Tribunal concludes that the Claimant has failed
                 to establish all of the requisite elements for such an order, and
                 therefore dismisses the application, with reasons to follow. 36

     58. It later emerged that during the Singapore hearing, 37 Mr. Shawn Scott, Mr.

          Baldwin’s partner, initiated a discussion with a Mr. Angus Noble about the

          potential purchase and sale of the Casino. On the evening of 14 April 2015, at

          23:04, shortly after receipt of notification of the ICSID Tribunal’s refusal of

          provisional measures, and minutes before the expiry of the deadline to sell the

          Casino, Sanum provided to the Government a MOU signed by Mr. Angus Noble

          on behalf of his company, MaxGaming Consulting Services, Ltd. (“MaxGaming”),

          to purchase the Casino.     The Government declined to take the Noble MOU

          seriously and was later vindicated by the SIAC Tribunal which concluded after

          hearing all the evidence that the Noble MOU was not a serious document but a




36
 R- 025, Email from Ian Binnie to the Parties, 14 April 2015.
37
 Hearing Transcript, p. 64, Lao Holdings N.V. v. Lao People’s Democratic Republic, ICSID Case No.
ARB(AF)/12/6, 14 April 2015 (cross-examination of Mr. Baldwin).
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           worthless device designed simply to extend the time of Sanum’s operation of the

           Casino. 38


                vi.     The Government’s Seizure and Sale of the Casino

     59. On 16 April 2015, one day after the expiry of the Claimants’ deadline to sell the

           Casino, the Government took control of the Casino. It appointed San Marco to

           manage and operate the Gaming Assets pending a sale.


               vii.     The Change of Position of Sanum Seeking to Participate in the Sale
                        Process

     60. On 5 May 2015, the Claimants changed direction and proposed to “try to work

           together to sell the property.”      The Government declined the offer.       The

           Government made it clear that the effort to sell Savan Vegas “will not be a joint

           effort; the Government will adopt a procedure to have a due diligence room, and

           create a fair process for accepting bids and evaluating them … the Government will

           not allow … Mr. Crawford [a senior Sanum employee] on the premises. He is free

           of course to meet anyone off the property and say what he wishes, but he must not

           be offered as an agent or emissary of the Government.” 39

     61. Once again, the Government thereby affirmed the agreement to sell the Casino

           under the authority of the Settlement, but to do so on the Government’s own terms.




38
     See SIAC Tribunal Award, paras. 189-191.
39
     Ibid, para. 112.
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                                    25



              viii.    The Ad Valorem Tax Rate of Mr. Va

     62. On 15 May 2015, the Government formally engaged Mr. Va to be the sole member

           of the FT Committee and to determine the tax to be paid by Savan Vegas. 40 The

           Government provided Mr. Va with three documents:                  (i) a Gaming Tax

           Recommendation by BDO that described tax rates in other Asian jurisdictions; (ii)

           a Report to the Flat Tax Committee that described the tax situation with the other

           two casinos in Laos; and (iii) the Taxation Opinion of Professor Rose. 41 No

           documents were passed to Mr. Va by or on behalf of the Claimants, who were

           unaware at the time of Mr. Va’s appointment.

     63. It is not clear to what extent, if at all, Mr. Va was briefed on the “old” flat tax

           arrangement between Savan Vegas and the Government dated 1 September 2009

           which was to be replaced by the “new” flat tax he was to recommend.

     64. On 23 May 2015, Sanum wrote to the Government to indicate that it was prepared

           to resume participation in the FT Committee if the ICSID Tribunal were to deny

           the Claimant LHNV’s First Material Breach Application:


                   In the event that the ICSID tribunal denies the Material Breach
                   Application, then that suspension [of performance of the
                   Settlement] comes to an end and performance of the Parties’
                   obligations under the Settlement resumes … On this basis … our
                   clients write with regard to the immediate steps that should be
                   taken by the Parties to move forward now with the Settlement.

                   FT Committee … Prior to the suspension of the Deed in June
                   2014, the Government had appointed Robert Russell of RMC
                   Consulting to sit on the Committee, while our clients had
                   appointed Steven Rittvo … Please confirm that Mr. Russell
                   remains the Government’s nominee to the Committee. As soon


40
     C-1979, Flat Tax Committee Appointment Agreement between Laos and Quin Va, 15 May 2015.
41
     C-971, Laos’ SIAC Opening Memorial, para. 81.
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                  as we receive that confirmation, Mr. Rittvo will reach out to
                  Mr. Russell in order to agree the third FT Committee
                  Member. 42 (emphasis added)

     65. The Government rejected the proposal (conditional in any event on the outcome of

          the First Material Breach Application) to proceed by way of a three members Flat

          Tax Committee.


               ix.    The Government Announces a New Plan to Sell the Casino

     66. On 29 May 2015, the Government filed with the SIAC Tribunal its Response to the

          Claimants’ Amended Provisional Measures Application.                   The Government

          acknowledged that it had seized the Savan Vegas Casino and intended to proceed

          unilaterally with its sale as follows:

                  (a) the Government will terminate the Savan Vegas Project Development

                      Agreement (2007);

                  (b) the Government will form a Newco;

                  (c) the Government will grant Newco a 50 years concession agreement to

                      operate the Casino, a gaming license and land concession the day it

                      terminates the [2007] PDA;

                  (d) the Government will have an independent expert set a flat tax which

                      will be enshrined in the Newco concession agreement;

                  (e) on completion of the audit [of Savan Vegas], the Government will put

                      Newco on the market for sale by auction; the audit should be complete

                      by mid-July;




42
  C-1050, Letter from Christopher Tahbaz to the Minister of Planning and Investment and David Branson,
pp. 1-2, 23 May 2015.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 302 of 457
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                 (f) when the bids are evaluated, and the highest bid selected, Newco will

                     be sold;

                 (g) the Government will pay Sanum its share of the proceeds;

                 (h) the Government expects to close the sale before year-end. 43

     67. The Government’s proposed procedure did not comply (and did not purport to

          comply) with the terms of the Settlement.


               x.    The Recommendation of a 28% Ad Valorem Tax by Mr. Va

     68. On 9 June 2015, Mr. Quin Va produced his report on the taxation of Savan Vegas.

          He considered the existing Laotian taxation system and relevant Government

          policies, the taxation policy of other countries in the region in relation to gambling

          businesses and their comparative advantages and disadvantages, the current size of

          Savan Vegas, the current market position of Laos in the Asian gaming industry and

          the impact of the gaming policies of Thailand (Savan Vegas’ largest source of

          gamblers). Mr. Va recommended that Savan Vegas be taxed on an ad valorem

          basis at the rate of 28% of gross gaming revenue (“GGR”). 44

     69. The evidence is that during the period between his appointment (15 May 2015 when

          he received the three reports referred to earlier 45) and the issuance of his report (9

          June 2015), Mr. Va had no discussions or communications with the Claimants.

     70. Mr. Va gave no weight (if he was aware of it) to the earlier 1 September 2009 Flat

          Tax Agreement between Sanum and the Government for a “flat tax” of the fixed



43
   Claimant’s Response to Respondent’s Amended Appeal for Provisional Measures, pp. 6-7, 29 May 2015.
44
   C-971, Laos’ SIAC Opening Memorial, para. 81.
45
   R-053, Final SIAC Hearing Transcript, pp. 654-655, 24 January 2017 (testimony of Mr. Va).
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 303 of 457
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          amount of US $745,000 per year for 5 years, ending 31 December 2013, with the

          possibility of a renewal. 46

     71. On 10 June 2015, the ICSID Tribunal issued reasons 47 for its dismissal on the merits

          of the Claimant LHNV’s First Material Breach Application.


               xi.    The Reliance on the Settlement both by the Government and Sanum
                      at the SIAC Hearing on 16 June 2015

     72. The SIAC Tribunal convened a hearing on 16 June 2015 to deal with all pending

          interim relief sought by Sanum. In its decision of 29 June 2015, the SIAC Tribunal

          noted:


                   At that hearing before this Tribunal, both Laos and Sanum
                   specifically reiterated their desire to enforce the Deed to
                   effectuate the sale of the Casino and agreed that the Deed’s
                   fundamental purpose was to sell the Casino at the maximum price
                   possible and divide the proceeds 80/20 between Sanum and
                   Laos. 48 (emphasis added)

     73. It is therefore clear that despite what the Government considered to be the wrongful

          and provocative conduct of the Claimants referred to above, the Government

          elected “to enforce the Deed [of Settlement].” (Sanum had earlier asked SIAC to

          rescind the Settlement.) The Government made it clear it had no desire to return to

          the status quo ante. The SIAC Tribunal continued:




46
   Flat Tax Agreement between the Tax Department, Ministry of Finance, the Lao Government and Savan
Vegas, 1 September 2009 (LHNV Exhibit C-7).
47
   Decision on the Merits, Lao Holdings N.V. v. The Government of the Lao People’s Democratic Republic,
ICSID Case No. ARB(AF)/12/6, paras. 6, 10, 34-35, 10 June 2015.
48
   See C-917, Hearing Transcript, pp. 122-123 (statement of Mr. Branson), 168 (statement of Mr. Rivkin),
16 June 2015.
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                 Laos also stated that it had appointed Mr. Va to unilaterally
                 determine the tax rate and that he had already done so.49

                    On 18 June 2015, Laos terminated the 2007 PDA with Sanum,
                    asserting its right to do so “pursuant to the terms of the PDA, the
                    provisions of the Law on Investment Promotion (2009) and other
                    applicable laws of the Lao PDR” and citing, among other reasons,
                    Sanum’s non-payment of taxes. 50

     74. On 30 June 2015, the SIAC Tribunal denied Sanum’s Application for Provisional

         Measures, seeking a reversion of the operation of the Savan Vegas Casino to Sanum

         and a prohibition of the termination of the 2007 PDA. However, the SIAC Tribunal

         did order the Government to provide Sanum with regular and ongoing financial

         information including any developments in respect of marketing initiatives. The

         SIAC Tribunal also observed that the Government had acknowledged that it had,

         as did its agent San Marco, a “fiduciary duty to Sanum in managing the casino and

         making efforts to obtain the maximum price at a sale.” 51


             xii.       The Government Takes Ownership of the Gambling Assets

     75. On 28 September 2015, the Government issued a decree transferring all assets

         owned by the Claimants (but not the corporate liabilities) to Savan Lao, a new entity

         (earlier identified as Newco) that was solely owned by the Government, in order to

         accomplish the sale contemplated in the Settlement, 52 but on terms decided by the

         Government and fully disclosed to the SIAC Tribunal. In doing so, the Government

         claimed to be acting pursuant to the Settlement.




49
   Ibid, p. 87 (statement of Mr. Branson).
50
   C-921, PDA Termination Notice, 18 June 2015.
51
   C-919, Order on Respondent’s Amended Application, para. 34, 30 June 2015.
52
   Claimants’ Opening, 3 July 2017, citing the Ministry of Finance Declaration of 28 September 2015.
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     76. After receiving draft versions of San Marco’s marketing documents at the end of

          September 2015, Sanum objected to the SIAC Tribunal that, inter alia, the assets

          on offer failed to include the Lao Bao Slot Club and the Savannakhet Ferry

          Terminal Slot Club. Moreover, contrary to Section 6 of the Settlement, the draft of

          the New PDA to be executed by the eventual purchaser contained less favourable

          terms than the 2007 PDA between Laos and Sanum. These departures were not

          contemplated by the Settlement, and according to the Claimants significantly

          reduced the potential sale price. However, the SIAC Tribunal declined to intervene

          with the Government’s proposed course of action. In its view, any actionable

          damages suffered by the Claimants could be satisfied by financial compensation.


             xiii.   The Government’s Failed Auction Process

     77. In March 2016, six prospective buyers were approved by the Government to bid on

          Savan Vegas, including the eventual purchaser, Macau Legend Development Ltd.

          (“Macau Legend”).

     78. At the end of March, the six approved bidders were given access to relevant

          financial and other data, which included the relevant Savan Vegas financial

          statements. 53 In addition, some of the bidders, including Macau Legend, met

          privately with Government representatives.




53
  See SIAC Tribunal Award, 29 June 2017, para. 129 (Email exchange between Steve Croxton and Kelly
Gass, 17-29 March 2016 (when asked when the financial information would be provided, Ms. Gass responds
on the same day that they “will be sending out the instructions for accessing the data room Wednesday or
Thursday USA time.”)).
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     79. In its discussions with Government representatives, Macau Legend switched the

          focus somewhat from the Savan Vegas Casino to a proposed USD $300 million

          development for the 300-hectare land parcel adjacent to the Casino property

          (known as “Site A”). The Site A development was linked by Macau Legend to the

          purchase of the Casino. 54 The Claimants argue that the proposed development of

          Site A, with facilities in competition with the Casino, further diluted the market

          value of the Casino itself.

     80. Macau Legend offered to purchase Savan Vegas for US $40 million, provided the

          auction was cancelled and Macau Legend was given development rights in Site A. 55

     81. The SIAC Tribunal accepted the Government’s evidence that as the “auction”

          process moved forward, and some potential bidders pulled out, the Government

          became legitimately alarmed that in the end Macau Legend would be the only

          bidder at the auction and in consequence be in a position to offer a low bid. The

          Prime Minister met with some of his Ministers and decided that Laos would accept

          Macau Legend’s offer to cancel the auction, and close the deal with Macau Legend,

          provided the sale price was increased from US $40 million to US $42 million. 56

     82. On 6 May 2016, Macau Legend accepted the counter-offer, 57 and, on the same day,

          the Government advised the SIAC Tribunal that it had entered into an agreement




54
    R-078 (SIAC), First Witness Statement of Dr. Vounthavy Sisouphanthong, para. 35,R-080 (SIAC),
Witness Statement of Mr. Sheldon Trainor-DeGirolamo, para. 16, 29 November 2016.
55
   Ibid, paras. 24-26.
56
   R-078 (SIAC), First Witness Statement of Dr. Bounthavy Sisouphanthong, paras. 39-41.
57
   Ibid, para. 42; R-080 (SIAC), Witness Statement of Mr. Sheldon Trainor-DeGirolamo, para. 31.
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          with Macau Legend for the sale of Savan Vegas. Macau Legend and Laos executed

          the New PDA and other relevant documentation on or about 13 May 2016. 58


             xiv.    The Macau Legend Flat Tax Agreement

     83. The Government and Macau Legend subsequently concluded a flat tax agreement,

          pursuant to which Macau Legend would pay a flat tax of US $10 million annually

          for three years following the closing of the purchase, which would then increase

          somewhat thereafter, for two extensions of one year each. 59 As part of the deal,

          Macau Legend also committed to invest in certain infrastructure projects in Laos. 60

     84. While the Claimants note the difference between the flat tax agreed to with Macau

          Legend, and the 28% ad valorem tax recommended by Mr. Va, they also contend

          that the “tax” payments of US $10 million per year in fact amounted in significant

          part to a deferred purchase price, which would go entirely to the Government

          instead of the 80/20 split agreed to in the Settlement.

     85. Meanwhile, as the sale to Macau Legend was being finalized, ST Vegas Enterprise

          Ltd. (“ST Group”), a Lao company that had previously partnered with Sanum (and

          had initially invested in the Casino and slot clubs), communicated to the

          Government its interest in purchasing Savan Vegas. On 15 August 2016, the ST

          Group offered “to buy our properties and business of Savan Vegas and Casino, Ltd

          … with the proposed price of US $100,000,000 (one hundred million dollars), with



58
   See SIAC Tribunal Award, 29 June 2017, para. 136 (PDA between Laos and Macau Legend, 13 May 2016;
Letter of Record for Savan Vegas Hotel, 13 May 2016).
59
   C-964, Executed Flat Tax Agreement between the Ministry of Finance of the Lao People’s Democratic
Republic and Savan Legend Resorts Sole Company Limited, 19 August 2016.
60
   See SIAC Tribunal Award, 29 June 2017, para. 136 (PDA between Laos and Macau Legend, at Annex C,
13 May 2016).
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           additional payments of US $380 million denominated as taxes over the next twenty

           years.” 61 The ST proposal was not pursued by the Government.

     86. On 31 August 2016, Macau Legend funded the Asset Purchase Agreement and took

           possession of Savan Vegas.


                xv.      The Award of the SIAC Tribunal Dated 29 June 2017

     87. As explained above, one of the difficulties created by the framing of the Settlement

           is the allocation of overlapping jurisdiction in some respects between this Tribunal

           and the SIAC Tribunal. The Government contends that its victory at SIAC in the

           Award of 29 June 2017 puts an end to the treaty proceedings by virtue of the New

           York law doctrines of res judicata and issue preclusion.

     88. The majority decision of the SIAC Tribunal was rendered by Judge Rosemary

           Barkett (Presiding Arbitrator) and Mr. Laurence Craig. An opinion dissenting in

           part was delivered by Ms. Carolyn Lamm.

     89. The majority decision of the SIAC Tribunal concluded that the Government had

           not only affirmed the Settlement despite the conduct of the Claimants, but had

           actually implemented the Settlement:

                      (a) The Government “did not breach its obligations under the Deed [of

                         Settlement]” [Award, para. 328(f)];

                      (b) “The Tribunal determines that both Parties are entitled to a share of the

                         purchase price of Savan Vegas, … as defined by the Asset Purchase




61
     Claimants’ Opening, 3 July 2017, citing Letter of Intent from ST Group, 15 August 2016.
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           Agreement between Laos and Macau Legend, proportionate to their

           ownership interest in Savan Vegas” [Award, para. 312(d)];

        (c) “Laos is entitled to receive 20% of the purchase price of US

           $15,341,000 which equals US $3,068,200 and Sanum is entitled to

           receive the remaining 80% which equals US $12,272,800” [Award,

           para. 317];

        (d) In respect of the sale process, “[LHNV and Sanum] were in material

           breach of their obligations under Paragraph 9 of the Deed and Annex E

           of the Deed concerning payment to and cooperation with RMC”

           [Award, para. 328(d)];

        (e) “[LHNV and Sanum] materially breached their obligations under

           Paragraph 10 of the Deed concerning their obligation to take steps to

           sell Savan Vegas” [Award, para. 328(c)];

        (f) The SIAC Tribunal noted that “[LHNV and Sanum] also argue that the

           Deed’s requirement that the tax be ‘flat’ means that the tax should be a

           fixed, unchanging, periodic amount, not a fixed tax rate.” However,

           [the SIAC Tribunal comments] “the Deed does not define ‘flat tax’, and

           when Mr. Va, a qualified professional knowledgeable about the taxation

           of casinos, was asked to determine a ‘flat tax’, he interpreted this term

           to mean a tax with a flat rate … a flat tax is a tax that applies a constant

           marginal rate on income, the Majority does not find Mr. Va’s

           interpretation to be an unreasonable one” [Award, para. 287];

           (emphasis added)
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            (g) “[LHNV and Sanum] materially breached their obligations under

                Paragraph 7 of the Deed concerning their obligation to cause Savan

                Vegas to pay taxes to Laos as of 1 July 2014” [Award, para. 328(b)];

            (h) “We conclude that [LHNV and Sanum] have not proven their claim with

                respect to the exclusion of the Slot Clubs from the sale of Savan Vegas”

                [Award, para. 228];

            (i) “The Deed itself acknowledges that [the Government’s] obligation to

                terminate ‘the current criminal investigations against Sanum/Savan

                Vegas and its management’ only exists ‘provided that the terms and

                conditions agreed herein are duly and fully implemented by [LHNV and

                Sanum] [Award, para. 310];

            (j) “Evidence is undisputed that, for ten months, as delineated earlier in this

                Award, ‘the terms and conditions’ agreed [in the Deed] were not ‘duly

                and fully implemented’” [Award, para. 311];

            (k) “… the Majority concludes that Claimant [the Government] did not

                breach any obligation under these circumstances by failing to grant the

                new buyer the right to extend the runway at Savannakhet” [Award, para.

                239];

            (l) “Therefore, the Majority concludes that, based on the record [LHNV

                and Sanum] failed to demonstrate that [the Government] did not

                maximize the Sale proceeds of Savan Vegas” [Award, para. 295].

90. Extracts of the reasons dissenting in part of Ms. Carolyn Lamm will appear, when

     relevant, below.
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IV.        OUTLINE OF THE SUBMISSIONS OF THE PARTIES ON THE SECOND
           MATERIAL BREACH APPLICATION

                  i.      The Claimants’ Contentions in Support of the Second Material
                          Breach Application

     91. The Claimants note that under New York law “material breach” means that “a party

           has failed to substantially perform its obligations under the relevant contract or

           provision.” 62 Therefore, the “Claimants need only show that the breach was

           material in light of the performance, promised benefit and purpose of each of the

           enumerated sections, not of the contract as a whole.” 63

     92. The Claimants contend that each of the following breaches by the Government,

           taken in isolation, is sufficient to revive the Treaty arbitration:

                       (a) The Government willfully breached Section 5 of the Settlement by

                          physically seizing and unilaterally operating Savan Vegas, by

                          expropriating the Casino's assets by decree and structuring the sale of

                          the Casino so as to deprive Claimant of the 80% value of the proceeds;

                       (b) The Government willfully breached Section 6 of the Settlement by

                          terminating the Savan Vegas PDA and publicizing a new and deficient

                          Project Development Agreement (“PDA”) as part of the auction

                          process. The PDA executed by the Government with Macau Legend

                          provided for fewer rights and more obligations than the original 2007

                          PDA with Sanum.       These modifications made Savan Vegas less

                          valuable as a going concern;




62
     Memorial, para. 111.
63
     Ibid, para. 112.
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                     (c) The value of the “Gaming Assets” was further reduced by failing to

                         include in the sale the Lao Bao Slot Club and the Savannakhet Ferry

                         Terminal Slot Club. The Claimants reject the Government’s contention

                         that it could not sell the “slot clubs” as the licenses were actually held

                         by the Claimants’ former Laotian partner, ST, because, the Claimants

                         contend, the Government was aware at the time of the Settlement of the

                         ownership structure of the slot clubs. The Government keeps a record

                         of the gaming licenses that it has issued. Despite this knowledge of ST’s

                         interest, the Government included the slot clubs in the definition of

                         gambling assets to be sold as contemplated by Section 6 of the

                         Settlement; 64

                     (d) The Government breached Sections 7 and 8 of the Settlement in respect

                         of the “new flat tax” by abandoning the mutually agreed procedure, and

                         imposing a tax which is not a flat tax but an ad valorem tax of 28% of

                         gross gambling revenues.             The Claimants contend that under any




64
     The Government explains the “slot club” issue as follows:
       What actually happened was that it was admitted that ST owned the land on which the slot clubs
       were built, ST owned the buildings in which the slot clubs operated and ST owned the licences
       issued by the government to operate the slot clubs. All Mr. Baldwin had was a contract which is
       called, in the slot club industry, a participation agreement, which allows you to put your slot clubs
       into somebody else’s property under their licence and you share the profits 60/40. That was the
       only 60/40 right Mr. Baldwin had. It was to 60 per cent of the profits of operating the slot machines.
       I wrote to them three times, and it’s listed in the SIAC Award. I wrote to them in July, August and
       September, and each time I said to them, “We have discovered that ST owns the slot clubs”, and
       even the participation agreement cannot be assigned – Sanum was the 60 per cent majority in the
       participation agreement – the agreement expressly says it cannot be assigned unless ST agrees to
       the assignment.
       So we said to them, “The government has no objection to selling the slot clubs, delighted, but we
       can’t sell them if the owner doesn’t agree. So please deal with ST and come up with a solution.” (3
       July 2017, Hearing Transcript, p. 165.)
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           plausible scenario an ad valorem tax of 28% GGR depressed materially

           the value of the Casino. According to the Claimants, the wrongful

           purpose of setting an ad valorem tax was to confiscate value from the

           Claimants and to reduce the Claimants’ share of the proceeds;

        (e) The 28% ad valorem tax is discriminatory as it has only been applied to

           Savan Vegas and not to other casinos in Laos.         Furthermore, the

           Claimants point to the lump sum payments of US $10 million per year

           by Macau Legend for the first three years as proof of what was always

           understood by both the Government and the Claimants to constitute a

           “flat tax.” The breach of the promise of a flat tax was willful and

           altogether destroyed a material driver of the value of the gambling

           assets. The ad valorem tax was non-flat and unreasonably high and

           thereby materially depressed the purchase price;

        (f) Furthermore, the Government misused the ad valorem tax to justify

           seizing a substantial part of the Claimants’ share of the purchase price

           paid by Macau Legend for payment of supposed back taxes;

        (g) The Government accepted a lower price for the sale of the Casino in

           exchange for Macau Legend's agreement to pay post-purchase inflated

           flat-tax payments;

        (h) The Government also breached Section 15 of the Settlement by

           depositing all of the sale proceeds in its own bank accounts or those of

           its own wholly-owned entity Savan Lao rather than in a joint escrow

           account. It then wrongfully diverted US $26,659,000 million of the $42
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           million purchase price to satisfy the Claimants’ alleged tax liability

           which was not lawfully imposed. According to the Claimant, “the fact

           that Respondent deposited the remaining US $15,341,000 in a sole party

           escrow account almost four months after the transaction closed, in an

           effort to make a show of compliance [with the Settlement], does not

           change the fact that Laos failed to comply with the Deed's requirement

           that all proceeds be deposited directly by the buyer into a joint escrow

           account established by both Parties”;

        (i) The Government breached Section 25 of the Settlement by falsely

           representing to prospective purchasers that expansion of the

           Savannakhet Airport runway was not feasible. While the Government

           suggested the possibility of development of a new airport at an

           alternative location, such an “alternative” proposal does not remedy the

           breach. Construction of a new airport will take longer and cost more

           than extending the existing Airport at Savannakhet, and, under New

           York law, a material breach in respect of a unique asset cannot be cured

           by substituting a different asset. Based on their experts' calculations, the

           Claimants contend that the failure to include the airport right in the sale

           resulted in the material loss of nearly a fifth of the Casino's value;

        (j) The Government breached Section 22 of the Settlement in respect of

           Thakhaek development site. The Claimants paid the US $500,000

           deposit required by Section 22 and they say they attempted to negotiate

           in good faith development proposals for the 90 hectares site but were
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                        stonewalled by the Government and have received none of the benefit

                        which was intended and expected.          The Government refused to

                        negotiate the Thakhaek Agreements in good faith and in particular:

                            (a)    refused to include the most valuable 16 hectares of the site

                              on the basis that it was private property, notwithstanding that the

                              16 hectares were included on the map attached to the MOU, in

                              which the Government had implicitly committed itself to pay

                              compensation to the private owners;

                            (b)    rejected without explanation the Claimants’ proposal for an

                              alternative concession arrangement;

                            (c)    based on the valuation of their expert, the Claimants claim

                              that the opportunity to develop the Thakhaek concession was

                              worth as much as US$ 10.52 million;

                   (k) The Government materially breached Sections 23 and 27 of the Deed

                        by commencing and continuing to pursue criminal investigations in US

                        Federal Courts under 28 USC 1782, invoking the suspended allegations

                        of bribery and attempted corruption. The Government’s pursuit of those

                        criminal investigations entitles the Claimant “to revive arbitration

                        proceedings on that basis, in addition to the other material breaches

                        described above.” 65




65
     Memorial, para. 168.
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                                 41



               ii.    The Government Defences to the Second Material Breach
                      Application

  93. The Government points out that the Claimants’ arguments and contentions in this

        Application rest on the same basis and duplicate the legal claims decided against

        the Claimants by the SIAC Tribunal on 29 June 2017. Accordingly, under New

        York law, the principles of res judicata and issue preclusion apply to bar the

        application. 66

  94. The Government emphasizes that in order to revive a pre-settlement claim under

        the Settlement, interpreted in accordance with New York law, “the breach must be

        material, destroying the ‘root of the bargain’” 67 of the entire contract.

  95. The Tribunal has already determined that Section 32 requires a determination “on

        both the existence of the breach and its materiality.” 68 The Government says the

        Claimants agreed at SIAC and in the treaty proceedings that the “root of the

        bargain” is to sell the Casino “on a basis that will maximize Sale proceeds.” 69 The

        SIAC Tribunal concluded that the Casino was in fact sold for maximum value

        within the meaning of Section 13 (which is not a section listed in Section 32 and

        therefore not within the jurisdiction of the Tribunal). The breaches alleged against

        the Government under Sections 5-8 – even if established – would by definition not

        be material because the Claimants did receive the essence of their bargain, namely

        the sale of the Casino “on a basis that will maximize Sale proceeds.”




66
   Counter-Memorial, para. 11. Preclusion is “plainly applicable here because all the facts and legal issues
that serve as the basis of Sanum’s claims in these proceedings were fully pled before, and are soon to be
adjudicated by, the SIAC Tribunal.”
67
   Ibid, para. 28.
68
   Rejoinder, para. 23.
69
   Settlement, Section 13.
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     96. Insofar as the Claimants argue that revival under Section 32 is equivalent to the

           equitable remedy of rescission, the Government points out that entitlement to an

           equitable remedy requires clean hands. The Claimants and their principals do not

           have “clean hands.” They have committed repeated acts of fraud and bribery. Even

           at the date of the Settlement, Mr. Baldwin had no intention of selling the Savan

           Vegas Casino regardless of the price, according to the Government:

                   (a) First, Tak Chun, the possible buyer touted by Mr. Baldwin, at the time

                        of the Settlement, was not an interested buyer. “Sanum concocted this

                        false narrative from the very beginning, during the settlement

                        negotiations, in order to keep control of the Casino. It is only because

                        Sanum said they had a buyer that it was allowed [by the Government]

                        to keep control for 10 months to complete the sale;” 70

                   (b) Second, the First Material Breach Application was a bad faith effort to

                        pressure Laos to renegotiate the Settlement. The strategem failed but

                        “the Decision on the Merits exposed Sanum’s bad faith. The LHNV

                        Tribunal held that the Government did not materially breach the Deed,

                        but also, and more significantly, that Sanum’s decision to unilaterally

                        stop performance and disregard the ‘cure’ provision was wholly

                        unjustified;” 71

                   (c) Third, the Government says the Claimants put forward a fraudulent

                        buyer, Mr. Angus Noble, for Savan Vegas after the First Material




70
     Counter-Memorial, para. 44.
71
     Ibid, para. 50.
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                                    43



                          Breach Application failed. “Claimants induced Mr. Noble to sign this

                          fraudulent document [the MOU], suborned knowingly false testimony

                          from Mr. Noble [by paying him] $10,000 per month for twenty-one (21)

                          months. Sanum submitted the fraudulent Noble MOU to the

                          Government, and more egregiously, to the SIAC Tribunal, all in an

                          effort to further Mr. Baldwin’s objective of maintaining control of the

                          casino;” 72

                       (d) “Rather than accept the Government’s numerous invitations to

                          participate in the transition of control, and to help the Government

                          complete the Deed’s purpose by selling the Casino, Mr. Baldwin chose

                          [to pursue] the Angus Nobel fraud. For Mr. Baldwin, the Noble fraud

                          ‘was the right thing to do’ simply because he desperately ‘needed’ to

                          maintain control – that was the plan all along;” 73 (emphasis added)

                       (e) In late spring-early summer 2015, after the Settlement, Mr. Baldwin

                          hatched a scheme to bribe Government officials in an attempt to recover

                          control of Savan Vegas. The Government points to a draft consulting

                          agreement with an unemployed security guard, Mr. Ben Gersten,

                          disclosing (the Government says) the bribe that Mr. Baldwin was

                          willing to pay to Government officials to permit Sanum to recover

                          control of the Casino;




72
     Ibid, para. 70.
73
     Ibid, para. 73.
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                  (f) The Government says bribery is part of Sanum's regular business model

                       as shown by numerous documented and uncontroverted acts of illegality

                       uncovered or proven after the Settlement was signed.                         It is now

                       established, the Government says, that Mr. Baldwin authorized a bribe

                       of $30,000 to obtain the original 2009 Savan Vegas Flat Tax

                       Agreement, and paid various other bribes to have the Thanaleng Slot

                       Club shut down, to tamper with witness in the court case with his former

                       partner, ST, and to obtain a lottery license in Cambodia.

     97. The Government concludes: “In light of Sanum's egregious bad faith conduct in

          connection with the Deed, the Tribunal should exercise its broad discretion under

          New York law and the ICSID Rules to refuse to aid Sanum, the unclean litigant.”74

     98. In the result, the Government claims the following relief: “the Tribunals must deny

          the Second Material Breach Application and dismiss Sanum's claims in their

          entirety.” 75 Both Tribunals must order “that these arbitration proceedings are

          discontinued and terminated.” 76 Finally, the Government claims indemnification

          under Section 28 of the Settlement. 77




74
   Ibid, para. 101.
75
   Ibid, para. 102.
76
   Ibid, para. 102.
77
   Section 28 provides:
      Each of the Claimants and Laos shall indemnify and keep the other Party hereto indemnified on demand
      and shall defend and, hold the other Party hereto harmless from and against all liabilities, loss, damages,
      expenses and claims of any nature whatsoever by any person for any and all losses or damages arising
      out of or in any way connected with the indemnifying Party’s breach hereof and any negligent or willful
      act or omission of the indemnifying Party hereunder.
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 V.        THRESHOLD ISSUES RAISED BY THE GOVERNMENT AGAINST THE
           ENTIRETY OF THE CLAIMANTS’ APPLICATION

                 i.       Res Judicata and the Alleged Impact of the SIAC Award Rendered
                          on 29 June 2017 on the Jurisdiction of the Tribunal

                   (a)       The Government’s Position

     99. The Government contends that the issues raised by Sanum in the Government-

           initiated SIAC proceedings track the issues raised by the Claimants in the ICSID

           and PCA proceedings. Thus, “LHNV literally cut and pasted their claims from the

           Second Material Breach Application into their Second Amended SIAC

           Counterclaims.” 78

     100. The Claimants’ Second Material Breach Application contains 65 paragraphs, of

           which 35 paragraphs present Sanum’s legal claims, and of these 35 paragraphs, 33

           paragraphs are identical to the text of Sanum’s Counterclaims before the SIAC

           Tribunal. 79

     101. Res judicata and collateral estoppel are plainly applicable here because all the facts

           and legal issues that serve as the basis of Sanum’s claims in these proceedings were

           fully pleaded before, and were adjudicated by, the SIAC Tribunal. 80 The

           Government cites in support of its position, inter alia, the decision of the New York

           Court of Appeals for the proposition that:


                   [I]n general the doctrines of claim preclusion and issue preclusion
                   between the same parties (more familiarly referred to as res




78
   Respondent’s Opening, 3 July 2017.
79
   Counter-Memorial, para. 6.
80
   Ibid, para. 11.
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                  judicata or direct estoppel) apply as well to awards in arbitration
                  as they do to adjudications in judicial proceedings. 81

                  (b)     The Claimants’ Position

     102. The Claimants deny that the SIAC Award precludes the Tribunal from reviving the

          Treaty arbitration under Section 32 of the Settlement. First, the SIAC Tribunal had

          no jurisdiction to consider the only relief claimed before this Tribunal, namely

          whether the Claimants are entitled to revive the Treaty arbitration under Section 32

          of the Settlement. Second, New York procedure does not govern these proceedings.

          Res judicata and issue preclusion questions are to be governed by international law.

     103. In any event, the Government has not established the prerequisites for res judicata

          or issue preclusion for the following reasons: first, the claims do not meet the triple

          identity test applied by international tribunals, (identity of parties, causes of action

          and relief); 82 second, under New York law, “claim preclusion could be invoked

          only to bar a claim that had been or could have been brought in the prior

          proceeding”; 83 third, [t]here are no clear rules under international law as to how,

          when and whether the doctrine of issue preclusion is to be applied as between two

          arbitrations”; 84 and fourth, under New York law, “collateral estoppel [issue




81
   RLA-063, Matter of American Ins. Co. (Messinger – Aetna Cas. & Sur. Co.), 43 N.Y. 2d 184, 189-90, 191
(Ct. App. 1977).
82
   CLA-316, Gavassi v. Romania, ICSID Case No. ARB/12/25, Decision on Jurisdiction Admissibility and
Liability, 21 April 2015, paras. 164, 166:
     164 … From its perspective as an international tribunal formed under the BIT, the Tribunal applies
     international law as the law applicable to these questions
                                                       …
     166 … Under international law, three conditions need to be fulfilled for a decision to have binding
     effect in later proceedings: namely, that in both instances, the object of the claim, the cause of
     action, and the parties are identical.
83
   Reply, para. 61.
84
   Ibid, para. 62.
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          preclusion] applies only if the issue in the two forums is identical, there was a full

          and fair opportunity to litigate the issue in the first forum, and the issue was actually

          decided and necessary to the outcome in the first forum.” 85

     104. The Government’s only reference to an “international” case is Grynberg and RSM

          v. Grenada 86 which was not a case (as here) where the two tribunals were

          constituted under the same instrument, with one tribunal assigned jurisdiction over

          certain issues, and the other tribunal assigned jurisdiction over certain other issues.


                  (c)      The Tribunal’s Ruling

     105. The preclusion issue must be approached from an international law perspective. 87

          The Tribunal was not “constituted” by the Settlement. It was constituted under,

          and derives its jurisdiction from, international treaties. The Treaty hearings were

          suspended (perhaps permanently) by the Settlement, but the Tribunal continues to

          exist “in suspense” as a Treaty Tribunal. A finding of a material breach of one of

          the sections listed in Section 32 is a condition precedent, of course, to any revival

          of the Treaty arbitration, but the fact that the parties have stipulated that “(t)his

          Deed shall be governed by and construed solely in accordance with the laws of New




85
   Ibid, para. 63.
86
   RLA-071, Grynberg and RSM v. Grenada, ICSID Case No. ARB/10/6, Award, 10 December 2010, paras.
2.4.1, 4.6.18.
87
   CLA-293, Gary Born, International Commercial Arbitration, (Second Edition) (Kluwer 2014), para. 3775:
     Nonetheless, as discussed above, there are substantial grounds for doubting that national preclusion
     rules are appropriate in international arbitration, particularly with regard to the preclusive effects of
     arbitral awards. For the reasons already detailed, the appropriate choice-of-law treatment of the
     preclusive effect of awards is to develop and apply uniform international standards of preclusion
     derived from the New York Convention.
Mr. Born’s point was that international tribunals should not resort to national law because it could often lead
to overly technical applications of preclusion. (See Hearing Transcript, R-047, 18 October 2016, p. 23).
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          York” does not transform the Treaty Tribunal into a domestic New York

          commercial arbitration tribunal.

     106. As acknowledged by counsel for the Government at an earlier stage in these

          proceedings, the contractual basis of arbitration jurisdiction distinguishes

          international arbitrations from a court system established under a state constitution:


                  Mr. D. Branson: … there’s a hierarchy, in our court system. That
                  doesn’t exist in international arbitration. So, technically, while
                  you must, under New York law, if you’re a court in New York,
                  apply the doctrines of res judicata and collateral estoppel, you’re
                  not required to apply them. We would have to ask you to apply
                  them as a matter of wisdom and good sense. 88

     107. While the Government took a more aggressive position on this point at the merits

          hearing in Singapore, in the Tribunal’s view, Mr. Branson’ earlier statement is the

          correct analysis.

     108. Even in matters governed by U.S. domestic law, including the law of New York, it

          is for the parties to determine by contract their chosen “scheme of remedies.” Party

          autonomy in arbitration in this respect is affirmed by the jurisprudence cited in the

          American Restatement of Law (Judgments):


                  Assuming that the arbitration procedure has the elements of
                  validity and has become final, it should be accorded claim
                  preclusive effect unless a scheme of remedies requires that it
                  be denied such effect. 89 (emphasis added)

     109. In arbitral matters, the contract governs. The Settlement confers two distinct and

          separate arbitral mandates without creating any preclusive hierarchy in their




88
  R-047, Hearing Transcript, 18 October 2016, p. 18.
89
  CLA-360, American Restatement (Second) of Law (Judgments) Section 84 Arbitration Award (1982),
(March 2017 Update); Chapter 6, Special Problems Deriving from Nature of Forum Rendering Judgment.
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           authority to decide issues within their respective spheres. The Settlement creates

           no rule of paramountcy between the SIAC Tribunal and this Treaty Tribunal. The

           application in these circumstances of res judicata or issue preclusion would be

           contrary to the freedom of contract exercised by the parties.

     110. Acceptance of the Government’s position would set up the proverbial “race to the

           Courthouse.” If the Claimants could get a revival from the Tribunal before the

           Government could get an award in its favour from SIAC, then the Claimants would

           prevail. If SIAC issued a favourable award first, the Government would prevail.

           The scheme of overlapping jurisdiction created by the Settlement does create some

           complexities, but there is nothing in the Settlement to suggest that the parties

           intended the complexities to be solved by a “race to the Courthouse.”

     111. The SIAC Tribunal itself acknowledged the existence of separate mandates to be

           exercised by the SIAC Tribunal and this Tribunal to address different causes of

           action and different remedial relief:


                    Given the contents of the prior decision of the LHNV BIT
                    Tribunal, the Second Material Breach application, and
                    Respondents’ Amended Response and Counterclaims, we cannot
                    conclude, based on the record before us, that there is a substantial
                    overlap of the issues and requested relief before the LHNV BIT
                    Tribunal and the issues and requested relief remaining before this
                    Tribunal. 90 (emphasis added)

     112. The Tribunal has no authority to abdicate in favour of a SIAC Tribunal its Section

           32 mandate to revive or not to revive the Treaty arbitration.




90
     C-962, SIAC Tribunal’s Order on Interim Measures and Requests to Stay Proceedings, 22 July 2016, para.
5.
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                                    50



     113. That having been said, it is equally the duty of the Tribunal to confine itself to the

           sections listed in Section 32 and not to second guess the SIAC Tribunal in respect

           of sections of the Settlement not listed in Section 32.

     114. Thus, for example, Section 9 of the Settlement describes the procedure for the

           determination of the “new flat tax.” The SIAC Tribunal concluded that the process

           adopted by the Government did not violate Section 9. The Claimants contend that

           Section 9 is incorporated by reference into Section 8, but counsel for the

           Government correctly points out the fallacy of this position:


                    If [the Claimants] wanted to make section 9 or the way that the
                    Flat Tax Committee was formed or the way it operated or the way
                    they made a fair and reasonable tax, then get section 9 into section
                    32.

                    We didn’t agree to put section 9 in section 32. You can’t
                    incorporate by reference, when you have two clauses next to each
                    other, one of them is in section 32, the next one is not, and then
                    say, “Oh, this one really is in section 32 because it’s incorporated
                    in section 8.” 91

     115. Any views of the Tribunal about the Government’s compliance with the process

           set out in Section 9 are not relevant because Section 9 is not listed in Section 32.

           On the other hand, the Tribunal is required to determine for the sole purpose of

           revival whether the outcome of the Section 9 process was a “new flat tax” within

           the meaning of Section 8. The differing mandates under Sections 32 and 42 of the

           Settlement are not to be confused (and the legitimate expectation of the Claimants

           thereby negated) by doctrines of res judicata and issue estoppel.




91
     Hearing Transcript, 3 July 2017, p. 175.
  Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 326 of 457
                               51



116. The Tribunal is thus limited in its jurisdiction to a sub-set of sections of the

     Settlement, namely those listed in Section 32. The SIAC Tribunals have no such

     limitation, either in terms of the elements of the Settlement (except Section 32)

     subject to their consideration, or in the type of relief (including financial

     compensation) which they may grant except for the “carve out” from SIAC

     jurisdiction in respect of revival of the Treaty arbitration. Therefore, the “carve

     out” in favour of this Tribunal must be respected.

117. The Government’s objection based on res judicata and issue preclusion is rejected.


           ii.     Did the Claimants Forfeit Any Right to Government Performance
                   Under the Settlement by Their Own Non-Performance?

118. The Tribunal agrees with the Government that during the pendency of the First

     Material Breach Application, and in particular in the period beyond the 45 day cure

     period, the Claimants repeatedly violated important obligations under the

     Settlement, including through their refusal to proceed with the establishment of a

     Flat Tax Committee, to cooperate with RMC’s monitoring of Casino matters

     pending the sale of the Casino, or to cooperate in “the orderly exchange of control”

     of the unsold Casino on 15 April 2015.

119. The issue is whether these breaches of the Settlement preclude the relief sought by

     the Claimants in their Second Material Breach Application.


             (a)      The Government’s Position

120. The Government contends that the Claimants forfeited by their repudiation of their

     obligations under the Settlement any procedural rights under the Settlement to

     participate in the sale of the Gaming Assets. Despite provocation and disruption
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          by the Claimants, the Government proceeded prudently by subjecting the sale

          process to the supervision of the SIAC Tribunal, which endorsed (where it did not

          actually direct) the steps taken by the Government to sell the Gaming Assets. Any

          departures from the process set out in the Settlement were made under SIAC

          supervision in order to salvage a sale “that maximized proceeds.”


                  (b)     The Claimants’ Position

     121. The Claimants say that their obligations under the Settlement were suspended until

          the First Material Breach Application was decided on 10 June 2015. At that point,

          the Government had a choice: treat the Settlement as terminated by reason of

          material breaches by the Claimants, or, notwithstanding such breaches, affirm and

          carry on with implementation of the Settlement. The Government, having elected

          to continue to take the benefit of the Settlement by so declaring and proceeding

          with the sale of the Gaming Assets as it did, was thereby obligated to accept the

          burden of the Claimants’ rights and privileges. 92 As pointed out by the Claimants,

          the Government explicitly affirmed its intention to take the benefits under the

          Settlement:



92
  See Claimants’ Opening, 3 July 2017, citing CLA-367, V.S. Intl’l v. Boyden World Corp., 862 F. Supp.
1188 (S.D.N.Y. 1994):
    When one party to a contract materially breaches the contract during the course of a continuing
    performance, the non-breaching party “has a choice presented to him of continuing the contract or
    of refusing to go on.” Id. (quoting Emigrant Industr. Savs. Bank v. Willow Builders, Inc., 290 N.Y.
    133, 145, 48 N.E.2d 293, 299 (1943)). When the “injured party chooses to go on, he loses his right
    to terminate the contract because of the default.” Apex Pool Equip., 419 F.2d at 562. In short,
    ‘[o]nce the non-breaching party elects to continue the contract, he may not at a later time renounce
    his election and seek to terminate based on the prior breach.”
                                                     …
    Accordingly, based on the findings of fact set forth above, this Court finds that defendant is not
    liable to plaintiffs for breach of contract because plaintiffs elected to affirm the contract by
    continuing to receive benefits thereunder.
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                                   53



          (i) in the Government’s Notice of Arbitration filed with SIAC dated 14 August

             2014, at para. 37;

          (ii) in the Government’s Response to Sanum’s Amended Application for

             Provisional Measures dated 29 May 2015, at p. 26; and

          (iii) in the Government’s Amended SIAC Notice of Arbitration dated 3 June 2015

             at para. 79.

     122. Even after the sale of the Casino to Macau Legend on 31 August 2016, the

          Government repeatedly affirmed its election before the SIAC Tribunal:

                 (i) 14 October 2016: “The Government is entitled to specific performance

                     under Section 16 of the Deed;” 93

                 (ii) 23 December 2016: “The Government is entitled to both specific

                     performance and money damages under the Deed;” 94

                 (iii) 22 January 2017: “The Government fully performed its duties and

                     therefore is entitled to specific performance and damages.” 95

     123. The Government derived substantial benefits from its affirmation of the

          Settlement:

                 (a) It received US $15,341,000 out of the sale proceeds, as well as

                     unfettered access to the Casino’s revenues for over a year;

                 (b) It recovered US $26,659,000 in taxes from the period before the sale on

                     the basis of an ad valorem tax on 28% of gross gaming revenue;




93
   Laos’ SIAC Opening Memorial, para. 91.
94
   Laos’ SIAC Rejoinder, para. 95.
95
   Laos’ SIAC Opening Statement, 7:19-22.
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                  (c) It received US $500,000 as payment to restart the Thakhaek

                        negotiations which led nowhere;

                  (d) In the meantime, the Government has relied on the Section 27 release

                        and suspension of the Treaty arbitration to avoid litigating the alleged

                        treaty violations.

     124. Citing New York jurisprudence, 96 the Claimants contend that “it is black-letter law

          that when one party to a contract materially breaches it, the non-breaching party

          has two options: it can terminate the agreement and sue for total breach, or it can

          continue the contract and sue for partial breach. There is, however, no third option

          allowing the party claiming a breach to invoke ‘self-help’ and only perform those

          obligations it wishes to perform.”


                  (c)       The Tribunal’s Ruling

     125. The Settlement was a compromise under which the Claimants gave up (on

          conditions) their claim to treaty compensation (the merits and quantum of which

          were never determined) in exchange for a process for the sale of the Gaming Assets

          that included substantial rights of participation by the Claimants.

     126. While the Tribunal ultimately found the First Material Breach Application to be

          without merit, the Government thereafter declined the renewed offers of

          cooperation, but instead:



96
   ESPN, Inc. v. Office of the Comm’r of Baseball, 76 F. Supp. 2d 3.83, 398-398 (S.D.N.Y. 1999); V.S. Int’l
v. Boyden World Corp., Global Switching, Inc. v. Kasper, 2006 WL 385315 (E.D.N.Y. Feb. 17, 2006) CLA-
365; Precision Pine & Timber, Inc. v. United States, 62 Fed. CL 635 (2004) CLA-366; 863 F. Supp. 1188,
1197 (SDNY 1994) CLA-367; A.R.P. Films. Inc. v. Marvel Entertainment Group, Inc., 952 F.2d 643 (2d Cir.
1991); Estate of John Lennon v. Leggoons, Inc., 95 Civ. 8875, 1997 WL 346733, 1(S.D.N.Y. 1997); Inter-
Power of New York, Inc. v. Niagara Mohawk Power Corp., 259 A.D. 2d932, 686 N.Y.S.2d 911; Farnsworth
Contracts, Section 8.19 (3d ed. 1999).
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                   (a) assumed control of the Casino;

                   (b) unilaterally carried out preparation for its sale;

                   (c) implemented a procedure to determine the applicable tax;

                   (d) adopted a 28% ad valorem tax;

                   (e) sold the Casino to Macau Legend in a package that included “Site A” to

                       which the Casino licence would be transferred.

     127. The Government clearly affirmed and relied on the terms of the Settlement to sell

           the Gaming Assets and to rid Laos of the Claimants and their managers and

           principals. As emphatically stated by counsel for the Government to counsel for

           the Claimants in an email of 30 May 2015 rejecting Sanum’s belated proposal to

           participate in the Flat Tax Committee:


                   The Government rejects your assumptions and proposals.

                   The Government has stated its position on the overall issues in its
                   Response dated May 29, 2015, filed with the SIAC Tribunal.

                   The Government has no interest in continuing any dealings with
                   the criminals you represent. 97 (emphasis added)

     128. By affirming the Settlement on numerous occasions up to and including the hearing

           on 3 and 4 July 2017, the Government obliged itself to accept the burden as well as

           the benefit of its terms, however distasteful it may have found the obligation to

           continue to deal with the officers and principals of the Claimants. As expressed by

           the dissenting arbitrator in the SIAC Award of 29 June 2017 at paragraphs 5 and 6:


                   Under New York law, a party may not accept the benefits of a
                   contract while refusing to accept the burdens.



97
     C-981, Email from David Branson to Christopher Tahbaz, 30 May 2015.
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                    If there is a material breach, the non-breaching party must choose
                    between two remedies: to terminate the contract or to continue it.
                    Under New York’s doctrine of election of remedies there is not a
                    “third option” allowing a party claiming breach to invoke self-help
                    and only perform those obligations which it wishes to perform.

     129. Indeed, in the course of the hearing of 3 July 2017, counsel for the Government

           acknowledged a more nuanced position:


                    So the court says [in ESPN Inc. v. Office of the Comm’r of
                    Baseball 98] baseball has two choices: it can terminate the parties’
                    contract and claim damages for total breach, or it can continue the
                    contract and sue for partial breach. That’s the law of New York.

                    The point is that you have to look at the type of contract the parties
                    are engaged in to determine what the options are when you are
                    confronted with a breach. What it usually means is you are
                    confronted with a breach, you obviously, if it’s a material breach,
                    have the right to terminate the contract and sue for damages for
                    the whole contract, but there are times when that’s not in the
                    interests of the party on the other side … so [it] can continue
                    performance because you get the benefit of the future
                    performance, but you can sue for partial damages that have
                    occurred. 99 (emphasis added)

     130. The Government’s potential claim for “partial damages” is not before the Tribunal.

     131. The Tribunal intends no disrespect to the majority decision of the SIAC Tribunal.

           The Tribunal is concerned only with the entitlement (if any) of the Claimants to

           rely on Section 32 of the Settlement. This was not an issue that was dealt with or

           could be dealt with by the SIAC Tribunal.

     132. Accordingly, the Government erred in treating the Claimants as having forfeited

           important ongoing rights to renewed participation in the sale of the Gaming Assets.




98
     CLA-281, ESPN, Inc. v. Office of the Comm’r of Baseball, 76 F. Supp. 2d 3.83, 398-398 (S.D.N.Y. 1999).
99
     Hearing Transcript, 3 July 2016, pp. 220-221.
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 332 of 457
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                 iii.      Are the Claimants Barred from Claiming the Benefit of Section 32
                           Because They Did Not Perform Their Contractual Obligations and
                           New York Law Provides That a Party in Default Cannot Call on the
                           Other Contracting Party for Enforcement?

                     (a)      The Government’s Position

  133. The Claimants are barred from Section 32 relief because of their failure to perform

            their own obligations: (i) to establish and complete the work of the Flat Tax

            Committee; (ii) to accept RMC as the qualified gaming monitor; (iii) to pay taxes

            to the Government; (iv) to sell the Gaming Assets; and (v) to cooperate in the

            transition of control to the Government after failing to sell the Gaming Assets

            within ten months. 100

  134. Such failures bar the Application under the two interrelated principles that (a) “one

            who breaches a contract may not seek to enforce other provisions of that contract

            to his or her benefit” and (b) “in order to seek relief under the Deed, Sanum must

            establish its own performance of its obligations, which it cannot.” 101


                     (b)      The Claimants’ Position

  135. New York law establishes no such principle applicable to a commercial contract

            where (as here) both parties allege multiple breaches by the other. It is common in

            litigation in New York and elsewhere for both contracting parties to point a finger

            at the other as contract breakers. Both parties may succeed in their claims in some

            respects and lose in other respects.




100
      Rejoinder, para. 78.
101
      Rejoinder, para. 77.
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                                   58



                  (c)      The Tribunal’s Ruling

  136. The Government’s argument assumes the point in issue, namely whether it is the

         Claimants or the Government (or both, or neither) that is in breach of the

         Settlement.

  137. In this particular case, the Government relies principally on the Claimants’ conduct

         prior to the dismissal by the ICSID Panel of the First Material Breach Application

         on 10 June 2015.

  138. However, since at least 8 May 2015, 102 the Claimants have professed a desire to

         participate in the Flat Tax Committee and preparations for the sale of the Casino

         but were rebuffed by the Government, which, while affirming its reliance on the

         Settlement, refused to have “any dealings with the criminals you represent.” 103

  139. The Government clearly regarded as made in bad faith the Claimants’ late

         flowering offer to cooperate in the sales process which they had for months declared

         to be “suspended.” 104        Apart from everything else, the Government says the




102
    C-1045, Respondent’s Amended Provisional Measures Application, SIAC, 8 May 2015, para. 36:
     Second, instead of waiting for the Flat Tax Committee to establish the proper tax – the Respondents
     are prepared to constitute that Committee immediately, to preserve their contractual rights under
     Sections 8 and 9 of the Settlement in the event that the Material Breach Application is denied.
103
    C-981, Email from D. Branson to C. Tahbaz, 30 May 2015.
104
    The Government’s interpretation of the 8 May 2015 “offer” differs from that of the Claimants:
     What their position was, was not that we want to admit that you are in proper control of the casino
     and then let’s work together to set a flat tax so you can sell it. No. Their positions was: “We’re
     entitled to control of the casino for ten more months because the period was suspended while we
     were having our material breach application, and if you give us the casino back for ten more months,
     then we’ll set up a Flat Tax Committee because we’re going to sell the casino.”
     That wasn’t acceptable to the government. Ten months meant ten months. As the SIAC tribunal
     said, if their version of the suspension provision was correct, they could just keep filing material
     breach applications and we would never see the sale of the casino. That was another feature to what
     was going on at that time.
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         Claimants took the position that the end of the “suspension” re-started the clock,

         giving the Claimants a further 10 months of time of the Casino starting from the

         date of the end of the suspension. But the Claimants’ good or bad faith was never

         put to the test. They were simply shut out of the sales process as “criminals.”

         (emphasis added)

 140. In the circumstances, it is not open to the Government to simultaneously affirm and

         rely on the Settlement while attempting to ban the Claimants from seeking a remedy

         on the basis of the Claimants’ conduct (or misconduct) that predated the

         Government’s affirmations that continued to and included the Singapore hearing

         on 3 and 4 July 2017.


              iv.       Are the Claimants Barred from Relief Under Section 32 Because
                        They Do Not Have “Clean Hands”?

                  (a)      The Government’s Position

 141. The Government contends that the Tribunal should not revive the Treaty arbitration

         at the request of “criminals” who are “unclean litigants.”

 142. The Government contends that the Claimants’ unclean hands are a complete bar to

         the Second Material Breach Application. 105 Each instance of misconduct described

         by the Government in its Counter-Memorial “meets the legal requirements for




     We took control in April. I asked Mr. Baldwin in the proceeding in Paris, I said, “Mr. Baldwin, did
     you ever intend to allow the government to sell the casino?” It’s on page 1120 of the transcript of
     the fourth day.
     Well, his answer was, “No, I never intended to allow the government to sell the casino.” And
     everything he did, everything he did between April and when we sold the casino was to try and
     prevent the government from selling the casino. (Hearing Transcript, 3 July 2017, pp. 182-183)
105
    Rejoinder, paras. 70-75.
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        unclean hands – the conduct (1) relates to the Deed, (2) was committed in bad faith;

        and (3) injured the Government.” 106

  143. The Government argues that the remedy sought by the Claimants, namely revival

        of the Treaty arbitration, is in substance an equitable remedy for rescission of the

        Settlement, and is therefore barred by unclean hands. The fact that the parties have

        a contract “does not convert rescission into a remedy at law.” 107 It notes that the

        Claimants have pleaded rescission before SIAC as an alternative ground for relief.


                 (b)      The Claimants’ Position

  144. The Claimants contend that the Government’s unclean hands defense is irrelevant

        to the issues before the Tribunal and unsupported by the evidence. Under New

        York law, a “clean hands” defense bars only equitable relief 108 and the Claimants

        seek no such equitable relief, only a procedural order explicitly authorized by

        Section 32 of the Settlement as a matter of contract law not equity. The Claimants

        point out that the Government “does not even attempt to explain how a procedural

        determination, allowing the BIT arbitrations to resume on the merits in accordance

        with a contractual termination provision, could constitute equitable relief.” 109

  145. Moreover, the Claimants argue, the “clean hands” argument invites the Tribunal to

        examine the truth of the Government’s “allegations of fraud and bribery” but such




106
    Ibid, para. 70.
107
    Ibid, para. 71.
108
    CLA-325, Aetna Cas. And Sur. Co. v. Aniero Concrete Co., Inc.., 404 F.3d 566 (2d. Cir. 2005):
     “Unclean hands is an equitable defense to equitable claims. Because the [claimant] seeks damages
     in an action at law, [respondent] cannot avail itself of unclean hands as a defense.”
See also CLA-338, Hasbro Bradly v. Coopers & Lybrand, N.Y.S.2d 461 (N.Y. App. Div. 1987).
109
    Reply, para. 68.
    Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 336 of 457
                                 61



         allegations fall outside the Tribunal’s Section 32 jurisdiction. To the extent (if any)

         that the same allegations are at issue in the underlying Treaty arbitration, the

         Tribunal may consider them only after granting the Section 32 applications, and

         may do so only on the frozen record agreed at the time of the Settlement as specified

         in Sections 33 and 34 of the Deed.” 110


                  (c)      The Tribunal’s Ruling

 146. The Tribunal considers that the claim under Section 32 of the Settlement is not a

         claim for equitable relief. The Claimants seek to enforce a contractual right. They

         do so as a matter of legal entitlement (Section 32 uses the word “shall”). There is

         no equitable discretion. Section 32 does not use “may” which would signal the

         existence of a discretion, to which the Government might address arguments for

         dismissal.

 147. The Government argues that in effect the Claimants’ demand for revival is

         equivalent to its demand at SIAC in rescission:


                  … because as to their counterclaims in SIAC and their claims
                  here, they’re identical. The only difference they say is, “We’re
                  asking for revival instead of rescission” – no, they are asking for
                  rescission which leads to revival. 111

 148. The Tribunal is unable to agree. A revival of the Treaty arbitration would be

         enforcement of Section 32, not rescission of the Settlement. Revival of the Treaty

         arbitration would be on the terms set out in Sections 33 and 34 of the Settlement



110
    Ibid., para. 70. The Claimants continue: “The Government “does not even attempt to connect [the
Claimants’ “alleged misconduct”] with the relief that the Claimants are seeking here or the Government’s
breaches, as required to plead an unclean hands defense, nor does it attempt to assert that it was injured by
them.”, para. 84.
111
    Hearing Transcript, 3 July 2017, p. 147.
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           governing the content of the record and the bar against “new claims or evidence …

           or additional relief.”

  149. Accordingly, the Claimants do not seek rescission or other form of equitable relief

           and under New York law, the enforcement of a legal contractual right, if otherwise

           justified, is not conditional on “clean hands.” The defence based on unclean hands

           cannot therefore bar the Tribunal’s jurisdiction.


VI.        THE GOVERNMENT’S ALLEGED MATERIAL BREACHES OF THE
           SECTIONS LISTED IN SECTION 32 OF THE SETTLEMENT

                   i.         Are Any of the Government’s Breaches “Material”?

  150. In its Interim Ruling on Issues Arising Under the Deed of Settlement, the Tribunal

           held that: 112


                        … Section 32 gives the consent of the parties to the jurisdiction of
                        the Tribunal to decide whether there has been a breach and
                        whether the breach thus established is material.

                        (a)      The Claimants’ Position

  151. The Claimants dispute the relevance of the Government's argument that a party may

           rescind a contract only for a material breach of the contract as a whole. According

           to the Claimants, New York law requires Section 32 to be enforced as written and

           therefore, the Claimants are entitled to an order granting their Second Material

           Breach Application for a material breach of any of the listed sections. In any case,

           argue the Claimants, the Government's breaches deprived the Claimants of virtually

           all the benefits agreed by the parties in the Settlement. The Claimants add: “Under

           any reasonable view of the facts, these breaches are a material breach of the



112
      R-013, para. 70.
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        Settlement as a whole, regardless of whether Laos sold the assets it decided to sell

        on terms that maximized their sale price.” 113

  152. Many of the listed Settlement provisions have nothing to do with maximizing the

        sale price under Section 13: the Government has disregarded the civil and criminal

        releases (Sections 23 and 27), breached the escrow provision (Section 15) that the

        proceeds of the sale be deposited directly into a joint escrow account; formally

        expropriated the Claimants’ assets in breach of Section 5, breached Section 22

        respecting the Thakhaek concession, and Sections 7 and 8 on the imposition of

        taxes.    Section 32 of the Settlement gives Claimants the right to revive the

        arbitration if any of these provisions has been materially breached irrespective of

        whether Section 13 has been breached or the Settlement as a whole has been

        materially breached.

  153. The Claimants argue that the Government also materially breached Settlement

        provisions designed to support the sale price separately from Section 13, such as

        Sections 6, 7, 8 and 25. 114 The Claimants explain that these terms were included

        because “they would have a profound effect on the nature and value of the

        concession that was being transferred to the buyer of the Gaming Assets.” The




113
  Reply, para. 47.
114
   The Claimants cite CLA-298, Hadden v. Consolidated Edison Co. of N.Y. Inc., 34 N.Y.2d 88, 96 (N.Y.
1974):
    There is no simple test for determining whether substantial performance has been rendered and
    several factors must be considered, including the ratio of the performance already rendered to that
    unperformed, the quantitative character of the default, the degree to which the purpose behind the
    contract has been frustrated, the willfulness of the default, and the extent to which the aggrieved
    party has already received the substantial benefit of the promised performance. (See 3A Corbin,
    Contracts, paras. 704-707, 6 Williston, Contracts, paras. 841-888 844 [3rd ed.]).
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         assets sold by the Government materially differ from the “Gaming Assets” the

         parties agreed to sell, and the proceeds of the sale were correspondingly reduced.

  154. The Claimants point out that “if the Government were right that only a breach of

         Section 13 could be material, Section 32 of the Deed would be entirely meaningless.

         Section 32, as amended by the Side Letter, lists twelve separate sections – which

         do not include Section 13 – that are capable of being materially breached. If the

         Government were right that only Section 13 can be materially breached, then

         Section 32 could never apply because Section 13 is not listed there. That is

         obviously not what the parties intended when they negotiated Section 32, and it

         cannot be what Section 32 means.” 115

  155. According to the Claimants, under New York law, Claimants are entitled “to rely

         on the terms of the Deed of Settlement as agreed by the parties. Performance that

         substantially departs from what the parties agreed is not substantial performance

         and is by definition a material breach.” 116


                  (b)       The Government’s Position

  156. The Government emphasizes that “to revive a pre-settlement claim under New

         York law and the Deed, the breach must be material, destroying the ‘root of the

         bargain.’” 117

  157. The Government contends that, under New York law, a party may rescind a contract

         only for a material breach of the contract as a whole. In light of the facts that: (i)




115
    Reply, para. 41.
116
    Ibid, para. 42. Emphasis in the original.
117
    Counter-Memorial, para. 28.
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     the SIAC Tribunal found that the Government successfully “maximized sale

     proceeds” within the meaning of Section 13; and (ii) the Claimants agreed

     throughout these proceedings that the essential purpose of the Settlement was to

     “maximize” the sale proceeds, therefore none of the other alleged breaches, even if

     established, can be considered “material” under New York law. The essential

     benefit of the parties’ bargain as expressed in Section 13 has been satisfied. This

     is not a matter that can be revisited by the Tribunal because Section 13 itself is not

     listed in Section 32.


             (c)     The Tribunal’s Ruling

158. The text of Section 32 of the Settlement governs. It provides for revival “in the

     event that Laos is in material breach of Sections 5-8, 15, 21-23, 25, 27 or 28.”

     Section 32 does not speak of material breach of the Deed. Accordingly, the

     Government is correct that revival is justified only if the breach is material but the

     text of Section 32 makes clear that materiality is decided disjunctively on a section

     by section analysis of the provisions listed in Section 32 and not on the Settlement

     as a whole.

159. The Tribunal agrees with the Claimants that a breach of Section 13 cannot be a

     condition precedent to revival under Section 32, because Section 32 sets out the

     conditions for revival and Section 13 is not referenced in Section 32.

160. In determining materiality of a breach of a listed section, however, the Tribunal is

     content to proceed on the basis of the formulation of “materiality” suggested by the

     Government, namely that the breach of the section must “go to the root” of the
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        benefit promised by that section, and “defeat the object of the parties” in their

        agreement on that provision. 118


              ii.     Did the Government Imposition of a 28% Ad Valorem Tax Comply
                      with the Promise of a “New Flat Tax” in Section 8 of the Settlement?

                (a)      The Claimants’ Position

  161. An ad valorem tax is not a “flat tax.” The guarantee of a flat tax was an essential

        feature of the Claimants’ plan to market the Casino. The inability to offer a flat

        tax, and the consequent destruction of shareholder value by imposition of an ad

        valorem tax went to the root of Section 8 and indeed to the value to the Claimants

        of the Settlement as a whole.


                (b)      The Government’s Position

  162. The Government adopts the position of the majority of the SIAC Tribunal in the 29

        June 2017 Award as follows:


                [LHNV and Sanum] also argue that the Deed’s requirement that
                the tax be “flat” means that the tax should be a fixed, unchanging,
                periodic amount, not a fixed tax rate. However, the Deed does not
                define “flat tax” and when Mr. Va, a qualified professional
                knowledgeable about the taxation of casinos, was asked to
                determine a “flat tax”, he interpreted this term to mean a tax with
                a flat rate … a flat tax is a tax that applies a constant marginal rate
                on income, the Majority does not find Mr. Va’s interpretation
                to be an unreasonable one. (emphasis added)




118
   The Government cites Frank Felix Associates, Ltd. v. Austin Drugs, Inc., 111 F.3d 284, 289 (2d Cir.
1997), RLA-012.
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                     (c)      The Tribunal’s Ruling

  163. Section 8 of the Settlement promised the Claimants a “new flat tax” to be

            ascertained by following the procedure set out in Section 9. Section 9 is not listed

            in Section 32. Section 8 provides as follows:


                     Laos and the Claimants agree that a new flat tax (“FT”) shall be
                     promptly established in accordance with the procedure
                     described in Section 9 below, and such FT shall be applied to the
                     Gaming Assets with retroactive effect dating back to 1 July 2014.
                     The FT shall apply throughout the fifty (50) year term of the PDA.
                     Such FT shall be escalated by five percent (5%) at the fifth (5th)
                     anniversary of the Effective Date and by five percent (5%) on
                     every five (5) year anniversary thereafter throughout the term.
                     (emphasis added)

  164. A distinction must be drawn between the outcome promised in Section 8 (“a new

            flat tax”) and the procedure by which the outcome is achieved under “the

            procedure described in Section 9 below.” 119

  165. Section 7 of the Settlement actually cross-references the lump sum flat tax, which

            is “specifically indicated in Article 1 of the previously signed FTA attached as




119
      Section 9 provides:
       9. Laos shall appoint RMC Gaming Management LLC (“RMC”) not later than ten (10) days after
       the Effective Date, on the terms and conditions attached hereto as Annex E. If RMC does not accept
       the appointment within 4 days of the Effective Date, Laos shall appoint another agent to assist it in
       the matter as described in Annex E. Within ten (10) days of the Effective Date, the Claimants
       (collectively) shall nominate one person and Laos shall nominate one person (which may be an
       employee of RMC) to be members of a Flat Tax Committee (the “FT Committee”). Within ten (10)
       days after the Effective Date, the two persons nominated by the Claimants and Laos to the FT
       Committee shall nominate a mutually acceptable third FT Committee member. If the two FT
       Committee members fail to reach an agreement on such third FT Committee member within such
       deadline, the third FT Committee member shall be appointed in the sole discretion of the President
       of the Macau Society of Registered Accountants. Within forty-five (45) days of the Effective Date,
       the duly composed, three-member FT Committee shall determine a new fair and reasonable FT
       applicable to the Gaming Assets, taking into due consideration all relevant information submitted
       to the FT Committee by the Claimants and Laos.
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            Annex D hereto.” The “previously signed FTA” affords no basis for the imposition

            of an ad valorem tax.

  166. Sections 7 120 and 8 are within the jurisdiction of the Tribunal whereas Section 9 is

            not. Accordingly, the Claimants are bound to accept the view of the SIAC Tribunal

            that the process followed by the Government in establishing a “new flat tax”

            complied with Section 9. However, the Tribunal is required to form its independent

            view as to whether the outcome, namely the resulting 28% ad valorem tax, comes

            within the expression “new flat tax” which in Section 8 the Government and the

            Claimants agreed “shall be promptly established.”

  167. Under Section 7 of the Settlement, the Government “waived any and all taxes and

            related interest and penalties due and payable by the Claimants and the Gaming

            Assets up to 1 July 2014” at which point implementation of a “new flat tax” as

            provided in Section 8 was expected to come into effect.

  168. According to the Tribunal, an ad valorem tax is not a flat tax within the meaning of

            Section 32 of the Settlement.

  169. The Government argues, in effect, that the word “flat” refers to “rate”, but the word

            “rate” nowhere appears in Section 8, where the word “flat” clearly modifies the

            word “tax.”




120
      Section 7 provides:
       Laos shall forgive and waive any and all taxes and related interest and penalties due and payable by
       the Claimants and the Gaming Assets up to 1 July 2014 in respect of the Gaming Assets, provided,
       however, that taxes shall be due and payable as from 1 July 2014 as provided in Section 8 below.
       The taxes covered herein are all taxes and fees including but not limited to those that are specifically
       indicated in Article 1 of the previously signed FTA attached as Annex D hereto.
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  170. The “new” flat tax is to replace the “old” flat tax which was a “fixed unchanging,

         periodic amount.” The SIAC Tribunal suggested that there was no definition of flat

         tax in Section 8. With respect, this ignores the word “new” which relates the

         obligation back to the previous “old” lump sum flat tax. Mr. Va gave no weight (if

         he was aware of it) to the “old” flat tax under the 1 September 2009 Flat Tax

         Agreement between Sanum and the Government which required a “fixed

         unchanging periodic” payment of US $745,000 per year for 5 years, with the

         possibility of renewal. 121 Instead, Mr. Va was given a report by the Government’s

         expert, Professor Nelson Rose, which advocated a tax based on percentage of

         revenue. 122

  171. It is evident that Mr. Va did not focus his research on flat tax regimes but broadly

         canvassed the taxation policy of different countries in the region in relation to

         gambling businesses and their comparative advantages and disadvantages, the



121
    Flat Tax Agreement between the Tax Department, Ministry of Finance, the Lao Government and Savan
Vegas, 1 September 2009 (LHNV Exhibit C-7).
122
    C-979, Flat Tax Committee Appointment Agreement between the Government of the Lao PDR and Quin
Va, 15 May 2015, para. 5:
     5. The Procedure: On or before May 26, 2015, the Government’s expert on gaming taxation,
     BDO, will prepare and present to Mr. Va a report on gaming customs and practices in Asia with
     respect to taxation of gaming operations. The report will provide data concerning casinos
     throughout Asia including the two casinos now operating in Laos. The Government will also
     present a report by Professor L. Nelson Rose, on the necessity of stating the flat tax as a
     percentage of gaming revenue. Mr. Va will set the flat tax regime applicable to the Gaming Assets
     during the life of the concession to be granted to the new buyer and operator of the Gaming Assets.
     While Mr. Va may consider the BDO report and the Professor Rose report, he is equally free and
     able to consider information from his own experience or if he so desires, his own research, it being
     further understood that Mr. Va may consider the factual and financial characteristics of the Gaming
     Operations and of other gaming facilities in Asia, the 50-year life of the concession and other factors
     he deems relevant. Mr. Va may freely determine the basis for the flat tax, whether expressed
     as a percentage of revenues, dollar amount or other measure, provided that the measure, once
     established, will not be subject to revision during the life of the concession. Mr. Va may utilize
     others for assistance, but he retains the authority and responsibility to set the flat tax. (emphasis
     added)
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        current size of Savan Vegas, the current market position of Laos in the Asian

        gaming industry and the impact of the gaming policies of Thailand (Savan Vegas’

        largest source of gamblers). 123

  172. The Government knew full well the difference between an ad valorem tax with a

        flat (28%) rate and a “new flat tax” for a fixed lump sum annual amount (as had

        been agreed to in 2009). The Government soon entered into an agreement dated 19

        August 2016 for a lump sum flat tax, at the request of Macau Legend. The result

        was described in the text of the Macau Legend Agreement as a “flat tax.”


 Flat Tax Agreed to with Sanum in 2009               Flat Tax Agreed to with Macau Legend
                                                     dated 19 August 2016

 Article 1: Savan Vegas and Casino, LTD              B. In the Letter of Record dated May 13,
 agrees to pay the government a Flat Tax             2016, the Investor requested that the
 which specifically covers the Casino Business       Company pay a flat tax in connection with
 and includes Excise tax, turn over tax, profit      or relating to the Concession Rights,
 tax, Dividend tax, and dividend which is            Concession Activities, the Project and Project
 included in the Flat Tax (see “Dividend” of         Management. The PDA provides that such
 below timetable) and is in an amount of             flat tax shall be paid pursuant to this Flat
 $745,000 (seven hundred forty five                  Tax Agreement (this “Agreement”).
 thousand dollars) per year. The payment             In consideration of the foregoing and the
 shall be split into 4 payments, in the period of    mutual promises contained herein, and
 3 months each. The Flat Tax shall be paid to        intending to be legally bound hereby, the
 the Provincial Tax Department of                    parties agree as follows:
 Savannakhet Province but the dividend               1…
 portion of the Flat Tax shall be paid to the        2. Amount. The flat tax shall be United
 Ministry of Finance through State Enterprise        States Ten Million (US $10,000,000.00) per
 Finance        Supervision      Department. 124     year (the “Flat Tax”) in relation only to
 (emphasis added)                                    Gaming Activities.
                                                     3. Payee. The Company shall pay the Flat
                                                     Tax to the Tax Department of the Ministry of
                                                     Finance.
                                                     4. Period of Application of Flat Tax.


123
  See SIAC Tribunal Award, 29 June 2017, para. 277.
124
  Flat Tax Agreement between the Tax Department, Ministry of Finance, the Lao Government and Savan
Vegas, 1 September 2009 (LHNV Exhibit C-7).
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                                                        Subject to Paragraph 5 below, the Flat Tax
                                                        shall be paid for the three (3) year period
                                                        commencing from the Closing and ending on
                                                        the third anniversary of the Closing. 125




  173. While substitution of an ad valorem tax with a flat tax rate was in the view of the

        SIAC majority “reasonable” for SIAC’s purposes, the majority did so by deferring

        to Mr. Va’s “legal” opinion.

  174. In the view of the Tribunal, however, the issue is not what Mr. Va regarded as

        “reasonable” but whether what he recommended, and what the Government

        accepted, could correctly be described as a “new flat tax” within the meaning of

        Section 8. In the view of the Tribunal, a 28% ad valorem tax is non-compliant.

  175. The question remains whether the 28% ad valorem tax is a material breach of

        Section 8. In the view of the Tribunal, the breach is material. It is noted that every

        other casino in Laos also pays a flat tax established as a lump sum annually. 126

  176. It is apparent from both the First Material Breach Application and the Second

        Material Breach Application that the Claimants regarded a flat tax as essential to

        the successful marketing of the Casino.

  177. The expert evidence is that the market value of the Casino is highly sensitive to

        taxation and that establishment of a “fair and reasonable” fixed payment would

        enhance the marketability of the Gaming Assets and the price they would fetch in




125
    C-964, Executed Flat Tax Agreement between the Ministry of Finance of the Lao People’s Democratic
Republic and Savan Legend Resorts Sole Company Limited, dated 19 August 2016.
126
    C-980, Joel M. Melendez Report to the Flat Tax Committee, 28 May 2015, para. 23 (Kings Roman Casino)
and para. 35 (Dansavanh Casino).
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           the market. Rightly or wrongly, the Claimants clearly regarded a “flat tax” as of

           the essence of Section 8. It went to the “root” of the Section 8 bargain. The

           Claimants’ quantum expert, Dr. Joseph Kalt, proceeded on the basis that a fair and

           reasonable flat tax in respect of the Casino would be no more than $2,062,200 each

           year for 5 years and assumed such flat tax amounts would escalate by 5% on the

           fifth anniversary of the 15 June 2014 Effective Date, and escalate by an additional

           5% on every five-year anniversary thereafter, as stated in the Settlement. 127 This

           suggested tax burden (which, of course, was no more than an untested opinion) was

           materially less than the imposition of an ad valorem tax calculated by the

           Government at $26,659,000 and deducted from the proceeds of the sale.

  178. In the view of the Tribunal, the Government’s failure to establish a “new” flat tax

           similar in form to the “old” flat tax is a breach of Section 8 of the Settlement and

           the breach is “material” within the meaning of New York law.

  179. Accordingly, on that basis alone, the Claimants are entitled to a revival of the Treaty

           arbitration.


                 iii.     Did the Government’s Collection of Alleged Tax Arrears of
                          $26,659,000 Constitute a Material Breach of Section 7 of the
                          Settlement?

                    (a)      The Claimants’ Position

  180. The Claimants contend that they were entitled to pay no more than the "new flat

           tax." The Government refused to participate in the Flat Tax Committee even though

           the Claimants remained ready, willing and able to do so after the dismissal of the




127
      Witness Statement of Joseph P. Kalt, Ph.D., dated 14 October 2016, p. 22.
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            First Material Breach Application. The Government was not entitled to affirm and

            rely on the Settlement while at the same time attempting to collect a tax that was

            not authorized under the Settlement and which no other casino in Laos was required

            to pay.

                      (b)     The Government’s Position

  181. The Respondent contends that the Claimants’ privileged tax status ended on 1 July

            2014. At that point, being a Casino conducting business in Laos, they were required

            to pay the tax established by the law of Laos for such a business. In the absence of

            a new flat tax agreement, which was to be established by a process boycotted by

            the Claimants, the Claimants were bound by the ordinary law, and having failed to

            do so, the Government was entitled to collect the arrears of tax owing.


                      (c)     The Tribunal’s Ruling

  182. The Claimants and the Gaming Assets were required to pay taxes “as from 1 July

            2014 as provided in Section 8 below.” The SIAC majority concluded that there

            had been a “new flat tax” established “as provided in Section 8 below”, and

            therefore the Claimants were in default for not paying the 28% ad valorem tax as

            required by Section 7. 128

  183. In light of the conclusion of the Tribunal that no “new flat tax” had been established

            within the meaning of Section 8, and that the Claimants had, after numerous



128
      Section 7 provides:
       7. Laos shall forgive and waive any and all taxes and related interest and penalties due and payable
       by the Claimants and the Gaming Assets up to 1 July 2014 in respect of the Gaming Assets,
       provided, however, that taxes shall be due and payable as from 1 July 2014 as provided in
       Section 8 below. The taxes covered herein are all taxes and fees including but not limited to those
       that are specifically indicated in Article 1 of the previously signed FTA attached as Annex D hereto.
       (emphasis added)
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           breaches of the Settlement, attempted to rejoin the FTC process, and moreover that

           the Government had (notwithstanding these breaches) elected to continue to affirm

           the Settlement, it follows that there was no tax properly payable “as provided in

           Section 8 below.”

  184. However, the Government’s waiver of taxes ended on 30 June 2014. At the time

           of the taking of the $29,659,000, the Casino had paid no taxes whatsoever since

           December 31, 2013. The Casino had no right to operate in Laos free of tax.

  185. The ICSID Tribunal in rejecting the Claimants’ Second Application for Provisional

           Measures on 18 March 2015 stated in relevant part:


                    When the Flat Tax Agreement expired on 31 December [2013],
                    Savan Vegas became subject to the applicable tax laws of Laos.
                    It is common ground that although Savan Vegas has continued to
                    do business in Laos, it has not paid taxes either directly or in
                    escrow since 1 January [2014]. While it now offers to pay in
                    escrow the sum of US $429,300 per month retroactive to 1 January
                    [2014], there is no obligation on the Government to agree to such
                    a figure or to any escrow arrangement. 129

                                                     …

                    … [F]or so long as the Claimant continues to do business in Laos,
                    it can reasonably expect to be bound by the Laotian income tax
                    laws applicable to gambling casinos unless and until a new Flat
                    Tax Agreement is negotiated. 130

  186. At some point, the Claimants’ tax liability will have to be assessed and paid.

           Accordingly, while the Tribunal considers that the Government departed from its

           obligations under Section 7, the breach in this instance is not material because there

           is an accumulating tax debt owed by the Claimants, and any recalculation of the




129
      Decision on Claimant’s Second Application for Provisional Measures, dated 18 March 2015, para. 32.
130
      Ibid, para. 34.
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        precise amount of tax owing does not in any sense rob the Claimants of the

        substantial benefit of their Section 7 bargain. This ground offers no independent

        basis for a revival of the Treaty arbitration.


              iv.      Did the Government’s Failure to Establish a Joint Escrow Account
                       to Receive the Proceeds of Sale of the Gaming Assets Constitute a
                       Material Breach of Section 15 of the Settlement?

                 (a)       The Claimants’ Position

  187. Under the terms of Section 15, the proceeds of the sale of the Gaming Assets were

        to be received directly from the buyer [Macau Legend] “into an escrow account …

        under instructions to be jointly issued by the Claimants and Laos.” 131

  188. In the Second Material Breach Application, the Claimants argue that the

        Government breached Section 15 in at least two material ways:

                 (a) The Government caused Macau Legend to deposit all of the sale

                       proceeds into bank accounts wholly controlled, directly or indirectly, by

                       the Government; and

                    (b) The Government impermissibly diverted US $26,659,000 million of the

                       $42 million purchase price into its own treasury in purported satisfaction

                       of the Claimants’ alleged tax liability. 132 Such a unilateral “taking” was

                       not permitted by the Settlement.




131
    Section 15 provides:
     15. All Sale proceeds shall be received directly from the buyer into an escrow account at TMF
     Trustees Singapore Limited in Singapore under instructions to be jointly issued by the Claimants
     and Laos. No moneys shall be withdrawn from such escrow account except in compliance with this
     document. The Claimants and Savan Vegas (in the case of assets sale rather than corporate sale)
     shall have no liability to pay any withholding or capital gains taxes in respect of the Sale.
132
    Memorial, para. 141, Reply, paras. 19(e), 32.
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  189. This Section 15 breach is independent of whether or not the Gaming Assets were

        sold for maximum value. Rather, Section 15 is separate and apart from Section 13

        and requires all proceeds, regardless of the amount, to be deposited directly into

        escrow. 133


                 (b)      The Government’s Position

  190. The escrow account was established in consultation with the SIAC Tribunal. The

        Claimants were bound and determined to undermine the Settlement and giving

        them a veto over the payment of funds from a jointly controlled escrow account

        would have allowed them to create endless mischief and delay. The SIAC Tribunal

        in effect endorsed this view in its Award of 29 June 2017. In any event, the

        Claimants ultimately received their full financial entitlement under the order of the

        President of the SIAC Tribunal annexed to the Award of 29 June 2017. If there was

        a breach, therefore, it was not material.


                 (c)      The Tribunal’s Ruling

  191. In the course of the SIAC proceedings, the escrow procedure was modified. After

        ordering the parties to work together to establish the escrow account and issue “joint

        instructions”, 134 the SIAC Tribunal directed payment of the sale proceeds into an



133
   Reply, para. 30.
134
   C-1095, Order on Respondents’ Request for Provisional Measures and Claimant’s Motion for a Stay of
Discovery and Motion Practice, SIAC, 6 January 2016, para. 10:
    The Tribunal grants the request to the extent of requiring the parties to work together to establish
    the escrow account by 30 March 2016 and issue before that date joint instructions to TMF Trustees
    Singapore Limited for procedures for the receipt and disbursement of funds. The Tribunal cannot
    at this time, on this record, resolve the question of the amount to be deposited into escrow under the
    Deed. The Tribunal will examine the question anew if the parties do not submit the joint instruction
    by the date required (30 March 2016) or if either party submits a motivated request for interpretation
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        escrow account under the control of the President of the SIAC Tribunal. It is

        evident from the SIAC Award of 29 June 2017 that the Claimants continued to

        favour the sale of the Casino (albeit on different terms from those favoured by the

        Government) in their appearances before the SIAC Tribunal.)                             “Interim”

        arrangements for an escrow account were worked out in conjunction with the SIAC

        Tribunal. The President of the SIAC Tribunal signed a “Tribunal Payment Notice”

        attached to the SIAC Award of 29 June 2017 clearing the escrow account.

 192. The escrow account as established accomplished its functional purpose. While its

        terms differed from the arrangements described in Section 15, the differences do

        not amount to a material breach. The Claimants have not established any loss or

        other damage flowing from the escrow arrangements. 135

 193. Accordingly, the Tribunal declines to find a material breach of Section 15.


               v.      Did the Government’s Failure to Include the Right to Extend the
                       Savannakhet Airport Runway as Part of the Gaming Assets
                       Constitute a Material Breach of Section 25?

                 (a)      The Claimants’ Position

 194. The Claimants contend that the right to expand the Savannakhet Airport was a key

        contributor to the potential value of the Casino. The Government, it says, falsely

        represented to prospective purchasers (in the RSE report) that expansion to

        accommodate Boeing 737 type aircraft was not feasible. However, the Government




     of the Deed including a substantiated record of the positions taken by the parties and defining the
     dispute on interpretation to be resolved.
135
    The Government contends that the Claimants’ desire for “joint” control was to enable them to precipitate
an impasse and roil any sale.
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                                    78



           was obligated to do what was necessary to enable the Claimants (at their own

           expense) to extend the runway at Savannakhet Airport. 136


                    (b)      The Government’s Position

  195. Both parties acknowledge that there is not enough land at Savannakhet Airport to

           lengthen the runway sufficiently to accommodate the normal operations of a Boeing

           737 size aircraft. At no time did the Government represent otherwise.

  196. Moreover, the Government gave no undertaking, express or implied, to expropriate

           private land for the benefit of a private developer.


                    (c)      The Tribunal’s Ruling

  197. The “right” asserted by the Claimants is found in Section 25 which reads in relevant

           part that:


                    The Claimants or a new owner of the Gaming Assets (the “SV
                    Owner” as the case may be) shall have the right to make the
                    necessary investment (free of all cost to Laos) to extend the
                    existing runway at Savannakhet Airport sufficiently to
                    accommodate planes up to Boeing 737 size …

  198. The Claimants contend that “if an expansion had not been feasible because the

           Government was unwilling to exercise its eminent domain powers or, alternatively,

           to allow jets to use the Airport with payload and range restrictions, there would

           have been no point to the Parties’ inclusion of Section 25 in the Deed.” 137 However,

           there is no persuasive evidence in the Settlement documentation or elsewhere that




136
      Memorial, para. 144, Reply, para. 19(g).
137
      Memorial, para. 145.
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 354 of 457
                                    79



           the Government undertook either of these measures. The exercise of power of

           eminent domain is certainly not mentioned in the Settlement.

  199. In the view of the Tribunal, this ground is without merit. The new owner of the

           Gaming Assets is free to make “the necessary investment” itself by acquiring land

           from the current owners if suitable terms can be worked out by private contracts.

  200. There is no evidence to suggest any legal or regulatory restraint on the Casino

           owner’s expenditure of private monies for this purpose. However, in the Tribunal’s

           view, there is no obligation on the Government to facilitate such an acquisition of

           land belonging to other private owners for the private benefit of the Claimants or

           their successors.

  201. The Tribunal concludes that there is therefore no material breach in connection with

           the extension of the Savannakhet Airport.


                 vi.     Did the Government’s Alleged Failure to Negotiate the Thakhaek
                         Agreements “in Good Faith” Constitute a Material Breach of
                         Section 22 of the Settlement?

  202. The Thakhaek Free Enterprise Zone is an area some distance from the Savan Vegas

           Hotel and Casino complex.        The Claimants desired about 90 hectares for

           development “completely separate from the provision for sale of the Gaming

           Assets.” 138 Such a potential development had been the subject of a Memorandum

           of Understanding with Savan Vegas dated 20 October 2010.




138
      Reply, para. 36.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 355 of 457
                                   80



  203. A condition precedent to negotiations for the Thakhaek development was the

         payment of US $500,000 to the Government which was paid by the Claimants. 139

  204. In the course of negotiations, a dispute arose over the inclusion (or not) of a 16

         hectares’ portion of land fronting National Road 13. It emerged that the 16

         hectares’ parcel was privately owned.


                  (a)       The Claimants’ Position

  205. The Claimants assert that the 16 hectares parcel of private land with its highway

         frontage was critical to the success of the contemplated development. It was

         included in the parcel of 90 hectares as shown on a map attached to the said

         Memorandum of Understanding and referred to in a number of subsequent “draft

         agreements.” The Claimants then say the “Government summarily rejected without

         explanation Claimants’ proposal for an alternative concession arrangement that

         would compensate it for the loss of the 16 hectares.” 140




139
    Section 22 provides as follows:
     22. Subject to the Claimants’ payment of US $500,000 to Laos, the Parties will negotiate in good
     faith and conclude a land concession and project development agreement with respect to the 90
     hectares of land at Thakhaet identified in the MOU signed on 20 October 2010 between Savan Vegas
     and Governor Khambhay Damlath of Khammouane Province, LAO PDR, on the basis that no
     gaming activities whatsoever will be allowed at or in connection with that 90 hectares site. The
     Claimants acknowledge and agree that: (i) there shall be no gaming license, sublicense or other grant
     of gaming rights issued by Laos at any time in respect of such 90 hectares site; (ii) any development
     of, at or pertaining to such 90 hectares site shall be in the form of commercial, non-gaming activities
     only; and (iii) the Claimants shall have no right to claim or receive any compensation from Laos in
     regard to the prohibition of gaming activities at such 90 hectares site. Fees and charges, if any,
     imposed in connection with the project at the 90 hectares site shall be commensurate with those
     charged in connection with any similar site or project in the Thakhaek Free Enterprise Zone.
140
     Memorial, para. 157.
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                                    81



                     (b)      The Government’s Position

  206. The 16 hectares parcel is in private ownership and was not included in the 90

           hectares contemplated for development. The original survey attached to the MOU

           showed about 105 acres, which included 15 acres in private ownership. The

           Government made no promise of land it did not own. Eventually, the Government

           offered the Claimants an alternative 90 acres in the same special Economic Zone,

           but the Claimants would not agree to develop the property themselves but suggested

           they would invite other investors to build within a type of “Dubai Free Trade Zone.”

           This was a role reversal which the Government considered to be a fundamental

           departure from Section 22. 141


                     (c)      The Tribunal’s Ruling

  207. In the Tribunal’s view, the Claimants have not established a land entitlement that

           includes the disputed 16 hectares, and there is no undertaking by the Government

           in Section 22 to use its powers of eminent domain to expropriate the existing private

           owners for the financial benefit of the Claimants. Refusal to expropriate private

           land for private gain of the Claimant does not constitute evidence of “bad faith.”




141
      As explained by Government counsel:
       … the parties went back and forth. The government offered, “If you want another 90 hectares in a
       Special Economic Zone, we have lots of land in the Thakhaet region that’s in a Special Economic
       Zone”, so they were making offers back and forth.
       Then Mr. James wrote a letter, Mr. Menezes, and said, “Our proposal is to create a Dubai Free Trade
       Zone in Thakhaet, which means the business we build, we won’t build our own business, we’ll turn
       it into a Free Trade Zone, so other investors can come until and build buildings and they won’t have
       to pay tax.”
       So the government said, “That’s not acceptable, more than not acceptable”, and that was the end of
       negotiations. They refused to make another offer. (Hearing Transcript 3 July 2017, p. 200)
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                                    82



  208. Moreover, Section 22 does not oblige the Government to negotiate an alternative

            concession, especially when the Claimants’ plan was to try to attract other

            developers rather than develop the property themselves.

  209. In the view of the Tribunal, the Claimants’ Section 22 argument is without merit.


                 vii.    Did the Government’s Failure to Discontinue Criminal
                         Investigations Against the Claimants and their Principals
                         Constitute a Material Breach of Section 23 and Section 27?

  210. The Government has made numerous allegations of criminality against the

            Claimants and their principals, in particular, John Baldwin and Shawn Scott, as

            outlined above.

  211. As part of the Settlement, the parties agreed in Section 23 that:


                     Laos shall discontinue the current criminal investigations against
                     Sanum/Savan Vegas and its management or other personnel and
                     shall not reinstate such investigations provided that the terms
                     and conditions agreed herein are duly and fully implemented
                     by the Claimants. (emphasis added)

  212. Section 27 provided for mutual releases subject to similar conditions. 142




142
      Section 27 provides:
       The Claimants hereby wholly waive and release any and all claims whatsoever against Laos and all
       officials thereof and advisors, counsels and experts thereto related, and to forego the lodging of any
       dispute or claim against any of them, and shall ensure that each of the following persons – the direct
       and indirect shareholders, personnel, affiliates, subsidiaries and managers of the Claimants, John
       Baldwin and Shawn Scott – shall also wholly waive and release any and all claims whatsoever
       against Laos and all officials thereof and advisors, counsels and experts thereto related and forego
       the lodging of any dispute or claim against any of them. The Claimants shall fully indemnify Laos
       and all officials thereof and advisors, counsels and experts thereto in the event that any direct and
       indirect shareholders, personnel, affiliates, subsidiaries and managers of the Claimants, John
       Baldwin and Shawn Scott shall fail to provide such waiver and release. Laos hereby waives and
       releases any and all claims with respect to the matters addressed in the arbitrations against the
       Claimants, shareholders, officers and directors and the Gaming Assets companies. Notwithstanding
       the above, if the arbitrations suspended hereby, or either of them is or are revived or re-instated to
       any extent by either Party, then the releases and waivers provided herein shall be null and void and
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                                 83



                 (a)      The Claimants’ Position

 213. The Government is currently pursuing applications for third-party discovery

        pursuant to 28 U.S.C. s. 1782 before U.S. federal courts ostensibly in support of the

        same allegations of bribery that the Government had asserted in the criminal

        investigation and in the SIAC arbitration as a ground for terminating the 2007

        Savan Vegas PDA. 143


                 (b)      The Government’s Position

 214. The agreement to discontinue current criminal investigations was expressly

        conditional on the Claimants “duly and fully” observing the “terms and conditions

        agreed herein.” The Claimants breached numerous “terms and conditions.” The

        Government was therefore entitled to revive the “current criminal investigations.”


                 (c)      The Tribunal’s Ruling

 215. Section 23 is a limited undertaking by the Government restricted to “current

        criminal investigations of offences” known to the Government as of the date of

        Settlement (15 June 2014) and being investigated prior to the date of the Settlement.

 216. The Government continues to pursue the benefits of the Settlement. In exchange

        for those benefits, a major consideration for the principals of LHNV and Sanum

        was the Government’s agreement to discontinue the “current criminal

        investigations.” 144 As a matter of New York law, as discussed previously, the




     any and all claims previously made and facts asserted in the arbitration(s) are not waived and no
     liability of either party thereunder is waived or released.
143
    Memorial, paras. 165-166.
144
    As noted by the dissenting arbitrator in the SIAC Award of 29 June 2017, paras. 100, 101:
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        Government is not entitled to resile from a major benefit of the Settlement on the

        basis of breaches by the Claimants (that predate the multiple affirmations by the

        Government) while at the same time affirming its determination to sell the Gaming

        Assets under the authority of the same Settlement. Nevertheless, the Government

        is currently pursuing evidence of criminality in the U.S. Federal Courts in Idaho

        and the North Mariana Island. 145

 217. The Section 23 undertaking is limited. Section 23 does not cover acts of potential

        criminality that existed as of the date of the Settlement but were not known to the

        Government at that time, or were known but were not at the time of the Settlement

        the subject of a “current criminal investigation.” This means that the Settlement

        did not in any way (regardless of any material breach) impede the Government from

        launching a criminal investigation after the date of the Settlement into facts that

        pre-dated the Settlement provided there was no ongoing investigation at the time of

        the Settlement. Indeed, much of the alleged criminality now of concern to the

        Government were facts that predated the Settlement but became known to the




     If Claimant chose to perform the Deed by taking the Casino, selling it, and setting a Flat Tax
     reportedly consistent with the Deed, it cannot deny Respondents the benefit of Paragraph 23 of the
     Deed.
     I cannot join the Majority in reaching a conclusion that, as the Majority acknowledges, would give
     only Laos the benefit of the bargain while depriving Sanum entirely of one of the few benefits of
     the Deed it was entitled to.
145
    C-933, Order Denying Application for Issuance of Subpoenas, in re Application of the Government of the
Lao People’s Democratic Republic, Case 1:15-mc-00018 (D.N. Mar. I. Apr. 7, 2016), p. 18:
     The Court is also particularly swayed by GOL’s seeming disregard for the Deed of Settlement. In
     June 2014, GOL was apparently satisfied that Baldwin and other owners and managers at the Savan
     Vegas were not criminals. It agreed not to prosecute them as part of the settlement. Despite the
     failure of the settlement to actually resolve the issues facing the Savan Vegas, the parties agreed to
     be bound by its terms, including non-prosecution.
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        Government only after the date of the Settlement, when the Government gained

        access to the books and records of the Claimants, including allegations that:

                 (a) The Claimants induced Mr. Angus Noble to sign a fraudulent MOU

                      purporting to offer to buy the Gaming Assets and knowingly suborned

                      false testimony from Mr. Noble [by paying him] $10,000 per month for

                      twenty-one (21) months; 146

                 (b) In late spring-early summer 2015, after the Settlement, Mr. Baldwin

                      hatched a scheme to bribe Government officials in an attempt to

                      recover control of Savan Vegas. The Government points to a draft

                      consulting agreement with an unemployed security guard, Mr. Ben

                      Gersten, disclosing (the Government says), the bribe that Mr. Baldwin

                      was willing to pay to Government officials to permit Sanum to recover

                      control of the Casino despite the Settlement;

                 (c) The Government says it has discovered numerous documented and

                      uncontroverted acts of bribery and other illegality uncovered after

                      the Settlement was signed;

                 (d) The Government says that it emerged after the Settlement that Mr.

                      Baldwin authorized a bribe of $30,000 to obtain the original 2009

                      Savan Vegas Flat Tax Agreement, and paid various other bribes to have

                      the Thanaleng slot club shut down, to tamper with witnesses in the




146
   According to the Claimants, “the Government’s efforts to construct a conspiracy theory out of innocuous
and unremarkable facts – that the MOU was negotiated quickly, that it was based on a template from a prior
deal, and that Mr. Nobel had other dealings with the Claimants’ principals and one of their family members
– prove nothing and require no further response. Reply, para. 86.
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                                    86



                    court case with his former partner, ST, and to obtain a lottery license

                    in Cambodia.

  218. The Tribunal, of course, has no views on whether these more recent allegations by

         the Government are true or not. What is at issue under Section 23 in contrast, are

         acts of criminality that were known and were being “currently” investigated as of

         15 June 2014.

  219. As a matter of New York law, the Government was not entitled to disregard a major

         benefit of the Settlement to the Claimants or their principals involving their

         personal jeopardy on the basis of breaches of the Settlement by the Claimants while

         proceeding to sell the Casino under the authority of the same Settlement.

  220. As to materiality, pursuit or renewal of the “current criminal investigations” clearly

         goes to the heart of the benefits promised to the Claimants in Section 23. Indeed

         revival of “current criminal” investigations deprives the Claimants of the only

         benefit promised the Claimants under Section 23.

  221. The Government was not free to revive the “current criminal investigations” unless

         it had been willing to repudiate the Settlement, and had done so.

  222. Having not done so, it was not open to the Government to deny the Claimants the

         major and significant benefit of Section 12 and on that account, as well, the

         Claimants are entitled to revival of the Treaty arbitration.


VII.     CONCLUSION

  223. The Tribunal does not underestimate the Government’s frustration with the

         intransigence of the Claimants’ post-settlement conduct whose efforts from 4 July

         2014 to June 2015 were clearly directed to undermining the Settlement and
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            extricating themselves from its terms. Unfortunately for the Government, it wanted

            to retain the Settlement as much as the Claimants wanted to get rid of it. Faced

            with this dilemma, the Government chose to affirm the Settlement.


VIII.       COSTS

                      (a)       The Claimants’ Position

   224. The Claimants claim costs if successful. If unsuccessful, the Claimants argue that

            the Government’s claim for costs should be rejected because:

                      (a) New York’s highest court has explained that, unless clearly provided in

                            the underlying contract, the American rule that parties are responsible

                            for their own attorney’s fees applies. There is no language in the

                            Settlement indicating any intent of the parties to indemnify each other

                            for costs;

                      (b) In any event, the Tribunal would not have jurisdiction over a Section 28

                            claim for damages since its jurisdiction is reserved to the specific

                            provisions listed in Section 32. 147


                      (b)       The Government’s Position

   225. The Government also claims costs. In part, it relies on Section 28 of the Settlement,

            a general provision for indemnification of damages arising out of a breach of the

            Settlement.




 147
       Reply, para. 98.
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                                   88



               (c)      The Tribunal’s Ruling

 226. Costs, including the costs of the Mareva injunction, are deferred until the Award

        on the Merits following the hearing on the revived treaty claims.


IX.     DECISION

 227. The Second Material Breach Application is allowed.

 228. Pursuant to Section 32 of the Settlement, the Treaty arbitration is revived on the

        basis jointly and severally of the Government’s breaches of:

               (a) Section 8, which promised a “new flat tax”, but instead the Government

                     imposed a 28% ad valorem tax on gross gaming revenues;

               (b) Section 23, which promised the Claimants relief from “current criminal

                     investigations”, which nevertheless have been revived.

 229. Both of these breaches constitute material breaches that deprived the Claimants of

        the intended benefits (or “bargain”) promised by each of Section 8 and Section 23.

 230. Except as aforesaid, the grounds of revival relied on by the Claimants are rejected.

 231. The parties are instructed to confer and propose to the Tribunal a timetable for the

        renewed Treaty arbitration within 30 days of the date of this decision.

 232. A pre-hearing teleconference to resolve any outstanding issues will be held within

        45 days of the date of this decision.

 233. The issue of costs of this application is reserved to be dealt with at the conclusion

        of the hearing on the merits.
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  DATED THIS 15th DAY OF DECEMBER 2017.




 _____________________________                ___________________________________

      Professor Brigitte Stern                       Professor Bernard Hanotiau
            Arbitrator                                       Arbitrator




                   ______________________________________

                       The Honourable Ian Binnie, C.C., Q.C.
                             President of the Tribunal
Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 365 of 457




           EXHIBIT D
       Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 366 of 457




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AG 279171                                                                              6 August 2019
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RE:      PCA CASE NO 2013-13 - SANUM INVESTMENTS LIMITED (PEOPLE’S REPUBLIC OF CHINA) V. THE
         GOVERNMENT OF THE LAO PEOPLE’S DEMOCRATIC REPUBLIC

Dear Mesdames, dear Sirs,

On behalf of the Tribunal in the above-referenced matter, please find attached herewith the Tribunal’s
Award of today’s date.

Yours sincerely,




Fedelma C. Smith
Senior Legal Counsel & PCA Representative in Singapore

Encl.: Award (6 August 2019)
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                                                                                 AG 279171
                                                                              6 August 2019
                                                                                 Page 2 of 2




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  Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 368 of 457



In the proceedings pursuant to the Agreement between the Government of the People’s
   Republic of China and the Government of the Lao People’s Democratic Republic
   Concerning the Encouragement and Reciprocal Protection of Investments, dated
     January 31, 1993, and the UNCITRAL Arbitration Rules, as revised in 2010



                                      between




                       SANUM INVESTMENTS LIMITED

                                                                           Claimant

                                         and

   THE GOVERNMENT OF THE LAO PEOPLE’S DEMOCRATIC REPUBLIC

                                                                         Respondent


         __________________________________________________________

                                  AWARD
         __________________________________________________________




                                      Tribunal
                     Dr. Andrés Rigo Sureda, Presiding Arbitrator
                             Professor Bernard Hanotiau
                               Professor Brigitte Stern


                                     Registry
                           Permanent Court of Arbitration

                              Secretary to the Tribunal
                                 Fedelma C. Smith




                                   6 August 2019
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                         REPRESENTATION OF THE PARTIES


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                   FREQUENTLY USED ABBREVIATIONS AND ACRONYMS


Abbreviation                        Meaning
BIT or Treaty                       Agreement between the Government of the People’s
                                    Republic of China and the Government of the Lao
                                    People’s Democratic Republic Concerning the
                                    Encouragement and Reciprocal Protection of
                                    Investments, dated 31 January 1993
BIT II Proceedings                  Proceedings between Lao Holdings N.V. v.       Lao
                                    People’s Democratic Republic (ICSID Case       No.
                                    ARB(AF)/16/2)/ Sanum Investments Limited v.    Lao
                                    People’s Democratic Republic (ICSID Case       No.
                                    ADHOC/17/1)
C(B)-[XX]                           Claimants’ Exhibits
C(S)-[XX]                           Claimant Sanum’s Exhibits
CLA(B)-[XX] or CLA-[XX]             Claimants’ Legal Authorities
Claimant’s Memorial                 Claimant’s Memorial dated 22 July 2013
Claimant’s Reply                    Claimant’s Reply and Opposition to Respondent’s
                                    Counterclaims dated 9 May 2014
Claimant                            Sanum Investments Limited
Claimants                           Sanum Investments Limited and Lao Holding NV
Decision on the Second Material Tribunal’s Decision on the Merits of the Claimant’s
Breach                          Second Material Breach Application, dated
                                15 December 2017
E&Y                                 Ernst & Young
First Material Breach Application   Claimant’s First Material Breach Application dated
                                    4 July 2014
FTA                                 Flat Tax Agreement between Laos and Savan Vegas
                                    dated 21 September 2009
Gaming Assets                       Savan Vegas Casino, Lao Bao Slot Club and
                                    Savannakhet Ferry Terminal Slot Club
Government or Respondent            Respondent Government of The Lao People’s
                                    Democratic Republic
Hearing                             Hearing on the Merits of the Second Material Breach
                                    Application held from 3 to 7 September 2018 in
                                    Singapore
ICSID or the Centre                 International Centre for Settlement of Investment
                                    Disputes
ICSID-AF Rules                      Arbitration Rules (Additional Facility) of the
                                    International Centre for Settlement of Investment
                                    Disputes
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ICSID Convention                  Convention on the Settlement of Investment Disputes
                                  Between States and Nationals of Other States dated
                                  18 March 1965
LHNV                              Lao Holdings NV
Reply                             Claimant’s Reply and Opposition to Respondent’s
                                  Counterclaims dated 9 May 2014
SRE-[XX]                          Respondent’s Exhibits
SRA-[XX]                          Respondent’s Legal Authorities
MaxGaming                         MaxGaming Consulting Services Limited (Macau)
MIC                               Ministry of Information and Culture
Paksong PDA                       Project Development Agreement by and between The
                                  Lao People’s Democratic Republic, Sanum
                                  Investments, Nouansavanh Construction Co. Ltd., and
                                  Mr. Sittixay Xaysana dated 10 August 2007
Paksong Vegas                     Paksong Vegas Hotel and Casino
Participation Agreement           Participation Agreement for Thanaleng by and
                                  between Sanum and ST Holdings dated 4 October
                                  2008
PCA                               Permanent Court of Arbitration
PCA Proceeding                    PCA proceeding between Sanum Investments Limited
                                  (People’s Republic of China) v. the Government of
                                  the Lao People’s Democratic Republic – PCA Case
                                  No. 2013-13, chaired by Dr. Andrés Rigo Sureda
PDA                               Savan Vegas Project Development Agreement
Respondent’s Counter-Memorial     Respondent’s Counter-Memorial on the Merits dated
                                  20 February 2014
Respondent’s Rejoinder            Respondent’s Rejoinder (Amended) dated 4 June 2014
RMC                               RMC Gaming Management LLC
Sanum or Claimant                 Sanum Investments
Savan Vegas                       Savan Vegas Hotel and Casino
Settlement                        Deed of Settlement dated 15 June 2014 and Side
                                  Letter dated 18 June 2014
SIAC                              Singapore International Arbitration Centre
ST                                ST Holdings
Thanaleng                         Thanaleng Slot Club
Amended Transcript, [Day], p. Transcript of the Hearing, as amended on the basis of
[page], [lines]               corrections agreed by the Parties
UNCAC                             United Nations Convention Against Corruption
UNCITRAL Rules                    UNCITRAL Arbitration Rules, as revised in 2010
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VCLT                      Vienna Convention on the Law of Treaties
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1.     OVERVIEW

1.      Mr. John Baldwin and Mr. Shawn Scott, two U.S. entrepreneurs who were experienced
        in a number of businesses including gambling facilities, became involved in casinos
        and slot machines in Laos in 2007. For this purpose, they caused two companies to be
        incorporated in Aruba, the Netherlands Antilles Lao Holdings NV (“LHNV”), and a
        subsidiary Sanum Investments (“Sanum”) in Macau (collectively referred to as “the
        Claimants”). Mr. Baldwin and Mr. Scott, using various corporate structures partnered
        with a Laotian conglomerate (“ST Holdings”) in two casino projects and three slot
        machine clubs in Laos positioned near its border with Thailand. One of the casinos,
        the Savan Vegas Hotel and Casino (“Savan Vegas”), was built and operated
        successfully. The second casino, Paksong Vegas Casino (“Paksong Vegas”), was
        never built.

2.      Within three years there was a falling out between the Claimants and their local
        partners. ST Holdings ceased cooperation with Sanum, initiated litigation against it
        and shut Sanum out of Thanaleng, the most profitable of the slot clubs. Mr. John
        Baldwin testified that ST Holdings was closely connected to leading politicians in the
        Respondent Government. He said that ST Holdings orchestrated a series of wrongful
        Government acts against LHNV which led to the result, designed by the Government,
        of driving Sanum out of Laos and appropriating for the Government the wealth created
        by the investment and expertise of Mr. Baldwin and his associated companies.

3.      The Claimants initiated arbitrations by LHNV under the bilateral investment treaties
        between Laos and the Netherlands,1 and by Sanum pursuant to a similar investment
        treaty between Laos and Macau (now China).2 These arbitrations have consumed
        multiple proceedings and years of litigation. Eventually Sanum obtained an award
        against ST Holdings from the Singapore International Arbitration Centre (“SIAC”) for
        over US $200 million. LHNV is not a claimant before this Tribunal, and the Tribunal
        does not purport to address its claims. However, much of the evidence of Mr. John



1
  Agreement on Encouragement and Reciprocal Protection of Investments between Laos and the Kingdom of the
Netherlands, signed on 16 May 2003, in force since 1 May 2005.
2
  Agreement between the Government of the People’s Republic of China and the Government of The Lao People’s
Democratic Republic Concerning the Encouragement and Reciprocal Protection of Investments, dated 31 January
1993, as amended on 10 April 2006.
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           Baldwin is related to both companies, and as he was the directing mind of both
           companies, and their principal witness, references will be made to LHNV from time to
           time (or collectively to “the Claimants” in the plural) as part of the background to the
           disposition of the Sanum claims. Moreover, counsel for the Claimants advised that it
           did not withdraw “any factual allegations, as the totality of the facts remain relevant
           to certain treaty breaches for which the Claimants will seek relief.”3


2.       PROCEDURAL HISTORY

4.         The Tribunal has issued the following decisions during the proceeding: (i) Award on
           Jurisdiction of 13 December 2013; (ii) Interim Ruling on Issues Arising Under the Deed
           of Settlement of 19 December 2014 and (iii) Decision on the Merits of the Claimant’s
           Second Material Breach Application of 15 December 2017 (“Decision on the Second
           Material Breach”). The full procedural history of this case is described in these
           decisions. These Decisions, and the Decision on the Second Material Breach, are an
           integral part of the Award.

5.         The procedural details of this arbitration following the Decision on the Second Material
           Breach are summarized below.

6.         In the Decision on the Second Material Breach, the Tribunal ruled as follows:

             (a) the Second Material Breach Application is allowed;

             (b) pursuant to Section 32 of the Settlement, the Treaty arbitration is revived on the
                 basis jointly and severally of the Government’s breaches of:

                  (i) Section 8, which promised a “new flat tax”, but instead the Government
                      imposed a 28% ad valorem tax on gross gaming revenues;

                  (ii) Section 23, which promised the Claimant relief from “current criminal
                       investigations,” which nevertheless have been revived;

             (c) both of these breaches constitute material breaches that deprived the Claimant of
                 the intended benefits (or “bargain”) promised by each of Section 8 and Section 23;

             (d) except as aforesaid, the grounds of revival relied on by the Claimant are rejected;




3
    Letter dated 26 March 2018 from Claimant to the Tribunal.
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           (e) the parties are instructed to confer and propose to the Tribunal a timetable for
               the renewed arbitration within 30 days of the date of this decision;

           (f) a pre-hearing teleconference to resolve any outstanding issues will be held within
               45 days of the date of this decision;

           (g) the issue of costs is reserved to be dealt with at the conclusion of the hearing on
               the merits.

7.       By letter dated 14 January 2018, the Claimant informed the Tribunals of its intention to
         propose a timetable for the renewed Treaty arbitrations, as requested by the Tribunals’
         Decisions on the Merits of the Claimant’s Second Material Breach Applications of
         15 December 2017. By the same letter, the Claimant requested that the Tribunals in
         the revived arbitration be set for a merits hearing to take place at a reasonable time after
         the scheduled hearing of related but separate proceedings, identified as Lao Holdings
         N.V. v. Lao People’s Democratic Republic (ICSID Case No. ARB(AF)/16/2)/ Sanum
         Investments Limited v. Lao People’s Democratic Republic (ICSID Case No.
         ADHOC/17/1) (the “BIT II Proceedings”), and proposed an in-person pre-hearing
         conference, to explore with the Tribunals how to proceed and to receive any instructions
         the Tribunals may have.

8.       By letter dated 18 January 2018, the Respondent objected to the Tribunals’ Interim
         Decision on the Claimant’s Second Material Breach Applications. By the same letter,
         the Respondent objected to the Claimant’s suggestion that the hearings for the revived
         proceedings be delayed until the conclusion of the BIT II Proceedings. The Respondent
         proposed a hearing schedule and stated its desire to complete the original disputes as
         soon as possible.

9.       By letter dated 26 January 2018, the Claimant provided further comments regarding the
         basis for a post-January 2019 hearing.

10.      By letter dated 30 January 2018, the Tribunal invited the Respondent to comment,
         should it wish, on the Claimant’s assertions concerning the matters raised in the letter
         dated 26 January 2018. The Respondent provided its response by letter dated 9
         February 2018.
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11.      By letter dated 19 February 2018, the Tribunal issued directions for the Parties to
         “confer regarding a schedule for the exchange of submissions and other logistical
         matters.”

12.      By letter dated 2 March 2018, the Claimant informed the Tribunal that no consensus
         had been reached and detailed the Parties’ discussions on the schedule.

13.      By letter dated 8 March 2018, the PCA informed the Parties that in order to resolve
         outstanding matters, the Tribunal would hold a teleconference on 21 March 2018 at 12
         noon Washington, D.C. time.

14.      By letter dated 19 March 2018, the Claimant informed the Tribunal of the Parties’
         positions with respect to the agenda for the telephone conference, noting any areas of
         agreement reached between the Parties and setting forth the discussion on matters not
         in agreement.

15.      On 21 March 2018, the Tribunal held a telephone conference with the Parties.

16.      By letter dated 26 March 2018, the Claimant informed the Tribunal and the Respondent
         of the claims for which they would no longer seek specific relief and clarified the claims
         they were still pursing.

17.      On 29 March 2018, the Tribunal issued Procedural Order No. 8 on the organization
         of the hearing.

18.      On 24 April 2018, the Respondent confirmed that it maintained its defences.

19.      By email dated 16 May 2018, the Respondent submitted its list of witnesses to be called
         for examination at the merits hearing in Singapore scheduled for 3 to 7 September 2018.

20.      By email dated 15 May 2018, the Respondent submitted its Application for Additional
         Evidence and Index of Additional Evidence, together with an index of supporting
         documentation and Exhibits R-001-002, R-004, R-028-029, R-034-036, C-1053, and
         R-054-055 and three additional documents not identified for the record.

21.      By email dated 17 May 2018, each Party submitted its preliminary list of witnesses to
         be called for examination at the hearing to be taking place between 3‐7 September 2018.
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22.      On 30 May 2018, the Claimant filed its response to the Respondent’s Application for
         Additional Evidence together with Exhibits C-1225 to C-1227, and Legal Authorities
         CL-379 to CL-389.

23.      By letter of 31 May 2018, the Respondent requested that the Tribunal order the
         Claimant to inform it on order of presentation of the witnesses to be examined at the
         scheduled hearing. Additionally, the Respondent requested the examination from Lao
         PDR via video-link of the following witnesses: Minister Kmabay Damlath, Dr.
         Sinlavong Khoutphaythoun, and Minister Chaleune Yiapaoheu.

24.      On 6 June 2018, the Tribunal provided further instructions to the Parties regarding the
         submissions on the list of witnesses for cross-examination at the scheduled hearing. On
         8 June 2018, the Claimant filed its response opposing the Respondent’s request for the
         witnesses’ video-link testimony, together with Exhibits C-1224, C-1235 and Legal
         Authority CL-390.

25.      On 15 June 2018, the Respondent filed its reply to its Application for Additional
         Evidence. On this same date, the Claimant filed its objection to the Respondent’s
         preliminary witness list, pointing out that the Respondent had not indicated the intended
         purpose or subjects of one of the witnesses’ cross-examination, together with Exhibit
         C-1237.

26.      On 22 June 2018, the Respondent filed its response to the Claimant’s opposition to the
         examination of witnesses via video-link.

27.      On 25 June 2018, the Tribunal issued Procedural Order No. 9, in which it ruled on the
         Respondent’s Application for Additional Evidence.

28.      On 26 June 2018, the Tribunal issued Procedural Order No. 10, on the Respondent’s
         request for the examination of witnesses via video-link.

29.      On 27 June 2018, the Respondent filed a request for clarification of Tribunal’s
         Procedural Order No. 9. On this same date, it stated its agreement to the full
         consolidation of the present arbitration with the matter chaired by the Honorable Ian
         Binnie QC, ICSID Case No. ARB(AF)/12/6, Lao Holdings NV v. Lao People’s
         Democratic Republic (the “ICSID Proceedings”).
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30.      On 28 June 2018, the Tribunal issued an amended Procedural Order No. 9, in which
         certain typographical errors were corrected.

31.      By letter of 28 June 2018, the Tribunal informed the Parties that the Claimant’s request
         objecting the Respondent’s witness list was approved and invited the Parties to submit
         their final witness lists.

32.      On 5 July 2018, the Tribunal addressed the Respondent’s communication of 27 June
         2018, concerning its agreement to the full consolidation of this proceeding with the
         ICSID Proceeding. In this communication, the Tribunal informed the Parties that it did
         not consider the consolidation as “practical or necessary at this late stage of the
         proceeding”.

33.      On 6 July 2018, each Party submitted its final witness list for the hearing of 3 to 7
         September 2018.

34.      By email dated 6 July 2018, the Respondent confirmed that there were no changes to
         its witness list of 16 May 2018, with the exception of one witness in accordance with
         the Tribunal’s decision contained in its letter of 28 June 2018.

35.      On 9 July 2018, the Parties jointly requested the Tribunal for a one-day extension for
         the further deadlines in the organization of the hearing. On 11 July 2018, the Tribunal
         took note of the Parties’ agreed extensions.

36.      On 17 July 2018, the Claimant submitted a request for additional evidence to rebut the
         Respondent’s additional evidence pursuant to the Tribunal’s Procedural Order No. 9.

37.      On 18 July 2018, the Claimant submitted a request to substitute Dr. Thomas Zitt for
         Mr. Steven Rittvo for examination on the Innovation Group’s Expert Report at the
         scheduled hearing, together with Exhibit C-1267 and Exhibits A to F. On the same date,
         the Respondent submitted its objection to the Claimant’s request together with Exhibits
         1 through 12. On 19 July 2018, the Tribunal invited the Claimant to submit its
         comments to the Respondent’s objection. On 25 July 2018, the Claimant filed its
         response to the Respondent’s objection of 24 July 2018, together with Exhibits G
         through L.
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38.      On 25 July 2018, the Respondent filed its observations to the Claimant’s request for
         additional evidence of 17 July 2018. The Claimant’s filed its reply on support of its
         request on 26 July 2018.

39.      On 26 July 2018, the Respondent filed additional observations to the Claimant’s request
         for the substitution of experts of 18 July 2018.

40.      On 31 July 2018, the Tribunal issued Procedural Order No. 11 deciding that the
         scheduled hearing would proceed on all issues except for damages and quantum and
         ruled on the Claimant’s request for the substitution of experts to give testimony at the
         hearing. Simultaneously, the Tribunal issued and Procedural Order No. 13 on the
         Claimant’s request for additional evidence as follows:

              “1.      The following documents submitted by the Claimants are
               admitted on consent:

                Exhibits R-049, C-1240, R-046, C-1241, C-1242, C-0928, C-1243, C-
                1131, C-1244, C-1245, C-1246, C-774, C-755, C-1226, C-1248, C-1249,
                C-1250, C-1251, R-026, C-1238 A, C-1238 B , C-1239, C-1256, C-1257,
                C-1258, C-1259, C-1260, C-1261, C-1262, C-1263, C-1264, C-1265, C-
                1266.

              2.        The Tribunal admits the extracts of the Witness statements of
                John Baldwin, Angus Noble, William Greenlee and Clay Crawford
                submitted by the Claimants, but permits the Government to provide
                additional extracts from the same witness statements which the
                Government contends are necessary to give “balance” to the extracts
                submitted by the Claimants, as per the ruling in item 1 above.

              3.        The Baldwin Statement (Exhibit C-1244) and the Kurlantzick
                Report (Exhibit C-1247) are not admitted into evidence.

              4.        The Government’s Opening Memorial in SIAC Arb 143/14/MV
                (Exhibit C-971) is admitted into evidence.

              5.        The interlocutory correspondence in ICSID Case No ARB
                (AF)/16/2 (Exhibits C-1252, C-1253, C-1254 and C-1255) are not
                admitted into evidence.

              6.        The admissibility of the further report of Professor Joseph Kalt is
                deferred pending a decision following the merits hearing as to whether a
                hearing on damages and quantum is required.”

41.      On 10 August 2018, the Respondent filed a request to strike the witness statement of
         Mr. William Greenlee, together with Appendices 1 through 4. By communication of
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         the same date, the Respondent requested leave from the Tribunal to include new
         evidence into the record (Exhibit SRE-164 and SRE-165).

42.      On 17 August 2018, the Claimant filed its response opposing the Respondent’s request
         to strike Mr. Greenlee’s witness statement from the record, together with the following
         supporting documentation: Exhibit C(B)-434, C(B)-492, C-1242, R-001 and R-036. On
         the same date, the Claimant filed its observations, partially agreeing with the
         Respondent’s request to include new evidence into the record. On 20 August 2018, the
         Tribunal invited the Respondent to comment on the Claimant’s observations.

43.      On 20 August 2018, the Claimant filed a request to increase their examination time at
         the Hearing and sent a proposed hearing schedule for the Tribunal’s consideration. On
         22 August 2018, the Tribunal invited the Respondent to comment on Claimant’s
         proposal.

44.      On 23 August 2018, the Respondent filed a reply to the Claimant’s response concerning
         its request to strike Mr. Greenlee’s witness statement and its observations to the
         Claimant’s position towards its request to include new evidence into the record. This
         submission was filed together with Appendices 1 through 5.

45.      On this same date, the Claimant submitted additional observations to the Respondent’s
         comments on Mr. Greenlee’s witness statement and requested the Tribunal to strike
         from the record an exhibit of 291 pages filed by the Respondent together with BDO’s
         expert report as part of the Respondent’s additional evidence submitted pursuant to
         Procedural Order No. 11. The Tribunal invited the Respondent to comment on these
         two submissions by the Claimant.

46.      On 23 August 2018, the Respondent submitted its opposition to the Claimant’s request
         for an enlargement of the examination time, together with Appendices 1 through 3.

47.      On 24 August 2018, the Respondent filed its observations on the Claimant’s objection
         to the introduction of the exhibit to BDO’s expert report, and its rejoinder on Mr.
         Greenlee’s witness statement.
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48.      On the same date, the Claimant informed the Tribunal and the Respondent of its
         decision to withdraw their request to cross-examine Sivath Sengdouangchanh at the
         hearing.

49.      On 25 August 2018, the Claimant requested the Tribunal’s clarification on paragraph
         3.ii of Procedural Order No. 8, concerning the witnesses’ examination. On 26 August
         2018, the Respondent filed its observations to this request.

50.      On 28 August 2018, the Respondent withdrew the witness statement of Mr. Vanheung
         (Vanheuang) Nanthachak from the record.

51.      On 29 August 2018, the Tribunal issued Procedural Order No. 13, on (1) Respondent’s
         request to strike from the record Mr. William Greenlee’s witness statements;
         (2) Respondent’s request to introduce exhibits SRE-164 and SRE-165; (3) Claimant’s
         request to extend the time assigned at the hearing; (4) Claimant’s request to exclude the
         BDO Report submitted by the Respondent, and (5) Claimant’s request for advance
         notice for witness examination. These issues were decided as follows:

              “1.     The Respondent’s request to strike from the record Mr. William
               Greenlee’s witness statements is premature.

              2.        Exhibits SRE-164 and SRE-165 are to be admitted into evidence.

              3.        Each party shall have equal time and is to determine the order in
                which its own cross-examinations proceed as well as time allocation.

              4.         The Claimants’ request to exclude from the record the 291
                additional pages attached to the BDO Report contained in Exhibit SRE-
                161 is granted.

              5.        The Parties are not required to provide advance notice of topics to
                be covered in cross-examination.”

52.      By letter of the same date, the Tribunal requested the Parties to confer and provide to
         the Tribunal a final hearing schedule.

53.      On 30 August 2018, the Claimant submitted the Parties’ final and agreed hearing
         schedule.

54.      A hearing on the merits was held at Maxwell Chambers in Singapore, from 3 to 7
         September 2018 (the “Hearing”). As on previous occasions, the Tribunal conducted
         the hearing jointly with the Tribunal in the ICSID Proceedings. At no time were the
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   ICSID proceedings and the PCA proceedings consolidated. The following persons
   were present at the Hearing:

    Tribunal:
    Dr. Andrés Rigo                           President
    Prof. Bernard Hanotiau                    Arbitrator
    Prof. Brigitte Stern                      Arbitrator


    PCA:
    Ms. Fedelma Claire Smith                  Secretary of the Tribunal
    Ms. Gaëlle Buchet                         Case Manager
    (Attending Video Conference from Laos)


    ICSID Tribunal:
    The Honorable Ian Binnie, QC              President
    Prof. Bernard Hanotiau                    Arbitrator
    Prof. Brigitte Stern                      Arbitrator


    ICSID Secretariat:
    Ms. Cathy Kettlewell                      Secretary of the Tribunal


    For the Claimant:
    Ms. Deborah Deitsch-Perez                 Stinson Leonard Street
    Mr. Jeff Prudhomme                        Stinson Leonard Street
    Mr. Alexander Hinckley                    Stinson Leonard Street
    Mr. Todd Weiler
    Mr. Ken Kroot                             In house counsel-Sanum
    Mr. Jorge Menezes                         FCLaw
    (Attending Video Conference from Laos)
    Parties:
    Mr. Shawn Scott
    Mr. Tucker Baldwin

    Other:
    Ms. Benjawan Poomsan Terlecky
    Ms. Diana Paraguacuto

    Claimant’s Expert:
    Mr. Gerard Ngo


    For the Respondent:
    Mr. David Branson
    Mr. Kurt Lindquist II                     Womble Bond Dickinson (US) LLP
    Mr. John Branson                          Womble Bond Dickinson (US) LLP
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          Ms. Emily Doll                             Womble Bond Dickinson (US) LLP
          Mr. Russ Ferguson                          Womble Bond Dickinson (US) LLP
          Mr. John Dackson                           Womble Bond Dickinson (US) LLP

          Parties:
          Outakeo Keodouangsinh
          Phothilath Sokhotchounlamaly
          Other:
          Ms. Xaynari Chanthala
          (Attending Video Conference from Laos)
          Mr. K.P. Santivong
          (Attending Video Conference from Laos)

          Respondent’s Expert:
          Prof. Hervé Ascensio


          Court Reporters:
          Mr. Goh Chee Jian                          Epiq
          Mr. Tan Chee Keeng                         Epiq
          Ms. Tan Liang Chiah Sharon                 Epiq
          Tay Ai Poh                                 Epiq
          Mr. Chua Hong Guan (Damien)                Epiq


          Interpreters:
          Mr. John Johnston                          Laotian/English
          Ms. Maly Siribounthong                     Laotian/English
          Mr. Samuel Mattix                          Laotian/English
          Ms. Ana Ooms                               French/English
          Mr. Jean-Christophe Kuzniak                French/English


55.      During the Hearing, the following persons were examined:

          On behalf of the Claimant:
          Mr. John Baldwin
          Mr. Clay Crawford
          Mr. Angus Noble
          On behalf of the Respondent:
          Mr. Phimphone Sengthong
          Judge Soulideth Souvannasaly
          Minister Chaleune Yiapaoheu
          (Video Conferencing from Laos)
          Minister Sinlavong Khoutphaythoun
          (Video Conferencing from Laos)
          Governor Kambay Damlath
          (Video Conferencing from Laos)
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56.      On 18 September 2018, the Respondent requested that the Tribunal provide further
         directions concerning the submission of further pleadings or applications.

57.      On 19 September 2018, the Claimant filed a submission addressing the Respondent’s
         closing arguments made at the Hearing.

58.      By communication of 20 September 2018, the Tribunal informed the Parties that it
         would not admit into the record the Claimant’s submission of 19 September 2018 and
         that any further submissions, but for those related to transcript issues, would require the
         Tribunal’s approval. The Tribunal invited the Parties to submit their corrections to the
         hearing transcript by 28 September 2018.

59.      Following the Tribunal’s instructions, on 28 September 2018, the Claimant submitted
         the Parties’ agreed transcript corrections to be included by the Court Reporters.
         Amended transcripts were received from the Court Reporters on 22 October 2018.

60.      On 22 February 2019, the Respondent filed its submission on costs and on 7 March
         2019, the Claimant filed its submission on costs. On 12 March 2019, the Tribunal
         invited the Parties to comment on the other Party’s submission on costs, if they wished
         to do so. On 15 March 2019, the Respondent submitted its comments to the Claimant’s
         submission on costs.

61.      The proceeding was closed on 17 July 2019.
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3.       OVERVIEW OF THE FACTS

         3.1. Laos: The Claimants’ Investments in Laos




62.        As mentioned earlier, LHNV, owned directly and indirectly through its subsidiary,
           Sanum, gambling assets in Laos, including the Savan Vegas Hotel and Casino Complex
           in Savannakhet Province. The Casino is strategically located near the Friendship
           Bridge which spans the Mekong River between Laos and Thailand. The Claimants also
           had an investment in “slot clubs” located at the Thai border at Lao Bao and Savannakhet
           Ferry Terminal (located at the Savannakhet/Mukdahan checkpoint), all in the
           Savannakhet Province and at Thanaleng to the Northwest. LHNV and its subsidiary
           Sanum, claim to have invested many millions of dollars in these projects.4




4
    The Claimants’ principal, Mr. John Baldwin, testified as follows:
        Q. … Can you tell us when Sanum first invested in Laos and what kind of money it invested, at what
        time period?
        A. We – we started investing in Laos in 2007. Our initial commitment was a total of seven and a half
        million dollars – my recollection is seven and a half million dollars paid to ST Group in various
        stages, and then the next thing we invested in was getting new plans drawn and studies done for
        Savan Vegas and Paksong Vegas.
        Q. And in what year was that done?
        A. That was done in 2008 primarily.
        Q. When was the first monies paid? 2007 or 2008?
        A. First monies, 2007.
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        3.2. The Original Treaty Claims

63.      The Claimants allege expropriation without compensation and Treaty breaches in
         respect of their investment in gambling projects described in the Project Development
         Agreement (“PDA”) dated 10 August 2007 in respect of the Savan Vegas Casino, as
         well as the three slot clubs, Thanaleng, Lao Bao and Savannakhet Ferry. The claims
         also relate to the expected expansion of the Savannakhet Airport and opportunities for
         development in the Special Economic Zone at Thakhet.

64.      On 14 August 2012, Sanum Investments Limited, a LHNV subsidiary which operated
         the Savan Vegas Hotel and Casino, initiated its claim before the PCA for alleged
         violations of the Agreement between the Government of the People’s Republic of China
         and the Government of The Lao People’s Democratic Republic Concerning The
         Encouragement and Reciprocal Protection of Investments, dated 31 January 1993 and
         the UNCITRAL Arbitration Rules as revised in 2010.

65.      Also on 14 August 2012, LHNV initiated its ICSID proceedings against the
         Respondent, before the International Centre for Settlement of Investment Disputes
         (“ICSID” or the “Centre”) pursuant to the Agreement on Encouragement and
         Reciprocal Protection of Investments between Laos and the Kingdom of the
         Netherlands,5 and the Arbitration Rules (Additional Facility) of ICSID (“ICSID-AF
         Rules”).6

66.      While the proceedings before the two Tribunals are distinct and separate, the
         proceedings were the subject of joint hearings in Singapore and elsewhere.
         Accordingly, for ease of reference only, LHNV and Sanum will be referred to as "the
         Claimants", as the facts of the cases are intermingled. This terminology is not to



      Q. And then the money that was in 2008, can you say during roughly what month?
      A. Well, the largest amount of money was paid prior to the Savan – was paid in probably the last six
      months of 2008.
      Q. During all of that time in 2007 and 2008, did you have a flat tax agreement yet?
      A. Yes.
      Q. Prior – let me show you some documents. Let me show you –
      A. Well, we had an agreement to get the flat tax agreement. The flat tax was approved – the flat tax
      was approved by Prime Minister Bouasone in [29 December 2008].
  Transcript, 5 September 2018, p. 134, l. 10 to p. 135, l. 12, date corrected p. 135, ll. 9-12.
5
  Signed on 16 May 2003, in force since 1 May 2005.
6
  As amended on 10 April 2006.
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           suggest, however, that the two arbitral proceedings are consolidated or otherwise
           conjoined.


         3.3. Claims and Counterclaims

67.        The Claimants’ original Treaty claims were based on a multiplicity of alleged treaty
           breaches by the Government including (but not limited to) an 80% tax on casino
           revenues and what the Claimants contended were unfair and oppressive audits of the
           Savan Vegas Hotel and Casino. In addition, the Claimants alleged that the Government
           abused its sovereign authority to assist ST Holdings to acquire other assets which
           belonged in whole or in part, to the Claimants. In the Treaty proceedings, the Claimants
           eventually valued their investment loss as of 31 August 2016 at between
           US $690 million and US $1 billion.7


         3.4. The Settlement and its Aftermath

68.        The Treaty claims were thought to have been resolved by a Deed of Settlement
           concluded between the Parties during the merits hearing in Singapore on 15 June 2014
           (to be read together with a Side Letter dated 18 June 2014) (herein referred to
           collectively as “the Settlement”).

69.        Shortly after the Settlement, the Claimants alleged that the Government had committed
           a material breach of its terms which entitled them to a revival of the Treaty arbitrations
           (“the First Material Breach Application”). The Government contested jurisdiction.
           On 11 August 2014, the Government filed a Notice of Arbitration with the SIAC
           pursuant to paragraphs 35 and 42 of the Settlement, seeking an order directing Sanum
           to comply with its obligations under the Settlement.

70.        The ICSID and PCA Tribunals held a hearing on 14 October 2014 in Washington, D.C.
           on the objections to jurisdiction, which were dismissed. However, on 20 January 2015,
           the High Court of the Republic of Singapore held that the PCA Tribunal did not possess
           subject matter jurisdiction under the Laos-China BIT because of the status of Macau
           and issues of state succession not here relevant, as well as the limitation in the BIT,


7
    See Reports of Joseph P. Kalt dated 14 October 2016, 2 December 2016, 22 December 2016 and 15 March 2017.
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         according to which “only disputes over the amount of compensation for expropriation
         can be submitted to arbitration.”8 This judgment was later reversed by the Court of
         Appeal of Singapore on 29 September 2016.9


        3.5. Delimitation of the Relief Presently Sought by the Claimants

71.      The Claimants’ Second Material Breach Application was successful, and on
         15 December 2017, the Hearing on the merits of the “revived” claim was ordered to
         proceed. On 26 March 2018, the Claimants advised the Tribunal of the claims for which
         they no longer sought relief, namely, in respect of the PCA proceedings, “Article 6
         expropriation claim regarding the [Savan Vegas], its Article 6 expropriation claim
         regarding Ferry Terminal or Lao Bao slot clubs […], or its claims regarding
         Respondent’s seizure of its bank account in breach of Articles 3(2), 3(4), 4, 5, and 6.”10

72.      The Claimants’ letter of 26 March 2018 notionally divided and separated their claims
         concerning LHNV (Thanaleng, Savan Vegas and the Ferry Terminal and Lao Bao slots)
         and Sanum (Thanaleng, Paksan, Thakhet and Paksong Vegas Hotel and Casino). As
         mentioned, however, counsel for the Claimants asserted in the same letter that “the
         totality of the facts remain relevant to certain treaty breaches for which the Claimants
         will seek relief.” Equally, the Respondent conjoined its “clean hands” defence to all
         claims by both Claimants at issue in the ICSID and PCA proceedings involving Mr.
         John Baldwin and the various interrelated allegations of bribery and corruption.
         Accordingly, it will be necessary for the Tribunal to address “the totality” of the factual
         circumstances of the listed projects of both Claimants insofar as they are relevant to the
         position of Sanum.

73. Sanum maintained the expropriation claim pursuant to Article 4 of the Treaty regarding the
      Thanaleng slot club, Paksan, Thakhet and the Paksong Vegas Hotel and Casino.




8
  Government of the Lao People’s Democratic Republic v. Sanum Investments Ltd., [2015] SGHC 15 at para. 128.
9
  Sanum Investments Ltd. v. Government of the Lao People’s Democratic Republic, [2016] SGCA 57.
10
   Letter dated 26 March 2018 from Claimant to the Tribunal.
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4.      RELEVANT ARTICLES OF THE BIT

74. The Preamble to the Treaty provides, in relevant part:

             The Government of the People’s Republic of China and the Government of
             the Lao People’s Democratic Republic (hereinafter referred to as Contracting
             States), Desiring to encourage, protect and create favorable conditions for
             investment by investors of one Contracting State in the territory of the other
             Contracting State based on the principles of mutual respect for sovereignty,
             equality and mutual benefit and for the purpose of the development of
             economic cooperation between both States […]

75.      Article 1(1) of the Treaty provides, in relevant part:

             The term “investments” means every kind of asset invested by investors of
             one Contracting State in accordance with the laws and regulations of the other
             Contracting State in the territory of the latter, including mainly (a) movable
             and immovable property and other property rights; (b) shares in companies or
             other forms of interest in such companies; (c) a claim to money or to any
             performance having an economic value; (d) copyrights, industrial property,
             know-how and technological process; (e) concessions conferred by law,
             including concessions to search for or to exploit natural resources.

76.      Article 1(2)(b) of the Treaty provides, in relevant part:

             The term “investors” means: In respect of both Contracting States: […] (b)
             economic entities established in accordance with the laws and regulations of
             each contracting State.

77. Article 3(1) and 3(2) of the Treaty provide:

             (1) Investments and activities associated with investments of investors of
             either Contracting State shall be accorded fair and equitable treatment and
             shall enjoy protection in the territory of the other Contracting State.
             (2) The treatment and protection as mentioned in Paragraph 1 of this Article
             shall not be less favorable than that accorded to investments and activities
             associated with such investments of investors of a third State.

78. Article 4(1) and 4(2) of the Treaty provide:

             (1) Neither Contracting State shall expropriate, nationalize or take similar
             measures (hereinafter referred to as “expropriation”) against investments of
             investors of the other Contracting state in its territory, unless the following
             conditions are met:
                 (a) as necessitated by the public interest;
                 (b) in accordance with domestic legal procedures;
                 (c) without discrimination;
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                  (d) against appropriate and effective compensation.
             (2) The compensation mentioned in paragraph 1(d) of this Article shall be
             equivalent to the value of the expropriated investments at the time when
             expropriation is proclaimed, be convertible and freely transferable. The
             compensation shall be paid without unreasonable delay.

79. Article 8(1), 8(2), and 8(3) of the Treaty provide:

             (1) Any dispute between an investor of one Contracting State and the other
             Contracting State in connection with an investment in the territory of the other
             Contracting State shall, as far as possible, be settled amicably through
             negotiation between the parties to the dispute.
             (2) If the dispute cannot be settled through negotiation within six months,
             either party to the dispute shall be entitled to submit the dispute to the
             competent court of the Contracting State accepting the investment.
             (3) If a dispute involving the amount of compensation for expropriation
             cannot be settled through negotiation within six months as specified in
             paragraph 1 of this Article, it may be submitted at the request of either party
             to an ad hoc arbitral tribunal. The provisions of this paragraph shall not apply
             if the investor concerned has resorted to the procedure specified in the
             paragraph 2 of this Article.

5.      OTHER MATTERS

        5.1. Other Legal Provisions

80.      The Respondent argues that, in addition to the BIT, domestic law is relevant to the
         existence of the Claimants’ contractual rights and the legality of the conduct of the
         foreign investors. Furthermore, there are international norms such as “[t]he United
         Nations Convention Against Corruption which defines bribery and money laundering
         as fundamental criminal offenses that undermine the international system of foreign
         trade.”11 It is the contention of the Respondent that the Claimants violated the BIT, the
         laws of Laos and international norms.

81.      According to the Claimant Sanum’s Reply, the “[BIT] clearly governs this dispute.”12
         The United Nations Convention Against Corruption (“UNCAC”) “creates obligations
         only for the state Parties, to develop anti-corruption policies, practices, and task forces.




11
 Respondent’s Counter-Memorial, para. 20.
12
 Claimant’s Reply and Opposition to Respondent’s Counterclaims dated 9 May 2014 (hereinafter “Claimant’s
Reply”), para. -237.
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         It does not bind or purport to bind the conduct of entities such as the Claimant.”13 The
         Claimants also question the Respondent’s appeal to international public policy and, in
         particular, the international standard for the gaming industry based on domestic gaming
         regulations of just four jurisdictions, none of them applicable to the Claimants’ projects
         in Laos.

82.      While the Claimants admit that domestic statutes obviously do determine whether
         certain alleged acts are legal or illegal for the purposes of domestic law, domestic law
         does not dictate the consequences for an investor’s claims under the Treaty.

83.      The Claimants argue that “once an investor has established its investment in conformity
         with the host state’s laws, that investment falls within the scope of the treaty (assuming
         all of the other jurisdictional hurdles have been cleared), and the investor is prima facie
         entitled to its protections.”14 The Claimants further argue that the cases that “consider
         whether allegations of misconduct constitute a proper defence on the merits do not
         assist Laos because tribunals have required Respondents to demonstrate that the actions
         taken in breach of the treaty were actually justified by the misconduct.”15

84.      The Claimants also dispute the relevance of the “uncontroversial proposition that
         arbitral tribunals have an inherent power to preserve the integrity of their own process
         …”16 The Claimants equally reject the applicability of the “unclean hands” doctrine
         and note that the Respondent has not cited any case in which a tribunal has sanctioned
         post-investment behaviour with a full dismissal of the Claimant’s case.


        5.2. The Tribunal’s Analysis

85.      The law to be applied by the Tribunal is determined by the Treaty. The Treaty is an
         international instrument that to the extent it requires interpretation will be interpreted
         by the Tribunal in accordance with the provisions of the Vienna Convention on the Law
         of the Treaties (“VCLT”) to which both State parties to the Treaty have acceded. As
         the Parties admit in their exchanges, the domestic law of the State may also be relevant.



13
   Ibid.
14
   Ibid., para. 246.
15
   Ibid., para. 249.
16
   Ibid., para. 252.
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           The extent of its relevance is a matter of dispute between the Parties, particularly on the
           question of whether to be protected an investment needs to be made and operated
           according to the law of the host State. This issue and the disputed applicability of
           international policy relate to the defence of illegal conduct and the Tribunal will address
           both matters as needed in its consideration of the Respondent’s defence.


         5.3. Clarification on the Nature of the Respondent’s Illegality Claims

86.        As part of its defence, the Respondent has pleaded that the Tribunal should dismiss all
           claims because of the illegal activities in which the Claimants allegedly engaged,
           including bribery, embezzlement and money laundering. The Claimants have at times
           characterized this defence as a “request for dismissal…for lack of jurisdiction” because
           at inception or in its operation the investment of the Claimants was illegal.17

87.        As the Tribunal understands it, the present submission of the Respondent to dismiss all
           claims on grounds of illegality is not an objection to the Tribunal’s jurisdiction, but an
           affirmation of the Tribunal’s jurisdiction to consider the claims on their merits which,
           the Government says, ought to be dismissed because of the Claimants’ illegal conduct.


6.       THE RESPONDENT’S THRESHOLD POSITION IS THAT THE CLAIMS
         OUGHT NOT TO BE ENTERTAINED BY REASON OF THE CLAIMANTS’
         BRIBERY AND CORRUPTION

88.        At the threshold of its argument, the Respondent contends that the claims should be
           dismissed in their entirety, in part because of corruption in the creation of the investments,
           and in part because of corruption in the course of performance of the various PDAs and
           unsuccessful initiatives by the Claimants to obtain licences for new gambling facilities.

89.        The Respondent alleges that the principals behind the Claimants, Mr. John Baldwin and
           Mr. Sean Scott, were quite brazen about how to do business in a culture of corruption.
           However, Mr. Baldwin says, they steadfastly resisted. In this respect, Mr. Baldwin
           testified that:

                Laos can be quite a corrupt country … As I met fellow businessmen in Laos,
                I came to realize that almost every major business operating in Laos has paid


17
     Claimant’s Reply, para. 13.
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              money under the table for their concessions, or their flat tax agreements or
              other Government approvals. Sanum, however, has not.18

90.      In his re-examination at the Hearing, Mr. John Baldwin made an even more emphatic
         denial of corrupt activities: “I gave strict instructions always that we weren’t paying
         any bribes.”19

91.      The allegations of bribery in the course of making the initial investment include:

           (a) an alleged bribe of US $30,000 to Laotian tax authorities to obtain approval of
                 the original 2009 Flat Tax Agreement which the Claimants regarded as essential
                 to their investment in their flagship Savan Vegas Hotel and Casino project;

           (b) payment of US $25,000 to Government officials to procure a licence for the
                 Claimants’ proposed Thakhaek Slot Club and Welcome Centre.20

92.      The allegations of bribery in the course of performance of the PDAs and related
         initiatives include:

           (a) payment of US $875,000 to the Claimants’ consultant in the Laos private sector,
                 Madam Sengkeo Phimmasone, to bribe Government officials to stop an audit by
                 Ernst & Young (“E&Y”) of Savan Vegas in order to avoid disclosure of the
                 Claimants’ illegal activity21 and witness tampering (Madam Sengkeo
                 Phimmasone refused to make herself available to testify in these proceedings.
                 The Respondent alleges she was paid by the Claimants to stay away);



18
   John Baldwin Second Witness Statement dated 9 May 2014, para. 5.
19
   Mr. Baldwin testified as follows in re-examination by his counsel:
      Q. Mr. Branson asked you a number of questions about the contracts, the consulting contracts, that Mr.
      Bouker had that Marty Gersten had written up and you said you hadn’t seen them, but now that you’ve
      seen them, do they cause you to believe that Mr. Bouker was being dispatched to go and bribe people?
      A. No.
      Q. And why is that?
      A. Well, first and foremost, I gave strict instructions always that we weren’t paying any bribes.
      That’s number one. I just don’t do it and I’m a stubborn guy and I just don’t – I tell my staff the
      same thing always, you know, it’s a slippery slope and you can’t start down it, so that’s number one.
      But number two is, you know, fair value [in terms of a success fee] for result for work given. I mean,
      if he [Mr. Bowker] has the contacts to do this, more power to him. (emphasis added)
   Amended Transcript, 5 September 2018, p. 168, ll. 8-19.
20
   Respondent’s Rejoinder, paras. 10-11, 15-17.
21
   Respondent’s Counter-Memorial, para. 73; Respondent’s Rejoinder, para. 9(i) and (vii).
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          (b) payment of bribes totalling US $21,000 in 2012 to Government officials in an
                effort to obtain an extension of the 2009 Flax Tax Agreement;22
          (c) offer of a US $7 million bribe to the Prime Minister of Laos for approval of a
                licence to establish a casino in the capital city of Vientiane;23

          (d) a bribe of US $80,000 to the Governor of the Province of Champasak to approve
                a slot club at Chong Mek;24

          (e) bribes totalling US $106,000 to Government officials to close the Paksan Slot
                Club as a way of bringing pressure on ST Holdings to settle their differences;25

          (f) a claim (now abandoned) of payment of unspecified amounts of bribes to
                Government officials stationed at Savan Vegas to turn a blind eye to unlawful
                gambling by Lao citizens;26

          (g) an allegation (now abandoned) of payment of unspecified amounts to Thai
                border officials to facilitate Thai gamblers crossing into Laos to gamble and
                return unhindered with their winnings;27 and

          (h) additional allegations (now abandoned) that the Claimants engaged in money
                laundering and embezzled funds from Savan Vegas by use of phoney loans.28

93.      In addition, the Respondent alleges that the Claimants paid US $120,000 to Cambodian
         officials for a Cambodian lottery licence, bribed Cambodian officials to obtain
         Cambodian diplomatic passports and bribed Cambodian customs officials to ignore
         unlawful border crossings. These allegations were designed to demonstrate that the
         principals of the Claimants are “bad people” with a predisposition to use bribery and
         corruption to advance their financial interests. The facts underlying the Cambodian




22
   Respondent’s Counter-Memorial, paras. 90-93; Respondent’s Rejoinder, paras. 10,15, 19.
23
   Respondent’s Counter-Memorial, para. 97.
24
   Respondent’s Counter-Memorial, paras. 100-101; Respondent’s Rejoinder, paras. 21-22.
25
   Respondent’s Counter-Memorial, paras. 102-104.
26
   Respondent’s Counter-Memorial, paras. 110-113.
27
   Respondent’s Counter-Memorial, paras. 114.
28
   Respondent’s Counter-Memorial, paras. 115-199, 133, 135, 338.
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         allegations are so far removed from the allegations of corruption in Laos, that the
         allegations relating to Cambodia will not be considered further.


        6.1. Evidence of Bribery and Corruption is Relevant Both at the Time of Investment
             and During Subsequent Performance

94.      The Parties agree that investment tribunals are rightly sensitive to allegations of
         corruption. They agree that the Respondent bears the burden of proof. They disagree
         on the standard of proof, i.e. whether a balance of probabilities is sufficient or whether
         corruption must be established to the more demanding standard of “clear and
         convincing evidence” of corruption. They also, of course, disagree on the facts.

95.      There is no doubt that bribery and corruption are contrary to the domestic laws of
         Laos.29


            6.1.1. The Respondent’s Argument

96.      The Respondent asserts that the Claimants are not legally entitled to maintain any of
         their claims in these proceedings as a matter of ordre public international and public
         policy.30 Corruption, the Respondent argues, is relevant to the initial investment but




29
   Lao Penal Code
     Article 157:
     Any person bribing or agreeing to bribe a civil servant shall be punished by six months to two years
     of imprisonment and a fine equal to the amount or value of the bribe.
     In the event of a substantial bribe, the bribed civil servant, the briber and the person who agrees to
     give the bribe shall be punished by three to five years of imprisonment and fines equal to twice the
     amount or value of the bribe.
     Bribe intermediaries shall be punished by six months to two years of imprisonment and fines equal
     to the amount or value of the bribe.
     LHRA-15.
Lao Law on Investment Promotion
     Article 73: Prohibited actions for investors:
     Investors are prohibited to perform the following actions:
     1. Give bribes to officers and government officials who have responsibilities for concerned tasks;
     LHRA-21.
30
   World Duty Free Company Limited v. Republic of Kenya, ICSID Case No. ARB/00/7, Award (“World Duty
Free v. Kenya”), at para. 188(3), LHRA-31.
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         also to the investor’s subsequent conduct in relation to the investment in the host
         country.31

97.      The difference is that corruption in the making of the investment will raise issues of
         jurisdiction for the Tribunal, whereas subsequent acts of corruption will go to a
         claimant’s entitlement for relief under the BIT.32

98.      In particular, the Respondent relies on the analysis in Metal-Tech v. Uzbekistan:

             While reaching the conclusion that the claims are barred as a result of
             corruption, the Tribunal is sensitive to the ongoing debate that findings on
             corruption often come down heavily on claimants, while possibly exonerating
             defendants that may have themselves been involved in the corrupt acts. It is
             true that the outcome in cases of corruption often appears unsatisfactory
             because, at first sight at least, it seems to give an unfair advantage to the
             defendant party. The idea, however, is not to punish one party at the cost of
             the other, but rather to ensure the promotion of the rule of law, which entails
             that a court or tribunal cannot grant assistance to a party that has engaged in
             a corrupt act.33 (emphasis added)

99.      The Respondent also relies, more generally, on the doctrine of “clean hands”. The
         Claimants’ misconduct is sufficient, it is said, to deny them the assistance of investor-
         state arbitration.




31
   Referencing ICC Dossier: Addressing Issues of Corruption in Commercial and Investment Arbitration, Chapter
11, at para. 31, LHRA-155 (citing Flughafen Zürich A.G. and Gestión e Ingeniería IDC S.A. v. Bolivarian
Republic of Venezuela, ICSID Case No. ARB/10/19, Award, 18 November 2014, at paras. 129-132):
      31. The approach to bribery is different in investment arbitrations, where jurisdiction does not derive
      from a contract, but rather from an investment treaty. In these cases, validity of contracts is not the
      question. The issue is whether an investor who has incurred in corrupt practices when making or
      performing the investment can still enjoy protection under the relevant investment treaty. And the
      answer is no. (38) Investment arbitration has initiated and led the movement of zero tolerance
      towards corruption.
32
   Fraport AG Frankfurt Airport Services Worldwide v. Republic of the Philippines, ICSID Case No. ARB/03/25,
at para. 345, LHRA-29:
      If, at the time of the initiation of the investment, there has been compliance with the law of the host
      state, allegations by the host state of violations of its law in the course of the investment, as a
      justification for state action with respect to the investment, might be a defence to claimed substantive
      violations of the BIT, but could not deprive a tribunal acting under the authority of the BIT of its
      jurisdiction. (emphasis added)
33
   Respondent’s Opening Submission, Slide 143, citing Metal-Tech Ltd. v. Republic of Uzbekistan, ICSID Case
No. ARB/10/3, Award, 4 October 2013, at para. 389, Exhibit LHRA-157.
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           6.1.2. The Claimant’s Argument

100.    The Claimants point out that the Tribunal’s jurisdiction is founded on the BIT and
        neither the Netherlands nor the Chinese BIT contains a provision authorizing a tribunal
        to deny the treaty’s protection on the basis that the claimant/investor engaged in
        corruption. If the BITs provide no authority to dismiss, the Tribunal would have to
        base its decision on customary international law. However, the lack of “clean hands”
        is neither a recognized rule of customary international law nor a general principle of
        international law and thus affords no authority to dismiss.34

101.    The Claimants acknowledge that corruption in the establishment of an investment
        can render a claim inadmissible because treaty protections are only available for valid
        investments recognized under the treaty (based upon either an explicit or implied
        legality requirement).35 The Claimants deny corruption but in any event deny any
        causal connection between the acts of alleged corruption and these claims. The
        Respondent only concocted its corruption allegations after the arbitrations were
        commenced and in any event has failed to govern itself in a manner consistent with its
        international obligations, including due process and good faith, and the prosecution of
        bribe-takers as well as alleged bribe-givers.36

102.    The Claimants’ principal, Mr. John Baldwin, denied the applicability of the “red flags”
        approach to the investments in issue here:

             Q. Is it possible that when you enter into a consulting contract like this, that
             if the event is achieved, the consultant is sent the money and the consultant
             then is instructed to pay it to certain government ministers so that it keeps the
             company one step removed from proof of the bribe? Isn’t that how it works,
             Mr Baldwin?
             A. That’s a possibility, although it didn’t happen here.37




34
   Citing Yukos Universal Limited (Isle of Man) v. The Russian Federation, UNCITRAL PCA Case No. AA 227,
Award, 18 July 2014, at paras. 1362-1363, CLA(B)-395.
35
   Claimant’s Closing Submission, Slide 3.
36
   Claimant’s Opening Submission on Respondent’s Corruption Allegations, Slide 4.
37
   Amended Transcript, 5 September 2018, p. 91, 16-25.
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            6.1.3. The Tribunal’s Analysis

103.    The Tribunal considers that proof of corruption at any stage of the investment may be
        relevant depending on the circumstances. While the UNCAC applies to States rather
        than private parties, it embodies what has become a principle of customary international
        law applicable, according to the OECD, to root out corruption used “to obtain or retain
        business or other undue advantage in relation to the conduct of international
        business.”38

104.    The Respondent also relies on a generalized doctrine of “clean hands” which is a
        metaphor employed as a defence to equitable relief in common law jurisdictions.
        Incorporation of such a general doctrine into investor-State law without careful
        boundaries would risk opening investment disputes to an open-ended, vague and
        ultimately unmanageable principle. However, putting aside the label, serious financial
        misconduct by the Claimants incompatible with their good faith obligations as investors
        in the host country (such as criminality in defrauding the host Government in respect
        of an investment) is not without Treaty consequences, both in relation to their attempt
        to rely on the guarantee of fair and equitable treatment, as well as their entitlement to
        relief of any kind from an international tribunal.




38
   UN Convention Against Corruption, Article 16(1), LHRA-16. See also OECD Convention on Combating
Bribery of Foreign Public Officials in International Business Transactions, Article 1(1), Exhibit LHRA-136:
      Each Party shall take such measures as may be necessary to establish that it is a criminal offence
      under its law for any person intentionally to offer, promise or give any undue pecuniary or other
      advantage, whether directly or through intermediaries, to a foreign public official, for that official or
      for a third party, in order that the official act or refrain from acting in relation to the performance of
      official duties, in order to obtain or retain business or other improper advantage in the conduct of
      international business. (emphasis added) .
See also ICC Dossier: Addressing Issues of Corruption in Commercial and Investment Arbitration, Chapter 11,
at para. 34, Exhibit LHRA-155:
      It is now undisputed that a finding of corruption when making or performing an investment will lead
      to dismissal of claimant’s claims and to a loss of any protection afforded by the treaty. (emphasis
      added)
Respondent’s Opening Statement, Slide 146.
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       6.2. The Applicable Standard of Proof

           6.2.1. The Respondent’s Argument

105.    The Respondent notes that many international tribunals have recognized the difficulty
        of “proving” bribery and corruption. In the nature of things, the parties to such
        transactions are generally careful to leave no paper trail or other direct or documentary
        evidence. As a result, if corruption is to be combatted effectively, it is necessary to rely
        on inferences from circumstantial evidence. A reasonable approach is to identify “red
        flags” which, if established, require the alleged perpetrators to provide an exculpatory
        explanation of otherwise suspicious conduct. In Metal-Tech v. Uzbekistan,39 for
        example, the tribunal considered probative of corruption the Government’s evidence of
        substantial payments to a consultant where:

          (a) the consultant lacks experience in the sector,

          (b) the consultant is not a resident of the country where the project is located;

          (c) the consultant has no significant business presence or experience within the
               country;

          (d) the consultant requests “urgent” payments and/or unusually high commissions;

          (e) the consultant requests payments be made in cash, be made in a third country, to
               a numbered bank account, or to some other person or entity than the one with
               whom the agreement was signed;

          (f) the consultant has a close personal/professional relationship to the Government
               that could improperly influence the decision.40




39
   Metal-Tech v. Uzbekistan, Exhibit LHRA-157, at para. 293. See also ICC Dossier Addressing Issues of
Corruption in Commercial and Investment Arbitration, Chapter 5, Exhibit LHRA-160.
40
   Metal-Tech v. Uzbekistan, Exhibit LHRA-157, para. 293.
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            6.2.2. The Claimant’s Argument

106.    The Claimants contend that the applicable standard of proof of corruption in
        international law is “clear and convincing evidence” which must consist of
        “substantial facts” not mere “inferences”.41 Relevance is placed on Waguih Elie
        George Siag and Clorinda Vecchi v. The Arab Republic of Egypt, where the tribunal
        held that “the applicable standard of proof is greater than the balance of probabilities
        but less than beyond a reasonable doubt.” The term favoured by the Claimants is “clear
        and convincing evidence.”42




            6.2.3. The Tribunal’s Analysis

107.    The Tribunal acknowledges the difficulty of proving corruption as well as the
        importance of exposing corruption where it exists. In the nature of the offence, the
        person offering the bribe and the person accepting it will take care to cover their
        tracks. Nevertheless, given the seriousness of the charge, and the severity of the
        consequences to the individuals concerned, procedural fairness requires that there be
        proof rather than conjecture. The standard of “probabilities” requires the trier of fact
        to stand back and make an overall assessment. The requirement of “clear and
        convincing” evidence puts the focus more closely on the building blocks of the
        evidence to ensure a rigorous testing.

108.    In the Tribunal’s view, there need not be “clear and convincing evidence” on every
        element of every allegation of corruption, but such “clear and convincing evidence”
        as exists must point clearly to corruption. An assessment must then be made of which



41
   Liman Caspian Oil BV and NCL Dutch Investment BV v. Republic of Kazakhstan, ICSID Case No. ARB/07/14,
Award, 22 June 2010, Exhibit CLA(B)-441, at para. 424:
      … It is not sufficient to present evidence which could possibly indicate that there might have been or
      even probably was corruption. Rather Claimants have to prove corruption…[T]he issue is not one
      of inference, and the Tribunal considers that Claimants have not met their burden of proof in this
      regard.
See also Gustav FW Hamseter GmbH & Co KG v. Republic of Ghana, ICSID Case No. ARB/07/24, Award,
18 June 2010, Exhibit LHRA-26, at para. 134.
42
   Waguih Elie George Siag & Clorinda Vecchi v. Arab Republic of Egypt, ICSID Case No ARB/05/15, Award,
1 June 2009, Exhibit CLA(LH)-069, at para. 326.
     Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 405 of 457
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        elements of the alleged act of corruption have been established by clear and
        convincing evidence, and which elements are left to reasonable inference, and on the
        whole whether the alleged act of corruption is established to a standard higher than
        the balance of probabilities but less than the criminal standard of beyond reasonable
        doubt, although, of course proof beyond reasonable doubt would be conclusive. This
        approach reflects the general proposition that the “graver the charge, the more
        confidence there must be in the evidence relied on.”43


       6.3. Failure of the Respondent to Investigate and Prosecute Persons who Allegedly
            Accepted Bribes

109.    As the Claimants point out, the Respondent has brought no prosecutions against any
        Government official said to be on the receiving end of the bribes. Nor is there before the
        Tribunal any evidence of a serious criminal investigation of anyone other than the
        principals of the Claimant, Mr. John Baldwin and Mr. Sean Scott.

110.    Conviction of its own officials would not estop the Government from pursuing the
        Claimants as bribe-givers.

111.    However, in this case, the Tribunal finds it disturbing that no prosecutions have been
     brought against any persons alleged to have accepted bribes, nor has there been evidence
     of due diligence in any investigation. These omissions are relevant to the credibility of the
     Government’s allegations, as will be seen.

            6.3.1. First Allegation – Bribes to Obtain the 2009 Flat Tax Agreement

                    6.3.1.1. The Respondent’s Argument

112.    The Claimants have repeatedly acknowledged that the Flat Tax Agreement (“FTA”)44
        was essential to the economic profitability of Savan Vegas. Mr. John Baldwin testified
        in Singapore that the Claimants would not have built the casino without an FTA:




43
   See Libananco v. Turkey (Exh. RLA-117), para. 125; Rompetrol v. Romania (Exh. RLA-233), para. 182;
both relying on the Separate Opinion of Judge Higgins in the Oil Platforms case, ICJ Reports 1996, at 856.
44
   Flat Tax Agreement between Laos and Savan Vegas, dated 21 September 2009, Exhibit C(B)-007.
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                                                   - 39 -

             Q. And would you have built the Savan Vegas casino for $25 million, $30
             million if that was the tax you had to pay, if the government refused to give
             you a flat tax agreement?

             A. No.45

113.    It is alleged that to obtain the original 2009 FTA, a bribe of US $30,000 was paid to
        Ms. Manivone or Mr. Khamphai, senior officials with the Government tax department,
        through the Claimants’ intermediary or consultant, Madam Sengkeo.

114.    The FTA was of great value to the Claimants as it limited most types of tax to a flat sum
        of US $745,000 per year regardless of the profits made by the multi-million dollar casino
        operation.

115.    The chronology is as follows:

       DATE                                   ACTIVITY
       29 December 2008                       Prime Minister approves FTA in principle
       21 September 2009                      Flat Tax Agreement signed.
       22 September 2009                      Internal Sanum e-mail records that Mr. Khamphai
                                              requested wire of “agreed payment” to Madam
                                              Sengkeo’s account “approved” by Mr. Baldwin.46
       24 September 2009                      Internal Sanum e-mail records that the “tax people are
                                              requesting […] $30,000 USD […] to get the flat tax
                                              approval.”47
       7 October 2009                         Internal Sanum e-mail records that Madam Sengkeo
                                              “has provided her daughter’s bank account”
                                              information.48
       8 October 2009                         Internal Sanum e-mail records that Mr. Baldwin
                                              instructed the disbursement of funds “by wire” for
                                              “service[s] partially rendered”.     Amounts of
                                              US $10,000 and US $20,000 were disbursed from the
                                              account “by wire”.49




45
   Amended Transcript, 5 September 208, p. 89, 12-16.
46
   Emails regarding Flat Tax, Exhibit SRE-152.
47
   Ibid.
48
   Ibid.
49
   Ibid.
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116.     According to the Respondent, the sequence of dates, and the use of the daughter’s bank
         account in lieu of Madam Sengkeo’s own account, raise “red flags”.

117.     While the FTA had been agreed to in principle in December 2008, Mr. John Baldwin
         testified that the deal was not done, because “we needed to get the flat tax agreement
         reduced into a formal document at that specific time.”50 Accordingly, it would have
         been quite understandable for the payment of a bribe to be delayed until October 2009
         when the FTA was signed, as opposed to December 2008 when it was purportedly
         approved in principle by the Government.

118.     In cross-examination, Mr. John Baldwin denied any illegal payment to Madam
         Sengkeo, but according to the Respondent, Mr. Baldwin’s explanation that the
         reference to payment in October 2009 of US $30,000 to the “tax people” meant
         payment to Madam Sengkeo for her own benefit rather than as a bribe for tax officials
         is (according to the Respondent) manifestly absurd. In this respect, Mr. John Baldwin
         testified as follows:

              Q. Isn’t this a statement to the CFO of Sanum/Savan Vegas to pay a bribe of
              $30,000 to a tax official in the Ministry of Finance?
              A. No.

              Q. How do you interpret it? What does it mean?
              A. That the $30,000 success fee was supposed to be paid to Madam Sengkeo
              and her tax people that were with her.
              Q. She is “the Tax people”?
              A. Yes.
              Q. Did she work for the government then?
              A. No.
              Q. She didn’t? She’s not an employee of the Ministry of Finance?




50
 Mr. John Baldwin testified as follows:
    Q. What was the agreement’s substance? I mean, the agreement with Madam Sengkeo, what was the
    substance of that agreement?
    A. I believe – I – I don’t know specifically, but I believe that we needed to get the flat tax agreement
    reduced into a formal document at that specific time, but Madam Sengkeo’s engagement went back
    nearly a year, is my recollection, and that she helped, through that whole period, to get the flat tax
    agreement.
    Q. What was the agreement? Why was she getting 30,000? Why not 50,000?
    A. Well, she agreed to take $30,000.
Amended Transcript, 5 September 2018, p.69, 16-25 to 70, 1-3.
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              A. No.51

119.     The Respondent adds that the US $30,000 may have gone to Madam Sengkeo in the
         first instance, but in the Respondent’s view, the coincidence of timing with Sanum’s
         apparent need to ingratiate itself with Government officials is fatal to Mr. Baldwin’s
         credibility.


                      6.3.1.2. The Claimant’s Argument

120.     The Claimant contends that payment of US $30,000 to Madam Sengkeo was a “success
         fee” for obtaining the FTA where previous intermediaries had failed.52 Mr. Baldwin
         strongly denied any impropriety:

              Q. Down at the bottom of the page it says:
              “Dear Billy and Team, Mr Khamphai of the Tax Department and Mdm
              Sengkeo had just informed us that Joe had picked up the flat tax document at
              his office [meaning Mr Khamphai’s] since 9AM this morning ...
              However, he has asked us to wire the agreed payment to Madam Sengkeo’s
              account as followed ...”
              And then they give the account number. So isn’t this interesting, that the day
              that the flat tax agreement is delivered to your employee, he asked that
              $30,000 is wired that day?
              A. Well, my reading of this is that “he” is Joe.
              Q. And who is he saying that the money should be paid to?
              A. Madam Sengkeo.53 (emphasis added)




51
   Amended Transcript, 5 September 2018, p. 66, 1-15.
52
   Mr. Baldwin testified in his Second Witness Statement in the SIAC case of 8 June 2015 as follows:
      15. The Government alleges that I authorized payments totaling US$30,000 to Madame Sengkeo
      Phimmasone, as a bribe to obtain the flat tax agreement issued on 1 September 2009 for Savan Vegas.
      This too is false. The payments represented a success fee to Madam Sengkeo for her efforts to
      help Savan Vegas negotiate a Flat Tax Agreement with the Lao Government – a project on which
      she had worked since at least July 2008.
      16. Initially, it was the ST Group – then our local partner in Laos – that was responsible for obtaining
      a flat tax agreement for Savan Vegas. However, it failed to do so, thus by mid-2008, we took it upon
      ourselves to negotiate such an agreement with the Lao Government. In order to have local Lao
      expertise to assist us, Savan Vegas offered a success fee to Madam Sengkeo to lobby for a
      satisfactory Flat Tax Agreement for Savan Vegas. Madam Sengkeo was a partner of ST, which is
      how I came to know her. I discovered that she had many high-level connections in the Lao
      Government. This made her a natural choice for this consulting engagement. (emphasis added)
John Baldwin Second Witness Statement, 8 June 2015, paras. 15-16, Exhibit SRE-159.
53
   Amended Transcript, 5 September 2018, p. 67, 2-18.
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121.    Mr. John Baldwin testified that there was no reason to bribe any Government employee
        in September 2009 as the Prime Minister had already agreed to a flat tax agreement in
        December 2008.54

                    6.3.1.3. The Tribunal’s Analysis

122.    The Respondent’s case is speculative rather than substantial. Madam Sengkeo was in
        the consulting business. Consultants are paid. While the Claimants never produced a
        “consulting agreement” with Madam Sengkeo, the evidence is that it is not unusual for
        consultants to insist on a success fee as part of their remuneration. The effort to obtain
        a FTA was successful. It was likely worth millions of dollars to the Claimants in
        reduced taxes. In that context, payment of US $30,000 in 2009 is not a disproportionate
        “success fee”. Moreover, no one was prosecuted in this affair. Even if Madam Sengkeo
        did not cooperate with the Government, why was her daughter (the owner of the bank
        account) not investigated? What is the daughter’s explanation? The evidence of
        corruption in this instance is neither clear nor convincing. The bribery allegation in
        connection with the FTA is not established to the necessary standard for such a serious
        charge.


            6.3.2. Second Allegation – Bribes to Extend the Flat Tax Agreement After
                   Expiry of the 5-Year Term

                    6.3.2.1. The Respondent’s Argument

123.    On 18 March 2011, Savan Vegas submitted its proposal to extend the FTA, which was
        due to expire on 31 December 2014. Six days later, on 24 March 2011, the Claimants
        paid US $21,000 to Mr. Bouker Noutharath, a retired hospital worker from Olympia,
        Washington State, United States of America, who had returned to live in Laos. He had
        no experience as a “consultant” but had good contacts within the Government. On


54
 Mr. Baldwin testified:
    Q. Would there be any reason to have to bribe anyone when the Prime Minister had already approved
    your flat tax?
    A. You know, there’s no reason to and, plus, obviously, the Prime Minister’s office was watching
    this. The local tax people were watching this, the finance department’s watching this. This was a
    significant project and lots of people were watching it and there’s no way. You just wouldn’t –
    couldn’t happen.
Amended Transcript, 5 September 2018, p. 151, 2-11.
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        4 March 2011, he was retained by Savan Vegas55 as a consultant to lobby in favour of
        an extension of the FTA. Mr. Baldwin says Mr. Bouker was promised a success fee
        substantially in excess of US $ 21,000, but Mr. Bouker, who agreed to cooperate with
        the Government, testified that:

            I have seen the entry in the general ledger that I was sent $21,000 on March
            24, 2011. The entry says “prof fee re flat tax acceptance – Brian Nonthavet.”
            RE-131. I remember that Sanum was concerned about extending a flat tax
            agreement, but I was not involved in that issue. I was sent the $21,000 to
            deliver it to a government person. I remember it was Mr. Paoa [of Savan
            Vegas] who asked me to make this payment about the tax issue but I cannot
            remember the name of the Government person who I gave this payment
            too.56 (emphasis added)
                                              *****
            These contracts are for fraud reasons. They were drafted and sent to me by
            lawyer Martin Gersten …They were to provide a cover for the bribes Sanum
            intended to pay to have the Government extend the Flat Tax Agreement and
            to obtain the Thakhaek slot club licence.57

124.    The Respondent believes the unidentified “Government Person” was Ms. Manivone,
        but Mr. Baldwin testified he was “sure” this was not so:

            Q. Do you know that at the time you were negotiating with Madam Manivone
            in the tax department of the Ministry of Finance?
            A. Well, we were – negotiated with Madam Manivone from 2007 clear
            through, you know, into 2012.
            *****
            Q. Isn’t it true that Mr Paoa asked Bouker to deliver $21,000 [in 2012] to
            Ms Manivone in the tax department to help in negotiations for the flat tax
            agreement?
            A. I don’t think so.
            Q. But you’re not sure?
            A. I’m sure…58




55
   Bouker Nonthavet Third Witness Statement, 23 May 2014, Exhibit 4, Respondent’s Opening Submission,
Slide 161.
56
   Bouker Nonthavet First Witness Statement, 2 April 2014, at para. 7.
57
   Amended Transcript, 5 September 2018, p. 90, 20-25.
58
   Amended Transcript, 5 September 2018, p. 86, ll. 7-24.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 411 of 457
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                       6.3.2.2. The Claimant’s Argument

125.       Mr. Bouker received a legitimate consulting mandate. By e-mail dated 21 March 2011,
           he requested US $21,000 as “an advance”. His bank records do not show a withdrawal
           of US $21,000 but withdrawals of three different amounts on 28 March (US $9,500
           cash), 30 March (US $9,000 to his son) and 4 April (US $2,135 cash). Mr. Bouker is a
           dissatisfied former employee whose testimony is not credible.

                       6.3.2.3. The Tribunal’s Analysis

126.       There are inconsistencies in Mr. Bouker’s evidence and it is significant that he can
           remember nothing about (or is otherwise unwilling to identify) “the Government
           Person” to whom he said he handed US $21,000. There are too many loose ends to his
           story. There is no evidence that Madam Manivone (the presumed recipient) or anyone
           else was prosecuted. In the Tribunal’s view, the Respondent’s evidence does not
           establish by clear and convincing evidence or on a balance of probabilities that a
           US $21,000 bribe was offered by Mr. Bouker to any Government official as alleged.


               6.3.3. Third Allegation – The Claimants Paid US $500,000 in Bribes in 2012 to
                      (i) Shut Down the E&Y Audit of Savan Vegas and (ii) to Cause the
                      Government to Shut Down the Thanaleng Slot Club to the Disadvantage
                      of ST Holdings

127.       On 8 July 2012, Mr. Baldwin wired Sanum’s Chief Financial Officer, Mr. Clay
           Crawford, that “Savan has an extraordinary expense of $500,000 this week. I’ve tell
           you about it when we speak on the phone, but please think about our cash situation.”59

128.       Mr. Baldwin accepts that the sum of US $500,000 was subsequently sent to Vientiane
           including US $300,000 cash in a backpack delivered to Madam Sengkeo by his personal
           assistant, Bruce Douglas.60




59
     E-mail from John Baldwin to Clay Crawford, 8 July 2012, Exhibit SRE-154.
60
     Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, pp. 207-208, Exhibit SRE-160:
        Q. You ordered Mr. Douglas on that day, or the day before, rather, the same day you had to have the
        200,000 on 11 July you ordered Mr. Douglas to get into an airplane in Cambodia, fly across the
        border with USD 300,000 in a suitcase, didn’t you?
        A. In a backpack.
        Q. You have USD 500,000 going into Vientiane in a two-day period in cash?
        A. Yes.
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                   6.3.3.1. The E&Y Audit

129.    Mr. Baldwin acknowledges ordering Mr. Douglas to fly to Vientiane with US $300,000
        in cash. It is established that US $300,000 was subsequently deposited in Madam
        Sengkeo’s bank account. She subsequently deposited US $30,000 in her bank account
        in New York.

130.    The Respondent’s allegation is that the balance of US $270,000 was paid by Madam
        Sengkeo to Government officials to stop the E&Y audit of the Savan Vegas which Mr.
        Baldwin considered part of a Government move to get rid of Sanum and take over the
        Claimants’ gambling assets without compensation.61

                6.3.3.1.1.       The Respondent’s Argument

131.    The Respondent points out that the alleged “loan” to Madam Sengkeo was
        undocumented.62 Only US $15,000 has been repaid.63 Mr. Baldwin acknowledges that


61
   Mr. John Baldwin testified in his Third Witness Statement, 22 July 2013, at para. 5:
      …“Even those few Government officials who will still speak with me have admitted that we have
      been the target of a deliberate campaign to strip Sanum of its investments in Laos. The objective of
      these efforts appears to be to leave the successful businesses, in which we invested so much and
      which we spent years developing, in the hands of our local commercial partner, the ST Group...and
      the senior Lao Government officials who have intimate business and familial connections with ST.”
62
   See testimony of John Baldwin, Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, p. 209,
Exhibit SRE-160:
      Judge Barkett: Can I ask a question? Would there be loan documents evidencing this loan?
      A. Not on this loan. We have made her other loans that there are. This was – she was part
      owner of Paksong Vegas and a part owner of Savan Vegas, small pieces. We had – she helped
      us with a lot of things, but she and I become very close friends. When she called us, she said
      she needed it and I responded to that need. (emphasis added)
63
   Testimony of John Baldwin, Amended Transcript, 5 September 2018 at p. 41, 14-25 to p. 42, 5-10:
      Q. …first of all, your $300,000 loan that you say you gave Madam Sengkeo in 2012, are there any
      loan documents for that loan?
      A. No, there are not.
      Q. Has she ever repaid it?
      A. She – she paid me 500,000 Thai baht.
      Q. That’s US$15,000?
      A. US$15,000.
      Q. Do you have any record of that payment?
      A. I think so – yeah, I do.
      Q. Have you ever produced it? You have been asked….
      *****
      Q. Okay. But the other – let’s assume she gave you US$15,000. The other 285,000 that you lent her
      in 2012 has not been repaid?
      A. It has not been repaid.
      Q. And we’re now in 2018?
      A. Yes.
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         Madam Sengkeo has not been asked by the Claimants to repay the balance. The
         US $30,000 deposit in New York was 10% of the US $300,000 transfer. Madam
         Sengkeo was a “ten percenter”, and her receipt of US $30,000 indicates that bribes of
         US $270,000 were paid.

132.     The bribe succeeded, according to the Respondent. On 12 July 2012, Ernst & Young
         (“E&Y”) was ordered by unidentified Government officials to stop work on its audit
         of Savan Vegas.64          The E&Y audit would have disclosed the Claimants’ illegal
         activities (subsequently uncovered by a BDO audit after the Government ousted the
         Claimants from the casino) including (the Government alleges) embezzlement and
         money laundering.

                  6.3.3.1.2.         The Claimant’s Argument

133.     The Claimant says the US $300,000 was a “loan” to Madam Sengkeo. The New York
         deposits are unrelated. Madam Sengkeo was closely involved with ST Holdings. There
         had been a falling out. She thus had an “urgency” for funds when ST Holdings
         malevolently cut off Madam Sengkeo’s regular source of income.65 Mr. Baldwin was
         a loyal friend.

                  6.3.3.1.3.         The Tribunal’s Analysis

134.     Mr. Baldwin’s explanation of the US $300,000 payment to Madam Sengkeo is not
         credible. It is clear on the evidence that Mr. Baldwin and his CFO, Mr. Clay Crawford,
         were concerned about the threat to Sanum’s business posed by the E&Y audit. Mr.



64
   Letter from Ernst & Young to the Ministry of Finance, Exhibit SRE-53:
      In relation to our final report, we also feel it necessary to remind the Inspection Committee that, since
      we were instructed by your goodself on 10 July 2012 to cease our fieldwork at Savan Vegas Hotel &
      Casino (SVC) and to refrain from receiving any additional information and/or documents from SVC
      on the same day, our final report will only contain our preliminary findings and/or observations for
      the work performed on documents and information received by us from SVC up till and including 10
      July 2012.
65
   Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, p. 207-208, Exhibit SRE-160:
      Q. What was going on in Vientiane in July 2012 that you needed all that cash there except the
      Thanaleng case was happening about 10 days later and the E&Y audit was terminated the day before.
      Those are the two events that I can think of that related to Savan Vegas, what can you think of?
      A. ST had cut Madame Sengkeo off from any income from their investments, because she had
      helped us over him, he had cut her off from any money and she lives primarily on money from
      him. She needed money to pay bills on the hotel she was building. The USD 300,000 is a loan
      to her. (emphasis added)
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       Baldwin had every incentive to influence the Government to call off the E&Y audit in
       the summer of 2012. It is simply not plausible, as the Claimants argue, that the E&Y
       audit was stopped because Government officials had concluded that E&Y had failed to
       find incriminating evidence. If that were true, the obvious instructions from the
       Government to E&Y would have been to keep digging, not to give up and down tools.

135.   On the other hand, the Claimants had a powerful motive to stop the audit as Mr. Baldwin
       and Mr. Crawford knew (and the Government merely suspected) of the existence of
       financial skeletons in the Savan Vegas books later uncovered by the BDO audit. All in
       all, the Tribunal concludes that the Claimants got a senior Government official to stop
       the audit and that the $270,000 was paid through Madam Sengkeo (i.e. $300,000 less
       10%) to that Government person or persons.

136.   That said, the Tribunal is troubled by the fact that the Government has apparently not
       identified any bribe-takers. The order to E&Y to stop the audit came as a surprise to
       E&Y and must have been issued by a senior Government source, otherwise the audit
       would have continued. The Respondent does not suggest that E&Y took the bribe but
       E&Y must know who gave its auditors the order to stop work. The evidentiary trail
       could then have been followed up the chain of command from the Government person
       who gave the order to identify the person who authorized the order, who could then have
       been required to provide the Government (and subsequently the Tribunal) with an
       explanation for the stop work order.

137.   The Respondent has not offered any explanation for this gap in the evidence. In the
       circumstances, while the evidence of Mr. Baldwin that Madam Sengkeo required the
       funds for her personal use is deeply unsatisfactory, so too is the Government’s apparent
       failure even to attempt (so far the evidence is concerned) to get to the bottom of the
       matter, not only potentially to punish the wrongdoers, but to provide solid evidence that
       a bribe was given and taken by Government official(s) to stop the E&Y audit.

138.   The Tribunal concludes that it is more probable than not that Madam Sengkeo was used
       as a conduit to bribe Government officials to stop the E&Y audit, but that this
       conclusion is not established to the higher standard of “clear and convincing evidence”.
       The Tribunal is satisfied, however, on the lesser standard of a balance of probabilities,
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           that Mr. Baldwin involved the Claimants in serious financial illegalities in respect of
           the halt of the E&Y audit.

                      6.3.3.2. Payment of About $200,000 in Bribes to Shut Down the
                               Thanaleng Slot Club

139.       In 2012, the Claimants were experiencing tense relations with their then Laotian
           partner, ST Holdings. In part, the tensions related to a profitable slot club at Thanaleng,
           which ST Holdings agreed to joint venture with Sanum. The joint venture was to
           commence at a future date awaiting the expiry of an earlier arrangement ST Holdings
           had contracted with a different slot machine supplier. However, when the date for the
           change-over arrived, ST Holdings refused to proceed with its deal with Sanum.

140.       Mr. Baldwin is alleged to have then paid bribes to Government officials through a
           “consultant”, Mr. Anousith Thepsimuong, in an effort to shut down the Thanaleng Slot
           Club as a pressure tactic to force ST Holdings to negotiate a solution rather than
           continue with litigation (which the Claimants ultimately lost in the Laotian Courts).

                   6.3.3.2.1.      The Respondent’s Argument

141.       On 28 July 2012, during the corporate struggle over the Thanaleng Slot Club, the
           Claimants attempted to obtain leverage over ST Holdings by bribing Government
           Ministries to shut down the Club. The money was channelled through Mr. Anousith.
           The sum of US $190,000 was deposited in Mr. Anousith’s bank account on 11 July
           2012 and a cash withdrawal of US $100,000 was made the following day.66

142.       Mr. Baldwin testified that Mr. Anousith was paid to lobby “the National Assembly” but
           this explanation is not credible. The National Assembly has no executive function.
           Only a Government Minister would have operational authority to issue a stop order
           against the Thanaleng Slot Club.

143.       Mr. Baldwin acknowledged that he could not explain how or why the National
           Assembly would get involved in such an executive action:




66
     Extract of ANZ Bank Statement for Mr. Anousith Thepsimoung, Exhibit SRE-153.
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             Q. You say that the National Assembly is going to suspend a licence, but did
             he [the Deputy Prime Minister] ever explain or did you ever find out how the
             National Assembly would actually do that?
             A. No.67

                 6.3.3.2.2.       The Claimant’s Argument

144.    Mr. John Baldwin readily admits that in July 2012 he was doing what was possible to
        get the Government to close the Thangaleng Slot Club68, including by a written
        submission to the country’s President. The Claimants say there is no reason to
        disbelieve Mr. Baldwin’s evidence that he was told by the Deputy Prime Minister to
        lobby the country’s National Assembly.69

145.    Mr. Baldwin denied that money was intended for a Government Minister:

             Q. See, that brings us back to July and this $500,000 pot of money that we
             have sitting in Vientiane in Madam Sengkeo’s bank account – her son-in-
             law’s bank account. Isn’t it true that that money was there to stop the court
             case from having a judgment – the money was there so you could get the slot
             club shut down and negotiate with Mr Sithat?




67
   Amended Transcript, 5 September 2018, at p. 9,23-25 to p. 10, 1-4.
68
   Mr. Baldwin testified that he wrote to President Choummaly Sayasone requesting the Government to shut down
the Thangaleng Slot Club:
       “Sanum asks that the Government suspend that the slot machine licence at the Vientiane Friendship
       Bridge. We believe that a temporary suspension will encourage the parties to negotiate and come to
       terms so they can work together. Once the parties have reached an agreement, formed a joint venture
       that is approved by the relevant ministries, and determine that they can operate the Vientiane…Bridge
       Slot Club together, the licence would be reinstated. Until then, Sanum requests your assistance in
       suspending the licence and allowing time and space to work [together] towards peace with [the] ST
       Group.” Correct? So, as I said, you were trying to get a space to negotiate your way out of this
       trouble with ST.
       A. Yes.
Amended Transcript, 5 September 2018, p. 7, 19-25 to p. 8, 1-11.
69
   In re-examination, Mr. Baldwin testified about the National Assembly as follows:
       MS DEITSCH-PEREZ: You spoke with Mr Branson about the Thanaleng lobbying. Can you tell us
       where you first got the idea to lobby the assembly with respect to Thanaleng?
       A. Yeah. I was having breakfast with Deputy Prime Minister Somsavath – we were having oatmeal
       – and he – I said I got – I have to get – make peace with Sithat somehow and I – how do we do it and
       he said, you know, it’s a tough row, because, you know, she’s joined at the hip with Bounnhang –
       you know, with vice-president Vorachith, Bounnhang Vorachith, and he said I – there’s not very
       many people that are going to be able to help you with this, you’ve got to make peace with Sithat and
       Vorachith, so I said, “Well, who can help me do that?”, and he said, “Well, two places – the politburo
       and the National Assembly”, and he said the politburo, “That’s difficult, so I would suggest that you
       reach out to the National Assembly.”
Amended Transcript, 5 September 2018, p. 171, 3-22.
     Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 417 of 457
                                                - 50 -

            A. The money was specifically earmarked to do lobbying with the National
            Assembly.
            Q. Well, we just established that you have a good friend who is the fourth
            most powerful person in the country. Wasn’t the money for him to shut
            down the club so you could stop the court decision?
            A. No.70 (emphasis added)

146.    The Claimants argue that there is no evidence that Mr. Anousith paid money to any
        Government official. He received fees as a consultant to lobby the National Assembly
        to shut down the Thanaleng Slot Club. He was entitled to spend that money as he
        wished. Laos is a cash economy. Payment of large amounts of cash in respect of
        legitimate transactions is not unusual.71 Cash does not signal illegality.


                          6.3.3.2.3. The Tribunal’s Analysis

147.    Once again, the payment to Mr. Anousith is deeply suspicious.                  There is no
        documentation of any consultancy. There is no explanation of the work for which
        almost $200,000 were paid to him and deposited in his personal bank account. The
        mandate to lobby the “National Assembly” seems far-fetched. Moreover, despite the
        alleged payment of bribes, the Thanaleng Slot Club was not shut down. In the
        circumstances, the Tribunal is unable to find “clear and convincing evidence” that a
        bribe was made or even offered through Mr. Anousith. However, on the lower
        “probabilities” standard, the Tribunal concludes that it is more likely than not that a




70
  Amended Transcript, 5 September 2018, p. 15, 3-18.
71
  Testimony of Mr. John Baldwin, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, pp.
12667-1268, Exhibit SRE-163:
     Q. And then the next day, on July the 12th there was a withdrawal of a hundred thousand,
     correct, in cash?
     A. It shows a withdrawal of a hundred thousand.
     Q. What did you tell Mr. Anousith to do with that hundred thousand?
     A. I didn’t tell him to do anything with that money.
     Q. I see. Why did you think he took out a hundred thousand of the 193 you just sent him?
     A. We paid him a fee, we didn’t – it’s his money to do with as he wishes.
                                                    *****
     Q. Was his job to get a government minister to shut down the Thanaleng Slot Club?
     A. No.
     Q. What was it to do?
     A. We had hired, we had hired him to lobby the national assembly to ask them to shut down the
     Thanaleng slot club. (emphasis added)
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        bribe was paid to an unidentified Government official or officials in an unsuccessful
        effort to advance the Claimants’ agenda at the Thanaleng Slot Club.


           6.3.4. Fourth Allegation – The Claimants Arranged for a Further $575,000
                  Bribe to Madam Sengkeo to Prevent Her from Testifying in These
                  Proceedings

148.    In 2014, when the initial phase of these proceedings was pending, the Government
        sought to have Madam Sengkeo testify. To that end, she was provided with a written
        assurance of immunity dated 7 May 2014, if she provided “information and documents
        related to offering of bribery to government of [sic] official(s) who were performing
        accounting audit activities at Savan Vegas and Casino Co., Ltd.”72

149.    At a pre-hearing conference on 14 May 2014, the Claimants (amongst other matters)
        applied to the Tribunal to allow Mr. Baldwin to make a “personal loan” to Madam
        Sengkeo of US $575,000.73 Given the importance and sensitivity of Madam Sengkeo’s
        evidence potentially to be given at the merits hearing, the Tribunal declined to give its
        permission for a US $575,000 loan to her from Mr. Baldwin.

150.    The initial hearing on the merits proceeded in Singapore in June 2014. Madam Sengkeo
        did not attend to testify for the Government.




72
   Letter of Immunity from Government’s Anti-Corruption Office dated 07/05/2014, Exhibit SRE-140:
                                        LETTER OF ASSURANCE
      Re: Protection of the rights and best interests of individuals who provide information for anti-
      corruption purpose
      The President of the Government Inspection Committee issues a Letter of Assurance for protection
      to Ms. Sengkeo Phimmasone, aged 60, a business person, residing at Xangkhou Village, Xaythany
      District, of Vientiance Capital. The assurance of protection is for her contribution in the anti-
      corruption efforts by providing information and documents related to offering of bribery to
      government of official(s) who were performing accounting audit activities at Savan Vegas and
      Casino Co., Ltd. In accordance with Article 08, Chapter I of the Law on Anti-Corruption, the
      Government Inspection Committee issues this Letter, and informs the ministries and organizations,
      provinces and domestic and foreign organizations to acknowledge based on this Letter of Assurance
      for Ms. Sengkeo Phimmasone, and this Letter serves as legal evidence.
73
   See evidence of Mr. John Baldwin, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, p.
1391, Exhibit SRE-163, Respondent’s Opening Submission, Slide 182.
     Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 419 of 457
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                   6.3.4.1. The Respondent’s Argument

151.    Mr. John Baldwin, having been denied the Tribunal’s permission, arranged for a third
        party, Mr. Gary Morris,74 to make Madam Sengkeo a US $575,000 “loan” which was
        undocumented and was not in fact a loan,75 but an inducement to keep Madam Sengkeo
        from testifying. There is no evidence that the Claimants’ loan of US $300,000 in July
        2012 or the third party “loan” of US $575,000 of May 2014, being a total of




74
   Testimony of Mr. John Baldwin, Transcript, 16 June 2015 Hearing, SIAC Case No. ARB/143/14/MV, p. 213,
Exhibit SRE-163:
      Mr. Branson: Mr. Baldwin, did you ever provide that additional loan guarantee of 575,000 to Ms.
      Sengkeo?
      A. No.
      Q. What did you do instead?
      A. I asked one of my friends to lend her money on other assets.
      Q. Did you guarantee that loan?
      A. I did not have to.
      Q. Mm?
      A. I did not have to.
      Q. Why not?
      A. The assets that she pledged were of sufficient value that he was content with the loan that
      was made.
      Q. Okay, so you arranged for her to get another loan?
      A. Yes.
75
   Amended Transcript, 5 September 2018, p. 43, 12-23:
      Q. When did Madam Sengkeo ask you for the $575,000?
      A. My recollection is perhaps two weeks before the [ICSID] hearing [in May 2014]. (p. 25, 16-18)
                                                     *****
      Q. I see. So in May 2014, when your counsel asked this tribunal to allow you to pay her or lend –
      guarantee, rather, $575,000, what did you do after the tribunal refused to bless that?
      A. I started asking mutual friends, people that I know, to lend money, if they would lend – make her
      a loan. (p. 27, 19-25)
                                                     *****
      Q. And what loan documentation did he get to secure that loan?
      A. My understanding, and my recollection, is that there are mortgages – there were mortgages given
      by Madam Sengkeo on significant pieces of real estate that she owned in Vientiane. (p. 28, 8-13)
                                                     *****
      Q. – to ask Madam Sengkeo?
      A. No.
      Q. How about your good friend, Gary Morris, have you asked him to show you any loan documents
      that he has?
      A. No.
      Q. So the two people that, supposedly, are your good friends haven’t produced any documents to you
      to produce to the tribunal?
      A. No.
      Q. Has she paid back the 575 to Mr Morris?
      A. I don’t know.
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        US $875,000 has been repaid except for US $15,000, leaving US $860,000 not
        accounted for.76

                    6.3.4.2. The Claimant’s Argument

152.    Mr. Baldwin had a long-standing business relationship with Madam Sengkeo which,
        over time, developed into personal friendship. It was perfectly normal for Madam
        Sengkeo to seek a personal loan and for Mr. Baldwin to arrange it. There is no evidence
        whatsoever that the loan of US $575,000 or any part thereof was intended by Mr.
        Baldwin, or understood by Madam Sengkeo, as an inducement not to testify. Madam
        Sengkeo,77 who now lives outside Laos, was being improperly pressured by the
        Government to give false evidence to support its bribery and corruption case78 and it is
        therefore quite understandable that she wished to avoid being a witness. Mr. Baldwin’s
        explanation of the loans to Madam Sengkeo is not rebutted and there is no evidence
        inconsistent with his version of events.




76
   Testimony of Mr. John Baldwin, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, p.
1392, Exhibit SRE-163:
      Q. Has Ms. Sengkeo paid any of that money back?
      A. I don’t know.
      Q. It means that, as we sit here today, that you lent her 300,000, Mr. Morris, Mr. McCain’s colleagues
      lent her 575, that’s $875,000. Has she paid you back?
      A. She paid me back 500,000 baht.
      Q. That’s 15,000 US?
      A. Baht money.
77
   Mr. Baldwin testified to his friendship as follows:
      …but my friendship with Madam Sengkeo is – is - I mean, Madam Sengkeo and I had a great
      relationship. I mean, it wasn’t - she is my friend. I mean, she - we went to many, many, many
      dinners. I hung out with her family. We – you know, she’s my friend. I mean, there was nothing
      untoward about my business relationships with her.
Amended Transcript, 5 September 2018, p. 38, 12-20.
78
   Mr. John Baldwin testified in re-examination:
      Q. What else did you hear from Peep about Madam Sengkeo’s situation?
      A. Madam Sengkeo has been under – it’s been – what I’ve been told is that Madam Sengkeo has been
      under a great deal of pressure by the government of Lao to sign documents making allegations that
      were not true and she has been very worried about the consequences of this on not only just her
      economic state, her property holdings and even her personal safety –
      JUDGE BINNIE: When you say you have been told, who told you?
      A. Peep. Peep told me, and the – madam – Peep [a Sanum employee] has expressed to me that
      Madam Sengkeo has expressed to her that she just feels there’s an enormous amount of pressure and
      an enormous amount of personal harm that she is subject to if she doesn’t do everything the
      government asks her to, whether it’s true or not. It’s there – she says it’s been stressed to her it
      doesn’t matter that it’s true; she needs to help the government of Lao in their efforts.
Amended Transcript, 5 September 2018, p. 161, 4-25.
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                       6.3.4.3. The Tribunal’s Analysis

153.       The US $575,000 loan, coming on top of the previous loan of US $300,000, of which
           only US $15,000 were repaid bristles with “red flags”. Mr. Baldwin clearly intended
           to sidestep the Tribunal’s denial of permission by arranging for the US $575,000 loan
           from a third party. Given Madam Sengkeo’s central role in dealings between the
           Claimants and the Government over many years, her testimony would have shed crucial
           light on the legality or illegality of many of the disbursements at issue in the
           Respondent’s allegations.

154.       Mr. John Baldwin testified:

                Q. So when Mdm Sengkeo withdrew US$80,000 in cash on July 20, the
                day before you went to visit your good friend, the Deputy Prime Minister,
                what do you think she was going to do with those US dollars?
                A. It was Mdm Sengkeo’s money to do what she wanted. She represented to
                me that she needed the loan to pay construction bills.79 (emphasis added)

155.       It cannot be said that the bare payment of US $875,000 to Madam Sengkeo is “clear
           and convincing evidence” of bribery. There is no evidence to contradict Mr. Baldwin’s
           evidence of her need for funds. There are other possible explanations for their
           disbursement.

156.       On the whole, however, while the Tribunal is unable to find “clear and convincing
           evidence” that the money was paid to Madam Sengkeo to bribe Government Ministers,
           the Tribunal is nevertheless satisfied on the lower standard of balance of probabilities
           that Mr. Baldwin and Madam Sengkeo were involved in channeling funds illicitly to
           Lao Government officials, and further that she was paid to secure her loyalty and to
           avoid her testifying on behalf of the Government, thereby obstructing justice.

157.       The coincidence of the timing of “loans” of US $875,000 (less one repayment of
           US $15,000) to Madam Sengkeo and the Claimants’ urgent need for Government
           intervention on its behalf at critical junctures of its business (the termination of the E&Y
           audit and the attempt to shut down the Thanaleng Slot Club), together with Madam
           Sengkeo’s role as the Claimants’ principal go-between with the Government, which



79
     Amended Transcript, 5 September 2018, p. 23, 4-11.
     Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 422 of 457
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        Mr. Baldwin describes as a corrupt Government, compels an inference of Mr.
        Baldwin’s unlawful conduct and through Mr. Baldwin, the culpability and bad faith of
        both LHNV and Sanum, on whose behalf he acted.

158.    The Government’s failure to track down bribe-takers or to provide a convincing
        explanation of its efforts (even if on occasion unsuccessful) to do so, weighs against
        the Government’s case, although the fact that the key witness, Madam Sengkeo, herself
        refused to cooperate made the Government’s task more difficult.

159.    Possibly the Government prefers to spare itself some embarrassment by declining to
        put whatever it knows about “bribe-takers” into the record of the Tribunal.

160.    Be that as it may be, the circumstances disclosed to the Tribunal do not rise to the level
        of “clear and compelling evidence” of corruption.

161.    However, the Tribunal’s conclusion that corruption of Government officials is
        established to the lower standard of “balance of probabilities” is relevant to the issue
        of the Claimants’ good faith, which is dealt with below.


           6.3.5. Fifth Allegation – Bribery Scheme in June 2015 to Restore Control of
                  Savan Vegas to the Claimants

162.    The Respondent seized control of the Savan Vegas and gambling facilities on 15 April
        2015. Its right to do so was eventually confirmed by an arbitral tribunal constituted
        under the SIAC by its Award dated 29 June 2017.80

163.    Prior to the SIAC Award, however, the Claimants asserted a right under the 2014
        Settlement to take back control81 on the basis they had managed to sell their investments
        on the open market prior to the 15 April 2015 deadline imposed as a term of the


80
  SIAC Award dated 29 June 2017.
81
  Email from Mr. Gene McCain to Mr. John Baldwin and Mr. Shawn Scott dated 15 May 2015, Exhibit SRE-
156:
     The Buyers have also made it clear that Sanum Investments Ltd. must be given back control of the
     management of the Casino for the Buyers to regain confidence that the Laos government will honor
     the Deed of Settlement and so that Sanum can be given time to get the revenue and operations back
     to where they should be. The Buyers are [sic] require that the Deed of Settlement be reinstated and
     that the terms of the Deed are followed.
Respondent’s Opening Submission, Slide 195.
     Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 423 of 457
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        Settlement with the Government. The allegedly genuine third-party offer to purchase
        dated 14 April 2015 was from an entity called MaxGaming Consulting Services
        Limited (Macau) (“MaxGaming”).82 Its CEO, Mr. Angus Noble, represented in
        writing that MaxGaming had funds available to complete the transaction and intended
        to do so.83 In testimony before the SIAC tribunal in January 2017, Angus Noble
        acknowledged that these representations were false.84 He repeated this retraction to this
        Tribunal at the Hearing. The MaxGaming transaction did not proceed and was found
        by the SIAC tribunal to be a sham.85 Having heard Mr. Noble’s evidence, this Tribunal
        also concludes that the 14 April 2015 offer was a sham. Indeed Mr. Noble more or less
        concedes that it was a sham.

                    6.3.5.1. The Respondent’s Argument

164.    The MaxGaming offer was a fraudulent scheme perpetrated by the Claimants in order
        to regain control of Savan Vegas86 from the Government. The Claimants had every



82
   Email and attachment from Mr. Tucker Baldwin to Mr. Gene McCain dated 10 June 2015, Exhibit SRE-157:
      I, the undersigned, hereby acknowledge that Sanum Investments Co., Ltd. is aware of and supportive
      of Mr. Eugene McCain and Mr. Ben Gersten acting on behalf of Maxgaming Consulting Services,
      Ltd. in their efforts to resolve the Savan Vegas and Gaming Assets dispute such that the terms of the
      Deed of Settlement and the original PDA and Land Concession rights are reinstated and implemented
      on terms which will allow Maxgaming to complete their purchase of Savan Vegas Casino.
83
   Letter from Mr. Angus Noble to Mr. John Baldwin and Mr. Shawn Scott dated 29 April 2015, Exhibit SRE-
155:
      I have reconfirmed that our funds are available and allocated for this acquisition. My partners in the
      acquisition are eager to complete the purchase and move forward on their plans for expanding and
      upgrading the facilities. With the major changes in the Macau gaming industry, our acquisition of
      Savan Vegas could not be better timed.
84
   Testimony of Gus Noble, Transcript, 26 January 2017 Hearing, SIAC Case No. ARB/143/14/MV, p. 1484,
Exhibit SRE-163:
      Q. Is any of that true?
      A. No, it is not.
      Q. Wasn’t true?
      A. No.
Respondent’s Opening Submission, Slide 190. See also Testimony of Gus Noble, Transcript, 26 January 2017
Hearing, SIAC Case No. ARB/143/14/MV, pp. 1493-1494, Exhibit SRE-163:
      Q. They say your financial backers. At that time you didn’t have any financial backers, did
      you, June 9, 2015?
      A. No, I did not.
Respondent’s Opening Submission, Slide 199.
85
   SIAC Award dated 29 June 2017.
86
    Email and clean copies of Gersten’s Consulting Agreement, Exhibit SRE-158, Respondent’s Opening
Submission, Slide 186. Consultants were retained to advance the transaction for success fees totaling US $11
million.
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        interest in pre-empting the Government’s seizure of Savan Vegas and putting a halt to
        the Government’s access to the books of Savan Vegas and records targeted by a
        Government audit into alleged wrongdoing at Savan Vegas including money laundering
        and embezzlement.

                    6.3.5.2. The Claimant’sArgument

165.    While unrealistic, Mr. Noble genuinely believed he could orchestrate the purchase,
        which he testified was, for him, “the chance of a lifetime.”

                    6.3.5.3. The Tribunal’s Analysis

166.    The MaxGaming offer was indeed a sham, but bribery and corruption, as opposed to
        fraud and chicanery, is not established.


             6.3.6. Sixth Allegation – Miscellaneous Acts of Bribery and Corruption



167.    Other allegations of bribery and corruption were made:

       (a)      offer of a US $7 million bribe to the Prime Minister of Laos for approval of a
                licence to establish a casino in the capital city of Vientiane;87

       (b)      a bribe of US $80,000 to the Governor of the Province of Champasak to approve
                a slot club at Chong Mek;88 and

       (c)      bribes totalling US $106,000 to Government officials to enable the opening and
                continued operation of the Paksan Slot Club.89

        There is no “clear and convincing” evidence against the Claimants in support of any of
        these additional claims of bribery and corruption.




87
   Respondent’s Counter-Memorial, para. 97.
88
   Respondent’s Counter-Memorial, paras. 100-101; Respondent’s Rejoinder, paras. 21-22.
89
   Respondent’s Counter-Memorial, paras. 102-104.
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168.    As the Claimants point out, the Respondent has identified only two possible
        Government bribe takers, namely Mr. Bounnong (but there is no indication he has been
        investigated) and Madam Manivone. The evidence is that Madam Manivone was put
        under investigation only after refusing to testify for the Respondent.90 The Claimants
        state that on 29 May 2014, the Respondent promised its Rejoinder would reveal the
        results of its investigation. It did not.

169.    The Claimants complain, rightly, that the Respondent’s failure to offer any credible
        explanation for not pursuing the investigation of its own employees, or indeed even to
        attempt to identify the alleged bribe-takers, weighs against the credibility of these
        miscellaneous allegations.91

170.    Nevertheless, in the Tribunal’s view, none of these additional allegations is supported
        by sufficient evidence to warrant further inquiry or comment.


       6.4. The Claimant’s Lack of Good Faith

171.    Much of the Claimant’s case rests on the allegation that it proceeded in all respects in
        good faith but was thwarted at every turn by a corrupt and devious Government acting
        in bad faith. On the contrary, the evidence is clear that the Claimants dealt in bad faith
        with the Government from the initial signing of the Paksong Hotel and Casino PDA
        calling for a US $25 million hotel and casino to the financial irregularities in the
        operation of the Savan Vegas Hotel and Casino. The Claimants never intended to build
        a US $25 million facility in Paksong. From the Claimants’ perspective, the benefit of



90
  See the Respondent’s email to the Tribunal dated 29 May 2014, Claimants’ Closing Submission, Slide 12.
91
  The Claimants cite Wena Hotels Ltd. v. Arab Republic of Egypt, ICSID Case No. ARB/98/4, Award, 8 December
2000, CLA(LH)-070, which rejected the Government’s bribery defence in part for failure to show the implicated
Government official was investigated and prosecuted:
     116. Although the Tribunal believes Minister Sultan’s testimony that he was not personally aware
     that “Mr. Kandil was an agent to Farargy” and that when he did learn about it, “I passed that to the
     prosecutor requesting a full-fledged investigation”, it is undisputed that Mr. Kandil was never
     prosecuted in Egypt in connection with this agreement. Regrettably, because Egypt has failed to
     present the Tribunal with any information about the investigation requested by Minister Sultan, the
     Tribunal does not know whether an investigation was conducted and, if so, whether the investigation
     was closed because the prosecutor determined that Mr. Kandil was innocent, because of lack of
     evidence, or because of complicity by other government officials. Nevertheless, given the fact that
     the Egyptian government was made aware of this agreement by Minister Sultan but decided (for
     whatever reasons) not to prosecute Mr. Kandil, the Tribunal is reluctant to immunize Egypt from
     liability in this arbitration because it now alleges that the agreement with Mr. Kandil was illegal under
     Egyptian law.
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         the Paksong PDA was a monopoly to block other more serious investors from offering
         gambling facilities in Champaska and Salavan Provinces.                      Having obtained the
         monopoly, the Claimants attempted to force the Government’s hand in relocating the
         project to what, from the Government’s perspective, was a much less attractive site.
         The bad faith continued through the disputes over the Savan Vegas Hotel and Casino,
         which was built but operated in defiance of Sanum’s reporting obligations to the
         Government (and, when the books were eventually opened, revealed significant
         financial irregularities). The bad faith continued further up to its recent efforts to deter
         Madam Sengkeo’s appearance to testify at the merits proceeding and the sham
         MaxGaming offer to purchase Savan Vegas in April of 2015.

172.     The principle of good faith arises in investment treaty arbitrations in various contexts.
         Tribunals, of course, regularly refer to Article 31(1) of the VCLT for the rule that
         treaties shall be interpreted in good faith. The obligation extends to a duty of parties to
         arbitrate in good faith.92 In Phoenix v. Czech Republic, the tribunal referred to
         Phoenix’s “initiation and pursuit of this arbitration” as “an abuse of the system of
         international ICSID investment arbitration.”93 (The tribunal found an abuse of rights
         in that case by the “claimant’s creation of a legal fiction in order to gain access to an
         international arbitration procedure to which it was not entitled.”94)

173.     The Tribunal listened carefully to the testimony of Mr. John Baldwin and found him to
         be an argumentative witness who preferred evasion to candour. Much of his testimony
         was simply not credible. He proceeded in bad faith from the outset in assuring the
         Government that he intended to invest US $25 million at the Paksong site, which by his
         own account was likely to be highly unprofitable.

174.     Mr. Baldwin is the directing mind of both Claimant companies. His conduct throughout
         was to advance their corporate interests. His bad faith conduct is their conduct. While



92
   Libananco Holdings Co Limited v. Republic of Turkey, ICSID Case No. ARB/06/8, Final Award, Exhibit CLA-
168, where good faith was discussed in the context of the alleged interception and surveillance by Turkish police
of legally privileged communications between the claimant, its counsel and witnesses. See also Born,
International Commercial Arbitration at pp. 1008-1014 and Methanex Corporation v. United States of America,
UNCITRAL (1976), Final Award, Exhibit CLA-259.
93
   Phoenix Action, Ltd. v. The Czech Republic, ICSID Case No. ARB/06/5, at para. 144, Exhibit RA-25.
94
   Ibid., para. 143.
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         the Government’s conduct was at times aggressive and inappropriate in relation to the
         Settlement (as documented, for example, in the Second Material Breach Application),
         nevertheless the Claimant failed to establish that the Government acted in bad faith in
         relation to the investors or the investments.

175.     It is well established that the bad faith conduct of the investor is relevant to the grant of
         relief under an investment treaty.95

176.     To summarize, the particular acts of bad faith by Mr. Baldwin on behalf of the Claimant
         of most concern to the Tribunal are:

           (a) misrepresentations made to the Government to obtain Paksong Hotel and Casino
                 PDA on the strength of a promise to make a US $25 million investment on the
                 site which, in the Tribunal’s view, the Claimants never intended to pursue;

           (b) likely making illegal payments to Government officials to stop the E&Y audit of
                 the Savan Vegas Hotel and Casino;

           (c) likely attempting to obstruct justice with the payment of US $875,000 to Madam
                 Sengkeo directed, as to US $575,000, to the obstruction of the due process of
                 this arbitration by paying Madam Sengkeo not to testify;

           (d) attempting to mislead the Treaty Tribunals with the sham offer to purchase the
                 Savan Vegas from MaxGaming Consulting.96

177.     As will be seen, the Claimant’s claims for expropriation fail on the facts. However,
         having listened to Mr. Baldwin’s explanations over several hearings of his dealings



95
   See UNCTAD Series on International Agreements III, Fair and Equitable Treatment (2012) at pp. 83-85:
      Investor conduct has emerged as a relevant factor in the analysis of FET claims by arbitral tribunals. It
      may be relevant in two ways. First, it may justify the measure taken against the investor by the
      respondent country. Thus in Genin v. Estonia, the tribunal found that the Estonian national bank had
      good reasons to revoke the operating license of the claimant’s investment because the claimant had
      failed to disclose relevant facts. In such cases, the adverse measure serves as a State’s reaction to, or a
      sanction for the investor’s conduct…Fraud or misrepresentation on the part of an investor may
      form the basis of a legitimate regulatory interference with its rights. In such cases, even the
      outright termination of the investment may be justified, provided it is a proportionate response
      to the investor’s conduct in light of the relevant domestic laws of the host State...in some situations,
      an investor’s own conduct may be held to be a cause for the harm suffered.
96
   Although the MaxGaming incident occurred after the date of Settlement, it was fully debated at the Hearing and
formed part of the corpus of the bad faith allegations.
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           with Laos, the Tribunal wishes to leave in no doubt its conclusion that Mr. Baldwin
           and Sanum exhibited manifest bad faith in various efforts not only to manipulate the
           Government to advance their gambling initiatives but, in the instance of Madam
           Sengkeo, to manipulate the arbitration process itself.


7.       THE CLAIM FOR EXPROPRIATION

         7.1. Thanaleng Slot Club

               7.1.1. Background

178.       At its origin, the dispute underlying the Thanaleng claim is a contractual dispute
           between two private parties, Sanum and ST. They had signed a Master Agreement on
           30 May 2007, where they agreed “to negotiate and work towards entering into certain
           joint ventures, represented by necessary agreements, which shall convey 60% of all 2nd
           Party’s [ST] gaming businesses located in the country of Lao PDR … This Agreement
           is not intended to be a definitive agreement but only provides the Parties’ general
           understandings of their relationship. The Parties agree to work together in good faith
           to negotiate and finalize all necessary agreement to fully implement the concept and
           terms set forth in this Agreement.”97 The Respondent’s treatment of the Thanaleng
           situation is part of the “totality of the facts” said by counsel for the Claimants to be
           relevant to Sanum’s Treaty claims.98

179.       On 4 October 2008, Sanum and ST signed a Participation Agreement for Thanaleng
           (“Participation Agreement”). Under this agreement, Sanum agreed to supply to ST
           certain slot machines, on a “generated revenue sharing/participation basis.”99 This
           agreement was meant to expire on 11 October 2011 when an existing contract of ST
           with another supplier of slot machines expired. As explained by Sanum, “the expiration
           of the Participation [Agreement] is only the end of percentage of profit distribution and
           proportion of shareholding of each party in the business participation of the Slot Club,
           which shifted from ST Group who used to receive 60% to receive 40% instead, and



97
     Master Agreement, Exhibit C(B)-1.

99
     Participation Agreement, Exhibit C(B)-6.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 429 of 457
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         Sanum who used to receive 40% to receive 60%, and at the same time (after 11 October
         2011) there shall change or create a joint venture company of which Sanum holds 60%
         and ST Group 40%.”100

180.     The controversy arose because Sanum and ST disagreed on whether the Master
         Agreement remained in force and was valid and created binding obligations on the
         parties, despite the expiration of the Participation Agreement. Was the Participation
         Agreement a temporary agreement just to cover the period of time when other slot
         machine supplier contracts were in place? Once those machine supplier contract expired
         on 11 October 2011, did the Master Agreement and other agreements referenced above
         remain in effect and control the contractual relationship between Sanum and the ST
         Group?101


            7.1.2. The Claimants’ Argument

181.     The Claimants argue that they were deprived of their investment by flawed court
         proceedings tainted by interference by the Respondent and without payment of
         compensation. The Claimants summarize the measures for which they seek relief as
         follows: “Beginning with premature termination of the OEDR proceedings on orders
         from the Minister of Justice, and police participation in Sanum’s eviction from the
         Thanaleng Club, and ending with manifestly unreasonable judgments rendered by the
         courts of Laos, Respondent directed a result in favor of ST that deprived Sanum of its
         entitlement to 60% of the revenues generated by its investment in the Thanaleng Slot
         Club. The entire process was marred by manifest procedural defects, as well as
         producing a result that was substantially unreasonable.”102

182.     At the closing of the Hearing, the Claimants confirmed that their Thanaleng claim in
         this proceeding is not based on denial of justice but on the allegation that the totality of




100
    See Sanum’s Defense and Counterclaim in the proceedings before the Lao Commercial Court dated 3 July
2012, Exhibit C(B)-181.
101
    Ibid. The term “supplier contract” is used in singular or plural indistinctly in the original text.
102
    Claimants’ Closing Submission, Slide 25; Amended Transcript, 7 September 2018, p. 23, 21-25 to p. 25, 8-21.
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         the Respondent’s treatment substantially deprived the Claimants of the enjoyment of
         their investment without the payment of compensation.103

183.     The Claimants insist that Sanum did have an ownership interest in Thanaleng as
         established in the Master Agreement, and invested millions of dollars in Thanaleng.
         The Claimants argue that the Respondent’s interpretation of the Master Agreement is
         contrary to the understanding and conduct of the parties to this agreement; it was a
         binding agreement that contemplated future negotiations between Sanum and a would-
         be supplier of slot machines and not between Sanum and ST. The fact that the Master
         Agreement contemplated additional agreements does not detract from its binding
         character. The Claimants point out that when ST sought the judicial annulment of the
         Master Agreement, the document was described as the “basic agreement defining rights
         in order to manage the relations between both parties.”104

184.     The Claimants dispute the relevance of the cases relied on by the Respondent because
         in the instant case the Respondent consistently treated the Master Agreement as legally
         binding, “[o]nly Laos – for the first time in these proceedings – has ever characterized
         the Master Agreement as an agreement to agree that did not generate legally enforceable
         rights.”105

185.     According to the Claimants, ST refused repeatedly to accept payment in exchange for
         a contractually-required exchange of rights which did not extinguish the rights of
         Sanum, “but merely constituted another breach by ST of its obligations to relinquish
         control of the club to Sanum.”106


            7.1.3. The Respondent’s Argument

186.     The Respondent submits that the decision of the Lao Courts concerns a private dispute
         between ST and Sanum and there was nothing untoward in the various judicial
         proceedings in Laos. According to the Respondent, the Claimant has committed abuse
         of process by pursuing contradictory claims in parallel arbitrations against Laos based



103
    Claimants’ Closing Submission, Slide 68.
104
    Claimant’s Reply, para. 37.
105
    Ibid., para. 39.
106
    Ibid., para. 48.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 431 of 457
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           on the same treaties and the same economic interests. In this respect the Respondent,
           at the Hearing, recounted the timeline of the procedure:

                We have in July 2012 the decision of the Lao Commercial Court.
                Immediately, before they exhausted their local remedies, which they are
                required to do under international law, they filed this arbitration alleging that
                the Thanaleng court decision was a denial of justice and an expropriation.
                Later they amended to say it’s an expropriation.
                In June 2015, there was a decision by the LHNV tribunal on the first material,
                the breach application. They didn’t prevail.
                Three months later, they filed the SIAC arbitration against ST on the same
                contracts, alleging that the Lao court proceedings had no meaning, they were
                just -- how would one say it?
                One would say their view of the Lao court proceedings in Singapore was that
                they were a voluntary mediation. If you don’t like the result of a mediation,
                you withdraw and you go to court. That’s how they’re treating the Lao court
                proceeding when they go to Singapore: it didn’t matter, is it wasn’t definitive.
                So, they get an ST SIAC Award in August 2016. They filed it in the Lao
                courts in 2017.
                Then the Lao courts refused to enforce it in August 2017. On 1 September
                2017, they filed a denial of justice claim in the new ICSID arbitration. Then
                in December 2017, the second material breach application was granted,
                reinstating this tribunal to hear the Thanaleng case again.
                So they have these conflicting – once you issued the second material breach
                decision, it revived these two treaty claims that are in conflict with the treaty
                claims they had filed in September 2017.107

187.       The Respondent further explained:

                Sanum said in these cases that the 26 July 2012 decision of the court was
                expropriation number one. They said their rights were expropriated, that’s
                the claim here, and they filed the first BIT claims in August 2012.
                But the second BIT arbitration says that the date of expropriation was August
                2017 when the Lao courts refused to enforce the SIAC award, and that’s the
                subject of the second BIT arbitration.
                So you have these inconsistent claims made by the same claimant under the
                same treaties, based on the same facts. We say that’s an abuse of process.108

               7.1.4. The Tribunal’s Analysis

188.       The Thanaleng claim relates to a dispute between the Claimants and ST. It concerns
           the Respondent only to the extent of the Respondent’s alleged interference in court



107
      Amended Transcript, 3 September 2018, p. 143, 6-25 to p. 144, 1-17.
108
      Ibid., p. 145, 5-19.
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        proceedings, and only if its actions could be characterized as a violation of international
        law.

189.    The Claimants have placed the weight of their argument on the alleged interference of
        the Respondent in the Lao Commercial Court proceedings in 2012. But the dispute
        resolution provision in the Master Agreement (Article 2.10)109 provides for a four-stage
        mechanism. At the fourth stage, after a party to the Master Agreement has exhausted
        the remedies available in the Lao Courts, it may submit the dispute to arbitration if it is
        unsatisfied with the result without the need to demonstrate a breach of due process or
        other violations in the conduct of the court proceedings.

190.    The Claimants also explained that the four-step mechanism provided for in the Master
        Agreement has been found to violate Lao law and, therefore, “any award rendered under
        the mechanism that differed from the judgment of the Lao Courts would [not] be
        enforceable in Laos (the only country where the ST’s assets are now located) as a matter
        of Lao public policy.’”110

191.    Sanum has exercised in full the four levels of remedies provided for in the Master
        Agreement. After exhausting its recourse to the Lao Courts, Sanum initiated the SIAC
        arbitration in 2015. In 2016, the SIAC tribunal awarded Sanum the $200 million it had
        claimed.

192.    The Claimants say that they have not been able to enforce the SIAC award and link the
        inability to enforce it to the alleged interference of the Respondent in the Lao
        Commercial Court in 2012. As explained by the Claimants at the Hearing:

               The problem is, looking at the totality of the circumstances, the Lao Court of
               Appeals – and that’s the highest level in an enforcement proceeding – won’t



109
    “If any dispute shall arise, the Parties agree to conduct an amicable negotiation. If such dispute cannot be
settled by mediation, the Parties may submit such disputes to the Resolution of Economic Dispute Organization
or Courts of the Lao PDR according to the provision and law of Lao PDR in accordance with this Agreement. All
proceedings of the arbitration shall be conducted in Lao and English languages.
Before settlement by the arbitrator under the Rules of the Resolution of Economic Dispute Organization, the
Parties shall use all efforts to assist the dispute resolution in accordance with the laws of Lao PDR.
If one of the Parties is unsatisfied with the results of the above procedure, the Parties shall mediate and, if
necessary, arbitrate such dispute using internationally recognized mediation/arbitration company in Macao, SAR
PRC.” Master Agreement, C(B)-001.
110
    Claimant’s Closing Submission, Slide 69.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 433 of 457
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             allow enforcement of the SIAC award and so the original action that the
             government took in ramming the original decision through to benefit ST and
             forcing claimants to have to go to that additional stage, to have to go to the
             fourth stage, that allowed ST the time to move all of its assets back into Laos
             and put the claimants in a position where they would be dependent on going
             to Laos to enforce the award against ST where the same thing, or worse, could
             happen. So, there was a distinct consequence at the stage of the measure
             relating to the Thanaleng proceeding in 2012.
             Even if the claimant could then go on to the SIAC proceeding, which it did,
             there was still a consequence and there was still harm caused by that action,
             because being able to go to the fourth tier, that didn’t right the ship. That
             didn’t enable Sanum to have a clear path to recovery. So there’s still
             consequences to what the government did in 2012.”111

193.     The Claimants want to skip over the fact that Sanum has a valid arbitral award against a
         private party in which it was awarded 200 million dollars after it exhausted the remedies
         in the Lao Courts for the alleged interference of the Respondent in the Lao Commercial
         Court back in 2012. The alleged inability to enforce the award is not before this Tribunal
         and it has not been proven by the Claimants that “there was a distinct consequence [of
         the Government’s alleged interference] at the stage of the measure relating to the
         Thanaleng proceeding in 2012.”112 There is simply no persuasive evidence that the
         alleged interference of the Respondent in the proceeding of a lower court interfered with
         the steps taken by the Claimants to exercise their rights under the Master Agreement and,
         in particular, their recourse to SIAC arbitration.

194.     The Claimants say their claim in the SIAC arbitration was not for the full amount of the
         value lost in Thanaleng. The Claimants explained why Sanum capped its claim for
         damages:

             in part because ST did not appear and that raised the issue of whether or not
             they were going to hide assets, such that it was fruitless to seek the full value
             of Thanaleng. The full value of Thanaleng, I know we’re bifurcated so we’re
             not going to talk very much about those kind of things, but the full value of
             Thanaleng is more than 400 million in order to not have the fees, and in light
             of the practical recognition that ST was likely hiding its assets, we capped the
             SIAC claim at 200 million. So it won’t be possible to recover the full amount
             from ST to cover the cost of the damage that the government caused by
             directing the Thanaleng case in Laos.113




111
    Amended Transcript, 7 September 2018, p. 40, 19-25 to p.41, 1-17.
112
    Amended Transcript, 7 September 2018, p. 41, 7-9.
113
    Amended Transcript, 3 September 2018, p. 125, 3-16.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 434 of 457
                                                    - 67 -

195.       The Respondent is not responsible for the decision of the Claimants to self-limit the
           amount of the claim against ST. The evidence does not establish any improper
           interference by the Respondent in the court proceedings.

196.       In sum, the Tribunal concludes that the claim for expropriation in respect of the
           Thanaleng investment lacks any merit.


         7.2. Paksong Vegas Hotel and Casino

               7.2.1. Background

197.       On 10 August 2007, a Project Development Agreement was concluded between Lao
           PDR, and Sanum, the Laotian company Nouansavanh Construction Co. Ltd., and Mr.
           Sittixay Xaysana for the development of the Paksong casino (“Paksong PDA”). Under
           the Paksong PDA, a Laotian entity, Paksong Vegas and Casino Co. Ltd., was set up
           with Lao PDR holding 20%, Sanum 60% and the ST entities 20%. The Paksong PDA
           required the Company to build and operate a $25 million hotel casino and golf resort in
           the Paksong district of Champasak Province.


               7.2.2. Location of Paksong

198.       As explained by the Claimants, the location was challenging:

                “The challenges were both logistical and commercial. Logistically, Paksong’s
                location meant that transportation of construction materials would be more
                costly than at the Savan Vegas site, as access to the site was more difficult
                and time consuming, and that other construction costs would be significantly
                higher than those of Savan Vegas. Also, the concession was located on the
                side of a large hill which precluded the building of simple, large buildings to
                house the hotel and casino and other amenities. Commercially, since Paksong
                was not located on the border with Thailand or even in a population center in
                Laos that was easy to access, it lacked a readily identifiable customer base.
                The challenges of attracting customers made it difficult to identify the optimal
                type of facility to construct on the site.”114




114
      Statement of Claim, para. 63.
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                               (Respondent’s Opening Submission, Slide 96)

199.       Mr. Baldwin testified about the problem posed by Paksong’s distance from the Thai
           border:

                Another challenge posed by Paksong Vegas had to do with its customer base.
                Because Lao citizens generally are restricted from playing table games, the
                customer base for our casinos consists largely of Thai citizens who live in
                Northeastern Thailand. However, because Paksong Vegas would be located
                deep in Laos’s interior, without easy access to the border, we were concerned
                that it would be difficult to attract customers to the casino. 115

200.       These challenges notwithstanding, Mr. John Baldwin testified that the Paksong project
           package “came with very valuable benefits. Chief among these were the monopoly
           gaming rights in Champasak and Salavan Provinces granted to Paksong Vegas under
           the PDA.”116

201.       Due to the challenges posed by the site, on 31 March 2008, Paksong Vegas proposed
           to the provincial government, inter alia, to move the entire project to the area near
           Chong Mek.         On 29 April 2008, the proposal was rejected by the provincial
           government.

202.       On 21 August 2008, the office of the Prime Minister advised that Paksong Vegas was
           to return Paksong and pursue only the project at Khone Phapheng (where the
           Government also favoured development) together with other interested parties. The



115
      First Witness Statement of Mr. John Baldwin, 1 October 2013, para. 32.
116
      Ibid., para. 64.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 436 of 457
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         notice from the Champasak Provincial Office requested Sanum “to follow the
         agreements already reached by higher authority and only do the work at Kilometer 30
         in Paksong. (According to instructions from the Government Secretariat, if the
         company cannot comply, then the project must be placed on hold for now).”117 The
         notice added that “[i]t is not approved to open casino branches in Paksong and other
         places, only at Khone Phapheng. The Paksong land (Kilometer 30) will be returned to
         the Government.”118

203.     On 23 October 2008, the Prime Minister’s Office issued a notice, purporting to strip
         Paksong Vegas of its monopoly rights. The Prime Minister’s Office also reiterated that
         Yingsoksay, the operator of the existing hotel and resort in the area, could look for other
         foreign investors to develop Khone Phapheng; Paksong Vegas could participate in that
         development if it chose to do so, but either way, according to the Prime Minister’s
         Office, it no longer had the exclusive right to do so. Further, on 19 December 2008,
         Champasak provincial authorities instructed Paksong Vegas to return the land
         concession it had been granted so it could be used for “another purpose,” referencing
         the Prime Minister’s 21 August 2008 notice.119

204.     On 30 January 2009, a meeting was held in the MPI’s offices. It was attended by all
         Lao agencies concerned and Paksong Vegas.                   The Paksong Vegas and Casino
         Development Project and the Khone Phapheng Entertainment Complex Project
         Development were discussed. The Tribunal will re-visit this meeting in its analysis.

205.     On 27 April 2010, the MPI terminated the PDA because Paksong Vegas had not signed
         a land concession agreement in accordance with Article 4 of the PDA, and construction
         on the project had been delayed for more than two years, which affected the “social-
         economic development plan of Champasak province.”120 Termination of the PDA was
         re-affirmed by the Respondent on 10 April 2012.




117
    Notice from Champasak Provincial Office conveying denial of the proposed relocation of “higher authority”.
Exhibit C(S)-309.
118
    Exhibit C(S)-311.
119
    Ibid., para. 76.
120
    Statement of Claim, para. 82.
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               7.2.3. The Claimant’s Argument

206.       The dispute concerns the termination of the Paksong PDA and the revocation of the
           concomitant land concession.          For the Claimant, the actions of the Respondent
           constitute an expropriation under Article 4 of the BIT. The Claimant argues that the
           Respondent ignores the evidence that Lao authorities had ordered Sanum to cease
           construction and two years later without prior notice cancelled the PDA on grounds of
           failing to develop the land.

207.       The Claimant questions the Respondent’s defence to the expropriation claim. First,
           there is no contemporaneous evidence that Sanum repudiated the PDA when it
           proposed to relocate. Second, the Respondent ignores the work done by Sanum.121
           Third, the contention that Sanum lacked necessary funds has never been raised before,
           and the Respondent has not followed the PDA’s procedures to establish “financial
           inability”. Fourth, cancellation to avoid the Claimant’s monopoly rights does not
           absolve the Respondent from the claim of expropriation.


               7.2.4. The Respondent’s Argument

208.       The Respondent claims that Sanum was not a ready, willing and able investor for the
           Paksong project.      According to the Respondent, Sanum forfeited the concession
           because the location was not commercially acceptable. The Respondent explains that
           Paksong and Savannakhet were linked; they were part of a bargain: whoever would
           develop Savannakhet, an excellent commercial site, must also develop the less
           attractive Paksong. According to the Respondent, Paksong is in the Champasak
           province and, in addition to Paksong, two other locations in that province are mentioned
           in the record: Chong Mek and Khonephapheng. The Respondent contends that Sanum
           was only interested in Chong Mek, but not in either of the other sites. The provincial
           government was keen to develop the remote areas while Sanum was interested in more
           profitable sites; the interests of Sanum as a commercial developer and of the provincial
           government were not aligned.




121
      See slide 20 of Claimant’s Opening Argument.
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209.     The Respondent argues that it is impossible to read into the Paksong PDA the right
         claimed by Sanum to build other casinos or slot clubs. The PDA gives Sanum the
         exclusive right to operate in the provinces covered by the PDA, which simply means
         “no one else would be allowed to build a casino or slot club in those provinces.”122 The
         Respondent affirms that there has never been an additional casino or slot club. There
         has not been expropriation of “monopoly rights”.123 According to the Respondent, Mr.
         Baldwin’s assertion that Sanum could not build at Paksong because the Government
         “would no longer respect its monopoly rights” is frivolous. Mr. Baldwin refused to
         develop Paksong because he did not want to lose money on a project doomed to
         commercial failure.”124


            7.2.5. The Tribunal’s Analysis

210.     The issues to be addressed by the Tribunal may be formulated as follows: Was the act
         of termination of the PDA an expropriatory measure or the exercise by the Respondent
         of its right to terminate the PDA for failure of Paksong Vegas to meet its obligations?
         In addition, what weight should be given to the allegation that the procedure for
         termination provided for in Article 19 of the PDA was not followed?

211.     First of all, what were the rights of Sanum in Paksong Vegas? In its Reply, the Claimant
         notes that “Laos does not dispute that Claimant possessed property rights through
         Paksong Vegas that could be subject to expropriation, most notably, the valuable
         monopoly rights in Champasak Province acquired pursuant to the Paksong Vegas
         PDA.”125 The Respondent did not question this understanding of the Claimant in the
         Rejoinder or the Opening Statement at the Hearing. However, at the closing, the
         Respondent argued that the Claimant had no cognizable property right based on the
         definition of the term “Land Map” in the PDA.126 This definition explains that the seal
         of the Government Agency affixed to the land lease demonstrates “conclusively that




122
    Respondent’s Rejoinder, para. 91.
123
    Ibid., para. 91.
124
    Ibid., para. 97.
125
    Reply, para. 133.
126
    Respondent’s Closing Statement, slide 30.
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         the right to lease that piece of land belongs to the company.”127 But the company as
         defined in the PDA means the parties to the Paksong PDA, one of which is the Claimant.

212.     Second, what is the extent of Paksong Vegas’s monopoly rights in Champasak
         province? As confirmed by Mr. Baldwin’s testimony at the Hearing, Mr. Baldwin
         wanted to develop a site at Chong Mek. He agreed that the monopoly rights were limited
         to the Paksong development area and did not include Chong Mek, “unless the
         government agreed to modify this. The way it’s written right now, it does not include
         Chong Mek but it doesn’t say we can’t ask for modifications.”128 Mr. Baldwin also
         confirmed that he really knew that the Government policy was not to approve a move
         to Chong Mek.

213.     Third, did Paksong Vegas forfeit its rights when the Claimant informed the Lao
         Government that it did not wish to pursue the project at Paksong? The Claimant has
         explained that the proposal of 31 March 2008 remained subject to Government
         approval. On 29 April 2018, the Government rejected the proposal and instructed
         Sanum to “follow the agreements already reached by higher authority and only do the
         work at Kilometer 30 in Paksong. (According to instructions from the Government
         Secretariat, if the company cannot comply then the project must be placed on hold for
         now).”129

214.     The terms of the notice rejecting the proposal affirm that at the time, the Government’s
         intention was not to terminate the PDA, but to request that the existing agreements be
         respected, and only if the company could not comply, to stop the project for the time
         being. The Respondent has argued the Claimant’s forfeiture of the rights of Paksong
         Vegas in this proceeding in 2014, six years later. If this would have been the case, it
         would not have been necessary for the Government to terminate the PDA in 2010.

215.     Was the Respondent entitled to terminate the PDA in 2010? Sanum has argued that it
         had been asked to stop work at Paksong and that was the only reason why the work was




127
    Underlined in red in the original. PDA, SRE-4, para. 9.
128
    Amended Transcript, 4 September 2018, p. 216, 19-22.
129
    Exhibit C(S)-309, Notice from Champasak Provincial Office to Champasak Division for Planning and
Investment, dated 29 April 2008.
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         behind. However, the minutes of the meeting held on 30 January 2009 show that the
         meeting chair “cited many deficiencies of the company [Paksong Vegas] in its
         performance of the contract.”130 More significantly, among the unanimous resolutions
         reached at this meeting, Paksong Vegas accepted that “in the past it has not carried out
         the Paksong Vegas project as scheduled in the contract and as it was presented to the
         Province.”131 According to the minutes: “The meeting agreed to have Paksong Vegas
         and Casino Co., Ltd. to follow instructions in Lao Government Notice No. 1469/GS,
         dated 21 August 2008 and Notice No. 1887/GS, dated 23 October 2008. The main
         points of discussion were: not to approve opening branches of the Casino in Paksong
         and other areas, but to allow casino operations only in Khone Phapheng Development
         Project. The land in Paksong Development Project (KM30) is to be returned to the
         Government. No exclusive rights are to be granted, and the agreement with Paksong
         Vegas and Casino Co., Ltd is to be revised.”132

216.     The Tribunal observes that the Claimant admitted, at the meeting of 30 January 2009,
         that “it has not carried out the Paksong Vegas project as scheduled in the contract and
         as it was presented to the Province.” Mr. Baldwin also testified at the Hearing that no
         contract to build a $25 million five-star hotel with a casino and nightclub was ever
         signed.133

217.     What is the significance of the lack of notice by the Respondent to Paksong Vegas
         under Article 19 of the PDA? According to Article 19, notice was required indicating
         the non-performance and giving 90 days to correct it. It is undisputed that the
         Respondent did not give notice to Paksong Vegas of non-performance of the obligations
         under the PDA. But Paksong Vegas had not made the investment it had promised in
         the PDA within the expected timeframe as admitted by Paksong Vegas. It had also
         agreed at the meeting of January 30, 2009 to operate a casino in Khone Phapheng, and
         “[a]s for the Paksong project, the company is happy to follow the government’s
         guidance.”134 As recorded in the same meeting, the Government’s guidance was to


130
    Exhibit C(S)-320. Minutes dated 6 February 2009.
131
    Ibid.
132
    Ibid.
133
    Amended Transcript, 5 September 2018, p. 63, 4-7.
134
    Minutes dated 6 February 2009, p. 2, C(S)-320.
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         return the land to the Government.135 In the circumstances, the Tribunal finds there
         was no need for Paksong Vegas to be further notified. The Respondent had been clear
         in that the PDA would need to be revised and Sanum had agreed to revise it. The
         Claimant had not complied with the terms of the PDA and could not reasonably keep
         its monopoly rights indefinitely while at the same time maintaining that the
         development of Paksong was a losing proposition not worth a US $25 million
         investment. Mr. Baldwin confirmed at the Hearing that no contract to build a $25
         million five-star hotel with a casino and nightclub was ever signed.136

218.     The Tribunal finds that the Claimant lost its rights under the PDA because it breached
         its terms and, by its own admission, the Paksong site could not be developed. This
         Claimant’s admission contradicts its argument that work was being done and, if not
         done, was due to the Government order to stop the work. The loss of Paksong was not
         an expropriation, it was termination for breach of contract. The monopoly rights
         cherished by Sanum had a concomitant obligation to invest, which Sanum admits it did
         not fulfil.


        7.3. Paksan Slot Club

            7.3.1. Background

219.     As told by Sanum and not disputed by the Respondent, the relevant facts are that “[s]oon
         after Sanum agreed to partner with ST, it discovered that there was an existing slot club
         in operation in the Paksan district of Bolikhamxay Province – one of the provinces in
         which Savan Vegas has the exclusive right to operate. To enforce that exclusive right,
         ST asked the Government of Bolikhamxay Province to shut down the club, and it did
         so.”137 The existence of the slot club led Savan Vegas to open its own club at the same
         location, the Paksan Hotel.




135
    Minutes dated 6 February 2009, p. 2, C(S)-320; Notice from the Prime Minister’s Office to the Minister of the
MPI, 21 August 2008, C(S)-311; Notice from the Prime Minister’s Office to the MPI et al., 23 October 2008,
C(B)-497.
136
    Amended Transcript, 5 September 2018, p.63, 4-7.
137
    Statement of Claim, para. 89.
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220.       The Ministry of Information and Culture (“MIC”) granted Savan Vegas a one-year
           license to operate a slot club in the Bolikhamxay Province on 24 October 2007. The
           MIC renewed the license on 26 November 2008.

221.       After the lease of the former club expired in October 2008, Savan Vegas signed its own
           lease on 25 December 2008 and refurbished the space in the Paksan Hotel formerly
           occupied by the slot club. The club re-opened on 25 October 2009 and the MIC
           renewed the slot license for another year on 27 October 2009.

222.       On 18 February 2010, the Prime Minister’s Office ordered the slot club license to be
           cancelled: “The authorization to open an electronic gaming club granted to Savan
           Vegas Ltd. by the Information and Culture Department of Bolikhamxay Province is not
           in accordance with regulations in that it exceeds the authority of that office. Therefore,
           you should stop operation of electronic gaming at Paksan Hotel. Further, the company
           is no longer authorized to erect an advertising billboard in Bolikhamxay Province.”138

223.       The license was not renewed in 2010. On 11 March 2011, the Government ordered the
           MIC and the provincial Governor to close the club within three days. The club closed
           on 13 March 2011. Sanum and Savan Vegas petitioned the Prime Minister to re-open
           the club. The petition was denied on 19 May 2011 and Savan Vegas was ordered to
           comply with Notice No. 305.


               7.3.2. The Claimant’s Argument

224.       The Claimant contends that the Respondent’s closure of the Paksan slot club constitutes
           an unlawful taking. In the Statement of Claim, the Claimant attributes the closure to
           the dissatisfaction of ST with the Claimant on whether revenues of the Paksan slot club
           and the concomitant tax obligations should be consolidated with those of Savan Vegas.
           As told by the Claimant, “[i]n a meeting they [ST] had with Sanum in the fall of 2010,
           ST demanded they be paid 30% of Paksan’s gaming revenues, regardless of what any
           agreement said. If Sanum did not agree, ST would have the club shut down … ST then
           proceeded to make good on their threat. Sanum soon learned that ST had convinced




138
      Exhibit C(S)-326, p. 3.
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         officials at the MIC to issue a notice instructing Savan Vegas to close the Paksan
         club.”139

225.     The Claimant also disputes the Respondent’s contention that most patrons were Lao
         people because there is no bridge at Paksan. The Claimant points out that there is a
         ferry to cross to and from Thailand. Secondly, this argument was not used to close the
         club as it is evident in the minutes of the Government meeting held on 11 March 2011
         where the closure was decided.140 The minutes only refer to Notices No. 305 and
         470/MCD that Savan Vegas claims not to have seen earlier. Indeed, in the case of
         Notice No. 305, Savan Vegas affirms that it became aware of it in this arbitration.

226.     The Claimant points out that, “prior to filing its Statement of Defense in this arbitration,
         Laos had never asserted that the closure of Paksan was justified by non-compliance
         with the Savan Vegas PDA, failure to obtain a separate Foreign Investment License, or
         the MIC’s supposed lack of authority to issue slot club licenses. In fact, Savan Vegas
         was never made aware of the existence of Notice No. 1957 until this arbitration.”141
         Furthermore, the Claimant recalls that the Respondent withdrew the accusing witness
         statement on Lao people being allowed to gamble at the Paksan Hotel.

227.     The Claimant further argues that, “although Paksan’s license had expired at the time of
         the club’s closure, by permitting the club to continue operating without a license and
         by assuring Savan Vegas that its license was in the process of being renewed, the
         Government de facto extended Sanum’s rights in the Paksan investment.”142


            7.3.3. The Respondent’s Argument

228.     In the Reply, the Claimant questions the merit of

              Laos’s attempt to rely on a number of Government instruments that it claims
              deprived the MIC of authority to issue slot club licenses. Notice No.1957,
              issued by the Prime Minister’s Office on 4 November 2008, did not, as Laos
              now claims, require that all slot club licenses be issued by the Prime
              Minister’s Office rather than by the MIC. Critically, Notice No. 1957 is titled
              ‘Solution for the slot machine business issues in Khammouan Province and


139
    Statement of Claim, para. 100.
140
    Ibid., para. 175.
141
    Ibid., para. 169.
142
    Ibid., para. 171.
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              Vientiane City’, and it is addressed only to the governors of those areas, as
              well as the MIC, the MPI, and the Minister of Public Security. Thus, on its
              face, it has no application to Bolikhamxay Province, where the Paksan slot
              club was located. Moreover, Notice No. 1957 provides that ‘the Government’,
              and not just the Prime Minister’s Office, has the right to issue slot club
              licenses. The MIC is undoubtedly part of the Lao Government. As to Notice
              No. 545, issued by the Prime Minister in March 2008, and now claimed by
              Laos to ‘have barred new casinos and slot clubs’, this was issued after Paksan
              received its first operating license in 2007.143

229.     In the Rejoinder, the Respondent affirms that a “de facto” license cannot be
         expropriated “when the real one year license had expired.”144 The Respondent admits
         that it is the first time that it argues that Savan Vegas was not authorized to operate a
         slot club in Paksan. The Respondent states: “it is the first time, but the position is
         correct in law. A party operating outside the terms of its license and concession
         agreement cannot claim an illegal expropriation of an illegal business.”145


            7.3.4. The Tribunal’s Analysis

230.     A first issue to be addressed by the Tribunal is the disputed meaning of monopoly in
         the PDA. Article 9 reads as follows:

              The Company has been granted monopoly rights for its casino business
              operation only with the condition that the Government shall not approve and
              grant any other parties or entities who put up their applications for the
              operation of certain casino business in the two neighboring provinces close to
              the project development zone of the Company, namely Salavan and
              Champasak throughout the concession period of 50 years.

              However, should there have any applications submitted by any parties or
              entities, all those shall be made through the consent and approval of both the
              government and the authorized investors who have management rights.”146

231.     The Claimant’s argument that Savan Vegas’ foreign investment license permitted
         Savan Vegas to operate gambling facilities in all three provinces where it had monopoly
         finds no support in the terms of the PDA. The Claimant and ST in fact recognized the
         need to have a specific slot license at Paksan and applied for its renewal year after year.



143
    Reply, para. 168. Footnotes omitted.
144
    Rejoinder, para. 101.
145
    Ibid., para. 102.
146
    PDA, Article 9, para. 24, RE-04.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 445 of 457
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         On the other hand, the argument of the Respondent that the Paksan operation was illegal
         under the Law on Investment Promotion may be correct in law, as affirmed by the
         Respondent in the Rejoinder,147 but of doubtful persuasiveness when the MIC had
         issued the Paksan slot club a license three times during the period 2007-2009.

232.     The Respondent has argued that the license was terminated in February 2010 and that
         the Claimant had operated the Paksan slot club without a license for about a year. On
         the other hand, the Claimant has affirmed that it was not aware of Notice No. 305 of
         18 February 2010.148 Irrespective of whether the license was terminated by order of the
         Prime Minister’s Office, it is undisputed that the Paksan slot club continued to operate
         beyond the term of its license. For the Tribunal, the key fact is that the license granted
         in 2009 had expired in October 2010 and had not been renewed. Monopoly rights kept
         competitors out but did not entitle Savan Vegas to establish and operate other gambling
         facilities unless those other facilities were specifically authorized. The Claimant has
         not shown that Savan Vegas had a right to the license’s renewal or even that it attempted
         to renew the license.

233.     At the time of the Paksan slot club’s closure, the club was operating without a license
         and there is no documentary evidence that the Respondent had created any legitimate
         expectation in the Claimant that the license would be renewed or that it may operate de
         facto as if it had a license. The Claimant’s argument about a de facto license begs the
         question of why Sanum had applied for the license’s renewal in the preceding years.
         The Tribunal concludes that the license expired on its own terms and had terminated
         when the slot club was ordered to be closed.


        7.4. Thakhet Casino and Hotel Resort

            7.4.1. Background

234.     In 2010, Sanum started negotiations with the Committee for the Laos-Thailand
         Friendship Bridge III Economic Zone Development (the “SEZ” and the “SEZ
         Committee”) for a land concession at the foot of a planned bridge to cross the Mekong



147
   Rejoinder, para. 102.
148
   Notice to the MIC and the governor of the Bolikhamxay Province, dated February 18, 2010, Exhibit C(S)-326,
p. 3.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 446 of 457
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         River. The negotiations resulted in a MOU between Sanum and the SEZ Committee
         dated 20 October 2010. The MOU contemplated a land concession to Sanum of about
         90 hectares in the SEZ, payment by Sanum of $900,000 to allow the provincial
         government to compensate individuals occupying the land, and $400,000 to be paid
         upon signature of the MOU. The MOU required Sanum to sign a land concession
         within 30 days and secure all necessary approvals from the central and local
         governments within one year prior to building on the concession land.

235.     On 4 February 2011, Savan Vegas submitted a proposal for a slot club to the Governor
         of the Khammouane Province and the MIC. The proposal was supported by the
         Governor and, on 21 February 2011, the MIC approved the Savan Vegas’s Welcome
         Center and Slot Club. Shortly thereafter, on 2 March 2011, the Prime Minister’s Office
         directed the MIC to revoke its approval because slot club licenses may only be issued
         “by the Government”, which was interpreted by the Prime Minister to mean the Prime
         Minister’s Office.149 On 29 March 2011, Sanum and Savan Vegas petitioned the Prime
         Minister’s Office to grant permission to open the Welcome Center and Slot Club in the
         SEZ. The petition was rejected in October 2011.


            7.4.2. The Claimant’s Argument

236.     According to the Claimant, the SEZ Committee had been negotiating with Sanum a
         PDA and a land concession for the project, and by the end of 2011 the negotiations
         were near completion. But then, “the Government sent Sanum a substantially revised
         PDA, which removed approximately 16 hectares from the land that the SEZ Committee
         had previously committed to grant Sanum in the MOU.” The Claimant affirms that the
         removal of these 16 hectares compromised the feasibility of the project because they
         fronted Highway 13 and the access road to the bridge.

        This space has been left intentionally blank.




149
  Notice from the Prime Minister’s Office to the Minister of Information and Culture, 2 March 2011, Exhibit
C(B)-337.
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              .
       (Source, Claimant’s Opening Presentation, Slide 23, C(B)-0092) Disputed 16 hectares
       colored in yellow)

237.    According to the Claimant, the map above, which was appended to the 2010 MOU,
        showed Sanum’s Highway 13 Frontage. However, the Respondent notes that Sanum
        never made an application for a license or PDA to the MPI for the Thakhet
        development, as required by the Law on Investment Protection. Instead, on 4 February
        2011, Savan Vegas applied to the MIC for a license for a small slot club. At the time,
        because of the order to close Paksan, Savan Vegas should have been aware that the
        MIC had no authority to approve gambling licenses. In the application, Savan Vegas
        referred to the MOU and attached the PDA, under which Savan Vegas affirmed that it
        had the right to operate in three provinces. On 21 February 2011, the MIC authorized
        gambling in Thakhet. On 2 March 2011, the Prime Minister revoked the authorization
        and re-affirmed this decision on 7 October 2011 in view of the further request of Savan
        Vegas on 29 March 2011. At the request of Sanum, the president of Sanum met with
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           relevant ministries on 25 November 2011, and again it was reiterated to Sanum that the
           authorization to operate slot machines in Khammouane Province was illegal.

238.       The Claimant in the Reply points out that the SEZ Committee was appointed by the
           central Government, that the Government specifically instructed Sanum to negotiate
           the PDA and land concession agreement with the SEZ Committee, and that the 30 days
           to sign the land concession run as from approval by the SEZ Committee of a feasibility
           study, master plan, social-economic and environmental impact study. The Claimant
           contends that it submitted these documents, but negotiations of the PDA fell apart
           because of the removal of the 16 key hectares. The Claimant points out the changing
           reasons adduced by the Government to justify the removal of those hectares. First, the
           Respondent had said that there was a holdout landowner who wanted more money;
           later, it argued that the 16 hectares were never included in the concession.

239.       The Claimant affirms that at the time it was not aware of Notice No. 305, and that, in
           any case, this Notice does not deprive the MIC of its authority to issue slot licenses.
           According to the Claimant, Savan Vegas reasonably believed that the MIC was the
           relevant authority to which it should direct its application. This understanding was
           supported by Respondent’s contemporaneous actions. For example, the Khammouane
           Governor wrote to the MIC a letter of support on the province’s behalf. The MIC
           approved the application on 21 February 2011.150


               7.4.3. The Respondent’s Argument

240.       The Respondent contends that the Claimant has not been able to rebut the Respondent’s
           position that Sanum never obtained a license, a concession or a PDA from the
           Respondent. The Respondent points out that in the Reply, the Claimant admits that the
           parties had not reached agreement on whether the 16 hectares were included in the land
           concession or the terms of the PDA: “it is patently clear as a matter of law that when
           parties do not agree on material terms during the negotiations, they do not have an




150
      Reply, para. 189.
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           agreement. The parties never concluded those negotiations and never signed the
           agreements.”151

241.       At the closing of the Hearing, the Respondent explained that the 16-hectare issue was
           irrelevant because the key land was next to the bridge on the side of the river rather than
           on the road frontage land as there would be a need to isolate the gambling area,
           including space for customs control.

242.       As regards the slot license, the Respondent has alleged that it was obtained through
           bribes paid by Mr. Bouker to Mr. Boumong at the MIC.


               7.4.4. The Tribunal’s Analysis

243.       It was decided in the Tribunal’s ruling on the Merits of the Claimant’s Second Material
           Breach Application that, in the Tribunal’s view,

                the Claimant has not established a land entitlement that includes the disputed
                16 hectares, and there is no undertaking by the Government in Section 22 to
                use its powers of eminent domain to expropriate the existing private owners
                for the financial benefit of the Claimant. Refusal to expropriate private land
                for the private gain of the Claimant does not constitute evidence of ‘bad
                faith.’152

244.       This decision was reached by the Tribunal in the context of whether the Government
           breached Article 22 of the Deed of Settlement by failing to negotiate the Thakhet related
           agreements in good faith. The Tribunal considers that the Claimants have also failed
           to establish rights to the remainder of the land referred to in the MOU. Sanum had 365
           days from the date of the Land Concession Agreement to seek all the approvals for all
           investment activities described in the MOU. In turn, before the Land Concession
           Agreement could be signed, Sanum needed to complete a Feasibility Study, a Master
           Plan and a Socio-Economic and Environmental Impact Study for the Land Concession,
           all to be approved by the Concessioner. The Land Concession Agreement required by
           the MOU was never signed; it never went beyond the negotiation stage. Despite face
           to face negotiations over the PDA throughout the summer and fall of 2011, Sanum and



151
      Rejoinder, para. 105.
152
      Decision on the Merits of the Claimant’s Second Material Breach Application, 15 December 2017, para. 195.
      Case 2:20-cv-00195-CRK Document 1 Filed 04/21/20 Page 450 of 457
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         the SEZ Committee had not finalized the terms of the PDA, including the land
         concession.153 In the overall picture, whether or not Sanum had obtained a licence had
         no impact on the viability of its Thakhaek project.

245.     In the view of the Tribunal it is clear from the MOU that Savan Vegas could not expand
         to Thakhaek in the Kammouane Province without the “final approval from all
         governmental authorities (central and local).”154               The MOU provides for the
         eventuality that the approval is forthcoming and also in case it is not.155 Furthermore,
         the MOU subjects the exact location of the Concession Land to a future agreement:
         “Once the exact location of the Concession Land has been agreed upon, the
         Concessionee will confirm its acceptance of the Concession Land in writing to the
         Concessioner.”156 There was never any agreement in this respect.

246.     The MOU shows that Savan Vegas’ monopoly rights did not encompass a right to
         establish slot clubs or casinos beyond the area covered by the Savan Vegas PDA:

             If the Concessionee would like to expand the casino or slot business of Savan
             Vegas, which is an investment project of Sanum Investments Limited
             according to the Foreign Investment License no. 09507 [not readable], dated
             17 August 2007 to the Concession Land to be a branch (Welcome Center) of
             Savan Vegas such expansion shall be proposed, approved and agreed in
             writing from the Government first before implementing such expansion. The
             Khammouane Province wilfully [sic] support the expansion of Savan Vegas
             to the Land Concession according to the appropriate procedures and
             regulations.157

247.     As regards to the slot license, the Tribunal notes that the Respondent’s witnesses from
         the MIC and the Government Secretariat Office have claimed that the license was
         issued by mistake.158 The Respondent has argued that the MIC had no authority to issue
         the license because of Notice No. 1957 of the Prime Minister and says that the license
         was procured by a bribe. Leaving aside the issue of the bribes allegedly paid by the
         Claimants, the Tribunal observes that the license was effective for less than ten days



153
    Reply, para. 182; Exhibit SRE-101.
154
    MOU, clause 2.3(c).
155
    MOU, clauses 2.3(c) and (d).
156
    MOU, clause 3.1.
157
    MOU, clause 3.3.
158
    Reply, para. 316 and footnote 767: Witness Statements of Xypheng Vongpanya, at para. 7, and of Phimphone
Sengthong at para. 9.
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       and that the revocation was justified on the lack of authority of the MIC to grant it. The
       Tribunal appreciates that Notice No. 1957 refers to the Government and is not explicitly
       limited to the Prime Minister’s office but by 2011 Sanum was fully aware that the Prime
       Minister’s Office was the essential authority on the Claimants’ gambling ventures in
       Laos. The Prime Minister’s Office never approved the Claimants’ gambling project in
       Thakhaek. The Claimants had just finished a bruising encounter with the Government
       over the Claimants’ failure to fulfill its obligations in respect of the Paksong Hotel and
       Casino project. By 2011, the Claimants had entirely failed to live up to their Paksong
       commitments, while pretending otherwise. The Claimants had demonstrated
       themselves not to be good faith investors.

248.   In the Tribunal’s view, the Claimants were seeking in bad faith (even if not by bribes)
       to manipulate Government officials to obtain approvals to which the Claimants were
       not entitled. It is significant that the MIC licence was issued to Sanum in February
       2011 by the same Minister that was ordered to cancel the Paksan license for lack of
       authority one year earlier in February 2010.

249.   Negotiations for the renewal of the Flat Tax Agreement had stalled by March 2011.
       The Government was agitating for accountability in respect of its 20% interest in Savan
       Vegas. The Claimant alleges that the 16-hectare parcel on Highway 13 was essential
       to the success of the Thakhaek project, yet negotiations for the 16-hectare parcel never
       reached agreement in the Tribunal’s view. Thus Sanum acquired no rights in Thakhaek
       property. There was no Land Concession Agreement for a site on which gambling
       facilities could be built. The other approvals that would have been required contingent
       on the signing of the Land Concession Agreement (which never happened) became
       moot. The Thakhaek project was not expropriated. The licence was revoked for good
       and sufficient cause. The project itself never came into legal existence. The MOU
       provided that the Claimant’s Thakhaek project could not proceed without “the final
       approval of, by or from all Government authorities (central and local)” which was never
       obtained. The Tribunal appreciates the chagrin of the Claimant at paying US $400,000
       which, in the end, did not result in a viable project but the failure cannot be attributed
       to any actionable fault on the part of the Government.
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250.    The Tribunal concludes that there is insufficient evidence of bad faith on either side in
        respect of Thakhek. It was simply a commercial possibility that never reached the stage
        of agreement.


8.     COSTS

251.    The Respondent Government claims costs for the period from 23 February 2017
        through 22 February 2019 in respect of lawyers’ fees in the amount of
        US$ 1,161,611.48 and expenses of US$ 151,640.83, being in total US$1,313,252.31.
        These fees are exclusive of and apart from the costs sought by the Government arising
        out of Lao Holdings N.V. v. The Government of the Lao People’s Democratic Republic,
        ICSID Case No. ARB(AF)/12/6, which was not consolidated with this case, but for the
        most part heard jointly with it. (The Respondent Government claims a total of
        $2,780,736.03 in respect of both the ICSID and PCA proceedings). By way of
        comparison, the Claimants indicated that if successful (and even if not wholly
        successful) they would be seeking $20,929,951.36 in total in respect of both the ICSID
        and PCA proceedings. The Claimant’s claim, unlike the Respondent’s claim, does
        include the expenses and charges of the respective Secretariats.

252.    Article 40 of the UNCITRAL Rules provides:

            1. The arbitral tribunal shall fix the costs of arbitration in the final award and,
            if it deems appropriate, in another decision.
            2. The term “costs” includes only:

               (a) The fees of the arbitral tribunal to be stated separately as to each
               arbitrator and to be fixed by the tribunal itself in accordance with article 41;

               (b) The reasonable travel and other expenses incurred by the arbitrators;

               (c) The reasonable costs of expert advice and of other assistance required
               by the arbitral tribunal;

               (d) The reasonable travel and other expenses of witnesses to the extent
               such expenses are approved by the arbitral tribunal;

               (e) The legal and other costs incurred by the parties in relation to the
               arbitration to the extent that the arbitral tribunal determines that the
               amount of such costs is reasonable;

               (f) Any fees and expenses of the appointing authority as well as the fees
               and expenses of the Secretary-General of the PCA.
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253.   Article 42 of the 2010 UNCITRAL Rules provides:

           (1) The costs of the arbitration shall in principle be borne by the unsuccessful
           party or parties. However, the arbitral tribunal may apportion each of such
           costs between the parties if it determines that apportionment is reasonable,
           taking into account the circumstances of the case.

           (2) The arbitral tribunal shall in the final award or, if it deems appropriate, in
           any other award, determine any amount that a party may have to pay to
           another party as a result of the decision on allocation of costs.

254.   According to Article 42, the costs of the arbitration “shall in principle be borne by the
       unsuccessful party or parties” but grants the Tribunal discretionary power to apportion
       costs, based on what is reasonable in the circumstances of the case. While there is some
       variation in tribunals’ practices, the prevailing approach of international investment
       tribunals is to order costs to follow the event. The Claimants themselves have endorsed
       this principle in putting forward their own claim for the “costs and expenses of this
       proceeding, including attorneys’ fees”.4

255.   According to the Claimants, the quantum of their original claims if wholly successful,
       might have reached US $1 billion.

256.   The costs claim advanced by Sanum and LHNV include US $10,109,872.71 for legal
       work prior to the Settlement of 15 June 2014. The Respondent’s claim commences
       post-settlement, specifically from 23 February 2017 — i.e., after the date Claimant
       Sanum filed its Second Material Breach Application before the PCA Tribunal. From
       and after 23 February 2017, the two cases (PCA Case No. 2013-13 and ICSID Case No.
       ARB(AF)/12/6) proceeded in parallel although, as mentioned, not consolidated.5 Thus,
       after 23 February 2017, work on all written submissions, evidentiary applications,
       interim conferences and hearings as well as the Hearing were combined, then evenly
       divided as between the PCA proceedings and the ICSID proceedings. In the result, the
       Respondent seeks an order that the Claimant Sanum pay 50% of its legal costs,
       including lawyers’ fees and expenses, incurred from 23 February 2017 through the
       present.

257.   The Claimant points out that it was successful on a number of the interlocutory matters
       including a defeat of the Government’s jurisdictional challenges and establishment in
       the Second Material Breach Application, that the Government had failed in two
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           important aspects to honour the Settlement, namely, the establishment of a new FTA to
           assist in the sale of Savan Vegas, and the Government’s failure to halt existing and
           potential criminal proceedings. These were important successes for the Claimants, but
           in the end, they failed to establish after years of litigation any liability on the part of the
           Government in respect of any of their myriad of claims of Treaty violations (as
           distinguished from two breaches of the 2014 Settlement Agreement, as mentioned).

258.        In the circumstances the Tribunal thinks it appropriate, in its discretion, to award the
           Respondent Government its costs.


         8.1. Expenses

               8.1.1. Travel Expenses

259.       The Respondent’s travel expenses represent travel to Singapore twice by various
           witnesses and the Respondent’s lawyers and staff, for matters involving the Tribunal.
           These travel expenses also include travel to Laos, Paris, and Hong Kong for matters
           such as fact development, evidence gathering and document review.159


               8.1.2. Miscellaneous Services and Expenses

260.       The remainder of the Respondent’s expenses relate to services and expenses required
           to pursue the arbitrations, some of which were incurred in-house and others by external
           vendors. Such services include translation services; court reporter and transcript fees;
           express delivery expenses; research; and trial preparation services in Singapore, such
           as copying, binding presentations, and creating witness and evidentiary notebooks.

261.       The Respondent’s total expenses (other than legal fees) requested in this arbitration
           amount to US $151,640.83.160             This sum, taken together with legal fees of
           US $1,161,611.48, produces a total cost award of US $1,313,252.31.




159
      Respondent’s Submission on Costs, para. 18.
160
      Respondent’s Submission on Costs, paras. 19-20.
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        8.2. Arbitration Costs

262.     The costs of the arbitration, including the fees and expenses of the Tribunal, PCA
         registry fees and direct expenses, amount to (in USD):


                 Arbitrators’ fees
                         Dr. Rigo Sureda161                         US $529,880.84
                                           162
                         Prof. Hanotiau          *                  US $427,888.71
                         Prof. Stern163*                            US $441,258.91


                 Travel and other expenses                           US $90,737.66
                 incurred by the arbitrators

                 Costs of PCA registry and other
                 assistance required by the arbitral
                 tribunal

                         PCA registry fees                          US $155,593.00
                         PCA registry expenses                       US $23,343.89
                         Other expenses                             US $104,168.85


                 Total                                            US $1,772,871.86



263.     The above costs have been paid out of the advances made by the Parties, which were
         not made in equal parts.          The Claimant made advance payments for a total of
         US $1,355,000.00 and the Respondent made advances for a total of US $465,000.00.
         The Tribunal orders the Claimant Sanum to bear all the arbitration costs of the PCA
         proceeding, including the fees and expenses of the Tribunal and PCA. Accordingly,
         the Tribunal orders the Claimant to pay the Respondent US $465,000 for the expended
         portion of the Respondent’s advances to the PCA.




161
    In Euro, Dr. Rigo Sureda’s fees amount to EUR 425,538.75.
162
    In Euro, Prof. Hanotiau’s fees amount to EUR 339,983.60.
163
    In Euro, Prof. Stern’s fees amount to EUR 350,968.81.
* The fees and expenses of Prof. Hanotiau and Prof. Stern have been equally divided between the PCA and
ICSID proceedings. The amount shown here represents the PCA portion.
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9.     DISPOSITION

264.    In the Tribunal’s view, the Claimants have failed to meet the evidentiary onus of
        establishing facts necessary to support their legal arguments. The claims are therefore
        dismissed.

265.    The Claimant Sanum shall pay the Respondent its legal costs of US $1,313,252.31.

266.    The Claimant Sanum shall bear all the arbitration costs of the PCA proceeding,
        including the fees and expenses of the Tribunal and PCA. Accordingly, the Claimant
        Sanum shall pay the Respondent US $465,000 for the expended portion of the
        Respondent’s advances to the PCA. The PCA shall reimburse the unexpended balance
        of the deposit to the Claimant Sanum in the amount of US $47,128.14.




Signature page follows.
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DATED THIS    61H DA y OF     AIA ((i.Af(   2019




       Professor Brigitte Stern
             Arbitrator




                                  Dr. Andres Rigo Sureda
                                    Presiding Arbitrator
